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                                EXHIBIT COVER SHEET



                                                                              Exhibit

Party Submitting:    Mary Ida Townson, U.S. Trustee for Region 21


Admitted:            YES        or NO        (circle one)                       203


Chapter 11 Debtor:   Genie Investments NV, Inc.


Case No.             3:24−bk−00496−BAJ


Nature of Hearing:   Trial on

                     U.S. Trustee’s Motion to Appoint Chapter 11
                     Trustee, or, in the Alternative, Appoint
                     Examiner, Dismiss Case, or Convert Case to
                     Chapter 7 (Doc. No. 20)

                     Debtor’s Response Thereto (Doc. No. 34)

                     U.S. Trustee’s Reply (Doc. No. 38)

Trial Date:          April 9, 2024, at 9:00 a.m.




                           United States Bankruptcy Court
                              Middle District of Florida

                     Dated: ___________________________, 2024.


                     By: _______________________, Deputy Clerk
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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION

         NORTH HAVEN LODGING PARTNERS                      )
         LLC, a South Dakota limited liability             )
         company, and WALLINGFORD LODGING                  )
         PARTNERS LLC, a South Dakota limited              )
         liability company,                                )
                                                           )
                                 Plaintiffs,               )   Case No. 1:23-cv-16264
                                                           )
                   vs.                                     )
                                                           )
         MCMANN COMMERCIAL LENDING                         )
         LLC n/k/a MCMANN PROFESSIONAL                     )
         SERVICES LLC and/or MCMANN                        )
         CAPITAL, an Illinois limited liability            )
         company, and GENIE INVESTMENTS NV,                )
         a Nevada corporation,                             )
                                                           )
                                 Defendants.               )
                                                           )

                                                   COMPLAINT

                  Plaintiffs, NORTH HAVEN LODGING PARTNERS LLC, a South Dakota limited

        liability company (“North Haven”), and WALLINGFORD LODGING PARTNERS LLC, a South

        Dakota limited liability company (“Wallingford”, together with North Haven, the “Plaintiffs”), for

        their complaint against Defendants, MCMANN COMMERCIAL LENDING LLC n/k/a

        MCMANN PROFESSIONAL SERVICES LLC and/or MCMANN CAPITAL, an Illinois limited

        liability company (“McMann”), and GENIE INVESTMENTS NV, a Nevada corporation

        (“Genie”), together with McMann, the “Defendants”), states as follows:

                                               NATURE OF ACTION

                  1.     Plaintiffs bring this action to recover $3,600,000 in funds that the Defendants have

        wrongfully withheld and willfully refused to return to the Plaintiffs despite both Defendants

        acknowledging orally and in writing that Plaintiffs are entitled to a return of the funds. At issue

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        are two $18,000,000 lines of credits made by McMann to the Plaintiffs. As part of the lines of

        credit, the Plaintiffs were obligated to, and did, prepay $1,800,000 in interest under each line of

        credit. At the direction of McMann, the Plaintiffs wired the prepaid interest directly to Genie to

        be held in trust and accounted for pursuant to the loan documents as prepaid interest to be applied

        against each of the lines of credit. No other use of the deposit funds was authorized by Plaintiffs.

        Pursuant to the loan documents, McMann and/or Genie was obligated to fund each of the lines of

        credit, yet McMann and/or Genie failed to do so. Pursuant to the loan documents, McMann and/or

        Genie was obligated to refund the prepaid interest payments if the lines of credit were not funded.

        The Plaintiffs have demanded return of the prepaid interest. Both Defendants have acknowledged

        orally and in writing that Genie received the funds and that the Plaintiffs are entitled to a return of

        the funds, yet each of the Defendants have failed to return any of the $3,600,000 to the Plaintiffs

        in an effort to defraud Plaintiffs.

                                                  THE PARTIES

                  2.    North Haven is a South Dakota limited liability company with its principal place of

        business located at 2517 West Brentridge Circle, Sioux Falls, South Dakota. The members of

        North Haven are PB Corporation TN, a Georgia corporation with its principal place of business in

        Athens, Georgia, Hari Har Management, Inc. a South Dakota corporation with its principal place

        of business in Sioux Falls, South Dakota, and two individuals, who are residents of and domiciled

        in Connecticut.

                  3.    Wallingford is a South Dakota limited liability company with its principal place of

        business located at 2517 West Brentridge Circle, Sioux Falls, South Dakota. The sole member of

        Wallingford is an individual who is a resident of and domiciled in South Dakota.

                  4.    McMann is an Illinois limited liability company with its principal place of business

        located at 205 N. Michigan Ave., Ste. 810, Chicago Illinois 60601 and its registered agent located

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        at 500 Skokie Blvd., Ste. 600, Northbrook, IL 60062. According to the Illinois Secretary of State

        records McMann changed its name to McMann Professional Services LLC and/or McMann

        Capital on or about August 4, 2023. Upon information and belief, none of the members of

        McMann are residents of, or domiciled in, Georgia, South Dakota, or Connecticut.

                  5.    Genie is a Nevada corporation with its principal address in Reno, Nevada.

                                        JURISDICTION AND VENUE

                  6.    This Court has diversity subject matter jurisdiction over this lawsuit under 28

        U.S.C. §§ 1332(a)(1) as this action is between citizens of different states and the matter in

        controversy exceeds the sum or value of $75,000, exclusive of interest and costs.

                  7.    Plaintiffs are South Dakota limited liability companies whose members are citizens

        of Georgia, South Dakota, and/or Connecticut.

                  8.    Defendant McMann is an Illinois limited liability company and upon information

        and belief, and based upon a reasonable pre-suit investigation, none of the members of McMann

        are citizens of Georgia, South Dakota, or Connecticut.

                  9.    Defendant Genie is a Nevada corporation with its principal place of business in

        Reno, Nevada.

                  10.   This Court has personal jurisdiction over each of the parties to this matter. The

        Plaintiffs have conducted business with McMann, an Illinois limited liability company. The

        Defendants have conducted and presently conduct business in Illinois. McMann is an Illinois

        limited liability with its principal place of business in this state and in this district. Genie has

        conducted and presently conducts business in this state and in this district by conducting business

        for and on behalf of McMann both as related to the two lines of credit at issue and, upon

        information and belief, as to other loans made by McMann to other McMann borrowers. One of



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        Genie’s officers, David Hughes, who has directly interacted with Plaintiffs related to the lines of

        credit at issue, resides in the state of Illinois and has conducted business within this state as related

        to the two lines of credit, and upon information and belief related to other transactions with

        McMann. Genie is subject to personal jurisdiction in accordance with Illinois’ long-arm statute,

        which provides, in relevant part:

                         Any person, whether or not a citizen or resident of this State, who in
                         person or through an agent does any of the acts hereinafter
                         enumerated, thereby submits such person . . . to the jurisdiction of
                         the courts of this State as to any cause of action arising from the
                         doing of any of such acts: (1) The transaction of any business within
                         this State . . . .

        735 ILCS 5/2-209(a).

                  11.    This Court is the proper venue for this lawsuit under 28 U.S.C. § 1391(a) because

        the events giving rise to Plaintiff’s claim against the Defendants occurred in this judicial district.

                                                        FACTS

                                                Loan to North Haven

                  12.    On or about April 10, 2023, McMann, through Walter Trock, Michael Lanza, and

        others, agreed to make a loan to North Haven in the form of a $18,000,000 line of credit, with a

        maximum amount of $18,600,000 (“North Haven Loan”).

                  13.    The purpose of the line of credit was for the construction of a 105-room limited-

        service hotel.

                  14.    The North Haven Loan is governed by that certain Business Expansion Line of

        Credit Agreement (“North Haven BELOC”) dated April 10, 2023 made by and between North

        Haven and McMann. Walter Trock executed the North Haven BELOC for McMann. A copy of

        the North Haven BELOC is attached as Exhibit 1.




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                  15.   The North Haven Loan is evidenced by that certain Promissory Note dated April

        10, 2023 in the principal amount of $18,600,000 (“North Haven Note”) made by North Haven in

        favor of McMann. The North Haven Note is attached to the North Haven BELOC as Exhibit A.

        See Ex. 1 North Haven BELOC, Ex. A.

                  16.   The North Haven Loan is secured by that certain Security Agreement dated April

        10, 2023 made by North Haven in favor of McMann (“North Haven Security Agreement”). The

        North Haven Security Agreement is attached to the North Haven BELOC as Exhibit E. See Ex. 1

        North Haven BELOC, Ex. E.

                  17.   The North Haven BELOC required North Haven to pay $1,800,000 to McMann as

        prepaid interest for the North Haven Loan (“North Haven ICA Payment”).

                  18.   The North Haven BELOC required McMann to establish on McMann’s books and

        records an interest credit account for the North Haven ICA Payment (“North Haven ICA”) so that

        interest payments on the North Haven Loan would first be satisfied by using the North Haven ICA

        Payment. See Ex. 1, North Haven BELOC, Recitals C, D; §3.5.

                  19.   The North Haven BELOC required McMann to fund the advances under the North

        Haven Loan pursuant to the parties’ agreed upon schedule, with the first funding advance to occur

        within seventy-five (75) days of the ICA Payment. See Ex. 1, North Haven BELOC, §7.1 and Ex.

        B, Tranche Schedule.

                  20.   The Plaintiffs reasonably relied on McMann’s, Trock’s, and Lanza’s promises,

        agreement, and statements to fund the North Haven Loan in accordance with the parties’

        agreements.

                  21.   In reliance on McMann’s, Trock’s, and Lanza’s assurances, the Plaintiffs paid the

        North Haven ICA Payment.



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                  22.    On April 10, 2023, McMann directed North Haven to wire the North Haven ICA

        Payment to a bank account at Chase Bank, Account Number xxxxx8502, titled in the name “Genie

        Investments NV.”

                  23.    On April 10, 2023, North Haven wired the North Haven ICA Payment as instructed

        by McMann to the Chase Bank Account, Account Number xxxxx8502.

                  24.    Both McMann and Genie have confirmed in writing that Genie received the North

        Haven ICA Payment.

                                               Loan to Wallingford

                  25.    On or about April 10, 2023, McMann, through Walter Trock, Michael Lanza, and

        others, agreed to make a loan to Wallingford in the form of a $18,000,000 line of credit, with a

        maximum amount of $18,600,000 (“Wallingford Loan”).

                  26.    The purpose of the line of credit was for the construction of a 105-room limited-

        service hotel.

                  27.    The Wallingford Loan is governed by that certain Business Expansion Line of

        Credit Agreement (“Wallingford BELOC” together with the North Haven BELOC, the

        “BELOCs”) dated April 10, 2023 made by and between Wallingford and McMann. Walter Trock

        executed the Wallingford BELOC for McMann. A copy of the Wallingford BELOC is attached as

        Exhibit 2.

                  28.    The Wallingford Loan is evidenced by that certain Promissory Note dated April 10,

        2023 in the principal amount of $18,600,000 (“Wallingford Note”) made by Wallingford in favor

        of McMann. The Wallingford Note is attached to the Wallingford BELOC as Exhibit A. See Ex.

        2, Wallingford BELOC, Ex. A.

                  29.    The Wallingford Loan is secured by that certain Security Agreement dated April

        10, 2023 made by Wallingford in favor of McMann (“Wallingford Security Agreement”). The

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        Wallingford Security Agreement is attached to the Wallingford BELOC as Exhibit E. See Ex. 2,

        Wallingford BELOC, Ex. E.

                  30.   The Wallingford BELOC required North Haven to pay $1,800,000 to McMann as

        prepaid interest for the Wallingford Loan (“Wallingford ICA Payment” together with the North

        Haven ICA Payment, the “ICA Payments”).

                  31.   The Wallingford BELOC required McMann to establish on McMann’s books and

        records an interest credit account for the Wallingford ICA Payment (“Wallingford ICA”) so that

        interest payments on the Wallingford Loan would first be satisfied by using the Wallingford ICA

        Payment. See Ex. 2, Wallingford BELOC, Recitals C, D; §3.5.

                  32.   The Wallingford BELOC required McMann to fund the advances under the

        Wallingford Loan pursuant to the parties’ agreed upon schedule, with the first funding advance to

        occur within seventy-five (75) days of the ICA Payment. See Ex. 2, Wallingford BELOC, §7.1

        and Ex. B, Tranche Schedule.

                  33.   The Plaintiffs reasonably relied on McMann’s, Trock’s, and Lanza’s promises,

        agreement, and statements to fund the Wallingford Loan in accordance with the parties’

        agreements.

                  34.   In reliance on McMann’s, Trock’s, and Lanza’s assurances, the Plaintiffs paid the

        Wallingford ICA Payment.

                  35.   On April 10, 2023, McMann directed Wallingford to wire the Wallingford ICA

        Payment to a bank account at Chase Bank, Account Number xxxxx8502, titled in the name “Genie

        Investments NV.”

                  36.   On April 10, 2023, Wallingford wired the Wallingford ICA Payment as instructed

        by McMann to the Chase Bank Account, Account Number xxxxx8502.



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                  37.   Both McMann and Genie have confirmed in writing that Genie received the

        Wallingford ICA Payment.

        McMann’s Breach of the North Haven Loan and Wallingford Loan and Plaintiffs’ Demand
                                            for Refund

                  38.    McMann failed to fund both the North Haven Loan and Wallingford Loan as

        required by the BELOCs.

                  39.   The North Haven BELOC provides North Haven the right to terminate the

        agreement and demand refund of the North Haven ICA Payment in the event that McMann fails

        to timely fund the North Haven Loan. Specifically, Section 13.7(a) of the North Haven BELOC

        provides:

                               Upon the occurrence of such default, Borrower shall
                               deliver a written notice in the form of a notarized
                               termination letter, a copy of which is attached hereto
                               as Exhibit F (“the Termination Letter”), to Lender by
                               certified mail. Upon receipt of such notice, Lender
                               shall have forty (40) international business-
                               banking days from the date of receipt (“Refund
                               Period”) within which to return the ICA Payment
                               to the Borrower….

        Exhibit 1, §13.7(a) (emphasis added).

                  40.   The Wallingford BELOC provides Wallingford the right to terminate the agreement

        and demand refund of the Wallingford ICA Payment in the event that McMann fails to timely fund

        the Wallingford Loan. Specifically, Section 13.7(a) of the Wallingford BELOC provides:

                               Upon the occurrence of such default, Borrower shall
                               deliver a written notice in the form of a notarized
                               termination letter, a copy of which is attached hereto
                               as Exhibit F (“the Termination Letter”), to Lender by
                               certified mail. Upon receipt of such notice, Lender
                               shall have forty (40) international business-
                               banking days from the date of receipt (“Refund
                               Period”) within which to return the ICA Payment
                               to the Borrower….


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        Exhibit 2, §13.7(a) (emphasis added).

                  41.     On August 17, 2023, North Haven and Wallingford each tendered a Termination

        Letter for each of the North Haven Loan and Wallingford Loan pursuant to the BELOCs and

        demanded a refund of each of the ICA Payments (the “Termination Notices”). A copy of each of

        the Termination Letters is attached as Exhibit 3. The Termination Notices were provided to both

        McMann and Genie via a communication platform utilized by McMann and Genie called

        Zoomeral.

                  42.     Pursuant to the BELOCs, McMann was obligated to refund the ICA Payments on

        or before October 17, 2023.

                  43.     Upon information and belief, McMann did not have the loan funds to fund either

        the North Haven Loan or Wallingford Loan when it entered into the BELOCs.

                  44.     To date, McMann has failed to refund the North Haven ICA Payment and the

        Wallingford ICA Payment.

                        McMann Provides False Oral and Written Information to Plaintiffs

                  45.     Instead of refunding the ICA Payments as required by the loan documents,

        McMann has engaged in a series of false oral and written statements.

                  46.     On or about October 16, 2023, Walter Trock, Senior Managing Partner of McMann

        sent a series of text messages to Preet Patel, a representative of the Plaintiffs, in which Mr. Trock

        assured the Plaintiffs that McMann would obtain a refund from Genie for the Plaintiffs despite

        McMann’s own obligation to provide a refund to Plaintiffs.

                  47.     Mr. Trock also falsely stated to the Plaintiffs that this is the first time Genie has

        refused to refund money to a McMann borrower. As the Plaintiffs unfortunately learned later,




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        McMann and Genie have engaged in similar misconduct and apparent fraud for a host of other

        borrowers.

                  48.    The Plaintiffs reasonably relied on McMann’s and Mr. Trock’s representations and

        actions and believed that McMann would obtain a refund of the ICA Payments.

                  49.    On October 24, 2023, counsel for McMann sent a demand letter to Genie

        demanding that Genie immediately refund the ICA Payments to Plaintiffs. A copy of the October

        24, 2023 letter is attached as Exhibit 4.

                  50.    The October 24, 2023 letter also makes a series of admissions that confirm

        Plaintiffs’ entitlement to the return of the ICA Payments and confirm McMann’s and Genie’s

        liability to the Plaintiffs.

                  51.    Specifically, McMann admits:

                         a.      Genie received payment of each of the ICA Payments on May 3, 2023;

                         b.      Genie was obligated to hold the ICA Payments in trust for the benefit of the
                                 Plaintiffs;

                         c.      The Plaintiffs properly terminated the BELOCs;

                         d.      The Plaintiffs properly exercised their rights under Section 13.7 of the
                                 BELOCs and demanded refund of the ICA Payments;

                         e.      The Plaintiffs have complied with every term of the BELOCs;

                         f.      Genie properly received notice of the Plaintiffs’ termination of the BELOCs
                                 and demand of refund of the ICA Payments;

                         g.      Genie admitted that the Plaintiffs’ are entitled to a refund of the ICA
                                 Payments;

                         h.      Genie promised to refund the refund of the ICA Payments on or before
                                 October 13, 2023; and

                         i.      The Plaintiffs are entitled to the immediate return of the ICA Payments and
                                 there is no legal or good faith basis that these funds should not be returned.



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                  52.   McMann has falsely stated orally and in writing that it will refund ICA Payments.

                  53.   Despite McMann’s written and oral representations, statements, assurances, and

        promises, McMann continues to refuse to refund the ICA Payments.

                  54.   The Plaintiffs reasonably relied on McMann’s continued assurances and promises

        that it will refund the ICA Payments and the Plaintiffs believed that McMann would obtain and

        issue a refund of the ICA Payments.

                        Genie and David Hughes Provides False Oral and Written Information to
                        Plaintiffs

                  55.   Genie has admitted and acknowledged orally and in writing that it received the ICA

        Payments.

                  56.   On August 18, 2023, the Plaintiffs provided Genie notice that the Plaintiffs

        exercised their rights under the BELOCs and terminated the agreements.

                  57.   On August 18, 2023, the Plaintiffs demanded a refund of the ICA Payments.

                  58.   Instead of refunding the ICA Payments as required, Genie, through its Director,

        David Hughes has engaged in a series of oral and written false statements to induce the Plaintiffs

        into believing that Genie will refund the ICA Payments.

                  59.   On September 14, 2023, Genie represented, in writing via Zoomeral, that it would

        refund the ICA Payments on October 13, 2023. See Exhibit E to Complaint Exhibit 4.

                  60.   Additionally, on October 11, 2023 David Hughes confirmed to Plaintiffs there was

        “nothing” to be done when asked by Preet Patel (representative of Plaintiffs) “nothing on our end

        left to do re: refund this week correct?”

                  61.   Genie and David Hughes also orally confirmed to the Plaintiffs that the Plaintiffs

        were entitled to the refund of the ICA Payments during multiple telephone discussions. The most

        recent confirmation of entitlement to a refund was provided during a October 17, 2023 telephone


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        discussion with David Hughes wherein Hughes assured Plaintiffs that Genie had never failed to

        make an ICA refund in the past. As the Plaintiffs unfortunately learned later, McMann and Genie

        have engaged in similar misconduct and apparent fraud for a host of other borrowers.

                  62.   Genie knew these representations were materially false when made because Genie

        did not have the funds to refund the ICA Payments. As the Plaintiffs unfortunately learned later,

        McMann and Genie have engaged in similar misconduct and apparent fraud for a host of other

        borrowers.

                  63.   The Plaintiffs reasonably relied on Genie’s representations that it would refund the

        ICA Payments on October 13, 2023.

                  64.   Instead of refunding the payments on October 13, 2023, Genie, through its counsel

        Adam Walker of Walker Law Office, LLC sent a letter to the Plaintiffs for each of the loans

        alleging it is unable to refund the ICA Payments at this time because of “the ongoing failure of its

        capital provider to comply with its contractual obligations to provide funds to Genie.” A copy of

        the October 13, 2023 letters are attached as Group Exhibit 5.

                  65.   Genie’s October 13, 2023 letter is an admission that it unlawfully transferred the

        ICA Payments and did not hold those funds in trust for the benefit of the Plaintiffs are required by

        the BELOC and obligations delegated to Genie by McMann related to the ICA Payments.

                  66.   Specifically, Genie stated that it is working to “compel the capital provider to

        deliver the funds it owes, so that Genie can, in turn, provide refunds to its borrowers.” Ex. 5.

                  67.   In other words, Genie admitted that it no longer has the ICA Payments in its

        possession and control. Instead, Genie admits that it used the ICA Payments for an unauthorized

        purpose and was apparently relying on another third-party to pay funds to Genie and Genie would




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        then in turn pay those funds to the Plaintiffs for refund of the ICA Payments. Plaintiffs never

        authorized any other use of their funds other than to be held in trust pursuant to the BELOCs.

            McMann Misappropriates the ICA Payments and Violates its Fiduciary Duties to the
                                             Plaintiffs

                  68.   The BELOCs require McMann to hold the ICA Payments in trust to be used to

        repay the Loans pursuant to each of the BELOC agreements.

                  69.   Specifically, the BELOCs required McMann to establish an Interest Reserve

        Account and to account for the ICA Payments on McMann’s books and records and apply a credit

        equal to the amount of each payment “purposes of satisfying interest payments under the LOC and

        upon the terms and conditions set forth herein” Exs. 1 and 2, Recitals C, D.

                  70.   Likewise, Section 3.5 of the BELOCs required McMann to pay interest on the

        Loans directly from the ICA Payments. Exs. 1 and 2, §3.5.

                  71.   McMann agreed to repay the ICA Payments within 40 business days of its default

        under the Loans. Exs. 1 and 2, §13.7(b).

                  72.   McMann owed a fiduciary duty to the Plaintiffs to hold the ICA Payments in trust

        and safeguard those funds so the funds could be applied pursuant to the BELOCs.

                  73.   McMann owed a fiduciary duty to the Plaintiffs to act in accordance with the

        BELOCs, including to hold the funds in trust, apply the funds pursuant to the parties’ agreement,

        and return the funds as required by the BELOCs.

                  74.   McMann breached its fiduciary duties and misappropriated the ICA Payments by,

        among other breaches:

                        a.     Failing to hold the ICA Payments in trust and safeguard those funds;

                        b.     Failing to establish the Interest Reserve Accounts;

                        c.     Failing to account for the ICA Payments on McMann’s books and records;


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                        d.     Failing to comply with the terms of the BELOCs; and

                        e.     Failing to return the ICA Payments as required by the BELOCs.

                  75.   McMann also violated its fiduciary duties to the Plaintiffs and the terms of the

        BELOCs by sending the ICA Payments to Genie when it knew Genie was not a trustworthy

        fiduciary of those funds, thus diverting and converting those funds.

                  76.   McMann was aware, prior to the transfer of the ICA Payments, that Genie was not

        a trustworthy fiduciary because, upon information and belief, Genie and McMann previously

        refused and were unable to fund other loans and previously refused and were unable to refund

        other similar prepaid interest payments for other McMann borrowers.

                  77.   The Plaintiffs reasonably relied on McMann and reasonably believed that McMann

        would honor its fiduciary duties to the Plaintiffs.

                  78.   As a result of the Plaintiffs’ reliance and beliefs, the Plaintiffs have suffered

        damages.

        Genie Misappropriates the ICA Payments and Violates its Fiduciary Duties to the Plaintiffs

                  79.   Upon information and belief, Genie drafted and provided to McMann the loan

        documents for each of the North Haven and Wallingford Loans and directed McMann on how to

        use the loan documents. McMann and Genie were effectively partners in issuing the loans to

        Plaintiffs.

                  80.   Upon information and belief, Genie was aware of the terms of each of the Loans.

                  81.   Upon information and belief, Genie was aware that the ICA Payments were to be

        held in trust and safeguarded so the funds could be applied pursuant to the BELOCs and Genie

        directed that wiring instructions state that the ICA Payments were to be wired directly to Genie.




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                  82.   Upon information and belief, Genie agreed to hold the ICA Payments in trust and

        safeguard those funds for the benefit of Plaintiffs.

                  83.   Genie received each of the ICA Payments into Genie’s Chase Bank Account

        Number xxxxx8502 on or about May 3, 2023.

                  84.   Genie owed a fiduciary duty to the Plaintiffs to hold the ICA Payments in trust and

        safeguard those funds so the funds could be applied pursuant to the BELOCs.

                  85.   Upon information and belief, Genie transferred the ICA Payments from its Chase

        Bank Account Number xxxxx8502 to another location, thus diverting and converting those funds.

                  86.   Genie did not hold the ICA Payments in trust so the funds could be applied pursuant

        to the BELOCs.

                  87.   Genie admits that it is obligated to return the ICA Payments to the Plaintiffs.

                  88.   Plaintiffs (and McMann) has demanded that Genie return the ICA Payments to the

        Plaintiffs.

                  89.   Genie promised to refund the ICA Payments by October 13, 2023.

                  90.   Genie breached its fiduciary duties and misappropriated the ICA Payments by,

        among other breaches:

                        a.      Failing to hold the ICA Payments in trust and safeguard those funds; and

                        b.      Failing to return the ICA Payments as it agreed to do and as directed by
                                McMann.

                  91.   The Plaintiffs reasonably relied on Genie and reasonably believed that Genie would

        honor its fiduciary duties to the Plaintiffs.

                  92.   As a result of the Plaintiffs’ reliance and beliefs, the Plaintiffs have suffered

        damages.




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                                                   COUNT I
                                            BREACH OF CONTRACT
                                               (against McMann)

                  93.    The Plaintiffs restate and incorporate the allegations of Paragraphs 1-54, 68-78 of

        the Complaint as if fully set forth herein.

                  94.    The BELOCs and Loan Documents are legally valid, binding and enforceable

        agreements.

                  95.    Pursuant to the BELOCs, McMann agreed to provide the Loans to the Plaintiffs in

        exchange for, among other consideration, payment of the ICA Payments.

                  96.    The Plaintiffs paid the ICA Payments pursuant to the BELOCs.

                  97.    Pursuant to the BELOCs, McMann agreed to refund the ICA Payments within 40

        business days of receipt of the Termination Notices.

                  98.    McMann admits that the BELOCs are valid and binding agreements.

                  99.    McMann defaulted under the terms of the BELOCs.

                  100.   The Plaintiffs properly exercised their rights to terminate the BELOCs, properly

        provided the Termination Notices, and are entitled to the immediate refund of the ICA Payments.

                  101.   The Plaintiffs have fully performed all obligations under the BELOCs.

                  102.   McMann has no legally recognized justification or excuse for breaching the

        BELOCs and Loan Documents.

                  103.   McMann has no legally recognized justification or excuse for refusing to refund the

        ICA Payments.

                  104.   The Plaintiffs are entitled to a return of the ICA Payments.

                  105.   McMann has breached the BELOCs and Loan Documents by, among other

        breaches:



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                         a.     Failing to fund each of the Loans;

                         b.     Failing to hold the ICA Payments in trust and safeguard those funds;

                         c.     Failing to establish the Interest Reserve Accounts;

                         d.     Failing to account for the ICA Payments on McMann’s books and records;

                         e.     Failing to comply with the terms of the BELOCs; and

                         f.     Failing to refund the ICA Payments within 40 business days from receipt of
                                the Termination Notices.

                  106.   The Plaintiffs have been damaged as a result of each and every breach of the

        BELOCs and Loan Documents in an amount not less than $3,600,000.

                  WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against McMann:

                  A.     Awarding the Plaintiffs $3,600,000 for McMann’s breach of the BELOCs and
                         Loan Documents;

                  B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                         permitted by Illinois law;

                  C.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by the
                         BELOCs and applicable law; and

                  D.     Grant the Plaintiffs such other relief as this Court deems just.

                                                     COUNT II
                                                  CONVERSION
                                                 (against McMann)

                  107.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-54, 68-78 of

        the Complaint as if fully set forth herein.

                  108.   The BELOCs and Loan Documents are legally valid, binding and enforceable

        agreements.

                  109.   Pursuant to the BELOCs, McMann agreed to provide the Loans to the Plaintiffs in

        exchange for, among other consideration, payment of the ICA Payments.

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                  110.   The Plaintiffs paid the ICA Payments pursuant to the BELOCs.

                  111.   The BELOCs require McMann to hold the ICA Payments in trust to be used solely

        to repay the Loans pursuant to each of the BELOC agreements.

                  112.   Specifically, the BELOCs required McMann to establish an Interest Reserve

        Account and to account for the ICA Payments on McMann’s books and records and apply a credit

        equal to the amount of each payment for the “purposes of satisfying interest payments under the

        LOC and upon the terms and conditions set forth herein” Exs. 1 and 2, Recitals C, D.

                  113.   Likewise, Section 3.5 of the BELOCs required McMann to pay interest on the

        Loans directly from the ICA Payments. Exs. 1 and 2, §3.5.

                  114.   Pursuant to the BELOCs, McMann agreed to refund the ICA Payments within 40

        business days of receipt of the Termination Notices.

                  115.   McMann admits that the BELOCs are valid and binding agreements.

                  116.   McMann admits that the Plaintiffs properly and fully paid the ICA Payments.

                  117.   McMann defaulted under the terms of the BELOCs.

                  118.   McMann has no legally recognized justification or excuse for breaching the

        BELOC and Loan Documents.

                  119.   McMann has no legally recognized justification or excuse for refusing to refund the

        ICA Payments.

                  120.   The Plaintiffs properly exercised their rights to terminate the BELOCs, properly

        provided the Termination Notices, and are entitled to the immediate refund of the ICA Payments.

                  121.   The Plaintiffs have fully performed all obligations under the BELOCs.

                  122.   The Plaintiffs are entitled to a return of the ICA Payments.

                  123.   The Plaintiffs demanded return of the ICA Payments.



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                  124.   McMann is obligated to return the ICA Payments within 40 days of receipt of the

        Termination Notices.

                  125.   McMann has exercised unauthorized and wrongful assumption of control,

        dominion, or ownership of the ICA Payments.

                  126.   McMann has wrongfully refused to return the ICA Payments.

                  127.   The ICA Payments are the Plaintiffs lawful property.

                  128.   The Plaintiffs are absolutely and unconditionally entitled to the immediate

        possession of the ICA Payments.

                  129.   McMann has unlawfully converted the ICA Payments. McMann’s conduct as

        alleged herein was willful and wanton and McMann acted with actual malice, fraud, and/or gross

        negligence.

                  WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against McMann:

                  A.     Awarding the Plaintiffs $3,600,000 for McMann’s conversion of the ICA
                         Payments;

                  B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                         permitted by Illinois law;

                  C.     Awarding punitive damages in an amount to be proven at trial;


                  D.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by the
                         BELOCs and applicable law; and

                  E.     Grant the Plaintiffs such other relief as this Court deems just.

                                            COUNT III
                       TO AVOID AND RECOVER ACTUAL FRAUDULENT TRANSFER
                                         (against McMann)

                  130.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-54, 68-78 of

        the Complaint as if fully set forth herein.

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                  131.   On or about May 3, 2023, McMann caused the ICA Payments to be transferred to

        Genie into Chase Bank Account Number xxxxx8502.

                  132.   After May 3, 2023, upon information and belief the ICA Payments were transferred

        from the Chase Bank Account Number xxxxx8502 to another source.

                  133.   740 ILCS 160/5 provides, in relevant part:

                         (a) A transfer made or obligation incurred by a debtor is fraudulent
                         as to a creditor, whether the creditor’s claim arose before or after the
                         transfer was made or the obligation was incurred, if the debtor made
                         the transfer or incurred the obligation:

                            (1) with actual intent to hinder, delay, or defraud any creditor
                            of the debtor . . .
                                ....
                         (b) In determining actual intent under paragraph (1) of subsection
                         (a), consideration may be given, among other factors, to whether:
                            (1) the transfer or obligation was to an insider;
                            (2) the debtor retained possession or control of the property
                            transferred after the transfer;
                            (3) the transfer or obligation was disclosed or concealed;
                            (4) before the transfer was made or obligation was incurred, the
                            debtor had been sued or threatened with suit;
                            (5) the transfer was of substantially all the debtor's assets;
                            (6) the debtor absconded;
                            (7) the debtor removed or concealed assets;
                            (8) the value of the consideration received by the debtor was
                            reasonably equivalent to the value of the asset transferred or the
                            amount of the obligation incurred;
                            (9) the debtor was insolvent or became insolvent shortly after
                            the transfer was made or the obligation was incurred;
                            (10) the transfer occurred shortly before or shortly after a
                            substantial debt was incurred; and
                            (11) the debtor transferred the essential assets of the business to
                            a lienor who transferred the assets to an insider of the debtor.

                  134.   740 ILCS 106/8 provides:



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                         (a) In an action for relief against a transfer or obligation under this Act, a creditor,
                         subject to the limitations in Section 9, may obtain:
                              (1) avoidance of the transfer or obligation to the extent necessary to satisfy the
                              creditor’s claim;
                              (2) an attachment or other provisional remedy against the asset transferred or
                              other property of the transferee in accordance with the procedure prescribed by
                              the Code of Civil Procedure;
                              (3) subject to applicable principles of equity and in accordance with applicable
                              rules of civil procedure,
                                 (A) an injunction against further disposition by the debtor or a transferee,
                                 or both, of the asset transferred or of other property;
                                 (B) appointment of a receiver to take charge of the asset transferred or of
                                 other property of the transferee; or
                                 (C) any other relief the circumstances may require.
                         (b) If a creditor has obtained a judgment on a claim against the debtor, the creditor,
                         if the court so orders, may levy execution on the asset transferred or its proceeds.

                  135.   McMann’s transfer of the ICA Payments was a fraudulent conveyance because,

        among other reasons:

                         a.      The transfer was made with actual intent to hinder, delay, or defraud
                                 McMann’s creditors, namely the Plaintiffs;

                         b.      Genie is an insider of McMann;

                         c.      The transfer was concealed from the Plaintiffs;

                         d.      The transfer was intended to conceal or remove McMann’s assets;

                         e.      Upon information and belief the value of the consideration received by
                                 McMann in exchange for the transfer to Genie was not reasonably
                                 equivalent to the assets transferred; in fact, McMann received no
                                 consideration for the transfer; and

                         f.      McMann was insolvent or became insolvent shortly after the transfer as
                                 evidenced by its inability to funds the Loans and return the ICA Payments.

                  WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against McMann:




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                  A.     Avoiding the $3,600,000 transfer from Genie to an unknown source to the extent
                         necessary to satisfy the Plaintiffs’ claim;

                  B.     Permitting an attachment or other provisional remedy against the transferred
                         funds or other property of McMann in accordance with the procedure prescribed
                         by the Illinois Code of Civil Procedures;

                  C.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                         permitted by Illinois law;

                  D.     Awarding punitive damages in an amount to be proven at trial as McMann’s
                         conduct as alleged herein was willful and wanton and McMann acted with actual
                         malice, fraud, and/or gross negligence;

                  E.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                  F.     Grant the Plaintiffs such other relief as this Court deems just.

                                         COUNT IV
                 TO AVOID AND RECOVER CONSTRUCTIVE FRAUDULENT TRANSFER
                                      (against McMann)

                  136.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-54, 68-78 of

        the Complaint as if fully set forth herein.

                  137.   On or about May 3, 2023, McMann caused the ICA Payments to be transferred to

        Genie into Chase Bank Account Number xxxxx8502.

                  138.   After May 3, 2023, upon information and belief, the ICA Payments were transferred

        from the Chase Bank Account Number xxxxx8502 to another source.

                  139.   740 ILCS 160/5(a)(2) provides, in relevant part:

                         (a) A transfer made or obligation incurred by a debtor is fraudulent as to a
                         creditor, whether the creditor’s claim arose before or after the transfer was
                         made or the obligation was incurred, if the debtor made the transfer or
                         incurred the obligation:
                                 ***
                         (2) without receiving a reasonably equivalent value in exchange for the
                         transfer or obligation, and the debtor:




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                         (A) was engaged or was about to engage in a business or a transaction for
                         which the remaining assets of the debtor were unreasonably small in
                         relation to the business or transaction; or

                         (B) intended to incur, or believed or reasonably should have believed that
                         he would incur, debts beyond his ability to pay as they become due.

                  140.   740 ILCS 106/6(a) provides:

                         (a) A transfer made or obligation incurred by a debtor is fraudulent as to a creditor
                         whose claim arose before the transfer was made or the obligation was incurred if
                         the debtor made the transfer or incurred the obligation without receiving a
                         reasonably equivalent value in exchange for the transfer or obligation and the
                         debtor was insolvent at that time or the debtor became insolvent as a result of the
                         transfer or obligation.

                  141.   The Plaintiffs’ claim arose before the transfer was made.

                  142.   Upon information and belief, the value of the consideration received by McMann

        in exchange for the transfer to Genie was not reasonably equivalent to the assets transferred; in

        fact, McMann received no consideration for the transfer.

                  143.   Upon information and belief, the transfer occurred shortly after the Plaintiffs made

        the ICA Payments.

                  144.   McMann believed, or reasonably should have believed that it would incur debts

        beyond its ability to repay because McMann knew it could not fund the Loans and knew that Genie

        was an untrustworthy custodian of the ICA Payments.

                  145.   McMann was insolvent or became insolvent shortly after the transfer as evidenced

        by its inability to fund the Loans and return the ICA Payments.

                  WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against McMann:

                  A.     Avoiding the $3,600,000 transfer from Genie to an unknown source to the extent
                         necessary to satisfy the Plaintiffs’ claim;



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                  B.     Permitting an attachment or other provisional remedy against the transferred
                         funds or other property of McMann in accordance with the procedure prescribed
                         by the Illinois Code of Civil Procedures;

                  C.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                         permitted by Illinois law;

                  D.     Awarding punitive damages in an amount to be proven at trial as McMann’s
                         conduct as alleged herein was willful and wanton and McMann acted with actual
                         malice, fraud, and/or gross negligence;

                  E.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                  F.     Grant the Plaintiffs such other relief as this Court deems just.



                                                COUNT V
                              FRAUD AND FRAUDULENT MISREPRESENTATIONS
                                            (against McMann)

                  146.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-54, 68-78 of

        the Complaint as if fully set forth herein.

                  147.   As alleged above, McMann entered into the BELOCs and Loan Documents and

        obtained payment of the ICA Payments by use of false oral and written statements that were

        materially false, including but not limited to:

                         a.      McMann’s ability to fund the Loans;

                         b.      McMann’s agreement to hold in trust and safeguard the ICA Payments; and

                         c.      McMann’s ability and agreement to refund the ICA Payments, if and when
                                 required.

                  148.   The statements amounted to false pretenses, were false representations, were false

        when made, and were in service of an actual fraud.

                  149.   McMann knew that the aforesaid misrepresentations were untrue and omissions

        misleading.



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                  150.   Each of the aforesaid misrepresentations and omissions were made with the intent

        that the Plaintiffs would rely on them to enter into the Loans and pay the ICA Payments.

                  151.   The Plaintiffs did in fact rely on each of the alleged omissions and

        misrepresentations in entering into the Loans and paying the ICA Payments.

                  152.   But for McMann’s material omissions and misrepresentations as alleged above, the

        Plaintiffs would not have entered into the Loans and would not have paid the ICA Payments.

                  153.   The Plaintiffs justifiably relied upon McMann’s material omissions and

        misrepresentations of fact.

                  154.   As a direct and proximate result of McMann’s material omissions and

        misrepresentations of fact, the Plaintiffs have been damaged in an amount in excess of $3,600,000.

        McMann’s conduct as alleged herein was willful and wanton and McMann acted with actual

        malice, fraud, and/or gross negligence.

                  WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against McMann:

                  A.     Awarding the Plaintiffs $3,600,000;

                  B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                         permitted by Illinois law;

                  C.     Awarding punitive damages in an amount to be proven at trial;

                  D.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                  E.     Grant the Plaintiffs such other relief as this Court deems just.

                                                COUNT VI
                                        BREACH OF FIDUCIARY DUTY
                                             (against McMann)

                  155.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-54, 68-78 of

        the Complaint as if fully set forth herein.


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                  156.   The BELOCs and Loan Documents are legally valid, binding and enforceable

        agreements.

                  157.   Pursuant to the BELOCs, McMann agreed to provide the Loans to the Plaintiffs in

        exchange for, among other consideration, payment of the ICA Payments.

                  158.   The Plaintiffs paid the ICA Payments pursuant to the BELOCs.

                  159.   Pursuant to the BELOCs, McMann agreed to refund the ICA Payments within 40

        business days of receipt of the Termination Notices.

                  160.   McMann owed a fiduciary duty to the Plaintiffs to hold the ICA Payments in trust

        and safeguard those funds so the funds could be applied pursuant to the BELOCs.

                  161.   McMann owed a fiduciary duty to the Plaintiffs to act in accordance with the

        BELOCs, including to hold the funds in trust, apply the funds pursuant to the parties’ agreement,

        and return the funds as required by the BELOCs.

                  162.   McMann breached its fiduciary duties and misappropriated the ICA Payments by,

        among other breaches:

                         a.     Failing to hold the ICA Payments in trust and safeguard those funds;

                         b.     Failing to establish the Interest Reserve Accounts;

                         c.     Failing to account for the ICA Payments on McMann’s books and records;

                         d.     Failing to comply with the terms of the BELOCs; and

                         e.     Failing to return the ICA Payments as required by the BELOCs.

                  163.   McMann also violated its fiduciary duties to the Plaintiffs and the terms of the

        BELOCs by sending the ICA Payments to Genie when it knew Genie was not a trustworthy

        fiduciary of those funds, thus diverting and converting those funds.




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                  164.   McMann was aware, prior to the transfer of the ICA Payments, that Genie was not

        a trustworthy fiduciary because, upon information and belief, Genie and McMann previously

        refused and were unable to fund other loans and previously refused and were unable to refund

        other similar prepaid interest payments for other McMann borrowers.

                  165.   The Plaintiffs properly exercised their rights to terminate the BELOCs, properly

        provided the Termination Notices, and are entitled to the immediate refund of the ICA Payments.

                  166.   The Plaintiffs have fully performed all obligations under the BELOCs.

                  167.   The Plaintiffs are entitled to a return of the ICA Payments.

                  168.   McMann has failed to return the ICA Payments.

                  169.   The Plaintiffs have been damaged as a result of McMann’s breaches of its fiduciary

        duties in the amount not less than $3,600,000.

                  WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against McMann:

                  A.     Awarding judgment in the amount of $3,600,000;

                  B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                         permitted by Illinois law;

                  C.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                  D.     Grant the Plaintiffs such other relief as this Court deems just.

                                                  COUNT VII
                                             CONSTRUCTIVE TRUST
                                               (against McMann)

                  170.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-54, 68-78 of

        the Complaint as if fully set forth herein.

                  171.   The BELOCs and Loan Documents are legally valid, binding and enforceable

        agreements.


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                  172.   Pursuant to the BELOCs, McMann agreed to provide the Loans to the Plaintiffs in

        exchange for, among other consideration, payment of the ICA Payments.

                  173.   The Plaintiffs paid the ICA Payments pursuant to the BELOCs.

                  174.   Pursuant to the BELOCs, McMann agreed to refund the ICA Payments within 40

        business days of receipt of the Termination Notices.

                  175.   McMann owed a fiduciary duty to the Plaintiffs to hold the ICA Payments in trust

        and safeguard those funds so the funds could be applied pursuant to the BELOCs.

                  176.   McMann owed a fiduciary duty to the Plaintiffs to act in accordance with the

        BELOCs, including to hold the funds in trust, apply the funds pursuant to the parties’ agreement,

        and return the funds as required by the BELOCs.

                  177.   McMann breached its fiduciary duties and misappropriated the ICA Payments by,

        among other breaches:

                         a.     Failing to hold the ICA Payments in trust and safeguard those funds;

                         b.     Failing to establish the Interest Reserve Accounts;

                         c.     Failing to account for the ICA Payments on McMann’s books and records;

                         d.     Failing to comply with the terms of the BELOCs; and

                         e.     Failing to return the ICA Payments as required by the BELOCs.

                  178.   McMann also violated its fiduciary duties to the Plaintiffs and the terms of the

        BELOCs by sending the ICA Payments to Genie when it knew Genie was not a trustworthy

        fiduciary of those funds, thus diverting and converting those funds.

                  179.   McMann was aware, prior to the transfer of the North Haven ICA Payment and the

        Wallingford ICA Payment, that Genie was not a trustworthy fiduciary because, upon information

        and belief, Genie and McMann previously refused and were unable to fund other loans and



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        previously refused and were unable to refund other similar prepaid interest payments for other

        McMann borrowers.

                  180.   McMann engaged in actual and constructive fraud that justifies imposition of a

        constructive trust.

                  181.   As alleged above, McMann entered into the BELOCs and Loan Documents and

        obtained payment of the ICA Payments by use of false oral and written statements that were

        materially false, including but not limited to:

                         a.     McMann’s ability to fund the Loans;

                         b.     McMann’s agreement to hold in trust and safeguard the ICA Payments; and

                         c.     McMann’s ability and agreement to refund the ICA Payments, if and when
                                required.

                  182.   The statements amounted to false pretenses, were false representations, were false

        when made, and were in service of an actual fraud.

                  183.   McMann knew that the aforesaid misrepresentations were untrue and omissions

        misleading.

                  184.   Each of the aforesaid misrepresentations and omissions were made with the intent

        that the Plaintiffs would rely on them to entered into the Loans and pay the ICA Payments.

                  185.   The Plaintiffs did in fact rely on each of the alleged omissions and

        misrepresentations in entering into the Loans and paying the ICA Payments.

                  186.   But for McMann’s material omissions and misrepresentations as alleged above, the

        Plaintiffs would not have entered into the Loans and would not have paid the ICA Payments.

                  187.   The Plaintiffs justifiably relied upon McMann’s material omissions and

        misrepresentations of fact.




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                  188.   The Plaintiffs properly exercised their rights to terminate the BELOCs, properly

        provided the Termination Notices, and are entitled to the immediate refund of the ICA Payments.

                  189.   The Plaintiffs have fully performed all obligations under the BELOCs.

                  190.   The Plaintiffs are entitled to a return of the ICA Payments.

                  191.   McMann has failed to return the ICA Payments.

                  WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against McMann:

                  A.     Establishing a constructive trust for the ICA Payments in the amount of
                         $3,600,000;

                  B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                         permitted by Illinois law;

                  C.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                  D.     Grant the Plaintiffs such other relief as this Court deems just.

                                                 COUNT VIII
                                            BREACH OF CONTRACT
                                                (against Genie)

                  192.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                  193.   Genie drafted the BELOCs and Loan Documents.

                  194.   Genie provided drafts of the BELOCs and Loan Documents to McMann.

                  195.   Genie knew of and understood the terms of the BELOCs and Loan Documents.

                  196.   At the direction of Genie and McMann, the Plaintiffs paid the ICA Payments into

        Genie’s Chase Bank Account Number xxxxx8502.

                  197.   Genie received payment of the ICA Payments.




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                  198.   Genie knew of its duty and obligation to, and agreed to, hold the ICA Payments in

        trust for the benefit of the Plaintiffs to be used in accordance with the BELOCs and Loan

        Documents.

                  199.   Following receipt of the ICA Payments, Genie received copies of the Termination

        Notices.

                  200.   Genie knew and currently knows that the Plaintiffs exercised their rights to

        terminate the BELOCs and Loan Documents and that the Plaintiffs are entitled to the immediate

        return of the ICA Payments.

                  201.   The Plaintiffs made demand on Genie for a return of the ICA Payments.

                  202.   McMann made demand on Genie for a return of the ICA Payments.

                  203.   Genie, through oral and written agreements, agreed to return the ICA Payments to

        the Plaintiffs no later than October 13, 2023.

                  204.   The oral and written agreements to refund the ICA Payments are legally valid,

        binding and enforceable agreements.

                  205.   The Plaintiffs have performed all of their obligations under the oral and written

        agreements.

                  206.   Genie materially breached the oral and written agreements by failing to return the

        ICA Payments.

                  207.   Genie has no legally recognized justification or excuse for breaching the oral and

        written agreements.

                  208.   The Plaintiffs have been damaged as a result of Genie’s breach of the oral and

        written agreements in an amount not less than $3,600,000.




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                  WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                  A.     Awarding the Plaintiffs $3,600,000 for Genie’s breach of the oral and written
                         agreements;

                  B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                         permitted by Illinois law;

                  C.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                  D.     Grant the Plaintiffs such other relief as this Court deems just.

                                                     COUNT IX
                                                   CONVERSION
                                                   (against Genie)

                  209.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                  210.   Genie drafted the BELOCs and Loan Documents.

                  211.   Genie provided drafts of the BELOCs and Loan Documents to McMann.

                  212.   Genie knew of and understood the terms of the BELOCs and Loan Documents.

                  213.   At the direction of Genie and McMann, the Plaintiffs paid the ICA Payments into

        Genie’s Chase Bank Account Number xxxxx8502.

                  214.   Genie received payment of the ICA Payments.

                  215.   Genie owed a fiduciary duty to the Plaintiffs to hold the ICA Payments in trust and

        safeguard those funds so the funds could be applied pursuant to the BELOCs.

                  216.   Genie owed a fiduciary duty to the Plaintiffs to act in accordance with the BELOCs,

        including to hold the funds in trust, apply the funds pursuant to the parties’ agreement, and return

        the funds as required by the BELOCs.




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                  217.   Genie knew of its duty and obligation to, and agreed to, hold the ICA Payments in

        trust for the benefit of the Plaintiffs to be used in accordance with the BELOCs and Loan

        Documents.

                  218.   Following receipt of the ICA Payments, Genie received copies of the Termination

        Notices.

                  219.   Genie knew and currently knows that the Plaintiffs exercised their rights to

        terminate the BELOCs and Loan Documents and that the Plaintiffs are entitled to the immediate

        return of the ICA Payments.

                  220.   The Plaintiffs made demand on Genie for a return of the ICA Payments.

                  221.   McMann made demand on Genie for a return of the ICA Payments.

                  222.   Genie, through oral and written agreements, agreed to return the ICA Payments to

        the Plaintiffs no later than October 13, 2023.

                  223.   The oral and written agreements to refund the ICA Payments are legally valid,

        binding and enforceable agreements.

                  224.   The Plaintiffs have performed all of their obligations under the oral and written

        agreements.

                  225.   Genie materially breached the oral and written agreements by failing to return the

        ICA Payments.

                  226.   The Plaintiffs are entitled to a return of the ICA Payments.

                  227.   The Plaintiffs demanded return of the ICA Payments.

                  228.   Genie is obligated to return the ICA Payments.

                  229.   Genie has exercised unauthorized and wrongful assumption of control, dominion,

        or ownership of the ICA Payments.



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                  230.   Genie has wrongfully refused to return the ICA Payments.

                  231.   The ICA Payments are the Plaintiffs lawful property.

                  232.   The Plaintiffs are absolutely and unconditionally entitled to the immediate

        possession of the ICA Payments.

                  233.   Genie has unlawfully converted the ICA Payments.

                  WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                  A.     Awarding the Plaintiffs $3,600,000 for Genie’s conversion of the ICA Payments;

                  B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                         permitted by Illinois law;

                  C.     Awarding punitive damages in an amount to be proven at trial as Genie’s conduct
                         as alleged herein was willful and wanton and Genie acted with actual malice,
                         fraud, and/or gross negligence;

                  D.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                  E.     Grant the Plaintiffs such other relief as this Court deems just.

                                            COUNT X
                       TO AVOID AND RECOVER ACTUAL FRAUDULENT TRANSFER
                                          (against Genie)

                  234.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                  235.   On or about May 3, 2023, Genie caused or directed the ICA Payments to be

        transferred to Genie into Chase Bank Account Number xxxxx8502.

                  236.   After May 3, 2023, upon information and belief, Genie transferred or caused the

        ICA Payments to be transferred from the Chase Bank Account Number xxxxx8502 to another

        source.

                  237.   740 ILCS 160/5 provides, in relevant part:


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                         (a) A transfer made or obligation incurred by a debtor is fraudulent
                         as to a creditor, whether the creditor’s claim arose before or after the
                         transfer was made or the obligation was incurred, if the debtor made
                         the transfer or incurred the obligation:

                            (1) with actual intent to hinder, delay, or defraud any creditor
                            of the debtor . . .
                                ....
                         (b) In determining actual intent under paragraph (1) of subsection
                         (a), consideration may be given, among other factors, to whether:
                            (1) the transfer or obligation was to an insider;
                            (2) the debtor retained possession or control of the property
                            transferred after the transfer;
                            (3) the transfer or obligation was disclosed or concealed;
                            (4) before the transfer was made or obligation was incurred, the
                            debtor had been sued or threatened with suit;
                            (5) the transfer was of substantially all the debtor's assets;
                            (6) the debtor absconded;
                            (7) the debtor removed or concealed assets;
                            (8) the value of the consideration received by the debtor was
                            reasonably equivalent to the value of the asset transferred or the
                            amount of the obligation incurred;
                            (9) the debtor was insolvent or became insolvent shortly after
                            the transfer was made or the obligation was incurred;
                            (10) the transfer occurred shortly before or shortly after a
                            substantial debt was incurred; and
                            (11) the debtor transferred the essential assets of the business to
                            a lienor who transferred the assets to an insider of the debtor.

                  238.   740 ILCS 106/8 provides:

                         (a) In an action for relief against a transfer or obligation under this Act, a creditor,
                         subject to the limitations in Section 9, may obtain:
                             (1) avoidance of the transfer or obligation to the extent necessary to satisfy the
                             creditor’s claim;
                             (2) an attachment or other provisional remedy against the asset transferred or
                             other property of the transferee in accordance with the procedure prescribed by
                             the Code of Civil Procedure;
                             (3) subject to applicable principles of equity and in accordance with applicable
                             rules of civil procedure,

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                                (A) an injunction against further disposition by the debtor or a transferee,
                                or both, of the asset transferred or of other property;
                                (B) appointment of a receiver to take charge of the asset transferred or of
                                other property of the transferee; or
                                (C) any other relief the circumstances may require.
                         (b) If a creditor has obtained a judgment on a claim against the debtor, the creditor,
                         if the court so orders, may levy execution on the asset transferred or its proceeds.

                  239.   Genie’s transfer of the ICA Payments was a fraudulent conveyance because, among

        other reasons:

                         a.     The transfer was made with actual intent to hinder, delay, or defraud
                                Genie’s creditors, namely the Plaintiffs;

                         b.     Genie is an insider of McMann;

                         c.     The transfer was concealed from the Plaintiffs;

                         d.     The transfer was intended to conceal or remove Genie’s assets;

                         e.     Upon information and belief the value of the consideration received by
                                Genie in exchange for the transfer to Genie was not reasonably equivalent
                                to the assets transferred; in fact, Genie received no consideration for the
                                transfer; and

                         f.     Genie was insolvent or became insolvent shortly after the transfer as
                                evidenced by its inability to return the ICA Payments and the apparent
                                necessity of a third-party to pay Genie so Genie can refund the ICA
                                Payments.

                  WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                  A.     Avoiding the $3,600,000 transfer from Genie to an unknown source to the extent
                         necessary to satisfy the Plaintiffs’ claim;

                  B.     Permitting an attachment or other provisional remedy against the transferred
                         funds or other property of Genie in accordance with the procedure prescribed by
                         the Illinois Code of Civil Procedures;

                  C.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                         permitted by Illinois law;



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                  D.     Awarding punitive damages in an amount to be proven at trial as Genie’s conduct
                         as alleged herein was willful and wanton and Genie acted with actual malice,
                         fraud, and/or gross negligence;

                  E.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                  F.     Grant the Plaintiffs such other relief as this Court deems just.

                                         COUNT XI
                 TO AVOID AND RECOVER CONSTRUCTIVE FRAUDULENT TRANSFER
                                       (against Genie)

                  240.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                  241.   On or about May 3, 2023, Genie caused and directed the ICA Payments to be

        transferred to Genie into Chase Bank Account Number xxxxx8502.

                  242.   After May 3, 2023, upon information and belief, Genie transferred or caused the

        ICA Payments to be transferred from the Chase Bank Account Number xxxxx8502 to another

        source.

                  243.   740 ILCS 160/5(a)(2) provides, in relevant part:

                         (a) A transfer made or obligation incurred by a debtor is fraudulent as to a
                         creditor, whether the creditor’s claim arose before or after the transfer was
                         made or the obligation was incurred, if the debtor made the transfer or
                         incurred the obligation:
                                 ***
                         (2) without receiving a reasonably equivalent value in exchange for the
                         transfer or obligation, and the debtor:

                         (A) was engaged or was about to engage in a business or a transaction for
                         which the remaining assets of the debtor were unreasonably small in
                         relation to the business or transaction; or

                         (B) intended to incur, or believed or reasonably should have believed that
                         he would incur, debts beyond his ability to pay as they become due.

                  244.   740 ILCS 106/6(a) provides:


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                         (a) A transfer made or obligation incurred by a debtor is fraudulent as to a creditor
                         whose claim arose before the transfer was made or the obligation was incurred if
                         the debtor made the transfer or incurred the obligation without receiving a
                         reasonably equivalent value in exchange for the transfer or obligation and the
                         debtor was insolvent at that time or the debtor became insolvent as a result of the
                         transfer or obligation.

                  245.   The Plaintiffs’ claim arose before the transfer was made.

                  246.   Upon information and belief, the value of the consideration received by Genie in

        exchange for the transfer from Genie to an unknown source was not reasonably equivalent to the

        assets transferred; in fact, Genie received no consideration for the transfer.

                  247.   Upon information and belief, the transfer occurred shortly after the Plaintiffs made

        the ICA Payments.

                  248.   Genie believed, or reasonably should have believed that it would incur debts

        beyond its ability to repay because Genie knew it could not refund the ICA Payments when the

        transfer was made.

                  249.   Genie was insolvent or became insolvent shortly after the transfer as evidenced by

        its inability to return the ICA Payments and the apparent necessity of a third-party to pay Genie so

        Genie can refund the ICA Payments.

                  WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                  A.     Avoiding the $3,600,000 transfer from Genie to an unknown source to the extent
                         necessary to satisfy the Plaintiffs’ claim;

                  B.     Permitting an attachment or other provisional remedy against the transferred
                         funds or other property of Genie in accordance with the procedure prescribed by
                         the Illinois Code of Civil Procedures

                  C.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                         permitted by Illinois law;




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                  D.      Awarding punitive damages in an amount to be proven at trial as Genie’s conduct
                          as alleged herein was willful and wanton and Genie acted with actual malice,
                          fraud, and/or gross negligence;

                  E.      Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                  F.      Grant the Plaintiffs such other relief as this Court deems just.

                                               COUNT XII
                               FRAUD AND FRAUDULENT MISREPRESENTATIONS
                                              (against Genie)

                  250.    The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                  251.    As alleged above, Genie induced the Plaintiffs to transfer the ICA Payments to

        Genie at the direction of Genie (through McMann) by use of false representations, including terms

        included in the BELOCs provided by Genie to McMann, that were materially false, including but

        not limited to:

                          a.      Genie’s agreement to hold in trust and safeguard the ICA Payments; and

                          b.      Genie’s ability and agreement to refund the ICA Payments, if and when
                                  required.

                  252.    The statements amounted to false pretenses, were false representations, were false

        when made, and were in service of an actual fraud.

                  253.    Genie knew that the aforesaid misrepresentations were untrue and omissions

        misleading.

                  254.    Each of the aforesaid misrepresentations and omissions were made with the intent

        that the Plaintiffs would rely on them to enter into the Loans and pay the ICA Payments.

                  255.    The Plaintiffs did in fact rely on each of the alleged omissions and

        misrepresentations in paying the ICA Payments.




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                  256.   But for Genie’s material omissions and misrepresentations as alleged above, the

        Plaintiffs would not have entered into the Loans and would not have paid the ICA Payments.

                  257.   The Plaintiffs justifiably relied upon Genie’s material omissions and

        misrepresentations of fact.

                  258.   As a direct and proximate result of Genie’s material omissions and

        misrepresentations of fact, the Plaintiffs have been damaged in an amount in excess of $3,600,000.

        Genie’s conduct as alleged herein was willful and wanton and Genie acted with actual malice,

        fraud, and/or gross negligence.

                  WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                  A.     Awarding the Plaintiffs $3,600,000;

                  B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                         permitted by Illinois law;

                  C.     Awarding punitive damages in an amount to be proven at trial;

                  D.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                  E.     Grant the Plaintiffs such other relief as this Court deems just.

                                               COUNT XIII
                                        BREACH OF FIDUCIARY DUTY
                                              (against Genie)

                  259.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                  260.   Genie drafted the BELOCs and Loan Documents.

                  261.   Genie provided drafts of the BELOCs and Loan Documents to McMann.

                  262.   Genie knew of and understood the terms of the BELOCs and Loan Documents.




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                  263.   At the direction of Genie and McMann, the Plaintiffs paid the ICA Payments into

        Genie’s Chase Bank Account Number xxxxx8502.

                  264.   Genie received payment of the ICA Payments.

                  265.   Genie owed a fiduciary duty to the Plaintiffs to hold the ICA Payments in trust and

        safeguard those funds so the funds could be applied pursuant to the BELOCs.

                  266.   Genie owed a fiduciary duty to the Plaintiffs to act in accordance with the BELOCs,

        including to hold the funds in trust, apply the funds pursuant to the parties’ agreement, and return

        the funds as required by the BELOCs.

                  267.   Genie knew of its duty and obligation to, and agreed to, hold the ICA Payments in

        trust for the benefit of the Plaintiffs to be used in accordance with the BELOCs and Loan

        Documents.

                  268.   Following receipt of the ICA Payments, Genie received copies of the Termination

        Notices.

                  269.   Genie knew and currently knows that the Plaintiffs exercised their rights to

        terminate the BELOCs and Loan Documents and that the Plaintiffs are entitled to the immediate

        return of the ICA Payments.

                  270.   The Plaintiffs made demand on Genie for a return of the ICA Payments.

                  271.   McMann made demand on Genie for a return of the ICA Payments.

                  272.   Genie, through oral and written agreements, agreed to return the ICA Payments to

        the Plaintiffs no later than October 13, 2023.

                  273.   The oral and written agreements to refund the ICA Payments are legally valid,

        binding and enforceable agreements.




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                  274.   Genie breached its fiduciary duties and misappropriated the ICA Payments by,

        among other breaches:

                         a.     Failing to hold the ICA Payments in trust and safeguard those funds; and

                         b.     Failing to return the ICA Payments as required by the BELOCs.

                  275.   The Plaintiffs properly exercised their rights to terminate the BELOCs, properly

        provided the Termination Notices, and are entitled to the immediate refund of the ICA Payments.

                  276.   The Plaintiffs have fully performed all obligations under the oral and written

        agreements.

                  277.   The Plaintiffs are entitled to a return of the ICA Payments.

                  278.   Genie has failed to return the ICA Payments.

                  279.   The Plaintiffs have been damaged as a result of Genie’s breaches of its fiduciary

        duties in the amount not less than $3,600,000.

                  WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                  A.     Awarding judgment in the amount of $3,600,000;

                  B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                         permitted by Illinois law;

                  C.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law;

                  D.     Grant the Plaintiffs such other relief as this Court deems just.

                                                  COUNT XIV
                                             CONSTRUCTIVE TRUST
                                                 (against Genie)

                  280.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                  281.   Genie drafted the BELOCs and Loan Documents.


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                  282.   Genie provided drafts of the BELOCs and Loan Documents to McMann.

                  283.   Genie knew of and understood the terms of the BELOCs and Loan Documents.

                  284.   At the direction of Genie and McMann, the Plaintiffs paid the ICA Payments into

        Genie’s Chase Bank Account Number xxxxx8502.

                  285.   Genie received payment of the ICA Payments.

                  286.   Genie knew of its duty and obligation to, and agreed to, hold the ICA Payments in

        trust for the benefit of the Plaintiffs to be used in accordance with the BELOCs and Loan

        Documents.

                  287.   Following receipt of the ICA Payments, Genie received copies of the Termination

        Notices.

                  288.   Genie knew and currently knows that the Plaintiffs exercised their rights to

        terminate the BELOCs and Loan Documents and that the Plaintiffs are entitled to the immediate

        return of the ICA Payments.

                  289.   The Plaintiffs made demand on Genie for a return of the ICA Payments.

                  290.   McMann made demand on Genie for a return of the ICA Payments.

                  291.   Genie, through oral and written agreements, agreed to return the ICA Payments to

        the Plaintiffs no later than October 13, 2023.

                  292.   The oral and written agreements to refund the ICA Payments are legally valid,

        binding and enforceable agreements.

                  293.   The Plaintiffs have performed all of their obligations under the oral and written

        agreements.

                  294.   Genie materially breached the oral and written agreements by failing to return the

        ICA Payments.



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                  295.   Genie has no legally recognized justification or excuse for breaching the oral and

        written agreements.

                  296.   Genie owed a fiduciary duty to the Plaintiffs to hold the ICA Payments in trust and

        safeguard those funds so the funds could be applied pursuant to the BELOCs.

                  297.   Genie owed a fiduciary duty to the Plaintiffs to act in accordance with the BELOCs,

        including to hold the funds in trust, apply the funds pursuant to the parties’ agreement, and return

        the funds as required by the BELOCs.

                  298.   Genie knew of its duty and obligation to, and agreed to, hold the ICA Payments in

        trust for the benefit of the Plaintiffs to be used in accordance with the BELOCs and Loan

        Documents.

                  299.   Genie breached its fiduciary duties and misappropriated the ICA Payments by,

        among other breaches:

                         a.     Failing to hold the ICA Payments in trust and safeguard those funds; and

                         b.     Failing to return the ICA Payments as required by the BELOCs.

                  300.   Genie engaged in actual and constructive fraud that justifies imposition of a

        constructive trust.

                  301.   As alleged above, Genie obtained payment of the ICA Payments by use of false

        oral and written statements that were materially false, including but not limited to:

                         a.     Genie’s agreement to hold in trust and safeguard the ICA Payments; and

                         b.     Genie’s ability and agreement to refund the ICA Payments, if and when
                                required.

                  302.   The statements amounted to false pretenses, were false representations, were false

        when made, and were in service of an actual fraud.




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                  303.   Genie knew that the aforesaid misrepresentations were untrue and omissions

        misleading.

                  304.   Each of the aforesaid misrepresentations and omissions were made with the intent

        that the Plaintiffs would rely on them to pay the ICA Payments.

                  305.   The Plaintiffs did in fact rely on each of the alleged omissions and

        misrepresentations in paying the ICA Payments.

                  306.   But for Genie’s material omissions and misrepresentations as alleged above, the

        Plaintiffs would not have entered into the Loans and would not have paid the ICA Payments.

                  307.   The Plaintiffs justifiably relied upon Genie’s material omissions and

        misrepresentations of fact.

                  308.   The Plaintiffs properly exercised their rights to terminate the BELOCs, properly

        provided the Termination Notices, and are entitled to the immediate refund of the ICA Payments.

                  309.   The Plaintiffs have fully performed all obligations under the oral and written

        agreements with Genie.

                  310.   The Plaintiffs are entitled to a return of the ICA Payments.

                  311.   Genie has failed to return the ICA Payments.

                  WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                  A.     Establishing a constructive trust for the ICA Payments in the amount of
                         $3,600,000;

                  B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                         permitted by Illinois law;

                  C.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                  D.     Grant the Plaintiffs such other relief as this Court deems just.



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                                                  COUNT XV
                                             UNJUST ENRICHMENT
                                                 (against Genie)

                  312.   The Plaintiffs restate and incorporate the allegations of Paragraphs 1-37, 55-67, 79-

        92 of the Complaint as if fully set forth herein.

                  313.   Genie drafted the BELOCs and Loan Documents.

                  314.   Genie provided drafts of the BELOCs and Loan Documents to McMann.

                  315.   Genie knew of and understood the terms of the BELOCs and Loan Documents.

                  316.   At the direction of Genie and McMann, the Plaintiffs paid the ICA Payments into

        Genie’s Chase Bank Account Number xxxxx8502.

                  317.   Genie received payment of the ICA Payments.

                  318.   Genie knew of its duty and obligation to, and agreed to, hold the ICA Payments in

        trust for the benefit of the Plaintiffs to be used in accordance with the BELOCs and Loan

        Documents.

                  319.   Following receipt of the ICA Payments, Genie received copies of the Termination

        Notices.

                  320.   Genie knew and currently knows that the Plaintiffs exercised their rights to

        terminate the BELOCs and Loan Documents and that the Plaintiffs are entitled to the immediate

        return of the ICA Payments.

                  321.   The Plaintiffs made demand on Genie for a return of the ICA Payments.

                  322.   McMann made demand on Genie for a return of the ICA Payments.

                  323.   Genie has refused to return the ICA Payments.

                  324.   By retaining the funds, Genie has unjustly retained the benefit of those funds to the

        detriment of the Plaintiffs.



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                  325.   The Plaintiffs are entitled to a return of the ICA Payments.

                  326.   The Plaintiffs demanded return of the ICA Payments.

                  327.   Genie is obligated to return the ICA Payments and has no legal or colorable right

        to keep the ICA Payments.

                  328.   Genie has wrongfully refused to return the ICA Payments.

                  329.   The ICA Payments are the Plaintiffs lawful property.

                  330.   Genie’s retention of the ICA Payments violates the fundamental principles of

        justice, equity, and good conscience.

                  WHEREFORE, the Plaintiffs respectfully request that this Court enter judgment in their

        favor and against Genie:

                  A.     Awarding the Plaintiffs $3,600,000 for Genie’s unjust enrichment related to
                         retention of the ICA Payments;

                  B.     Awarding the Plaintiffs prejudgment interest and post-judgment interest, as
                         permitted by Illinois law;

                  C.     Awarding the Plaintiffs their costs and attorney’s fees, as provided by law; and

                  D.     Grant the Plaintiffs such other relief as this Court deems just.




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         Dated: November 27, 2023                   Respectfully submitted,


                                                    NORTH HAVEN LODGING PARTNERS
                                                    LLC and WALLINGFORD LODGING
                                                    PARTNERS LLC


                                                    By:       /s/ William J. McKenna
         William J. McKenna (IL Bar No. 3124753)              One of Its Attorneys
         Andrew T. McClain (IL Bar No. 6313453)
         Foley & Lardner LLP
         321 North Clark Street, Suite 3000
         Chicago, Illinois 60654
         Telephone: 312.832.4500
         Fax: 312.832.4700
         wmckenna@foley.com
         amcclain@foley.com




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    JS 44 (Rev. 04/21)                             CIVIL #:
                             Case: 1:23-cv-16264 Document COVER     SHEET
                                                            1-1 Filed: 11/27/23 Page 1 of 1 PageID #:49
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
    I. (a) PLAINTIFFS                                                                                             DEFENDANTS
           North Haven Lodging Partners, LLC, and Wallingford                                                     McMann Commercial Lending LLC n/k/a McMann
           Lodging Partners, LLC,                                                                                 Professional Services, LLC, and/or McMann Capital, et al.
       (b) County of Residence of First Listed Plaintiff                                                          County of Residence of First Listed Defendant Cook County, IL
                                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                  NOTE:   IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                          THE TRACT OF LAND INVOLVED.

       (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)

             Andrew T. McClain, Foley & Lardner LLP, 321 N. Clark
             St., Ste. 3000, Chicago, IL 60654 (312) 832-4500
    II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                            (For Diversity Cases Only)                                  and One Box for Defendant)
□1         U.S. Government             □3     Federal Question                                                                       PTF      DEF                                         PTF      DEF
             Plaintiff                          (U.S. Government Not a Party)                         Citizen of This State         □1        □ 1      Incorporated or Principal Place     □ 4 □   ✖ 4
                                                                                                                                                         of Business In This State

□ 2 U.S. Government                    ✖ 4 Diversity
                                       □                                                              Citizen of Another State          □2    □ 2 Incorporated and Principal Place             ✖ 5
                                                                                                                                                                                               □        ✖ 5
                                                                                                                                                                                                        □
             Defendant                          (Indicate Citizenship of Parties in Item III)                                                              of Business In Another State

                                                                                                      Citizen or Subject of a           □3    □ 3 Foreign Nation                               □ 6      □6
                                                                                                        Foreign Country
    IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                    Click here for: Nature of Suit Code Descriptions.
I             CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                    BANKRUPTCY                          OTHER STATUTES               I
  110 Insurance                          PERSONAL INJURY               PERSONAL INJURY           625 Drug Related Seizure         422 Appeal 28 USC 158                           375 False Claims Act


~                                                                                                                                        B
                                                                                                      :::J                                                                 j
  120 Marine                             310 Airplane               □ 365 Personal Injury -          of Property 21 USC 881       423 Withdrawal                                  376 Qui Tam (31 USC
  130 Miller Act
  140 Negotiable Instrument
                                      B  315 Airplane Product
                                              Liability
                                                                           Product Liability
                                                                    □ 367 Health Care/
                                                                                                 690 Other
                                                                                                      :::J                             28 USC 157
                                                                                                                                    INTELLECTUAL
                                                                                                                                                                           -
                                                                                                                                                                                      3729(a))
                                                                                                                                                                                  400 State Reapportionment
□ 150 Recovery of Overpayment            320 Assault, Libel &              Pharmaceutical                                          PROPERTY RIGHTS                                410 Antitrust
      & Enforcement of Judgment               Slander                      Personal Injury                                                                                        430 Banks and Banking
                                                                                                                                □ 820 Copyrights            -
  151 Medicare Act                       330 Federal Employers’            Product Liability                                                                                      450 Commerce
B 152 Recovery of Defaulted
       Student Loans
                                              Liability
                                         340 Marine
                                                                    □  368 Asbestos  Personal
                                                                           Injury Product
                                                                                                                                  830 Patent
                                                                                                                                         B
                                                                                                                                  835 Patent - Abbreviated
                                                                                                                                                            -
                                                                                                                                                            -                     460 Deportation
                                                                                                                                                                                  470 Racketeer Influenced and
       (Excludes Veterans)
□ 153 Recovery of Overpayment
                                      B  345 Marine Product
                                              Liability
                                                                           Liability
                                                                     PERSONAL PROPERTY                    LABOR
                                                                                                                                      New Drug Application -
                                                                                                                                □ 840 Trademark
                                                                                                                                □ 880 Defend Trade Secrets                 :::J
                                                                                                                                                                                      Corrupt Organizations
                                                                                                                                                                                  480 Consumer Credit
      of Veteran’s Benefits              350 Motor Vehicle             370 Other Fraud        _J 710 Fair Labor Standards                                                             (15 USC 1681 or 1692)
□ 160 Stockholders’ Suits
✖ 190 Other Contract
□
                                      B  355 Motor Vehicle
                                             Product Liability      □
                                                                     B 371 Truth in Lending
                                                                       380 Other Personal        720
                                                                                                     Act
                                                                                                     Labor/Management
                                                                                                      :::J
                                                                                                                                      Act of 2016

                                                                                                                                   SOCIAL    SECURITY
                                                                                                                                                            7                     485 Telephone Consumer
                                                                                                                                                                                      Protection Act
  195 Contract Product Liability         360 Other Personal                Property Damage           Relations                    861 HIA (1395ff)                                490 Cable/Sat TV
B
                                                                                                                                         ~
  196 Franchise                              Injury
                                         362 Personal Injury -
                                                                    □ 385 Property Damage
                                                                           Product Liability
                                                                                                 740 Railway Labor Act
                                                                                                      j
                                                                                                 751 Family and Medical
                                                                                                                                  862 Black Lung (923)
                                                                                                                                  863 DIWC/DIWW (405(g))
                                                                                                                                                            -
                                                                                                                                                                            J     850 Securities/Commodities/
                                                                                                                                                                                      Exchange
                                             Medical Malpractice                                     Leave Act                    864 SSID Title XVI                              890 Other Statutory Actions
I      REAL PROPERTY                       CIVIL RIGHTS              PRISONER PETITIONS         I790 Other Labor Litigation     □ 865 RSI (405(g))                         --     891 Agricultural Acts
LJ 210 Land Condemnation              ,=
                                         440 Other Civil Rights        Habeas Corpus:         _J 791 Employee Retirement                                                          893 Environmental Matters
□ 220 Foreclosure                        441 Voting                    463 Alien Detainee            Income Security Act          FEDERAL TAX SUITS                               895 Freedom of Information


§  230 Rent Lease & Ejectment
   240 Torts to Land
                                      ,=
                                      ,- 442 Employment
                                         443 Housing/
                                                                     B 510 Motions to Vacate
                                                                           Sentence
                                                                                                                                □ 870 Taxes (U.S. Plaintiff
                                                                                                                                       or Defendant)
                                                                                                                                                                                      Act
                                                                                                                                                                                  896 Arbitration
   245 Tort Product Liability
                                      -
                                             Accommodations            530 General                                              □ 871 IRS—Third Party                      j      899 Administrative Procedure
□ 290 All Other Real Property         D  445 Amer. w/Disabilities -
                                             Employment
                                                                     B
                                                                     -
                                                                       535 Death Penalty
                                                                       Other:
                                                                                                     IMMIGRATION
                                                                                                 462 Naturalization Application
                                                                                                                                       26 USC 7609                                    Act/Review or Appeal of
                                                                                                                                                                                      Agency Decision
                                      D  446 Amer. w/Disabilities - ,- 540 Mandamus & Other      465 Other Immigration
                                                                                                      :::J                                                                 :::J   950 Constitutionality of
                                             Other                  ,- 550 Civil Rights              Actions                                                                          State Statutes
                                         448 Education              ,- 555 Prison Condition
                                                                       560 Civil Detainee -
                                                                     -     Conditions of
                                                                           Confinement
    V. ORIGIN (Place an “X” in One Box Only)
      1 Original                 2 Removed from               3     Remanded from                   4 Reinstated or             5 Transferred from   6 Multidistrict                       8 Multidistrict
□
✖                            □                           □                                      □                         □                            □                               □
        Proceeding                 State Court                      Appellate Court                   Reopened                    Another District       Litigation -                        Litigation -
                                                                                                                                  (specify)              Transfer                            Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                          U.S.C. § 1332
    VI. CAUSE OF ACTION Brief description of cause:
                                          breach of contract, fraudulent transfer, conversion, constructive trust
    VII. REQUESTED IN                          CHECK IF THIS IS A CLASS ACTION                               DEMAND $                                CHECK YES only if demanded in complaint:
         COMPLAINT:                            UNDER RULE 23, F.R.Cv.P.                                      $3,600,000                              JURY DEMAND:                  ✖ Yes
                                                                                                                                                                                   □           □ No
    VIII. RELATED CASE(S)
          IF ANY                             (See instructions):
                                                                     JUDGE                                                                   DOCKET NUMBER
    DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
    Nov 27, 2023                                                         /s/William J. McKenna
    FOR OFFICE USE ONLY

      RECEIPT #                    AMOUNT                                    APPLYING IFP                                       JUDGE                           MAG. JUDGE
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                 EXHIBIT 1
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            BUSINESS EXPANSION LINE OF CREDIT AGREEMENT



                                    among




                  MCMANN COMMERCIAL LENDING LLC

                                   as Lender



                                      and




                        North Haven Lodging Partners LLC
                                   as Borrower




                                  dated as of

                                 April 10, 2023




                                                              Initials:   ?{f S~
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               BUSINESS EXPANSION LINE OF CREDIT AGREEMENT

       This Business Expansion Line of Credit Agreement (as the same may from time to time be
amended, restated, or otherwise modified, this "Agreement") is made and entered as of April 10,
2023, between McMann Commercial Lending LLC (the "Lender"), and North Haven Lodging
Partners LLC., a Connecticut Limited Liability Company ("Borrower").

                                         RECITALS

       A.       The Borrower desires to obtain from Lender an asset-backed line of credit loan
(the "LOC") in an aggregate principal amount not to exceed the Maximum Amount, as
hereinafter defined.

       B.     The Borrower desires to obtain the LOC from Lender for Business Expansion for
construction of a 105-room limited-service hotel (as more fully described in Exhibit D
attached hereto the "Project"). Acquired assets will be legally described on Exhibit E
attached hereto (the "Property").

        C.      The Borrower has agreed to pay a minimum contribution of the Project LOC
Amount to Lender, by establishing the Interest Reserve (as hereinafter defined) and the ICA (as
hereinafter defined), collectively,(the "interest Reserve Account"), within seven (7) calendar
days after the fully executed LOC Documents (as hereinafter defined) are received by Lender.

       D.     The Borrower has agreed to pay, pursuant to Section 3.6 hereof, the aggregate
amount of One Million Eight Hundred Thousand Dollars and No Cents Dollars ($1,800,000),
(the "ICA Payment"), by bank wire to Lender. An account on the books and records of the
Lender shall be created to serve as an Interest Credit Account (the "[CA"). A credit equal to
the ICA Payment shall be noted in the ICA for purposes of satisfying interest payments under the
LOC and upon the terms and conditions set forth herein.

       E.      Lender has agreed to make Advances (as hereinafter defined) under the LOC to
Borrower in an aggregate amount, according to Exhibit B, an amount not to exceed the
Maximum Amount for the purposes outlined in these recitals and the Promissory Note attached
hereto as Exhibit A and upon tbe terms and subject to the conditions hereinafter set forth.

              NOW THEREFORE, for valuable consideration, the receipt and sufficiency of
which is hereby acknowledged, Borrower and Lender agree as follows:


                                          ARTICLE 1
                                         DEFINJTlONS

       Section 1.1. Certain Defined Terms. Except as otherwise provided herein, accounting
terms not specifically defined shall be construed, and all accounting procedures shall be
performed per generally accepted accounting principles consistently applied. As used in this



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agreement, the following terms have the following meanings, which apply to both the singular
and plural forms:

        "Advance(s)" means any loan advance made by the Lender per the terms and conditions
of this Agreement.

       "Applicable Interest Rate" means the fixed interest rate specified in the Promissory Note.

       "Borrower" means that term as defined in the first paragraph of this Agreement.

        "Business Expansion" means any transaction or use, including for working capital, that
relates to the expansion of the business of the Borrower, or series of related transactions for
the purpose of or resulting, directly or indirectly, in (a) the expansion by the Borrower or any of
its subsidiaries of all or substantially any and all assets, or of any business or division, (b)
the expansion by the Borrower or any of its subsidiaries of capital stock, partnership
interests, membership interests or equity, or otherwise causing any business to become a
subsidiary of the Borrower or (c) a merger or consolidation or any other combination by the
Bon-ower or any of its subsidiaries with another Person or business (other than a Person that is a
subsidiaiy) provided that the Bonower (or a Person that succeeds to the Borrower in
connection with such transaction or series of related transactions) or a subsidiary of the
Bonower (or a Person that becomes a subsidiary of the B01Tower as a result of such transaction)
is the surviving entity; provided that any Person that is a subsidiaiy at the time of execution
of the definitive agreement related to any such transaction or series of related transactions (or,
in the case of a tender offer or similar transaction, at the time of filing of the definitive offer
document) shall constitute a subsidiary for purposes of this definition even if in connection with
such transaction or series of related transactions, such Person becomes a direct or indirect
holding company of the Borrower.

       "Business Plan" means the document(s) outlining the accurate and up-to-date business
operations of the End-Borrower, as previously provided by End-Borrower, substantially in the
form outlined in EXHIBIT D, and subject to review by Lender's Capital Partners as described in
Section 8.1 ofthis Agreement.

      "Closing Date" means the last date of signed execution of this Agreement by Lender and
Borrower.

        "Collateral" means all property securing repayment of the obligations of Borrower under
this Agreement, as such coJlateral is evidenced by a Security Document, including all additions
thereto, replacements, and proceeds, thereof.

       "Event(s) of Default" means any event or condition that shall constitute an event of default
as described in Article 13 of this Agreement.
       "ICA" means the definition given in Recital D of this Agreement.

       "ICA Payment'' means the amount remitted pursuant to Recital D of this Agreement.




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        "Interest Reserve" means credit on the books and records of the Lender as an interest
reserve on Advances under the LOC. This credit is provided on behalf of the Borrower when
there is a contribution from a Borrower JV Partner, received by the Lender. When there is no
such contribution, the Interest Reserve exists with no credit available. This credit is
simultaneously created when the ICA is established.

       "Interest Reserve Account" means the definition given in Recital C of this

       Agreement.

       "Lender" means that term as defined in the first paragraph of this Agreement.

       "Lender's Capital Partners" means one or more lender-clients of the Lender

       providing funding towards the LOC.

       "LOC" means that term as defined in Recital A of this Agreement.

       "LOC Disbursement Account" means that term as defined in Section 3.12 hereof.

        "LOC Document(s)" means, collectively, this Agreement, the Promissory Note, and
each Security Document, as any of the foregoing may from time to time be amended, restated,
or otherwise modified or replaced, and any other document delivered pursuant thereto.

       "Maximum Amount" means Eighteen Million Nine Hundred Thousand Dollars and No
Cents ($18,900,000). The Maxinmm Amount is the Project LOC Amount plus all fees, costs, and
expenses which are the BmTower's responsibility to pay.

        "Organizational Documents" means, concerning any Person (other than an individual),
such Person's Articles (Certificate) of Incorporation or equivalent formation documents, and
regulations (Bylaws), operating agreement, N operating agreement, partnership agreement or
equivalent governing documents, and any amendments to any of the foregoing.

        "Other Taxes" means all present or future stamp or documentary taxes or any other
excise, ad valorem or property taxes, goods and services taxes, harmonized sales taxes and other
sales taxes, use taxes, value added taxes, transfer taxes, charges or similar taxes or levies arising
from any payment made hereunder or under any other LOC D09ument, or from the execution,
delivery or enforcement of, or otherwise concerning, this Agreement or any other LOC
Document.

         "Person" means any individual, sole proprietorship, partnership, joint venture,
unincorporated organization, corporation, limited liability company, unlimited liability company,
institution, trust, estate, governmental authority, or any other entity.

       "Project" means that term as defined in Recital B of this Agreement.



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        "Project Costs" means the amount of the LOC proceeds/all Advances not to exceed the
Maximum Amount, to be utilized by the Borrower for implementation or execution of the Project
(including but not limited to the payment of taxes, insurance, and all items reasonably necessary
for the successful execution of the Project), as more specifically outlined in the Project budget set
forth on Exhibit C attached hereto.

       "Project    LOC     Amount'' means        Eighteen Million Dollars and No Cents
($18,000,000).

       ''Property" means that term as defined in Recital B of this Agreement.

      "Promissory Note" means the Promissory Note, in the form attached hereto as
ExhlbitA.

       "Security Agreement" means that certain Security Agreement, dated as oftbe Closing
Date, executed by the Borrower in favor of Lender, in the form attached hereto as Exhibit E.

        "Security Document" means each security agreement (including, without limitation, the
Security Agreement) each pledge agreement, each intellectual property security agreement, each
control agreement, each mortgage, each U.C.C. Financing Statement or similar filing filed in
connection herewith or perfecting any interest created in any of the foregoing documents, and any
other document pursuant to which any lien is granted by any Person to Lender, as security for the
obligations under this Agreement or the Promissory Note, or any part thereof, and each other
agreement executed or provided to the Lender in connection with any of the foregoing, as any of
the foregoing may from time to time be amended, restated or other'(Vise modified or replaced.

        "Scheduled Maturity Date" means the 10th anniversary of the Closing Date, as
 the same be extended pursuant to Section 3.2 hereof.

          "Subsidiary" means any entity (other than the Borrower) in an unbroken chain of
  entities beginning with the B01TOwer if each of the entities owns stock, units, or other interests
  that represent fifty percent (50%) or more of the total combined voting power of all classes of
  stock in one of the other corporations in such chain

          "Taxes" means all present or future taxes of any kind, including, but not limited to,
  levies, imposts, duties, assessments, surtaxes, charges, fees, deductions or withholdings
  (including backup withholding), or other charges now or hereafter imposed, levied, collected,
  withheld or assessed by any governmental authority (together with any interest, penalties, fines,
  additions to taxes or similar liabilities with respect thereto); provided that "Taxes" shall not
  include, concerning those imposed on Lender, income, capital gain, sales, use, franchise,
  excise, taxes or withholding on account of foreign investment in the United States or other taxes
  on Lender or the revenues derived by Leader concerning the LOC.

          "Term Sheet" means that document(s) dated as of 3/14/2023 between Borrower and
  Lender, setting forth a general summary of the terms of agreement memorialized more fully
  herein in final form.

        "Tranche Schedule" means the schedule of Advances to Borrowers from the Lender, based

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upon the dates of the disbursements attached hereto as Exllibit B; provided that Borrower may
request in writing to Lender adjustments to the Tranche Schedule (so long as the aggregate amount
of all Advances thereunder does not exceed the Maximum Amount), with any such adjustments
subject to the approval of Lender in its sole discretion.


     "UCC" means the Uniform Commercial Code as in effect from time to time in the State of Illinois or, when the
laws of any other state govern the method or manner of the perfection or enforcement of any security interest in any
of the Collateral, the Uniform. Commercial Code as in effect from time to time in such state.

                                             ARTICLE2
                                            THE CREDIT

      Section 2.1. Line of Credit Amount. Subject to the terms and conditions of this
Agreement, Lender agrees to make Advances to the Borrower under the LOC in an aggregate
amount not to exceed the Maximum Amount. The obligation of Borrower to repay such
Advances, with interest thereon, shall be evidenced by the Prorni~sory Note.

       Section 2.2. Line of Credit Documents. The obligation of the Borrower to repay the
Advances under the LOC shall be evidenced by the Promissory Note, this Agreement, and each
Security Document. The LOC shall be secured by the LOC Documents, all of which shall be in
form and substance satisfactory to the Lender and its counsel.


                                       ARTICLE3
                             TERM, INTEREST, AND PAY.Mli.:NTS

        Section 3.1. Initial Term. The initial term of the LOC is Ten (10) years and shall
 commence on the Closing Date and expire on the Scheduled Maturity Date. The aggregate
 outstanding amount of all Advances and any accrued but unpaid interest and fees shall be
 payable in full thereon and all other amounts due and owing hereunder and under the
 Promissory Note shall be repaid by Borrower on the Scheduled Maturity Date.

        Section 3.2. Extended Term. At the end of the initial tenn outlined in Section 3.1 hereof,
and at the end of each Extended Term (as defined below, if any), provided the LOC is not then and
bas not been in default beyond any applicable notice and cure period, and Borrower bas been in
full compliance with the terms and conditions of the LOC Documents, and Lender has not provided
Borrower notice that an event then exists which, over time, the giving of notice and the expiration
of any cure period would become an Event of Default, and fu~er provided that all conditions to
extension set forth below are fully satisfied, Borrower may elect to extend the term of the LOC
and this Agreement for an additional twenty-four (24) month period, up to a total of one (I) such
additional consecutive periods (separately, "Extended Term"; collectively, the "Extended
Terms"). In connection with Lender's granting of each Extended Term, (a) Borrower shall
execute all documents which Lender, in its reasonable discretion, deems necessary to implement
such extension, and (b) Borrower will pay all reasonable costs and expenses incurred by Lender
in connection with such extension, including but not limited to Lender's attorney's fees, as a one
(1)-time fee equal to one percent (1 %) of the Project LOC Amount.



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       Section 3.3. Applicable Interest Period. The interest period concerning each Advance
under the LOC shall be the period commencing on the date such Advance was made to Borrower
by Lender, which shall commence the date such funds were withdrawn by Borrower from the LOC
Disbursement Account, and continuing until such Advance is repaid in full.

        Section 3.4. Interest Rate Calculation. Interest shall be calculated based on a 365-day
year and the actual number of days elapsed in a 365-day year and at the rate outlined in the
Promissory Note (the "Applicable Interest Rate"). The interest rate payable on Advances shall be
subject, however, to the limitation that such interest rate shall never exceed the highest rate which
the Borrower may contract to pay under applicable law (the "Maximum Interest Rate"). IfLender
shall receive interest in an amount that exceeds the Maximum Interest Rate, the excess interest
shall be applied to the unpaid principal balance outstanding under the Promissory Note or, if it
exceeds such unpaid principal, refunded to the Borrower.

        Section 3.5. Interest Pavments. Interest on the outstanding principal balance of Advances
under the LOC shall be paid from the Interest Reserve Account at the rate and at the times outlined
in the Promissory Note. Such interest payments shall be deducted by Lender (a) first from the ICA
until such funds are depleted, and (b) second, from the interest Reserve. Interest shall be
calculated on Advances made from the date of each Advance.

         Section 3.6. Reserves. Following the signing of this Agreement, the Borrower shall
remit One Million Eight Hundred Thousand Dollars and No Cents ($1,800,000) as the ICA
Payment per the terms and the time outlined in Recital D of this Agreement. Upon the funding of
the first Advance under the Tranche Schedule, the ICA shall remain part of the Interest Reserve
Account and subject to the provisions of this Agreement, and not refundable to the
Borrower unless otherwise specifically provided for in this Agreement. All credits to the Interest
Reserve Account shall be used, absent the occurrence of an Event of Default, for purposes of
payment on interest payable on the Advances as and when such interest payments are due and
payable.

        Section 3.7. Prepavment. The borrower may, without penalty, prepay all or any po11ion
of the outstanding principal balance of the LOC.

       Section 3.8. Interest Credit Account. If at any time, no balance remains in the interest
Reserve Account (having been applied as provided in this Agreement), upon notice from Lender
to Borrower, which notice shall be delivered to and received by Borrower no less than thirty (30)
days before the date of the next interest payment date, Borrower shall remit into the LCA the
funds necessary to make such interest paid before the date such interest payment is due and
payableSection 3.9. Fees.
              (a) LOC Fee. At Closing and out of the initial Advance, the Borrower shall pay
                  Lender a nonrefundable fee for the LOC in an aggregate amount equal to Five
                  percent (5%) multiplied by the Project LOC Amount, which is equal to Nine
                  Hundred Thousand Dollars and No Cents ($900,000) (the "LOC Fee"). The
                   LOC Fee has been fully earned by Lender and is due and payable in full to Lender
                   commensurate with the funding of, and from the proceeds of, the first Advance
                   under the Tranche Schedule, without condition.




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              (b) Promote Fee. At Closing and out of the initial Advance, the Borrower shall pay
                  Lender a nonrefundable success fee in an aggi;egate amount equal to One
                  percent (1 %) multiplied by the Project LOC Amount, which is One
                  Hundred Eighty Thousand Dollars and No Cents ($180,000) (the "Promote Fee").
                  The Promote Fee has been fully earned by Lender and is due and payable in full to
                  Lender commensurate with the funding of, and fro111 the proceeds of, the first
                  Advance under the Tranche Schedule, without conctition.

               (c) ICA Advance Fee. To the extent the Borrower used Lender to provide the
                   ICA Payment, at Closing and out of the initial Advance, the Borrower shall
                   reimburse Lender in an amount equal to the ICA Payment advanced by
                   Lender plus a nonrefundable fee in an aggregate amount equal to
                   Zero percent (0%) oftbe ICA Payment, which is No Dollars and No Cents
                   Dollars($-) (the "ICA Advance Fee"). The ICA Advance Fee has been fully
                   earned by Lender and is due and payable in full to Lender commensurate with
                   the funding of, and from the proceeds of, the first Advance under the Tranche
                   Schedule, without condition. The borrower will take the Project LOC Amount
                   in full on the closing of the first tranche.


        Section 3.10. Line of Credit Extension Fees. Concurrently with the commencement of
each Extended Term, if any, Borrower shall pay to the Lender, on the first date of each such
Extended Term, a nonrefundable LOC extension fee for each extension in an aggregate amount
equal to one percent (1 %) multiplied by the Maximum Amount.

        Section 3.11. Legal and Incidental Fees, Charges. and Costs. Borrower shall pay at
Closing, all reasonable out of pocket and up to Twelve Thousand, Five Hundred U.S. Dollars
($12,500) for legal fees, recording and filing fees, documentary stamps, taxes, service charges,
credit reports, UCC search costs, title company fees and costs, third party paymaster fees and
administrative expenses, attorneys' fees and expenses, and all other charges or expenses incurred
by Lender including administrative fees and expenses (a) in connection with the LOC, (b) in
connection with efforts to collect any amount due under the LOC, or (c) in any action or proceeding
to enforce the provisions of any of the LOC Documents, including those incurred in post-judgment
collection efforts and in any bankruptcy proceeding (including any action for relief from the
automatic stay of any bankruptcy proceeding) or judicial or non-judicial proceeding; provided that
Lender will provide Borrower ten (10) days' advance notice of any legal fees pursuant to this
Section 3.11 that will exceed Twelve Thousand, Five Hundred U.S. Dollars ($12,500). Lender
shall not be required to pay any premium or other charge or any brokerage fee or commission or
similar compensation in connection with the LOC or with satisfying the conditions of any
commitment for standby or permanent financing. Borrower hereby agrees to indemnify and hold
Lender harmless against and from all claims for such fees, commissions, and compensation in
connection with the LOC; provided that Lender shall not have the right to be indemnified under
this Section 3 .11 for its own gross negligence or willful misconduct.


       Section 3.12. Line of Credit Disbursement Account. The proceeds of each Advance
under the LOC shall be advanced into the LOC Disbursement Account with Lender to be used by
Borrower for payment of the Borrower's Project Costs, solely fot the purposes and in the manner

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 outlined in this Agreement. The LOC Disbursement Account will be held jointly in the name of
 the Borrower and Lender. Borrower hereby irrevocably assigns to Lender as additional security
 for repayment of the LOC, all of Borrower's rights and interest in and to the LOC Disbursement
 Account, which assignment will be effective only upon the occurrence and continuation of an
 Event of Default, subject to an applicable Default Cure Period (as hereinafter defined).


        Section 3.13. Taxes.

          (a)     All payments made by the Borrower under any LOC Document shall be made free
 and clear of, and without deduction or withholding for or on account of, any Taxes or Other Taxes.
 If any Taxes or Other Taxes are required to be deducted or withheld from any amounts payable to
 Lender hereunder, the amounts so payable to Lender shall be increased to the extent necessary to
 yield to the Lender (after deducting, withholding, and payment of all Taxes and Other Taxes,
 including such deductions, withholdings and payments of Taxes and Other Taxes applicable to
 other sums payable under this Section 3.13) interest or any such other amounts payable hereunder
 at the rates or in the amounts specified in the LOC Documents.

         (b)    Whenever any Taxes or Other Taxes are required to be withl1eld and paid by the
 Borrower, the Borrower shall timely withhold and pay such taxes to the relevant governmental
 authorities. As promptly as possible thereafter, the Borrower shall send to the Lender a certified
 copy of an original official receipt received by the Borrower showing payment thereof or other
 evidence of payment reasonably acceptable to the Lender. If the Bo1Tower shall fail to pay any
 Taxes or OtherTaxes when due to the approp1iate governmental authority or fails to remit to the
 Lender the required receipts or other required documentary evidence, the Borrower shall
 indemnify Lender on demand for any incremental Taxes or Other Taxes paid or payable by the
 Lender as a result of any such failure.

      (c)    The agreements in this Section 3.13 shall survive the termination of the LOC
 Documents and the payment of the Advances and all other aipounts payable under the LOC
 Documents.




                                    ARTICLE4
                    CONDITIONS FOR CLOSING AND DISBURSEMENT

        The obligation of Lender to provide the LOC and make any Advance hereunder will be
 subject to the satisfaction, at Borrower's cost and expense, of each of the following conditions,
 unless waived by Lender in writing:


        Section 4.1.   Delivery of the LOC Documents.

               (a)     As of the Closing Date, Borrower shall have executed and delivered to
 Lender in a manner satisfact01y to Lender all of the LOC Documents.

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              (b)    The Borrower shall have delivered to the Lender an executed Control
Agreement (as defined in the Security Agreement), for each Payment Account and Security
Account (both as defined under UCC § 9-102 and as further defined in the Security Agreement)
maintained by the Bonower.                                    I
                (c)    Contemporaneously with Borrower's acquisition of the Property, Borrower
shall have delivered an executed and notarized mortgage or deed of trust in form and substance
required by Lender granting Lender a priority lien and security interest in and to the Property (the
"Security Instrument"), and such Security Instrument shall be promptly recorded in the real
property records of the county in which such real property is located. If required by Lender, (i)
the closing of such Advance and recording of the Security Instrument shall be completed through
the services of a title company chosen by Lender, and (ii) such title company shall issue, at
Borrower's expense and for the benefit of Lender, a loan policy of title insurance concerning the
Property. For the avoidance of doubt, this Section 4. l(c) shall not operate to preclude any
Advances to the Borrower to fund pre-acquisition costs.

        Section 4.2. Authority. On the Closing Date, the Borrower shall have delivered to the
Lender an officer's certificate (or comparable document) certifying the names of the officers,
members, or managers of the Bonower authorized to sign the LOC Documents, together with the
true signatures of such Persons and certified copies of (a) the resolutions of the board of directors
(or comparable document) of the Borrower evidencing approval of the execution, delivery, and
performance of the LOC Documents and the consummation of the transactions contemplated
thereby, (b) the Organizational Documents of the Borrower (including, if applicable, copies of the
partnership and corporate documentation of each of the general partners or members of Borrower
and copies of all equity participation agreements), and (c) a contemporaneous certificate of good
standing concerning the Borrower.

         Section 4.3. Liens. The Project is free from any prior liens. All taxes and assessments
affecting the Project or any part thereof due and payable (including without limitation any taxes)
have been paid. The Project is not impaired by any existing undisclosed covenants, conditions, or
restrictions. At the request of the Lender, the Borrower shall (i) deliver to the Lender the results
of UCC lien searches, satisfactory to the Lender, (ii) the results 'of federal and state tax lien and
judicial lien searches and pending litigation and bankruptcy searches, in each case satisfactory to
the Lender, and (iii) UCC or other lien termination statements reflecting termination of all liens
previously filed by any Person and not expressly permitted pursuant to the LOC Documents.
Borrower agrees that no lien, other than as required by this Agreement and the LOC Documents,
shall be placed on the Property, the Project, or any Collateral without the express written
permission of Lender.

        Section 4.4. Litigation. As of the Closing Date and as of the date of each Advance, there
shall be no material Litigation pending against Borrower which in Lender's reasonable business
judgment materially affects Borrower's ability to perform all of the terms and provisions of this
Agreement.

      Section 4.5. Events of Default. As of the Closing Date and as of the date of each Advance,
no Event ofDefaultshall have occurred and be continuing, and the Borrower shall otherwise be in

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full compliance with the terms and provisions of this Agreement. I

       Section 4.6. Purchase and Agreement Contracts. Lender shall receive copies of all
material contracts entered in connection with the Property and the Project, and all other contracts
material to the Borrower's operations and/or properties.

       Section 4.7. Compliance with Certain Requirements. Lender shall receive evidence
reasonably satisfactory to Lender that the business is in material compliance with all applicable
laws, regulations, ordinances, conditions, reservations, and restrictions imposed on the
business(es) under local, state, federal, and international laws, procedures, statutes, regulations,
and ordinances, conditions applicable to the Project.              I
        Section 4.8. Evidence of Insurance.
        (a)     For the period beginning with the execution of this Agreement and continuing
throughout the term of the LOC, Borrower shall take out, pay for, and will keep in full force,
property and liability insurance on the Borrower and the Project against such risks, in such
amounts, and with such lenders' loss payable and additional inswied clauses and endorsements as
shall be satisfactory to Lender and otherwise customarily carried by businesses of similar size and
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character that of the business of the Borrower, and Borrower shall furnish Lender with the
satisfactory evidence of such underlying Borrower insurance anq promptly notify Lender of any
changes to such insurance. Borrower shall include Lender as [ n additional insured under all
insurance policies applicable to the Project and the Property.
        (b)     Within five (5) business of receipt of End-Borrower insurance pursuant to Section 4.8(a),
Lender shall acknowledge receipt and communicate to Borrower the approval and sufficiency of such End-
Borrowers certificate of insurance.

       Section 4.9. Financial Statements. The lender shall haye received all financial reports
required by Section 8.6 hereof.

       Section 4.10. Business Pro Forma. The lender shall receive a pro forma income and
expense statement annually in connection with the Project.

       Section 4.11. Management Plan. Lender shall receive a detailed management plan,
concurrently with delivery of the annual financials required pursuant to Section 8.6 hereof, which
will consist of the business operation, and budget for all expenses of Borrower's business.

       Section 4.12. Material Change. Throughout the term of the LOC, Borrower shall advise
Lender of any material change in conditions affecting the Borrower's ability to perfonn under this
Agreement or the Project that would materially alter the documentation and infonnation submitted
by Borrower to satisfy the above conditions precedent and will submit amended documentation
and information reflecting these changed conditions for the reasonable approval of Lender.

        Section 4.13. Non-Subordination. Under this Agreement, the payment and performance
obligations of the Borrower and/or its subsidiaries shall never put the Lender in a position
subordinate to any indebtedness owing to any other creditor of the Borrower and/or any such
Subsidiary (excepting inte1im obligations for labor and materials incurred in the nonnal course of
development and construction of the Project, which obligations will be timely satisfied in the
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normal and reasonable management of the Project).
       Section 4.14. Securitization. The lender may in its sole discretion securitize the LOC
funding through an insurer of its choosing. Should Lender decide to securitize this transaction,
Borrower agrees to cooperate with any preliminary determination or reasonable due diligence
required by the insurer.

                                       ARTICLES
                            USE OF LINE OF CREDIT PROCEEDS

       Section 5.1.    Project Costs: Business Expansion Costs.

       (a)     Proceeds of Advances under the LOC shall be utilized by Borrower solely to
finance the Project Costs, as more fully described in the attached Exhibit C, in connection with
Borrower Business Expansion as further detailed in the Business Plan, updated yearly by
Borrower.

        (b)    The proceeds of the LOC shall be used exclusively for the purposes outlined in this
Agreement. Borrower warrants and represents that the use of the LOC proceeds as set forth herein
is for business and commercial purposes only and that the LOC proceeds will not be used for
personal, family, or household purposes. The borrower will not, directly or indirectly, use the
proceeds of the Advances under the LOC, or lend, contribute, or otherwise make available such
proceeds to any joint venture partner or other Person, (i) to fund any activities or business of or
with any Person, or in any country or territory, that, at the time of such funding, is, or whose
government is, the subject of Sanctions, or (ii) in any other manner that would result in a violation
of Sanctions by any Person.

                                           ARTICLE 6
                                          lNSPECTIONS

        Section 6.1. Project Inspection. Lender, through its officers, agents, contractors, affiliates,
or employees, shall have the right, at all reasonable times during business hours upon fifteen (15)
days prior written notice to Borrower to enter on-site offices of the Project site and to inspect the
operations in connection with the Project; provided that the foregoing inspections shall be limited
to twice per year absent the occurrence of an Event of Default. I

       Section 6.2. Books and Records. Lender shall have the right, at all reasonable times, to
examine the books, records, accounting data, and other documents of Borrower about the Project,
the Property, and the Borrower and to make extracts therefrom or copies thereof.

        Section 6.3. Force Majeure Event Inspection Right. In the event of a Force Majeure
Event (as hereinafter defined) which interrupts, stops, or otherwise impedes the Borrower' s ability
to continue with the Project, upon notice by Borrower to Lender in writing of such Force Majeure
Event occurrence, Lender shall have the right to periodically ~nspect the Project, surrounding
conditions, and interview employees, contractors, vendors involved in the development of the
Project until Lender is satisfied with Borrower's ability to resume operations to develop the
Project. Following a Force Majeure Event, Lender has the right to modify the terms upon which
future Advances may be made as a result of a change in circumstances as determined by the
Lender

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in Lender's sole discretion, that the Borrower can perform or continue to perform the Project
scope of work. Borrower shall execute any additional documents, amendments, or other
agreement of terms required by Lender, before Lender's obligation to continue to make Advances
shall resume.

                                   ARTICLE7
                                ADVANCE OF FUNDS

        Section 7.1. Timing and Advances to Payee. Advances will be made as outlined in the
Tranche Schedule and shall be transferred into the LOC Disbursement Account. So long as all
conditions precedent to an Advance has been met pursuant to the tenus of this Agreement, Lender
agrees that the frrst Advance will be funded no later than seventy-five (75) calendar days following
the opening of the ICA by the Lender with its wholesale lender. ;Lender shall deliver the written
notice to Borrower of the commencement of such seventy-five (75)-day period. Lender shall
deliver the written notice to Borrower via the ZOOMERAL messaging system of the
commencement of such seventy-five (75)-day period.

      Section 7.2. Conditions Precedent to Advance Funds. Lender's obligation to make
Advances hereunder shall be conditioned upon fulfillment of the ters outlined in Article 4 hereof.

        Section 7.3. Unpaid Lien Claims. If Lender receives notice of nonpayment from a
potential lien claimant or a lien is filed that is not insured over, or if contested then offset with a
segregated loss reserve account, or until the potential lien claimant acknowledges payment or
otherwise rescinds its notice in such form and with such other acknowledgments as Lender may
require, per applicable law, Lender, at its option may (a) refuse to make any further Advances to
Borrower, or (b) withhold one hundred percent (100%) of the lien amount claimed from future
Advances.

        Section 7.4. Mandatorv Advances. Notwithstanding any other term or provision of this
Agreement, it is understood that interest on Advances under the LOC shall be paid from the ICA
and that such method of interest payment is mandatory and not optional. If Lender agrees that
Borrower may pay the interest directly, Lender shall have the right to advance the LOC proceeds
to pay said interest if not otherwise paid when due. If the LOC fupds allocated for these purposes
are depleted, Borrower is not relieved from paying directly when due these or any other expenses
or amounts required under the terms of this Agreement or any other LOC Document.

                                    ARTICLES
                        BORROWER'S AFFIRMATIVE COVENANTS

         As a material inducement to Lender to make the LOC to Borrower, and until payment in
full of the Advances and other amounts outstanding under the LOC and performance of all other
obligations of Borrower under the LOC Documents, Borrower agrees to do all of tl1e following
unless Lender shall otherwise consent in writing:

     Section 8.1. Project. (a) Complete, on an ongoing basis, 11ll due diligence required or necessary in
connection with the Project, and (b) be the entity that is the counterparty to each material primary contract
and agreement related to (i) the Project and (ii) the development, construction, operation, and management
of the Project.

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     Section 8.2. Compliance with Laws. Comply with and provide to Lender upon Lender's reasonable request
evidence of material compliance with, all applicable state, local federal, and international laws, procedures, acts,
ordinances, and regulations applicable to the Project.

       Section 8.3. Compliance with Documents. Perform and comply with a11 the terms and
conditions of this Agreement and tbe other LOC Documents.

       Section 8.4. Books and Records. Keep and maintain complete and accurate books of
account, per generally accepted accounting principles consistently applied, reflecting all financial
transactions oftbe Borrower and the Project.

       Section 8.5. Pavment of Obligations. Pay and discharge before the same shall become
delinquent all material obligations, claims, indebtedness, taxes, and other obligations (except only
those so long as and to the extent that the same shall be contested jn good faith by appropriate and
timely proceedings and for which adequate provisions have been established per generally
accepted accounting principles).

        Section 8.6. Financial Reports. Deliver to Lender, concerning Borrower as soon as
available and in any event (a) within sixty (60) days after the end of each calendar quarter during
the term of the LOC, financial statements of Borrower for such quarter and (b) within ninety (90)
days after the end of each fiscal year of the Borrower, annual fmancial statements of the
Borrower, in each case of the foregoing, certified as true and correct (which reports shall be
prepared per generally accepted accounting principles consistently applied) and operating
statements in a form reasonably satisfactory to Lender. Borrower shall also deliver to Lender,
promptly upon request therefor, such other financial information of the Borrower (and its
subsidiaries, if any) as may reasonably be requested by Lender. Tiic borrower must also complete
their ZOOMERAL business profile and keep the business profile up to date throughout the term
of this agreement.

        Section 8.7. Notification to Lender. Promptly after learning thereof, notify Lender of:
(a) the details of any mate1ial action, proceeding, investigation, or claim against or affecting the
Borrower, the Property, or the Project instituted before any court, arbitrator, or governmental
authority or to the Borrower's knowledge threatened in writing to be instituted; (b) any material
dispute between Borrower and any governmental authority involying or related to the Property or
the Project; (c) any labor controversy which has resulted in or, to the Borrower's knowledge,
threatens to result in a strike or disruption which would reasonably be expected to have a material
adverse effect on the business of the Borrower of the Project; (d) the occurrence of any Event of
Default; and (e) any written agreement to purchase any part of the Borrower or the Project or any
application for any refinancing of the LOC.




          Section 8.8. Partnership/Corporate Existence. Preserve and maintain its existence,
 rights, franchises, and privileges in the jurisdiction of its formation.

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                                             ARTICLE9
                             BORROWER'S NEGATIVE cov1NANTS
        Until payment in full of the Advances under the LOC and the performance of all other
obligations of Borrower under the LOC, and in addition to all other covenants and agreement of
Borrower contained herein or in any other LOC Documents, Bontower agrees that unless Lender
shall otherwise consent in writing Borrower shall not:          ]

        Section 9.1. Liquidation, Merger, and Sale of Assets. Liquidate, merge, or consolidate
with any other Person or otherwise transfer to an unrelated Persou fifteen percent (15%) or more
of the equity securities of Borrower, or sell, lease or transfer or otherwise dispose of any assets to
any Person other than in the ordinary course of business. Notwithstanding, any initial public
offering or acquisition by another company will require the Lend~r's approval or full payment of
the outstanding loan balance.

        Section 9.2. Liens. Create or incur any mmtgage, security interest, lien, or other
encumbrance of any kind upon the assets of the Borrower or constituting the Project or any portion
thereof other than (a) any lien securing indebtedness owing to Lender, (b) liens for taxes not yet
due or that are being actively contested in good faith by appropriate proceedings and for which
adequate reserves shall have been established in accordance with generally accepted accounting
principles, (c) other statutory liens, including, without limitation, statutory liens of landlords,
carriers, warehousers, utilities, mechanics, repairmen, workers and material-men, incidental to the
ownership and/or development of the Project that (i) were not inctmed in connection with the
incurring of indebtedness or the obtaining of advances or credit, land (ii) do not in the aggregate
mate1ially detract from the value of the Borrower's property or assets or the Project, (d) easements
or other minor defects or irregularities in title ofthc Property not interfering in any material respect
with the use of such property in the development oftbe Project, and (e) liens existing on the Closing
Date and previously disclosed to and approved by Lender (but orily to the extent that the amount
of debt secured thereby, and the amount and description ofproperty subject to such liens,shall not
be increased).

        Section 9.3. Indebtedness. Create, incur, or have outstanding any indebtedness of any kind, other
        than (a) indebtedness owing to the Lender under this Agreement and tl1e other LOC Documents, and
        (b) indebtedness of the Borrower existing as of the Closing Date as disclosed to and approved by
        the Lender (and any extension, renewal, or refinancing thereof but only to the extent that the
        principal amount thereof does not increase after the Closing Date).

        Section 9.4. Investments, Loans, and Guarantees. (a) Create, acquire, or hold any
        subsidiary, (b) make or hold any investment in any stocks, bonds, or securities of any kind
        (c) be or become a party to any joint venture or other partnership, (d) make or keep
        outstanding any advance or loan to any Person, or (e) be or become a guarantor of any kind.


        Section 9.5. Acquisitions. Enter into any transaction or series ofrelated transactions for or
resulting, directly or indirectly, in (a) the acquisition of all or substantially all of the assets of any
Person, or any business or division of any Person, (b) the acquisition of any of the outstanding
capital stock (or other equity interest) of any Person, or (c) tl1e acquisition of another


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Person by a merger, amalgamation, or consolidation or any other combination with such Person,
unless specifically stated and approved before execution of this Agreement.

       Section 9.6. Organizational Documents. (a) Amend its Organizational Documents in any
manner adverse to Lender, or (b) amend its Organizational Doc~ents to change its name or state,
province or other jurisdiction of organization, or its form of organization.

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       Section 9.7. Project and Project Documents. Willfully or volunta1ily abandon the Proj ect or its
       activities to develop, construct, operate, or maintain the Project. lfthe same would (i) be a major
       decision under the Organizational Documents ofBorrowerl or (ii) have a material adverse effect on
       the Lender and is not necessary or desirable for continued evelopment of the Project.
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               (a) terminate or cancel or consent to or accept any cancellation or termination of;
amend, modify or supplement any provision in any material respect; or grant consent under or
waive any material default under, or material breach of, or material provision of or the performance
of a material obligation by any other Person under, any contracts br agreements (A) related to the
Property, (B) between the Borrower and contractors for the Project, or (C) othe1wise related to the
development, construction, operation, and maintenance of the Project, in each case that would
have an adverse effect on the Lender; or

               (b)    sell, assign (other than to Lender) or otherwise dispose of any of its rights
or interest under, any contracts or agreements (A) related to the Property, (B) between the
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Borrower and contractors for the Project, or (C) otherwise related the development, construction,
operation, and maintenance of the Project without Lender's consent, which consent shall not be
unreasonably withheld.                                            I
                                     Article 10
                         REPRESENTATIONS AND WARRANTIES

       Borrower hereby represents and warrants to Lender that:

        Section 10.1. Validity of Agreement. The Borrower has the right and power and is duly
authorized and empowered to enter, execute and deliver the LOC Documents to which it is a party
and to perform and observe the provisions of the LOC Docume°its. The LOC and the execution,
delivery, and performance of the LOC Documents have been duly authorized by all necessary
action, and when executed and delivered by Borrower will ccmstitute the valid and binding
agreements of B01Tower, enforceable per their terms. The execution, delivery, and perfonnance
of the LOC Docwnents do not conmct with, result in a breach in any of the provisions of,
constitute a default under, or result in the creation of a lien (other than liens permitted under

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Section 9 .2 hereof) upon any assets or property of the Borrower under the provisions of, the
Borrower' s Organizational Documents or any material agreement which the Borrower is a party.

         Section 10.2. Existing Defaults. As of the date ofexecutibn of this Agreement, Borrower
( or any subsidiary of Borrower) is not in material default mthe pe~formance or observance of any
material obligation, agreement, covenant, or condition contained in any bond, debenture, note, or
other evidence of indebtedness or in any contract, indenture, mortgage, agreement, lease, or other

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agreement or instrument to which Borrower (or any subsidiary of Borrower) is a party or by which
it or any of its properties, subsidiaries, partners, or other related entities may be bound.


        Section 10.3. No Default in Other Agreements. The execution and delivery and
performance of this Agreement and all other LOC Documents, the incurrence of the obligations
herein set forth, and the consummation of the transactions herein contemplated, will not result in
the creation of a lien on any of its property (except the liens created by the LOC Documents), and
will not conflict with, result in a breach of any bond, debenture, note, contract, indenture,
mortgage, lease, or any other evidence of indebtedness, agreement or instrument to which it is a
party or by which it or any of its properties, subsidiaries, partners or other related entities may be
bound, or result in the violation by it of any law, order, rule, ordinance, or regulation of any court
or governmental agency or body having jurisdiction over it or any of its properties, subsidiaries,
partners or other related entities.


        Section 10.4. No Consents. No consent, approval, authorization, or other acknowledgment
of any court or governmental agency or body, other than those specifically referenced herein, is
required for the consummation by Borrower of any of the transactions contemplated by this
Agreement, except those permits and licenses required in the ordinary course of construction of
the Project.

       Section 10.5. Litigation. There is no material litigation at law or in equity and no
proceedings before any commission or other administrative authority ("Litigation") pending or to
Borrower's knowledge threatened against or affecting Borrower, its principals, subsidiaries,
partners, or other related entities, or the Project, except as disclosed to and approved in writing by
Lender. There is no material Litigation currently contemplated, threatened, or pending by Borrower
against any entity or person which would have a material effect on Lender, this Agreement, the
LOC, or the transactions contemplated hereunder. Borrower's fai lure to timely disclose to Lender
any Litigation that is pending, threatened, or contemplated by Borrower as of tbe date of
Borrower's execution of the LOC Documents shall constitute a material breach of this
Agreement and shall justify Lender's excuse from the performance of any terms hereof, including
funding of any Advance, until Lender is satisfied that such Litigation has been resolved in
Lender' s sole discretion.

       Section 10.6. Financial Statements. All balance sheets, statements of income or loss,
reconciliation of surplus, and financial data of any other kind furnished to Lender by or on behalf
of Borrower are true and correct in all material respects, have been prepared per generally
accepted accounting principles consistently applied, and ful ly and accurately present the
financial condition of the subjects thereof as of the dates thereof and no material adverse change
has occurred in the financial condition reflected therein since the dates of the most recent thereof.

        Section 10.7. Legal Requirements. The Borrower (a) holds pennjts, certificates, licenses,
orders, registrations, franchises, authorizations, and other approvals from any governmental
authority necessa1y for the conduct of its business and is in compliance with all applicable laws
relating thereto, and (b) is in compliance with all federal, state, local, or international applicable
statutes, rules, regulations, ordinances, and orders including, without limitation, those relating to


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environmental protection, occupationa1 safety and health, zoning, and equal employment practices.

        Section 10.8. Taxes. The Borrower has filed all tax returns and reports required of it, has
paid all taxes which are due and payable, and has provided adequate reserves for payment of any
tax whose payment is being contested; the charges, accruals, and reserves on the books of the
Bonower in respect of taxes for all fiscal periods to date are accurate; and there are no questions
or disputes between the Borrower and any governmental authority concerning any taxes except as
otherwise previously disclosed to the Lender in writing.


        Section 10.9. Organization and Good Standing. The Borrower is a duly formed or
organized, validly existing, and in good standing under the laws of the State of its formation or
organization as outlined in the first paragraph of this Agreement, and is qualified as a foreign entity
and in good standing in each jurisdiction where the Property and tbe Project are located.

        Section 10.10. Insurance. The Borrower maintains with financially sound and reputable
insurers insurance with coverage (including, if applicable, flood insurance on all mortgaged
property that is in a Special Flood Hazard Zone, from such providers, on such terms and in such
amounts as required by the Flood Disaster Protection Act as amended from time to time or as
otherwise required by Lender) and 1imits as required by law and as is customary with Persons
engaged in the same business(es) as the B01Tower.

               Section 10.11. Accurate and Complete Statements. Neither the LOC Documents
nor any written statement made by the Borrower in connection with any of the LOC Documents
contains any untrue statement of a material fact or omits to state a material fact necessary to make
the statements contained therein or in the LOC Documents not misleading. Lender represents to
Borrower:


       Section 10.12. Timing of Lender Funding. Provided Borrower has met the conditions to
Advances in this Agreement, including without limitation the timing for requests outlined in this
Section, Lender shall fund Advances per under the Tranche Schedule, but in no event anymore
frequently than every sixty (60) day, unless otherwise consented to in writing by Lender. The
borrower must deliver Advance requests to Lender thirty (30) business-banking days before the
week represented on the Tranche Schedule for which the Borrower wishes to receive the
proceeds of such Advance from the LOC Disbursement Account. Upon notice of an Advance
Request from the Bonower, Lender has a forty (40) international business-banking day window
based on the Tranche Schedule ( except for the first Advance according to Section 7 .1) to
Payment the requested Advance into the LOC Disbursement Account. Absent a written Advance
request from Borrower, per the conditions and requirements set forth herein, Lender is not
obligated to disburse the next scheduled Advance under the Tranche Schedule.

                                  ARTICLEll
                  NATURE OF REPRESENTATIONS AND WARRANTIES

        Section 11.1. Generally. The representations and warranties made by Borrower herein and
otherwise in connection with the LOC are and shall remain true and correct in all material respects
as of the Closing Date and as of the date of each Advance, omit no tnaterials facts, and shall survive
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so long as any of Borrower's obligations under the LOC Documents have not been satisfied and/or
the LOC or any part thereof shall remain outstanding. Each request by Bonower for an Advance
shall constitute an affirmation that the representations and warranties remain true and correct in
all material respects (or, as to any representations and warranties which are subject to a
materiality qualifier, true and correct in all respects) as of the date hereof, except for any
representations and warranties that are made as of a specific date. All representations and
warranties made in any document delivered to Lender by or on behalf of Borrower according to
or in connection with the LOC shall be deemed to have been relied upon by Lender.


                                       ARTICLE 12
                                   EVENTS OF DEFAULT

Any of the following specified events shall constitute an Event of Default (each an "Event of
Default''):

       Section 12.1. Nonpavment. Failure to make any payment required by the Promissory
Note, th.is Agreement, or any other LOC Documents and such failure continues for thirty (30)
days after notice of such default is sent by Lender to Borrower.

        Section 12.2. Other Covenants and Agreements. Failure by Borrower to perform or
comply with any of the other covenants or agreements contained in th.is Agreement (other than
those referred to in Section 12.6 hereof), or any of the LOC Documents and such failure shall not
have been fully corrected, by the performance of or compliance with such covenants or
agreements, within twenty (20) days after notice of such default is sent by Lender to Borrower.

       Section 12.3. Representations and Warranties. If any representation, warranty, or
statement made in or according to this Agreement or any other LOC Document or any other material
information furnished by the Borrower to the Lender, shall be false or erroneous in any material
respect when made or when deemed made. Such Event of Default can be corrected by the
presentation of accurate and current material information furnished by the Borrower to the
Lender to correct the false or erroneous representation, warranty, or statement within ten (10)
days after notice of such default is sent by Lender to Borrower.

        Section 12.4. Security. If any lien granted in this Agreement or any other LOC Document
in favor of the Lender, shall be determined to be (a) void, voidable or invalid, or is subordinated
or not otherwise given the priority contemplated by this Agreement and the Borrower has failed to
promptly execute, but in no event, more than five (5) business days from the date such change in
lien status occurs appropriate documents to correct such matters, or (b) unpe1fected as to any
material amount of Collateral (as determined by the Lender, in its reasonable discretion) and the
Borrower bas failed to promptly execute, but in no event, more than five (5) business days from
the date such change in the lien status occurs appropriate documents to correct such matters.

        Section 12.5. Validity of LOC Documents. If (a) any material provision, in the sole
 opinion of the Lender, of any LOC Document, shall at any time cease to be valid, binding, and
 enforceable against the Borrower, and the Borrower has failed to promptly execute appropriate
 documents to co1Tect such matters; (b) the validity, binding effect or enforceability of any LOC


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Document against the Borrower shall be contested by the Borrower; (c) the Borrower shall deny
that it has any or further liability or obligation under any LOC Document; or (d) any LOC
Document shall be terminated, invalidated or set aside, or be declared ineffective or inoperative or
in any way cease to give or provide to the Lender the benefits purported to be created thereby, and
the Borrower has failed to promptly execute appropriate documents to correct such matters.


       Section 12.6. Petition for Bankruptcy, Insolvency. The insolvency of; the filing by
Borrower in any jurisdiction of a petition for bankruptcy, liquidation, or reorganization, seeking,
consenting to or appointment of any trustee, receiver, liquidator, or custodian of it or of all or
substantially all of its property; or any such proceedings shall have been voluntarily or
involuntarily instituted against Borrower; the failure of Borrower to generally pay its debts as they
come due or any admission in writing in that regard; the making by Borrower of a general
assignment for the benefit of creditors; the entry against Borrower, voluntarily or involuntarily, of
any order for relief in any bankruptcy reorganization, liquidation, or similar proceeding or the
declaration of or action taken by any governmental authority which operates as a morat01ium on
the payment of debts of Borrower, which such order or declaration or action shall have remained
in place and undischarged or unstayed for ninety (90) days; or the taking of the action by
Borrower to authorize any of the actions outlined in this Section 12.6.

         Section 12.7. Material Litigation. Any action, suit, proceeding, or investigation of any
kind involving or threatened in writing against, Borrower or any subsidiary thereof, or the Project,
before any court or arbitrator or any other authority which (a) would reasonably be expected to
have a material adverse effect, or (b) calls into question the validity or enforceability of, or
otherwise seeks to invalidate, any LOC Documents. Promptly after the commencement thereof of
any Litigation, Borrower shall deliver to Lender notice of a\l actions, suits, investigations,
litigation, and proceedings before any court or governmental department, commission, board,
bureau, agency or instrumentality, domestic or foreign, affecting Borrower or any of its
subsidiaries, partners, or other related entities, or the Project and promptly after the occurrence
thereof, a notice of any adverse change in the status or the financial effect on Borrower or any of
its subsidiaries, partners, or other related entities, or the Project of the disclosed Litigation.


                                          ARTICLE 13
                                          REMEDIES

        Section 13.1. General. Following the occurrence of one (1) or rnore Events of Default, a
default cure period of sixty (60) days begins (" Default Cure Period"), except as otherwise provided
in Section 13.3 or Section 13.4. If Borrower fails to cure the Event of Default (in the manner
specified for each Event of Default according to Article 12) within the Default Cure Period, then
the Lender at its option, may (a) declare all outstanding indebtedness evidenced by the Promissory
Note, including principal and interest, immediately due and payable; (b) terminate all obligations
to make further Advances under the LOC; and (c) pursue and enforce, either successively or
concurrently, all rights and remedies outlined in the Promissory Note, in the LOC Documents, or
any other Collateral instrument held by Lender or accruing to Lender by law, and such other
rights and remedies as Lender may have in law or equity, including such rights as are provided in
this Article 13. Ifa Bankruptcy Event referred to in Section 12.6 hereofoccurs, (i) all obligations


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of the Lender to make further Advances under the LOC shall automatically and immediately
terminate, if not previously terminated, and the Lender thereafter shall not be under any obligation
to make any further Advance, and (ii) the principal of and interest then outstanding on the LOC,
and all of the other obligations owing under the LOC Documents, shall thereupon become and
thereafter be immediately due and payable in full (if not already due and payable), all without any
presentment, demand or notice of any kind, which are hereby waived by the Borrower.


     Upon the occurrence of any Event of Default hereunder under Section 12.1 whereby Borrower has
missed more than two (2) scheduled payments if Borrower does not have any interest reserve account
established for the benefit of the Lender, Borrower shall have a) sixty (60) days Default Cure Period to cure
the Event of Default and must (b) Payment an additional one year's worth of interest payments into the
Interest Reserve Account.

        Section 13.2. Default and Right to Acquire.

        In the event, the Borrower is unable to cure the Event of Default (in the manner specified
        to correct each Event of Default according to Article 12 011 within the Default Cure
        Period,
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       (a)     Upon the occurrence of an Event of Default, Lender shall have the right, in person
or by agent, in addition to all other rights and remedies available to Lender hereunder or under
the LOC documents, to enter into possession of the Project and perform or cause enforce
any liquidity plan.
         (h)     The lender may enter into possession of the Project and perform or cause to be performed
all work and labor necessary to complete the Project, to operate and maintain the Project, and/or to
otherwise run the business of the Borrower. All sums expended by the Lender in doing so, together with
interest on such total amount at the Default Rate (as defined in the Promissory Note), shall be repaid by the
Borrower to the Lender upon demand and shall be secured by the LOC dqcuments, notwithstanding that such
expenditures may, together with amounts advanced under this Agreement, exceed the Maximum Amount.

        (c)   Borrower thereby, following such Bankruptcy Event or relevant cure periods
under Section 13.2 constitutes and appoints the Lender as its true and lawful attorney-in-fact, with
the full power of substitution, in the name of the Borrower to complete the Project, to operate
and maintain the Project, and/or to otherwise run the business of the Borrower, and hereby
empowers such attorney or attorneys as follows:


               (i)     to enter and endorse all agreements, instruments, and documents in
        connection therewith.                                 \

               (ii)    to use any unadvanced proceeds of the LOC to complete, operate, or
        maintain the Project.

                (iii)  to make such changes and corrections in the applicable plans and
        specifications of the Project as reasonably shall be necessary or desirable to complete the
        work on the Project.


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              (iv)    to employ such managers, contractors, subcontractors, agents, architects,
       and inspectors as reasonably shall be required for the foregoing purposes.

               (v)     to pay, settle or compromise all bills and claims which may be or become
       liens against the Project or the Collateral or any part thereof, unless a bond or other security
       satisfactory to the Lender has been provided.

              (vi)   to execute applications and certificates in the name of the Borrower which
       reasonably may be required by the LOC Documents or any other agreement or instrument
       executed by or on behalf of the Borrower in connection with the Project.

              (vii) to prosecute and defend all actions or proceedings in connection with the
       Project or the Collateral or any part thereof, and to take such action and require such
       performance as such attorney reasonably deems necessary under any performance and
       payment bond and the LOC Documents; and

               (viii) to do any and every act which the Borrower might do on its behalf
       concerning the Collateral or any prut thereof, or the Project and to exercise any or all of
       the Bonower's rights and remedies under any or all of the agreements and documents for
       the Project.

        This power of attorney shall be deemed to be a power coup1ed with an interest and shall be
(A) in-evocable, (B) exercisable by the Lender at any time and without any request upon the
Borrower by the Lender, and (C) exercisable in the name of the Lender or the Borrower. The
Lender shall not be bound or obligated to take any action to preserve any rights therein against
prior pruiies thereto.

       Section 13.3. Curing of Defaults by Advances. Upon the occ1mence of an Event of
Default under Section 12.2 through 12.4 hereof which may be cured by the payment of money,
Lender, without waiving any right of acceleration or foreclosure under the LOC Documents which
Lender may have because of such Event of Default or any other right Lender may have against
Borrower because of said Event of Default, shall have the right to make such payment from the
LOC, thereby curing the Event of Default. Any cash so remitted, and interest thereon will be
disbursed by Lender per the terms hereof before any additional proceeds of the LOC are
disbursed.

        Section 13.4. Remedies Are Cumulative. No remedy conferred upon or reserved to
Lender in the LOC Documents shall be exclusive of any other remedy provided in the LOC
Documents or by law or in equity, but each shall be cumulative and shall be in addition to every
other remedy given Lender, under any of the LOC Documents or now or hereafter existing at law
or in equity or by statute. Lender, at its sole option and without limiting or affecting any rights and
remedies hereunder, may exercise any of the rights and remedies to which it may be entitled under
the LOC Documents concurrently or in such order as it may determine. The exercise of any
rights of Lender shall not in any way constitute a cure or waiver of Event of Default or invalidate
any act done according to any notice of default, or prejudice Lender in the exercise of any of its
other rights or elsewhere unless, in the exercise of said rights, Lender realizes all amounts owed to
it hereunder and under the Promisso1y Note, and any other LOC Documents.

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        Section 13.5. Offsets. If there shall occur or exist any Event of Default referred to in
Section 12.6 hereof or if the maturity of the obligations owing under the Promissory Note or the
other LOC documents is accelerated according to Section 13 .1 hereof, the Lender shall have the
right at any time to set off against, and to appropriate and apply toward the payment of, all of
such obligations then owing by the Borrower, whether or not the same shall then have matured,
all Payment (general or special) balances, and all balances in the Interest Reserve Account and all
other indebtedness then held or owing by the Lender to or for the credit or account of the
Borrower, all without notice to or demand upon the Borrower or Iany other Person or entities, all
such notices and demands being hereby expressly waived by the i orrower.

         Section 13.6. Collateral. The Lender shall at all times have the rights and remedies of a
secured party under the UCC, in addition to the rights and remedies of a secured party provided
elsewhere within this Agreement, in any other LOC Documents executed by the Borrower or
otherwise provided in law or equity. Upon the occurrence of an Event of Default and at all times
thereafter, the Lender may require the Borrower to assemble the Collateral securing the obligations
under the LOC documents, which the Borrower agrees to do, and make it available to the Lender
at a reasonable convenient place to be designated by the Lender. The Lender may, with or without
notice to or demand upon the BoJTower and with or without the aid of legal process, make use of
such reasonable force as may be necessary to enter any premises where such Collateral, or any
thereof, may be found and to take possession thereof (including anything found in or on such
Collateral that is not specifically described in this Agreement or any other LOC document, each of
which findings shall be considered to be an accession to and a part of such Collateral) and for
that purpose may pursue such Collateral wherever the same may be found, without liability for
trespass or damage caused thereby to the Borrower. After any delivery or taking of possession of
the Collateral securing the obligations under the LOC documentt or any portion thereof, under
this Agreement, then, with or without resort to the Borrower personally or any other person or
property, all of which the Borrower hereby waives, and upon such terms and in such manner as
the Lender may deem advisable, the Lender, in its discretion, may sell, assign, transfer and deliver
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any of such Collateral at any time, or from time to time. No prior notice need be given to the
Borrower or to any other Person in the case of any sale of such Collateral that the Lender
determines to be perishable or to be declining speedily in value or that is customarily sold in any
recognized market, but in any other case, the Lender shall give the Borrower not fewer than ten
(10) calendar days prior notice of either the time and place of any public sale of such Collateral
or of the time after which any private sale or other intended disposition thereof is to be made.
The Borrower waives advertisement of any such sale and (except to the extent specifically
required by the preceding sentence) waives notice of any kind in respect of any such sale. At any
such public sale, Lender may purchase such Collateral, including by credit bid, or any part thereof,
free from any right of redemption, all of which rights the Borrower hereby waives and releases.
After deducting all costs and expenses, and after paying all claims, if any, secured by liens
having precedence over this Agreement, Lender may apply the net proceeds of each such sale to
or toward the payment of the obligations under the LOC documents, whether or not then due, in
such order and by such division as the Lender, in its sole discretion, may deem advisable. Any
excess, to the extent permitted by law, shall be paid to Borrower, and Borrower shall remain
liable for any deficiency. In addition, after the occun-ence of an Event of Default, the Lender shall
at all times have the right to obtain new appraisals of the Borrower or any Collateral securing the
obligations under the LOC documents, the cost of which shall be paid by the Borrower.


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      Section 13.7. Default by Lender and Borrower's Sole Remedy.

     (a)      Provided Borrower has fully satisfied and complied with all conditions to Advance
       if Lender fails to provide the first (Pt) Advance when due, under the Tranche Schedule
       and Section 7 .1 , Borrower shall have the option to tenninate this Agreement and request a
       full refund of the ICA Payment. Upon the occurrence of such default, Borrower shall
       deliver a written notice in the form of a notarized termination letter, a copy of which is
       attached hereto as Exhibit F ("the Termination Letter"), to Lender by certified mail.
       Upon receipt of such notice, Lender shall have forty (40) international business-banking
       days from the date ofreceipt ("Refund Period") within which to return the ICA Payment
       to the Borrower.

     (b)      If Lender is unable or unwilling to deliver good funds to Borrower, such failure to
       deliver an Advance other than the first Advance shall constitute a ''Lender Default''
       hereunder. Upon the occurrence of a Lender Default, IBorrower shall provide written
       notice in the form of a notarized Termination Letter to the Lender by certified mail.
       Within forty (40) international business-banking days from the date of receipt of such
       notice by Lender, Borrower shall be entitled to (a) refund of the ICA Payment, minus any
       interest outstanding and unpaid as of the date of the Lender Default, (b) release of all
       security interests granted by Borrower to Lender hereunder and under the other LOC Documents,
       and (c) termination of Borrower's obligations to Lender hereunder except Borrower's obligation
       to repay to Lender the outstanding principal balance of the Promissory Note including accrued
       and unpaid interest thereon up to and including the date of the Lender Default, upon which date
       interest under the Promissory Note shall cease to accrue. Notwithstanding any other provision of
       this Agreement to the contrary, in no event shall Lender or its affiliates be liable to the Borrower
       or any other non-party Person, Borrower's subsidiaries, partners, or other related entities, for any
       indirect, special, incidental, or consequential damages, losses or expenses in connection with
       Borrower's or another Person's activities related to, or otherwise because of, the LOC, the
       Advances, the Agreement or the other LOC documents.

     (c)       Notwithstanding anything to the contrary in the subpart (a) above or anywhere else
       in this Agreement or the other LOC documents, Lender shall not be liable or
       responsible to the Borrower, nor be deemed to have defaulted under or breached this
       Agreement, for any failure or delay in funding Advances according to this
       Agreement, when and to the extent such failure or delay is caused by or results from
       acts beyond Lender's control, including, without limitation, the following force
       majeure events ("Force Majeure Event(s)"): (i) acts of God; (ii) flood, fire,
       earthquake, explosion or prolonged break-down of transport, telecommunications or
       electric current; (iii) war (whether declared or not), armed conflict or the serious threat of
       the same (including but not limited to hostile attack, blockade, military embargo),
       hostilities, invasion, an act of a foreign enemy, extensive military mobilization, civil war,
       riot, rebellion, revolution, military or usurped power, insurrection, civil commotion or
       disorder, mob violence, an act of civil disobedience, an act of terrorism, sabotage or
       piracy; (iv) plague, epidemic, pandemic, outbreaks of infectious disease or any other
       public health crisis, including quarantine, or other restrictions; (v) act of authority
       whether lawful or unlawful, compliance with any law or governmental order, rule,
       regulation or direction, curfew                                                            \       ..{J
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        restriction, expropriation, compulsory acquisition, seizure of works, requisition.,
        nationa1ization; (vi) embargoes or blockades in effect on or after the date ofthis
        Agreement; (vii) national or regional emergency; (viii) strikes, labor stoppages, or
        slowdowns or other industrial disturbances; (ix) failure oft.he Lender's wholesale lender
        from performing under the terms of the agreement between the Lender and the
        wholesale lender. Lender shall give notice of the Force Majeure Event to the Borrower
        within a reasonable period from the date Lender realizes ~uch Force Majeure Event has
        or will have an impact on Lender's ability to fund, stating the period the occurrence is
        expected to continue. The lender shall use reasonably diligent efforts to end the failure
        or delay and ensure the effects of such Force Majeure Event are minimized. The lender
        shall resume the performance of its obligations as soon as reasonably practicable after
        the removal of the cause. The cure periods provided for in subparts (a) and (b) above
        shall be tolled during the pendency of a Force Majeure Event.

        Section 13.8 Binding Arbitration. Any dispute, claim, or controversy arising out of or
relating to this Agreement, or the breach, termination, enforcement, interpretation, or validity
thereof, including the determination of the scope or applicability of this agreement to arbitrate,
shall be determined by binding arbitration in Illinois, before one (1) arbitrator. The arbitration
shall be administered by JAMS under its Comprehensive Arbitration Rules and Procedures or by
ADR Services under its Arbitration Rules, at the election of the party initiating the arbitration.
The Party initiating a demand for arbitration shall serve notice of such demand according to the
notice requirements outlined in Section 14.5 herein. Within thr~e (3) banking-business days of
service of any demand for arbitration, the Parties to the dispute shall work cooperatively to
mutually select an agreeable arbitrator. If the Parties to the dispute are unable to reach an
agreement on an arbitrator, then the arbitration shall be selected under the JAMS or ADR
Services arbitration selection protocol. Each side shall be entitled to propound one (1) set of
requests for the production of documents. The requests in each set shall not number more than
twenty-five (25) and shall be limited to documents relevant to the issues to be arbitrated. Each
side shall further be entitled to notice and take no more than three (3) depositions, which shall
last no more than three (3) hours per deponent, including reasonable breaks and objections. No
other discovery shall be permitted, except upon a showing of good cause to the arbitrator. Any
discovery disputes shall be submitted to and decided by the arbitrator. The prevailing party shall
be entitled to an award of its reasonable costs and expenses, including but not limited to,
attorneys' fees, in addition to any other available remedies. Any award rendered therein shall
be final and binding on each and all of the parties thereto and their representatives, and judgment
may be entered thereon in any court of competent juris~ction. This clause shall not
preclude Parties from seeking provisional remedies in aid of arbitration from a court of
appropriate jurisdiction. Any action or proceeding brought to interpret or enforce this agreement
to arbitrate shall be governed by the laws of the State of Illinois. This agreement to arbitrate is
intended by the Parties to constitute a waiver of any right to trial by jury, or the right to
proceed in any state or federal court for resolution of any dispute arising concerning the
enforcement or interpretation of this Agreement, this agreement to arbitrate, or any of the LOC
Documents.

                                       ARTICLE 14
                                   GENERAL PROVISIONS

       Section 14.1. Disclaimer of Liability. Lender has no liability or obligation in connection

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with the Project except to make Advances under the LOC as agreed under the tenns of the LOC
Documents and makes no warranties or representations in connection therewith. No claim may be
made by the Borrower or any other Person against the Lender or the Affiliates, directors, officers,
employees, attorneys, or agents of the Lender for any damages other than actual compensatory
damages in respect of any claim for breach of contract or any other theory of liability arising out
of or related to the h·ansactions contemplated by this Agreement, or any act, omission or event
occurring in connection therewith; and the Borrower and Lender hereby, to the fullest extent
permitted under applicable law, waive, release and agree not to sue or counterclaim upon any such
claim for any special, indirect, consequential or punitive damages, whether or not accrued and
whether or not known or suspected to exist in their favor and regardless of whether Lender has
been advised of the likelihood of such loss of damage. Borrower further agrees that, in the event
of a delay in funding by the wholesale lender that causes a delay in funding from Lender to
Borrower, Borrower shall not file for arbitration or otherwise pursue legal claims against Lender
for such delay to the extent Lender takes reasonable steps to pursue claims it may have against the
wholesale lender; provided, further, that this provision is superseded by the limitations ofliability
otherwise provided for in this Agreement and is not intended to create any rights in favor of
Borrower.

         Section 14.2. Publicity. Lender and Borrower shall have the right to issue periodic news
releases concerning tbe Project and its financing in such fonn as mutually approved by each of
them, such approval not to be unreasonably withheld. The lender shall have the right to indicate
that it bas provided the financing for the Project.

        Section 14.3. Confidentialitv. Borrower agrees that the specific terms of this Agreement,
the LOC, and the related terms regarding Lender's agreement to fund the Project, including
Lender's related entities, partners, subsidiaries, and vendors are proprietary, and Borrower hereby
agrees to maintain confidential this Agreement, the LOC documents, and any infonnation
disclosed by Lender related to the terms upon which funding of the LOC is to take place.
Borrower's disclosure of confidential terms shall constitute a material breach of this Agreement,
and will subject BotTower to injunctive relief, pecuniary damages, or other remedies available to
Lender in law or at equity. All such remedies are cumulative.


        Section 14.4. Responsibility for Application of Funds. Lender shall have no obligation
to see that funds advanced under the LOC are used for the purpose outlined in this Agreement.
Borrower shall be fully responsible for the proper application according to the tenns of this
Agreement of funds advanced under this Agreement. The lender may rely solely upon the
Borrower's requests for Advances, affidavits, statements, and reports in making said Advances,
and the Borrower does hereby release and indemnify the Lender and hold the Lender harmless
from any losses, claims, demands, or expenses which may arise or result from misapplication or
misuse of the LOC proceeds by BoITower or its agents. Borrower's indemnification of Lender shall
not extend to losses arising from Lender's material breach of this Agreement or Lender's gross
negligence or willful misconduct (in each case as determined by a court of competent jurisdiction
in a final and non-appealable decision).

        Section 14.5. Non-Disparagement. Borrower agrees and covenants that Borrower shall
not at any time make, publish, or communicate to any person or entity or in any public forum any
defamatory, maliciously false, or disparaging remarks, comments, or statements concerning the

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The lender or its businesses, or any of its employees, officers, or directors, and its existing and
prospective clients, suppliers, investors, and other associated third parties, now or in the future.
For the avoidance of doubt, a breach of this Section l 0.04 shall constitute an Event of Default
under Section 7.02 under which Lender has the right to terminate all obligations under the Loan
Documents under Section 9.0l(b).

        Section 14.6 Opportunity to Consult with Counsel. Borrower acknowledges that it has
had an opportunity to consult with and be represented by counsel of Borrower' s choosing in the
review of the Loan Documents, that it has been advised by Lender to do so, that the Bonower is
fully aware of the contents of the Loan Documents and its legal effect, and that Borrower enters
into these Loan Documents freely, without duress or coercion, and based on Borrower's
judgment and wishes and not in reliance upon any representation or promise made by the Lender,
other than those contained herein.
        Section 14.7 Notices. All notices given under this Agreement, unless otherwise specified
herein, must be in writing and will be effectively served by: (i) submission through the
zoomeral.com portal using the Borrower's ZOO:MERAL account and (ii) upon delivery or, if sent
by certified mail, upon the first to occur of receipt by the addressee or the expiration of ninety-six
(96) hours after deposit in first-class certified United States mail, postage prepaid, return receipt
requested, or two (2) business days if sent by pre-paid nationally recognized overnight courier
service, sent to the Party at its address set forth below, or such other address as a Party may
designate from time to time by written notice given according to this paragraph:

  To Borrower:          North Haven Lodging Partners LLC
                        2517 W Brentridge Street
                        Sioux Falls, SD 57108

  To Lender:            McMaDD Commercial Lending LLC
                        205 N Michigan Avenue, Ste 810
                        Chicago, Illinois 60601


        Section 14.8. Applicable Law. This Agreement and, unless otherwise specifically
provided for therein, each other LOC document, shall be governed by and construed per the laws
of the State of Illinois and the United States.

       Section 14.9. Successors and Assigns. The terms of this Agreement will bind and benefit
the successors and assigns of the Parties, provided that except as permitted under the LOC
Documents, Borrower may not assign this Agreement or any proceeds from the LOC or assign or
delegate any of its rights or obligations hereunder without the prior written consent of Lender,
which may be withheld in Lender's sole discretion.

        Section 14.10. Severability. The invalidity or unenforceability of any one or more of the
provisions of this Agreement will in no way affect any other provision, except that if a condition
to an Advance is held to be illegal or invalid, Lender will not be required to make the Advance
which was the subject of that condition. In the event of any conflict or inconsistency between the
terms and provisions of this Agreement and any of the LOC Documents, the terms and provisions
of this Agreement shall control.


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        Section 14.11. Amendments. This Agreement may not be modified or amended except by
a written agreement signed by the Borrower and Lender.

       Section 14.12. Headings; Attachments. The several headings to articles, sections, and
subsections herein are inserted for convenience only and shall be ignored in interpreting the
provisions of this Agreement. Each schedule or exhibit attached to this Agreement shall be
incorporated herein and shall be deemed to be a part thereof.

        Section 14.13. No Third-Party Rights. This Agreement is made entirely for the benefit
of the Borrower, the Lender, and their successors in interest (including any participants). No
third party shall have any rights hereunder.

        Section 14.14. Indemnification. The Borrower agrees to defend, indemnify and hold
harmless the Lender (and its affiliates, officers, directors, attorneys, agents and employees) from
and against any and all liabilities, obligations, losses, damages, penalties, actions, judgments,
suits, costs, expenses (including attorneys' fees), or disbursements of any kind or nature
whatsoever that may be imposed on, incurred by or asserted against the Lender in
connection with any investigative, administrative or judicial proceeding (whether or not the
Lender shall be designated a pa1ty thereto) or any other claim by any Person relating to or arising
out of the Project, the LOC Docwnents or any actual or proposed use of proceeds of the
Advances, or any activities of the Borrower or its affiliates; provided that the Lender shall not
have the right to be indemnified under this Section 14.12 for its own gross negligence or willful
misconduct, as determined by a final and non-appealable decision in arbitration as for any
dispute between the Parties, or by judgment of a court of competent jurisdiction when such
dispute involves another third party Person. All obligations provided for in this Section 14. I 2
shall survive any termination of this Agreement. The B01rnwer hereby agrees to indemnify,
defend and hold harmless the Lender, the managers of the Lender, and all of their members,
managers, affiliates, and advisors, from any damages, losses, liabilities, costs, and
expenses (including reasonable attorneys' fees and costs) that they may incur because
Borrower failed to fulfill all of the terms and conditions of this agreement or because of the
untruth or inaccuracy of any of the representations, warranties or agreements contained
herein or in any other documents the Borrower has furnished to any of the foregoing
in connection with this transaction. This indemnification includes, but is not limited
to, any damages, losses, liabilities, costs, and expenses (including attorneys' fees and
costs) incurred by Lender, the managing members of Lender, or any of its members,
managers, affiliates, or advisors, defending against any alleged violation of federal or state
securities laws which is based upon or related to any untruth or inaccuracy of any of the
representations, warranties or agreements contained herein or in any other documents the
Borrower has furnished in connection with this transaction.

        Section 14.15. General Limitation of Liability. No claim may be made by the
Borrower or any other Person against the Lender or the affiliates1 directors, officers, employees,
attorneys, or agents of the Lender for any damages other than actual compensatory damages in
respect of any claim for breach of contract or any other theory of liability arising out of or
related to the



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transactions contemplated by this Agreement or any of the LOC Documents, or any act,
omission, or event occurring in connection therewith; and the Borrower and Lender hereby, to
the fullest extent permitted under applicable law, waive, release and agree not to sue or
cow1terclaim upon any such claim for any special, indirect, consequential or punitive damages,
whether or not accrued and whether or not known or suspected to exist in their favor and
regardless of whether Lender has been advised of the likelihood of such loss of damage. In
addition to the tolling provided under Section 6.3, Borrower further agrees that, in the event of a
delay in funding by the wholesale lender that causes a delay in funding from Lender to Borrower,
Borrower shall not file for arbitration or otherwise pursue legal claims against Lender for such
delay to the extent Lender takes reasonable steps to pursue claims it may have against the
wholesale lender; provided, further, that this provision is superseded by the limitations of
liability othe1wise provided for in this Agreement and is not intended to create any rights in favor
of Borrower.

        Section 14.16. Entire Agreement. This Agreement, the Promissory Note, and any other
LOC Document or other agreement, document, or instrument attached hereto or executed on or
as of the Closing Date integrate all of the terms and conditions mentioned herein or incidental
hereto and supersede all oral representations and negotiations and prior writings concerning the
subject matter hereof.

       Section 14.17. Execution in Counterparts. This Agreement may be executed in any
number of counterparts and by different parties hereto in separate counterparts, and by facsimile
or other electronic signature, each of which when so executed together shall constitute the same
Agreement.

        Section 14.18. Legal Representation of the Parties. The LOC Documents were
negotiated by the Parties with the benefit of legal representation and any rule of construction or
interpretation otherwise requiring this Agreement or any other LOC Document to be construed or
interpreted against any Party shall not apply to any construction or interpretation hereof or thereof.

     Section 14.19. JURY TRIAL WAIYER. THE BORROWER AND THE LENDER, TO
THE EXTENT PERMITTED BY LAW, HEREBY WAIVE ANY RIGHT TO HAVE A JURY
PARTICIPATE IN RESOLVING ANY DISPUTE, WHETHER SOUNDING IN CONTRACT,
TORT, OR OTHERWISE, BETWEEN THE BORROWER AND THE LENDER, ARISING
OUT OF, IN CONNECTION WITH, RELATED TO, OR INCIDENTAL TO THE
RELATIONSHIP ESTABLISHED BETWEEN THEM IN CONNECTION WTTH THIS
AGREEMENT OR ANY NOTE OR OTHER INSTRUMENT, DOCUMENT OR
AGREEMENT EXECUTED OR DELNERED IN CONNECTION HEREWITH OR THE
TRANSACTIONS RELATED THERETO.




                  [Remainder ofpage intentionally left blank; Signatw-es follow]
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                       IN WITNESS WHEREOF, the parties have executed this Agreement as of the
        day and year first written above.


        LENDER: MCMANN COMMERCIAL LENDING LLC

        By:       ~            ~
              Name: Walter P Trock III




                                           Vihang Patel
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::::-                                                     My Commission Expires:


                                   ADAM PRICE
                                   Notary Public
                                         SEAL                        ----- · · - - - - - --1
                                   South Dakota




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                                          EXHIBIT A
                                       PROMISSORY NOTE

   $18,900,000 - Maximum Principal Amount                                  April I0, 2023

   FOR VALUE RECEIVED, North Haven Lodging Partners LLC., a Connecticut Limited
Liability Company (the "Maker"), hereby promises to pay to McMann Commercial
Lending, or any subsequent holder of this Promissory Note (the ''Payee"), at such place as Payee
may designate, the principal sum of Eighteen Million Dollars and No Cents ($18,000,000) or
the aggregate unpaid principal amount of all Advances, plus the Fees outlined in Section 3.9 of the
LOC Agreement, as such terms are defined in the LOC Agreement (as hereinafter defined) and the
other LOC Documents, made by Payee to Maker according to the LOC Agreement, whichever
is greater, plus interest on the principal sum and all unpaid balances and all other amounts owed
by Maker to Payee at the interest rate set forth below, payment of principal and interest to be
made in lawful money of the United States in immediately available funds, as set forth below.
Capitalized terms used herein and defined in the LOC Agreement, but not otherwise defined herein,
shall have the meaning given such term in the LOC Agreement; and



         (a)       Maker shall make payments under this Master Promissory Note (as the same may
           from time to time be amended, restated, or otherwise modified, this "Note") as follows:
           (i) simple interest payments on the outstanding principal amount of the Advances, at a
           fixed rate equal to Four p oint seven five percent (4.75%) per annum, which interest
           payments shall be due and payable to Payee quarterly in arrears, on the first (I s1
           business day of each January, April, June and September of each year, with the first
           payment due on the first such date immediately following the date of the first Advance
           hereunder; and (ii) the outstanding principal balance of the Note, and all remaining
           accrued and unpaid interest, late charges and all other amounts due to Payee according
           to this Note and the LOC Documents shall be due and payable in full no later than the
           Scheduled Maturity Date.

         (b)    Except for the quarterly payments set fortl1 above, this Note may be prepaid in
           whole or in part, as provided in the LOC Agreement.

         (c)      All payments made will be applied first to any late charges or other accrued fees,
           then to accrued interest, and then to the principal amount of the Note. Maker shall make
           each payment hereunder to the Payee without any deduction, offset, abatement,
           recoupment, counterclaim, or withholding whatsoever. The receipt of any payment by
           Payee, at its option, shall not be considered a payment on the account until such payment
           is honored when presented for payment at the drawee bank. Whenever any payment to
           be made hereunder, including, without limitation, any payment to be made on any
           Advance, shall be stated to be due on a day that is not a business day, such payment shall
           be made on the next business day and such extension of time shall in each case be
           included in the computation of the interest payable on such Advance. The aggregate
           unpaid amount of Advances and similar information concerning the LOC set forth on the
           records of Payee shall be rebuttable presumptive evidence for such information,
           including the amounts of principal, interest, and fees owing to Payee.
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     (d)     Maker shall pay all amounts due under this Note to McMann Commercial
       Lending, Corporate Office at the address provided under Section 14.5 of the LOC
       Agreement or such other offices as may be designated by Payee from time to time.

     (e)      All amounts owed by Maker according to this Note shall be collectively referred
       to herein as the "Obligation" of Maker.

       In addition, the following provisions shall govern this Note:

      1.      LINE OF CREDIT AGREEMENT AND LINE OF CREDIT DOCUMENTS.
     This Note is made and delivered to Payee according to and is subject to all terms and
     conditions outlined in the Business Expansion Line of Credit Agreement of even date
     herewith between Maker and Payee (as the same may from time to time be amended,
     restated or otherwise modified, the "LOC Agreement"). This Note is secured by certain
     Collateral, as evidenced by the LOC Documents, covering the personal and/or real property
     described therein.

     2.      LATE CHARGES. If any amount payable under this Note is paid more than ten
     (10) business days after the due date thereof, then late charges (the "Late Charges") shall
     be added to the delinquent payment in an amount equal to five percent ( 5. 00%) of such late
     payment for the extra expense in handling past due payments. Any such Late Charges shall
     be due and payable without demand, and Payee, at its option, may (i) refuse any late
     payment or any subsequent payment unless accompanied by the applicable Late Charge,
     (ii) add the Late Charges to the principal balance of this Note, and (iii) treat the failure to
     pay the Late Charges as demanded as an Event of Default under this Note. lfLate Charges
     are added to the principal balance of this Note, those Late Charges shall bear interest at the
     same rate as the principal balance under this Note. Any payment to Payee by check, draft,
     or other items shall be received by Payee subject to collection and will constitute payment
     only when collected and not when received.

3.    DEFAULT, CROSS-DEFAULT, AND ACCELERATION. Time is of the essence. If
     Maker fails to make any payment of principal, interest, or any other Obligation on the
     date the same is due and payable under this Note, the LOC Agreement, any of the other
     LOC Documents, or any other agreement between Maker and Payee, or Maker or any
     other party fails to meet or perform any other obligation under any term or condition of
     this note, the LOC Agreement, any of the other LOC Documents, or any other agreement
     between Maker and Payee, or an Event of Default occurs under the LOC Agreement or any
     of the other LOC Documents, and subject to any applicable notice and cure periods
     outlined in the LOC Agreement or any other LOC Documents, such Event of Default is not
     cured, then this Note shall be in default ("Default"). Upon Default, Payee shall provide
     written notice to Maker specifying the nature of the Default and directing that it be
     remedied within the applicable notice and cure period as outlined in the LOC Agreement.
     Upon Default, the interest rate provided for in this Note shall immediately increase to
     eighteen percent (18%) per annum (the "Default Rate"), unless and until cured by Maker,
     and upon Maker's failure to cure any default, the entire unpaid amount of this Note shall
     be immediately due and payable without further notice or


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       demand from Payee. Until cured, mterest shall accrue daily after default with daily interest
       being added to the principal on the last day of each calendar month and thereafter
       compounded to calculate interest on the amounts owed according to this Note, and Maker
       sball thereafter be liable for all costs of collection, including reasonable attorneys' fees
       and costs, in addition to the payment of principal, interest an,d any other amount.


Should there be a material misappropriation of more than ten (10%) percent of the proceeds of
the Advances which causes an Event of Default, the Borrower shall immediately surrender
controlling management interest in North Haven Lodging Partners LLC and the Project to
McMann Commercial Lending LLC.

       4.     COSTS, FEES, AND COMPENSATION. Maker further promises to pay all
       amounts owed under this Note, the LOC Agreement, and the other LOC Documents,
       and all Obligations owed according to this Note, the LOC Agreement, and the LOC
       Documents, and shall pay all such amounts as specified therein.

       5.      WAIYER. Maker and all endorsers, guarantors and all Persons liable or to become
       liable on this Note waive presentment, demand, a notice of dishonor, notice of default or
       delinquency, a notice of acceleration, notice of nonpayment, a notice of costs, expenses or
       losses and interest thereon, and all other notices or matters of a like nature, other than
       notices required according to this Note, the LOC Agreement or the other LOC
       Documents.

       6.      SUCCESSOR AND ASSLGNS. The terms of this Note shall apply to, inure to the
       benefit of, and bind all Parties hereto and their respective successors, and assigns.

       7.      CUMULATIVE REMEDIES. Upon the occurrence of any default under this
       Note, the LOC Agreement, or any of the other LOC Documents, or an Event of Default
       occurs, Payee shall have all rights specified therein and as provided under relevant law. No
       remedy or election hereunder shall be deemed exclusive but shall wherever possible, be
       cumulative with all other remedies at law or equity.

       8.     GOVERNING LAW; VENUE AND JURLSDlCTION; BINDING
       ARBITRATION; W AIYER OF TRIAL BY JURY. This Note shall be governed by and
       construed per the laws of the State of fllinois and the United States.

       BINDING ARBITRATION: Any dispute, claim, or controversy ansmg out of or
       relating to this Note, or the breach, termination, enforcement, interpretation, or validity
       thereof, including the determination of the scope or applicability of this agreement
       to arbitrate, shall be determined by binding arbitration in Illinois, before one
       arbitrator. The arbitration shall be administered by JAMS according to its
       Comprehensive Arbitration Rules and Procedures or by ADR Services under its
       Arbitration Rules, at the election of the party initiating the arbitration. The Party
       initiating a demand for arbitration shall serve notice of such demand under the notice
       requirements outlined in Section 14.5 of the LOC Agreement. Within three (3) banking-
       business days of service of any demand for arbitration, the Parties to the dispute shall
       work cooperatively to mutually select an agreeable arbitrator. If the Parties to the
       dispute are unable to reach an agreement on an
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     arbitrator, then the arbitration shall be selected according to the JAMS or ADR Services
     arbitration selection protocol. Each side shall be entitled to p(opound one (1) set ofrequests
     for the production of documents. The requests in each set shall not number more than
     twenty-five (25) and shall be limited to documents relevant to the issues to be arbitrated.
     Each side shall further be entitled to notice and take no more than three (3) depositions,
     which shaU last no more than three (3) hours per deponent, including reasonable breaks
     and objections. No other discovery shall be permitted, except upon a showing of good
     cause to the arbitrator. Any discovery disputes shall be submitted to and decided by the
     arbitrator. The prevailing party shall be entitled to an award of its reasonable costs and
     expenses, including but not limited to, attorneys' fees, in addition to any other available
     remedies. Any award rendered therein shall be final and binding on each and all of the
     parties thereto and their representatives, and judgment may be entered thereon in any
     cow1 of competent jurisdiction. This clause shall not preclude Parties from seeking
     provisional remedies in aid of arbitration from a court of appropriate jurisdiction. Any
     action or proceeding brought to interpret or enforce this agreement to arbitrate shall be
     governed by the laws of the State of Illinois. This agreement to arbitrate is intended by the
     Patties to constitute a waiver of any right to trial by jury, or the right to proceed in any
     state or federal court for resolution of any dispute arising concerning the enforcement or
     interpretation of this Note, this agreement to arbitrate, or any of the LOC Documents.

     JURY TRIAL W AIYER. THE BORROWER AND THE LENDER, TO THE EXTENT
     PERMITTED BY LAW, HEREBY WAIVE ANY RJGHT TO HAVE A JURY
     PARTICIPATE IN RESOLVING ANY DISPUTE, WHETHER SOUNDING IN
     CONTRACT, TORT, OR OTHERWISE, BETWEEN THE BORROWER AND THE
     LENDER, ARJSING OUT OF, IN CONNECTION WITH, RELATED TO, OR
     INCIDENTAL TO THE RELATlONSHIP ESTABLISHED BETWEEN THEM .IN
     CONNECTION WITH THlS AGREEMENT OR ANY NOTE OR OTHER
     INSTRUMENT, DOCUMENT OR AGREEMENT EXECUTED OR DELIVERED IN
     CONNECTION HEREWITH OR THE TRANSACTIONS RELATED THERETO.

     9.      AUTHORIZATION. To induce Payee to enter into this Note and extend and
     advance funds to Maker under the terms contained herein and according to the LOC
     Agreement, Maker hereby represents and warrants as follows, acknowledging that Payee
     is relying on the truth and accuracy of the following representations and warranties in
     entering into this Note:

     (a)     That the undersigned is the authorized representative of Maker and has the authority
     to bind Maker; and

     (b)    that Maker is duly organized and validly existing and in good standing under the
     laws of the State of its formation, and duly qualified to transact business and in good
     standing in any United States state where the natw·e of its business or properties requires
     such qualification, with full power and authority, corporate or otherwise, to enter into and
     perform this Note; that Maker has taken all actions required to be taken in connection
     herewith; and




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     (c)     that upon execution of this Note by the undersigned, this Note will constitute a
     legal, valid, and binding obligation of Maker and will be enforceable against Maker as set
     forth herein, except as enforceability thereof may be limited by bankruptcy, insolvency,
     moratorium, and similar laws and by equitable principles, whether considered at law or in
     equity.

     10.     ATTORNEY FEES AND COSTS OF COLLECTION. Maker shall pay Payee
     all reasonable expenses, attorney fees, and costs incurred in any action or proceeding by
     Payee to enforce the terms of this Note, the LOC Agreement, and/or any of the LOC
     Documents, including, without limitation, all reasonable expenses, attorney fees, and
     costs on appeal.

     11.    MISCELLANEOUS PROVISIONS.

     (a)     No delay or omission on the part of the Payee in exercising any rights hereunder or
     under the terms of any Security Agreement, pledge agreement, any guarantee made to
     guarantee payment of this Note, or any other Security Document given to secure this
     Note, shall operate as a waiver of such rights or any other right hereunder or under said
     security agreements, pledge agreements, guaranties or other documents.

     (b)    The invalidity or unenforceability of any provision hereof, of this Note, the LOC
     Agreement or any of the other LOC Documents, or of any other instrument, agreement,
     or document now or hereafter executed in connection with t}1e loan made pursuant thereto,
     or any Obligation created thereunder shall not impair or vitiate any other provision of any
     of such instruments, agreements, and documents, all of which provisions shall be
     enforceable to the fullest extent now or hereafter permitted by law.

     (c)     This Note, the LOC Agreement, and the other LOC Documents may only be
     amended, terminated, extended, or otherwise modified by a written signed by the Party
     against which enforcement is sought. In no event shall any oral agreements, promises,
     actions, inactions, knowledge, course of conduct, course of dealing, or the like be effective
     to amend, tenninate, extend, or otherwise modify any of same.

     (d)     This Note and the rights and remedies provided for herein may be enforced by
     Payee or any subsequent holder hereof. Wherever the context permits, each reference to
     the term "holder" herein shall mean and refer to Payee or the then subsequent bolder of this
     Note.

     (e)     Maker agrees that the bolder of this Note may, without notice to Maker and without
     affecting the liability of Maker, accept security for this Note and any additional or
     substitute security, if any, or release any security or any patty liable for this Note,
     including any guarantor, or extend or renew this Note.

            [Remainder of page intentionally left blank; Signature page followsJ




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        IN WITNESS WHEREOF, the Maker has duly executed and delivered this Promissory Note
as of the date first set forth above.


MAKER



                                           /~~
Name: Shailesh Patel and Vihang Patel      "'(\
                             ~             ivt~"'-'t)~
Title: .   H~~ r/            ~ v l , dv
                                      /;~ 1
                                        ~~/
Address: 25 17 W Brentridge Street, Sioux Falls, SD 57108




                           ADAM PRICE
                           Notary Public
                               SEAL
                           South Dakota




                    My Commi:::~ion Expire;;:
                     4-7..7-23?




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                                  EXHIBITB
                              TRANCHE SCHEDULE

Tranche 1    Within 75 calendar days ofconfinuation of the      $3,600,000
             clearing of the funds remitted by the Borrower
             being funded to the wholesale lender by the
             Lender                                            I
             under Section 7.1
Tranche2     75 calendar days after the date of the funding of $14,400,000
             Tranche 1
Tranche3     NIA

Tranche 4    NIA




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                                                  EXHIBIT C
                                             PROJECT COSTS
(Please explain the use of the funds below per the project. Please see "Project Costs" defined in Article 1 of this
                                                   agreement.)




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                                        EXHIBITD
                                      THEPROJECT
    (Please attach a copy of your Business Plan, Executive Summary, and/or Slide Deck.)




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                                          EXHIBIT             E
                                  SECURITY AGREEMENT
       This   SECURITY       AGREEMENT,     dated    as   of April 10,      2023 (as
amended, supplemented, or otherwise modified from time to time per the provisions
hereof, this "Agreement"), is made by North Haven Lodging Partners LLC
(the "Grantor"), in favor ofMcMann Commercial Lending LLC (the "Secured Party").
       WHEREAS, the Grantor and the Secured Party are entering into that certain
Business Expansion LOC Agreement, dated of even date herewith (as amended, supplemented,
or otherwise modified from time to time, the "LOC Agreement").
        WHEREAS, this Agreement is given by the Grantor in favor of the Seemed Party to
secure the payment and perfonnance of all the Secured Obligations (as hereinafter defined); and
       WHEREAS it is a condition to the obligation of the Lender to make the LOC under the
LOC Agreement that the Grantor execute and deliver this Agreement, and this Agreement is
being executed and delivered in consideration of the Secured Party entering into the LOC
Agreement and each financial accommodation granted to the Secured Party by the Lender.
        NOW, THEREFORE, in consideration of the mutual covenants, terms, and conditions set
forth herein, and for other good and valuable consideration, the receipt and sufficiency of which
are hereby acknowledged, the Parties agree as follows :

       1.      Definitions. Capitalized terms used but not otherwise defined herein shall have the
       meanings assigned to such terms in the LOC Agreement Unless otherwise specified
       herein, all references to Sections and Schedules herein are to Sections and Schedules of
       this Agreement. Unless otherwise defined herein, terms used herein that are defined in the
       UCC shall have the meanings assigned to them in the UCC. However, if a tem1 is defined
       in Article 9 of the UCC differently than in another Article of the UCC, the term bas the
       meaning specified in Alticle 9. For purposes of this Agreement, the following tenns shall
       have the following meanings:

       "Collateral" bas the meaning outlined in Section 2 hereof.

        "Control Agreement" means (a) concerning a Payment account, each Payment Account
Control Agreement (or similar agreement concerning a Payment Account) among the Grantor, the
Lender, and a depository institution, to be in fom1 and substance satisfactory to the Lender, and
(b) for a Securities Account, each Securities Account Control Agreement (or similar agreement
for a Securities Account) among the Grantor, the Lender, and a securities intermediary, to be in
form and substance satisfactory to the Lender; as any of the foregoing may from time to time be
amended, restated or otherwise modified.

      "Payment Account" means a Payment account, as that term is defined in the

      UCC."Event of DefauJt" bas the meaning outlined in the LOC Agreement.

      "First Priority" means, concerning any lien and security interest purported to be created in
any Collateral according to this Agreement, such lien and security interest is the most senior lien
to which such Collateral is subject (subject only to liens permitted under the LOC Agreement).


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       "Proceeds" means "proceeds" as such term is defined in section 9-102 of the UCC and, in
any event, shall include, without limitation, all dividends or other income from the Collateral,
collections thereon, or distributions with respect thereto.

      "Secured Obligation(s)" has the meaning outlined in Section 3 hereof.

      "Securities Account" means a securities account, as that term is defined in the UCC.

        "UCC" means the Uniform Commercial Code as in effect from time to time in the State of
Illinois or, when the laws of any other state govern the method or manner of the perfection or
enforcement of any security interest in any of the Collateral, the Uniform Commercial Code as in
effect from time to time in such state.

       2.      Grant of Security Interest. The Grantor hereby pledges and grants to the Secured
       Party, and hereby creates a continuing First Priority lien and security interest in favor of
       the Secured Party in and to all of the Grantor's right, title, and interest in and to the
       following, wherever located, whether now existing or hereafter from time to time arising
       or acquired (collectively, the "Collateral"):

       (a)     all fixtures and personal property of every kind and nature including all accounts
       (including health-care-insurance receivables), goods (including inventory and equipment),
       documents (including, if applicable, electronic documents), instruments, promissory notes,
       chattel paper (whether tangible or electronic), letters of credit, letter-of-credit tights
       (whether or not the letter of credit is evidenced by writing), securities and all other
       investment property, commercial tort claims described on Schedule 1 hereof as
       supplemented by any written notification given by the Grantor to the Secured Party under
       Section 4(e) hereof, general intangibles (including all payment intangibles), money,
       Payment accounts, and any other contractual rights or rights to the payment of money;
       intellectual property, rights or right to receive royalties the~efor, and

       (b)     au proceeds and products of each of the foregoing, all books and records relating
       to the foregoing, all supporting obligations related thereto, and all accessions to,
       substitutions and replacements for, and rents, profits and products of, each of the foregoing,
       and all Proceeds of any insurance, indemnity, warranty or guaranty payable to the Grantor
       from time to time concerning any of the foregoing.

       3.     Secured Obligations. The Collateral secures the due and prompt payment and
       performance of:

       (a)     the obligations of the Grantor from ti.me to time arising under the LOC Agreement,
       this Agreement, any other LOC Document or otherwise for the due and prompt payment of
       (i) the principal of and premium, if any, and interest on the LOC (including interest
       accruing during the pendency of any bankruptcy, insolvency, receivershjp or other similar
       proceedings, regardless of whether allowed or allowable in such proceeding), when and as
       due, whether at maturity, by acceleration, upon one or more dates set for prepayment or
       otherwise and (ii) all other monetary obligations, including fees, costs, reasonable
       attorneys' fees and disbursements, reimbursement obligations, contract causes of action,
       expenses and indemnities, whether primary, secondary, direct or indirect, absolute or


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      contingent, due or to become due, now existing or hereafter arising, fixed or otherwise
      (including monetary obligations incurred during the pendency of any bankruptcy,
      insolvency, receivership, or other similar proceedings, regardless of whether allowed or
      allowable in such proceeding), of the Grantor under or in respect of the LOC Agreement,
      this Agreement and the other LOC Documents; and

      (b)     all other covenants, duties, debts, obligations, and liabilities of any kind of the
      Grantor under or in respect of the LOC Agreement, this Agreement, the other LOC
      Documents, or any other document made, delivered or given in connection with any of
      the foregoing, in each case whether evidenced by a note or other writing, whether
      allowed in any bankruptcy, insolvency, receivership or other similar proceedings, whether
      arising from an extension of credit, issuance of a letter of credit, acceptance, loan,
      guaranty, indemnification or otherwise, and whether primary, secondary, direct or
      indirect, absolute or contingent, due or to become due, now existing or hereafter arising,
      fixed or otherwise (all such obligations, covenants, duties, debts, liabilities, sums and
      expenses outlined in this Section 3 being herein collectively called the "Secured
      Obligations").

      4.     Perfection of Security Interest and Further Assurances.

      (a)     The Grantor shall, from time to time, as may be required by the Secured Party for
      all Collateral, promptly take all actions as may be requested by the Secured Party to perfect
      the security interest of the Secured Party in the Collateral, including, without limitation,
      concerning all Collateral over which control may be obtained within the meaning of
      sections 8-106, 9-104, 9-105, 9-106 and 9-107 of the UCC, as applicable, the Grantor
      shall promptly take all actions as may be requested from time to time by the Secured
      Party so that the security interest in the Collateral granted hereunder is obtained and at all
      times held by the Secured Party. All the foregoing shall be at the sole cost and expense of
      the Grantor.

     (b)      The Grantor hereby irrevocably authorizes the Secured Party at any time and from
     time to time to file in any relevant jurisdiction any financing statements and amendments
     thereto that contain the information required by Article 9 of the UCC of each applicable
     jurisdiction for the filing of any financing statement or amendment relating to the
     Collateral, including any financing or continuation statements or other documents to
     perfect, confirm, continuing, enforcing or protecting the security interest granted by the
     Grantor hereunder, without the signature of the Grantor where permitted by law, including
     the filing of a financing statement describing the Collateral as all assets now owned or
     hereafter acquired by the Grantor, or words of similar effect. The Grantor agrees to
     provide all information required by the Secured Party under this Section 4 promptly to the
     Secured Party upon request. The Grantor also hereby ratifies any financing statements or
     amendments previously filed by the Secured Party in any jurisdiction

      (c)    The Grantor hereby further authorizes the Secured Party to file with the United
      States Patent and Trademark Office and the United States Copyright Office (and any
      successor office and any similar office in any state of the United States or any other
      country) this Agreement and other documents to perfect, confirm,


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      continuing, enforcing, or protecting the security interest granted by the Grantor hereunder,
      without the signature of the Grantor where permitted by law.

      (d)     If the Grantor shall at any time hold or acquire any certificated securities,
      promissory notes, tangible chattel paper, negotiable documents, or warehouse receipts
      relating to the Collateral, then the Grantor shall promptly endorse, assign and deliver the
      same to the Secured Party, accompanied by such instruments of transfer or assignment duly
      executed in blank as the Secured Party may from time to time specify.

      (e)     If the Grantor shall at any time hold or acquire a commercial tort claim, the Grantor
      shall (i) promptly notify the Secured Party in a writing signed by the Grantor of the
      particulars thereof and grant to the Secured Party in such writing a security interest therein
      and in the proceeds thereof, all upon the terms of this Agreement, with such writing to be
      in form and substance satisfactory to the Secured Party and (ii) deliver to the Secured Party
      an updated Schedule 1.

      (f)     If any Collateral is at any time in the possession of a bailee, the Grantor shall
      promptly notify the Secured Party thereof and, at the Secured Party's request and option,
      shall promptly obtain an acknowledgment from the bailee, in form and substance
      satisfactory to the Secured Party, that the bailee holds such Collateral for the benefit of the
      Secured Party and the bailee agrees to comply, without further consent of the Grantor, at
      any time with instructions of the Secured Party as to such Collateral.

      (g)     The Grantor agrees that at any time and from time to time, at the expense of the
      Grantor, the Grantor will promptly execute and deliver all further instruments and
      documents, obtain such agreements from third parties, and take all further action, that may
      be necessary or desirable, or that the Secured Party may reasonably request, to create
      and/or maintain the validity, perfection or priority of and protect any security interest
      granted or purported to be granted hereby or to enable the Secured Party to exercise and
      enforce its rights and remedies hereunder or under any other agreement concerning any
      Collateral.

      5.      Representations and Warranties. The Grantor represents and warrants as follows:

      (a)    (i) the Grantor's exact legal name is correctly stated in the fust paragraph of this
      Agreement and on the signature page hereof, and (ii) the Grantor is an organization of the
      type and is organized in the jurisdiction, outlined in the first paragraph of this Agreement.

      (b)     The Grantor holds no commercial tort claims except as indicated on Schedule 1.
      None of the Collateral constitutes or is the proceeds of, (i) farm products, (ii) as-extracted
      collateral, (iii) manufactured homes, (iv) health-care-insurance receivables, (v) timber to
      be cut, (vi) aircraft, aircraft engines, satellites, ships or railroad rolling stock. None of the
      account debtors or other persons obligated on any of the Collateral is a governmental
      authority covered by the Federal Assignment of Claims Act or like federal, state or local
      statute or rule in respect of such Collateral. The Granter has at all times operated its
      business in compliance with all applicable provisions of the federal Fair Labor Standards
      Act, as amended, and with all applicable provisions of federal, state, and local statutes
      and

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      ordinances dealing with the control, shipment, storage, or disposal of hazardous materials
      or substances.

      (c)     At the time the Collateral becomes subject to the lien and security interest created
      by this Agreement, the Grantor will be the sole, direct, legal, and beneficial owner
      thereof, free and clear of any lien, security interest, encumbrance, claim, option or right
      of others except for the security interest created by this Agreement and other liens
      permitted by the LOC Agreement.

      (d)     The pledge of the Collateral according to this Agreement creates a valid and
      perfected First Priority security interest in the Collateral, securing the payment and
      performance when due of the Secured Obligations.

      (e)   Grantor has full power, authority, and legal right to borrow the Advances under the
      LOC and pledge the Collateral according to this Agreement.

      (f)     Each of this Agreement, the LOC Agreement, and the LOC Documents has been
      duly authorized, executed, and delivered by the Grantor and constitutes a legal, valid, and
      binding obligation of the Grantor enforceable by its terms, subject to applicable
      bankruptcy, insolvency, reorganization, moratorium or other similar laws affecting
      creditors' rights generally and subject to equitable principles (regardless of whether
      enforcement is sought in equity or at law).

      (g)     No authorization, approval, or other action by, and no notice to or filing with, any
      governmental authority or regulatory body is required for the borrowing of the Advances
      under the LOC and the pledge by the Grantor of the Collateral according to this
      Agreement or for the execution and delivery of the LOC Agreement, this Agreement and
      the other LOC Documents by the Grantor or the performance by the Grantor of its
      obligations thereunder.

      (h)    The execution and delivery of the LOC Agreement, this Agreement, and the other
      LOC Documents by the Grantor and the performance by the Grantor of its obligations
      thereunder, will not violate any provision of any applicable law or regulation or any order,
      judgment, writ, award or decree of any court, arbitrator or governmental authority,
      domestic or foreign, applicable to the Grantor or any of its property, or the organizational
      or governing documents of the Grantor or any agreement or instrument to which the
      Grantor is party or by which it or its property is bound.

      (i)     The Grantor has taken all action required on its part for control (as defined in
      sections 8-106, 9-104, 9-105, 9-106, and 9-107 of the UCC, as applicable) to have been
      obtained by the Secured Party over all Collateral concerning which such control may be
      obtained under the UCC. No person other than the Secured Party has control or
      possession of all or any part of the Collateral.

      U)     Schedule 2 hereto lists all banks, other financial institutions, and securities
      intermediaries at which the Grantor maintains Payment Accounts or Securities Accounts as
      of the Closing Date, and Schedule 2 hereto correctly identifies the name, address, and
      telephone number of each such financial institution or securities intermediary, the name in


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     which the account is held, a description of the purpose of the account, and the complete
     account number therefore.

     (k)     Schedule 3 hereto lists all intellectual property and rights to which Grantor holds
     an interest, ownership, or other rights.

     6.      Receivables. If any Event of Default shall have occurred and be continuing, the
     Secured Party may, or at the request and option of the Secured Party the Grantor shall
     notify account debtors and other persons obligated on any of the Collateral of the security
     interest of the Secured Party in any account, chattel paper, general intangibles, instrument
     or other Collateral and that payment thereof is to be made directly to the Secured Party.

     7.     Covenants. The Grantor covenants as follows:

     (a)     The Grantor will not, without providing at least thirty (30) days prior written notice
     to the Secured Party, change its legal name, identity, type of organization, the jurisdiction
     of organization, corporate structure, location of its chief executive officer, or its principal
     place of business or its organizational identification number. The Grantor will, before any
     change described in the preceding sentence, take all actions reasonably requested by the
     Secured Party to maintain the perfection and priority of the Secured Party's security interest
     in the Collateral.

     (b)      The Collateral, to the extent not delivered to the Secured Party under Section 4
     hereof, will be kept at those locations of the Grantor previously disclosed to the Secured
     Party and the Grantor will not remove the Collateral from such locations without providing
     at least thirty (30) days prior written notice to the Secured Party. The Grantor will, before
     any change described in the preceding sentence, take all actions reasonably required by
     the Secured Party to maintain the perfection and priority of the Secured Party's security
     interest in the Collateral.

     (c)     The Grantor shall, at its own cost and expense, defend the title to the Collateral and
     the First Priority lien and security interest of the Secured Party therein against the claim of
     any person claiming against or through the Grantor and shall maintain and preserve such
     perfected First Priority security interest for so long as this Agreement shall remain in effect.

     (d)      The Grantor will not sell, offer to sell, dispose of, convey, assign or otherwise
     transfer, grant any option to, restrict, or grant, create, permit, or suffer to exist any
     mortgage, pledge, lien, security interest, option, right of first offer, encumbrance or other
     restriction or limitation of any nature whatsoever on, any of the Collateral or any interest
     therein except as expressly provided for in the LOC Agreement or herein or with the prior
     written consent of the Secured Party.

     (e)    The Grantor will keep the Collateral in good order and repair and will not use the
     same in violation of law or any policy of insurance thereon. The Grantor will permit the
     Secured Party, or its designee, to inspect the Collateral at any reasonable time, wherever
     located according to the provisions of the LOC Agreement.




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     (f)     The Granter will pay promptly when due all taxes, assessments, governmental
     charges, and levies upon the Collateral or incurred in connection with the use or operation
     of the Collateral or incurred in connection with this Agreement.

     (g)    The Granter will continue to operate its business in compliance with all applicable
     provisions of the federal Fair Labor Standards Act, as amended, and with all applicable
     provisions of federal, state, and local statutes and ordinances dealing with the control,
     shipment, storage or disposal of hazardous materials or substances.

     (b)     The Granter shall promptly notify the Secured Party jn writing upon the acquisition
     or creation by the Granter of a Payment Account or Securities Account not listed on
     Schedule 2 hereto, and, before or simultaneously with the creation of such Payment
     Account or Securities Account, provide for the execution of a Control Agreement with
     respect thereto, if required by the Secured Party.

     (i)     The Granter shall provide the Secured Party with prompt written notice concerning
     any material real or personal property (other than property acquired in the ordinary course
     of business) acquired by the Grantor after the Closing Date. In addition to any other right
     that the Secured Party may have according to this Agreement or otherwise, upon written
     request of the Secured Party, whenever made, the Granter shall grant to the Secured
     Party, as additional security for the Secured Obligations, a First Priority lien on any real
     or personal property of the Granter (other than for leased equipment or equipment subject
     to a purchase money security interest in which the lessor or purchase money lender of such
     equipment holds a priority security interest, in which case, the Secured Party shall have
     the right to obtain a security interest junior only to such lessor or purchase money lender),
     including, without limitation, such property acquired after the Closing Date, in which the
     Secured Party does not have a First Priority lien. The Grantor agrees that, within thirty
     (30) days after the date of such written request, to secure all of the Secured Obligations
     by delivering to the Secured Party security agreements, intellectual property security
     agreements, pledge agreements, mortgages (or deeds of trust, if applicable) or other
     documents, instruments or agreements or such thereof as the Secured Party may require.
     The Grantor shall pay all reasonable and documented recordation, legal and other expenses
     in connection therewith.

      G)      At the request of the Secured Party, the Grantor shall, concerning any real
      property owned by the Grantor or any real property on which the Project is located, provide,
      or cause to be provided, to the Secured Party, (a) a mortgage (or comparable document)
      relating to such real property, in form and substance satisfactory to Secured Party, (b) title
      and lien searches concerning such real property and such other information, documents or
      agreements as may be deemed necessary or advisable by the Secured Party r in
      connection with such mortgage, and (c) such corporate governance and authorization
      documents and an opinion of counsel for such mortgage as may be deemed necessary or
      advisable by the Secured Party. The Grantor shall pay all reasonable and documented
      recordation, legal and other expenses in connection therewith.

      8.     Secured Party Appointed Attorney-in-Fact. The Grantor hereby appoints the
      Secured Party as the Grantor's attorney-in-fact, with full authority in the place and stead
      of

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      the Grantor and in the name of the Grantor or otherwise, from time to time during the
      continuance of an Event of Default in the Secured Party's discretion to take any action and
      to execute any instrument which the Secured Party may deem necessary or advisable to
      accomplish the purposes of this Agreement (but the Secured Party shall not be obligated to
      and shall have no liability to the Grantor or any third party for failure to do so or take
      action). This appointment, being coupled with an interest, shall be irrevocable. The Grantor
      hereby ratifies all that said attorneys shall lawfully do or cause to be done by virtue hereof.

      9.      Secured Party May Perform. If the Grantor fails to perform any obligation
      contained in this Agreement, the Secured Party may itself perform, or cause the
      performance of, such obligation, and the expenses of the Secured Party incurred in
      connection therewith shall be payable by the Grantor; provided that the Secured Party
      shall not be required.to perform or discharge any obligation of the Grantor.

      10.     Reasonable Care. The Secured Party shall have no duty concerning the care and
      preservation of the Collateral beyond the exercise of reasonable care. The Secured Party
      shall be deemed to have exercised reasonable care in the custody and preservation of the
      Collateral in its possession if the Collateral is accorded treatment substantially equal to that
      which the Secured Party accords its property, it is understood that the Secured Party shall
      not have any responsibility for ·(a) ascertaining or taking action concerning any claims,
      the nature or sufficiency of any payment or performance by any party under or according
      to any agreement relating to the Collateral or other matters relative to any Collateral,
      whether or not the Secured Party has or is deemed to know such matters, or (b) taking any
      necessary steps to preserve rights against any parties concerning any Collateral. Nothing
      outlined in this Agreement, nor the exercise by the Secured Party of any of the rights and
      remedies hereunder, shall relieve the Grantor from the performance of any obligation on
      the Grantor's part to be performed or observed in respect of any of the Collateral.

      11.     Remedies Upon Default.

      (a)     If any Event of Default shall have occurred and be continuing, the Secured Party,
      without any other notice to or demand upon the Grantor, may assert all rights and remedies
      of a secured party under the UCC or other applicable law, including, without limitation,
      the right to take possession of, hold, collect, sell, lease, deliver, grant options to purchase
      or otherwise retain, liquidate or dispose of all or any portion of the Collateral. If notice
      before disposition of the Collateral or any portion thereof is necessary under applicable
      law, written notice mailed to the Grantor at its notice address as provided in Section 15
      hereof ten (10) days before the date of such disposition shall constitute reasonable notice.
      So long as the sale of the Collateral is made in a commercially reasonable manner, the
      Secured Party may sell such Collateral on such terms and to such purchaser(s) as the
      Secured Party in its absolute discretion may choose, without assuming any credit risk and
      without any obligation to advertise or give notice of any kind other than that necessary
      under applicable law. Without precluding any other methods of sale, the sale of the
      Collateral or any portion thereof shall have been made in a commercially reasonable
      manner if conducted in conformity with reasonable commercial practices of creditors
      disposing of a similar property. At any sale of the Collateral, if permitted by applicable
      law,


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     the Secured Party may be the purchaser, licensee, assignee, or recipient of the Collateral
     or any part thereof and shall be entitled, to bidding and making the settlement or payment
     of the purchase price for all or any portion of the Collateral sold, assigned, or licensed at
     such sale, to use and apply any of the Secured Obligations as a credit on account of the
     purchase price of the Collateral or any part thereof payable at such sale. To the extent
     permitted by applicable law, the Grantor waives all claims, damages, and demands the
     Grantor may acquire against the Secured Party arising out of the exercise by the Secured
     Party of any rights hereunder. The Grantor hereby waives an,d releases to the fullest extent
     permitted by law any right or equity of redemption concerning the Collateral, whether
     before or after sale hereunder, and all rights, if any, of marshaling the Collateral and any
     other security for the Secured Obligations or otherwise. At any such sale, unless prohibited
     by applicable law, the Secured Party or any custodian may bid for and purchase all or any
     part of the Collateral so sold free from any such right or equity ofredemption. Neither the
     Secured Party nor any custodian shall be liable for failure to collect or realize upon any or
     all of the Collateral or for any delay in so doing, nor shall it be under any obligation to
     take any action whatsoever with regard thereto. The Secured Party shall not be obligated
     to clean- up or otherwise prepare the Collateral for sale.

     (b)     If any Event of Default shall have occurred and be continuing, any cash held by the
     Secured Party as Collateral and all cash Proceeds received by the Secured Party in respect
     of any sale of, collection from, or other realization upon all or any part of the Collateral
     shall be applied in whole or in part by the Secured Party to the payment of expenses
     incurred by the Secured Party in connection with the foregoing or incidental to the care or
     safekeeping of any of the Collateral or in any way relating to the Collateral or the rights of
     the Secured Party hereunder, including reasonable attorneys' fees, and the balance of such
     proceeds shall be applied or set off against all or any part of the Secured Obligations in
     such order as the Secured Party shall elect. Any surplus of such cash or cash Proceeds held
     by the Secured Party and remaining after payment in full of all the Secured Obligations
     shall be paid over to the Grantor or to whomsoever may be lawfully entitled to receive such
     surplus. The Grantor shall remain liable for any deficiency if such cash and the cash
     Proceeds of any sale or other realization of the Collateral are insufficient to pay the Secured
     Obligations and the reasonable fees and other charges of any attorneys employed by the
     Secured Party to collect such deficiency.

     (c)     If the Secured Party shall determine to exercise its rights to sell all or any of the
     Collateral under this Section 11, the Grantor agrees that, upon request of the Secured
     Party, the Grantor will, at its own expense, do or cause to be done all such acts and things
     as may be necessary to make such sale of the Collateral or any part thereof valid and
     binding and in compliance with applicable law.

     12.    No Waiver and Cumulative Remedies. The Secured Party shall not by any act
     (except by a written instrument under Section 14 hereof), delay, indulgence, omission, or
     otherwise, be deemed to have waived any right or remedy hereunder or to have
     acquiesced in any Default or Event of Default. All rights and remedies herein provided are
     cumulative and are not exclusive of any rights or remedies provided by law.




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     13.     SECURITY INTEREST ABSOLUTE. The Grantor hereby waives demand, notice,
     protest, notice of acceptance of this Agreement, a notice of loans made, credit extended,
     Collateral received or delivered, or other action taken in reliance thereon, and all other
     demands and notices of any description. All rights of the Secured Party and liens and
     security interests hereunder, and all Secured Obligations of the Grantor hereunder, shall be
     absolute and unconditional irrespective of:

     (a)     any illegality or lack of validity or enforceability of any Secured Obligation or any
     related agreement or instrument.

     (b)   any change in the time, place, or manner of payment of, or any other term of, the
     Secured Obligations, or any rescission, waiver, amendment, or other modification of the
     LOC Agreement, this Agreement, or any other agreement, including any increase in the
     Secured Obligations resulting from any extension of additional credit or otherwise;

     (c)    any taking, exchange, substitution, release, impairment, or non-perfection of any
     Collateral or any other collateral, or any taking, release, impairment, amendment, waiver,
     or other modification of any guaranty, for all or any of the Secured Obligations.

     (d)     any manner of sale, disposition, or application of proceeds of any Collateral or any
     other collateral or other assets to all or part of the Secured Obligations.

     (e)    any default, failure, or delay, willful or otherwise, in the performance of the Secured
     Obligations.

     (f)    any defense, set-off, or counterclaim (other than a defense of payment or
     performance) that may at any time be available to, or be asserted by, the Grantor against
     the Secured Party; or

     (g)     any other circumstance (including, without limitation, any statute oflirnitations) or
     manner of administering the LOC or any existence of or reliance on any representation by
     the Secured Party that might vary the risk of the Granter or otherwise operate as a defense
     available to, or a legal or equitable discharge of, the Grantor or any other grantor, guarantor
     or surety.

     14.    Amendments. None of the terms or provisions of this Agreement may be amended,
     modified, supplemented, terminated, or waived, and no consent to any departure by the
     Grantor therefrom shall be effective unless the same shall be in writing and signed by the
     Secured Party and the Granter, and then such amendment, modification, supplement,
     waiver or consent shall be effective only in the specific instance and for the specific
     purpose for which made or given.

     15.    Addresses for Notices. All notices and other communications provided for in this
     Agreement shall be in writing and shall be given in the manner and become effective as
     outlined in the LOC Agreement, and addressed to the respective parties at their addresses
     as specified in the LOC Agreement or as to either Party at such other address as shall be
     designated by such Party in a written notice to each other Party.



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      16.     Continuing Security Interest; Further Actions. This Agreement shall create a
      continuing First Priority lien and security interest in the Collateral and shall (a) subject to
      Section 17 hereof, remain in full force and effect until payment and performance in full of
      the Secured Obligations, (b) be binding upon the Grantor, its successors and assigns, and
      (c) inure to the benefit of the Secured Party and its successors, transferees, and assigns;
      provided that the Granter may not assign or otherwise transfer any of its rights or
      obligations under this Agreement without the prior written consent of the Secured Party.
      Without limiting tl1e generality of the foregoing clause (c), any assignee of the Secured
      Party's interest in any agreement or document which includes all or any of the Secured
      Obligations shall, upon assignment, become vested with all the benefits granted to the
      Secured Party herein concerning such Secured Obligations.

      17.     Termination: Release. On the date on which all Secured Obligations have been paid
      and performed in full, the Secured Party will, at the request and sole expense of the Grantor,
      (a) duly assign, transfer, and deliver to or at the direction of the Granter (without recourse
      and any representation or wananty) such of the Collateral as may then remain in the
      possession of the Secured Party, together with any monies at the time held by the Secured
      Party hereunder, and (b) execute and deliver to the Grantor a proper instrument or
      instruments acknowledging the satisfaction and termination of this Agreement.

      18.     GOVERNING LAW. This Agreement and any claim, controversy, dispute, or
      cause of action (whether in contract or tort or otherwise) based upon, arising out of, or
      relating to this Agreement and the transactions contemplated hereby and thereby shall be
      governed by, and construed per, the laws of the State of Illinois and the United States.

      19.     Binding Arbitration. Any dispute, claim, or controversy arising out of or relating
      to this Agreement, or the breach, termination, enforcement, interpretation, or validity
      thereof, including the determination of the scope or applicability of this agreement to
      arbitrate, shall be determined by binding arbitration in Illinois, before one arbitrator.
      The arbitration shall be administered by JAMS according to its Comprehensive
      Arbitration Rules and Procedures or by ADR Services according to its Arbitration Rules, at
      the election of the party initiating the arbitration. The Party initiating a demand for
      arbitration shall serve notice of such demand under the notice requirements outlined in
      Section 14.5 of the LOC Agreement. Within three (3) banking-business days of service of
      any demand for arbitration, the Parties to the dispute shall work cooperatively to mutually
      select an agreeable arbitrator. If the Parties to the dispute are unable to reach an
      agreement on an arbitrator, then the arbitration shall be selected according to the JAMS
      or ADR Services arbitration selection protocol. Each side s,hall be entitled to propound one
      (1) set of requests for the production of documents. The requests in each set shall not
      number more than twenty- five (25) and shall be limit<jd to documents relevant to the
      issues to be arbitrated. Each side shall further be entitled to notice and take no more than
      three (3) depositions, which shall last no more than three (3) hours per deponent, including
      reasonable breaks and objections. No other discovery shall be permitted, except upon a
      showing of good cause to the arbitrator. Any discovery disputes shall be submitted to and
      decided by the arbitrator. The prevailing party shall be entitled to an award of its
      reasonable costs and expenses, including but not limited to, attorneys' fees, in addition
      to any other available


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      remedies. Any award rendered therein shall be final and binding on each and all of the
      parties thereto and their representatives, and judgment may be entered thereon in any
      court of competent jurisdiction. This clause shall not preclude Parties from seeking
      provisional remedies in aid of arbitration from a court of appropriate jurisdiction. Any
      action or proceeding brought to interpret or enforce this agreement to arbitrate shall be
      governed by the laws of the State of Illinois. This agreement to arbitrate is intended by
      the Parties to constitute a waiver of any right to trial by jury, or the right to proceed in any
      state or federal court for resolution of any dispute arising concerning the enforcement or
      interpretation of this Agreement, this agreement to arbitrate, or any of the LOC Documents.

      20.  JURY TRIAL WAIVER. EACH PARTY HERETO, TO THE EXTENT
      PERMITTED BY LAW, HEREBY WAIVES ANY RIGHT TO HAVE A JURY
      PARTICIPATE IN RESOLVING ANY DISPUTE, WHETHER SOUNDING IN
      CONTRACT, TORT, OR OTHERWISE, BETWEEN THE GRANTOR AND THE
      SECURED PARTY, ARISING OUT OF, IN CONNECTION WITH, RELATED TO,
      OR INCIDENTAL TO THE RELATIONSHIP ESTABLISHED AMONG THEM IN
      CONNECTION WITH THIS AGREEMENT, THE '.Loe AGREEMENT, ANY
      OTHER LOC DOCUMENT OR ANY NOTE OR OTHER INSTRUMENT,
      DOCUMENT OR AGREEMENT EXECUTED OR DELIVERED IN
      CONNECTION HEREWITH OR THE TRANSACTIONS RELATED THERETO.

      21.     Counterparts. This Agreement and any amendments, waivers, consents, or
      supplements hereto may be executed in counterparts (and by different parties hereto in
      different counterparts), each of which shall constitute an original, but all taken together
      shall constimte a single contract. Delivery of an executed counterpart of a signature page
      to this Agreement by facsimile or in electronic (i.e., "pdf') format shall be effective as
      delivery of a manually executed counterpart of this Agreement. This Agreement and the
      other LOC Documents constitute the entire contract among the Parties concerning the
      subject matter hereof and supersede all previous agreements and understandings, oral or
      written, with respect thereto.




                                 Signatures Follow on Next Page




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            IN WITNESS WHEREOF, the Grantor hereto has executed this Security Agreement
    as of the date first set forth above.




    GRANTOR




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                                            EXHLBIT F
                                    FORM TERMINATION LETTER


  McMann Commercial Lending LLC
  205 N Michigan Avenue, Ste 810
  Chicago, lllinois 60601

  Re: North Haven Lodging Partners LLC

  To Whom it May Concern:

  The undersigned Borrower bas decided to exercise its rights to terminate the above-referenced
  transaction according to the terms of the LOC Agreement dated April 10, 2023.
          Please consider this letter as notice of Borrower' s termination of the LOC Agreement and
  request for a refund of Borrower's ICA payment, less any amounts due and owed to Lender
  under Section 13.7 of the LOC Agreement.

                                                    BORROWER: North Haven Lodging Partners LLC

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                  EXHIBIT 2
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            BUSINESS EXPANSION LINE OF           DIT AGREEMENT



                                    among




                  MCMANN COMMERCIAL L ND ING IL C

                                  as Lender



                                     and




                       Wallingford Lodging Par ners LLC
                                 as Borrower




                                  dated as of

                                April 10, 2023




                                                             Initials :   \it 3~
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               BUSINESS EXPANSLON LINE OF CREDIT AG                 EMENT

       Th.is Business Expansion Line of Credit AgreemJnt (as the£
                                                                ]i e may from time to time be
amended, restated, or otherwise modified, th.is "Agree~ent") is ade and entered as of April
10, 2023, between McMann Commercial Lending LLC ~the "Len •e~"), and Wallingford Lodging
Pa1tners LLC., a Connecticut Limited Liability Company ("Borroie:r").

                                        RECITALS

       A.       The Borrower desires to obtain from Li nder an asset-backed hne of credit loan
(the "LOC") in an aggregate principal amount not to exceef the Maximum Amount, as
hereinafter defined.
                                                               1
       B.     Tbe Bonower desires to obtain the LO~from Lender for Business Expansion for
construction of a 1OS-room limited-service hotel ( s more fuµy described in Exhibit D
attached hereto the "Project"). Acquired assets w]· be legf lJy described on Exhibit E
attached hereto (the "Property").                            j J




       C.       The Borrower has agreed to pay a • irnum con\ribution of the Project LOC
Amount to Lender, by establishing the Interest Reserv (as hereinafter defined) and the ICA (as
hereinafter defined), collectively,(the "interest Reser e Accouft!'), within seven (7) calendar
days after the fully executed LOC Documents (as herein fter defil e!~ are received by Lender.

       D.     The Borrower has agreed to pay, purs ant to Sect on 3.6 hereof, the aggregate
amount of One Million Eight Hundred Thousand Do ars and No Cents Dollars ($1,800,000),
(the "ICA Payment"), by bank wire to Lender. An ccount ol the books and records of the
Lender shall be created to serve as an Interest Credit Account (the "ICA"). A credit equal to
the lCA Payment shall be noted in the ICA for purpose of satisfying interest payments under the
LOC and upon the terms and conditions set forth herein.        ~

        E.    Lender has agreed to make Advances ( •s hereina ter defmed) under the LOC to
Borrower in an aggregate amount, according to Exhibit B, an amount not to exceed the
Maximum Amount for the purposes outlined in these ilecitals anti ~ e Promissory Note attached
hereto as Exhibit A and upon the terms and subject to tlie conditidns hereinafter set forth.

              NOW THEREFORE, for valuable consi~eration, l e receipt and sufficiency of
which is bcreby acknowledged, Borrowec and Lendet agree as follbws:


                                         ARTICLE 1
                                       DEFINITIONf
       Section 1.1. Certain Defined Terms. Except s otherwisr provided herein, accounting
terms not specifically defined shall be construed, •nd all a~counting procedures shall be
performed per generally accepted accounting principles , onsistent\y applied. As used in this
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agreement, the following terms have the following mean . gs, which apply to both the singular
and plural forms:

        "Advance(s)" means any loan advance made by he Lende'rl l'er the terms and conditions
of this Agreement.

       "Applicable Interest Rate" means the fixed inter .st rate specified in the Promissory Note.

       "Borrower" means that term as defined in the first paragraph of this Agreement.

        "Business Expansion" means any transaction o use, incl ding for working capital, that
relates to the expansion of the business of the Borroi:er, or series of related transactions for
the purpose of or resulting, directly or indirectly, in (a) yie expansion by the Borrower or any of
its subsidiaries of atl or substantially any and all asse!ts, or of lany business or division, (b)
the expansion by the Borrower or any of its sub idiaries of capital stock, partnership
interests, membership interests or equity, or otherwi e causing any business to become a
subsidiary of the Borrower or (c) a merger or consoliqlation or any other combination by the
Borrower or any of its subsidiaries with another Person br businesk (other than a Person that is a
subsidiary) provided that the Borrower (or a Perstjn that siicceeds to the Borrower in
connection with such transaction or series of relateµ transactions) or a subsidiary of the
Borrower (or a Person that becomes a subsidiary of the Iorrower as a result of such transaction)
is the surviving entity; provided that any Person that is a subsidiary at the time of execution
of the definitive agreement related to any such transa tion or series ofrelated transactions (or,
in the case of a tender offer or similar transaction, at he time of filing of the definitive offer
document) shall constitute a subsidiary for purposes of this definition even if in connection with
such transaction or series of related transactions, su6h Person becomes a direct or indirect
holding company of the Borrower.                         I
       "Business Plan" means the document(s) outlin • g the accurate and up-to-date business
operations of the End-Borrower, as previously provide by End-Borrower., substantially in the
form outlined in EXHIBIT D, and subject to review by ender's Capital Partners as described in
Section 8.1 of this Agreement.                                I /


      "Closing Date" means the last date of signed ex cution ofjthis Agreement by Lender and
Borrower.

        "Collateral" means all property securing repa ent of the obligations of Borrower under
this Agreement, as such collateral is evidenced by a Security Do ument, including all additions
thereto, replacements, and proceeds, thereof.            j
       "Event(s) of Default" means any event or condit on that shall constitute an event of default
as described in Article 13 of this Agreement.
       "ICA" means the definition given in Recital D 01 this Agreement.

       "ICA Payment" means the amount remitted purl ant to Recital D ohhis Agreement.




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        "Interest Reserve" means credit on the books d records of the Lender as an interest
reserve on Advances under the LOC. This credit is pr vided on fbehalf of the Borrower when
there is a contribution from a Borrower JV Partner, re eived by fhe Lender. When there is no
such contribution, the Interest Reserve exists wit no credit available. This credit is
simultaneously created when the ICA is established.

       "Interest Reserve Account" means the definitio given in Recital C of this

       Agreement.

       "Lender" means that term as defined in the first , aragraph of this Agreement.

       "Lender's Capital Partners" means one or mor lender-clients of the Lender

       providing funding towards the LOC.
                                                                    I   I
       "LOC" means that term as defined in Recital A o this Agreement.

       "LOC Disbursement Account" means that term as define in Section 3.12 hereof.

       "LOC Document(s)" means, collectively, this Agreeme t, the Promisso1y Note, and
each Security Document, as any of the foregoing may rom time to time be amended, restated,
or otherwise modified or replaced, and any other docum nt delivered pursuant thereto.

       "Maximum Amount" means Eighteen Million ine Hundred Thousand Dollars and No
Cents ($18,900,000) . The Maximum Amount is the Proj ct LOC ~ount plus all fees, costs, and
expenses which are the Borrower's responsibility to pay.

        "Organizational Documents" means, concerni g any Penson (other than an individual),
such Person's Articles (Certificate) of Incorporation r equivalJnt formation documents, and
regulations (Bylaws), operating agreement, JV operati g agree~ent, partnership agreement or
equivalent governing documents, and any amendments tf any onr foregoing.

        "Other Taxes" means all present or future s~ mp or documentary taxes or any other
excise, ad valorem or property taxes, goods and services taxes, harmonized sales taxes and other
sales taxes, use taxes, value added taxes, transfer taxes, charges or similar taxes or levies arising
from any payment made hereunder or under any other LOC Dodument, or from the execution,
delivery or enforcement of, or otherwise concernin , this Agreement or any other LOC
Document.

         "Person" means any individual, sole pro rietorship partnership, joint venture,
unincorporated organization, corporation, limited liability company, unlimited liability company,
institution, trust, estate, governmental authority, or any ther entity.

       "Project" means that term as defined in Recital      of this Agreement.


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        "Project Costs" means the amount of the LOC roceeds/all Advances not to exceed the
Maximum Amount, to be utilized by the Borrower for implementa ion or execution of the Project
(including but not limited to the payment of taxes, insur1 ce, and all items reasonably necessary
for the successful execution of the Project), as more spe ifically outlined in the Project budget set
forth on Exhibit C attached hereto.                                  I
       "Project LOC Amount"             means    Eighteen Million .oJ lars and No Cents
($18,000,000).                                                       I
       "Property" means that term as defined in Recita B of this Agreement.

      "Promissory Note" means the Promissory Note, In the form attached hereto as
Exhibit A.                                                 j
       "Security Agreement" means that certain Sec~ty Agreen;ient, dated as of the Closing
Date, executed by the Borrower in favor of Lender, in thJ form attached hereto as Exhibit E.

        "Security Document" means each security agretment (inJluding, without limitation, the
Security Agreement) each pledge agreement, each intell ctual property security agreement, each
control agreement, each mortgage, each U.C.C. Finan ing State ~nt or similar filing filed in
connection herewith or perfecting any interest created in !any of the foregoing documents, and any
other document pursuant to which any lien is granted by any Perso fo Lender, as security for the
obligations under this Agreement or the Promissory Npte, or anr !Part thereof, and each other
agreement executed or provided to the Lender in connedtion with ~y of the foregoing, as any of
the foregoing may from time to time be amended, restat1d or otherwise moilified or replaced.

       "Scheduled Maturity Date" means the 10th r·versary of the Closing Date, as the
 same be extended pursuant to Section 3.2 hereof.

         "Subsidiary" means any entity (other than t e Borrojer) in an unbroken chain of
 entities beginning with the Borrower if each of the enti ·es owns ktock, units, or other interests
 that represent fifty percent (50%) or more of the total ombined Loting power of all classes of
 stock in one of the other corporations in such chain

          "Taxes" means all present or future taxes of t ny kind, eluding, but not limited to,
  levies, imposts, duties, assessments, surtaxes, charges, fees, deductions or withholdings
  (including backup withholding), or other charges nowtr hereafter imposed, levied, collected,
  withheld or assessed by any governmental authority (to . ether with any interest, penalties, fines,
  additions to taxes or simjlar liabilities with respect th reto); provided that "Taxes" shall not
  include, concerning those imposed on Lender, inco4ie, capital gain, sales, use, franchise,
  excise, taxes or withholding on account of foreign inve~ent in tJ?.e United States or other taxes
  on Lender or the revenues derived by Lender concerning the LOC.
                                                           I
          "Term Sheet" means that document(s) dated as of 3/ 14/2023 between Borrower and
  Lender, setting forth a general summary of the tenns of agreement memorialized more fully
  herein in final form.                                         [

        "Tranche Schedule" means the schedule of Adv nces to B rrowers from the Lender, based

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upon the dates of the disbursements attached hereto as xhibit J; provided that Borrower may
request in writing to Lender adjustments to the Tranche sbhedule (so long as the aggregate amount
of all Advances thereunder does not exceed the Maxim ! Amou !t), with any such adjustments
subject to the approval of Lender in its sole discretion.


    "UCC" means the Uniform Commercial Code as in effe t from ti e to time in the State of Illinois or, when the
laws of any other state govern the method or manner of the l?erfection r enforcement of any security interest in any
oftbe Collateral, the Uniform Commercial Code as in effect om time to time in such state.

                                             ARTICLE 2
                                            THE CREDIT                 11


      Section 2.1. Line of Credit Amount. Subje •t to the terms and conditions of this
Agreement, Lender agrees to make Advances to the Bf rrower under the LOC in an aggregate
amount not to exceed the Maximum Amount. The bligation of Borrower to repay such
Advances, with interest thereon, shall be evidenced by tl e Promissory Note.

       Section 2.2. Line of Credit Documents. The pbligationl of the Borrower to repay the
Advances under the LOC shall be evidenced by the Prt· ssory ote, this Agreement, and each
Security Document. The LOC shall be secured by the OC Doc ents, all of which shall be in
form and substance satisfactory to the Lender and its co sel.


                                        ARTICLE3
                             TERM, .INTEREST, ANDIAYMENT~

         Section 3.1. Initial Term. The initial term o the LOCT is Ten (10) years and shall
  commence on the Closing Date and expire on the S heduled ¥.aturity Date. The aggregate
  outstanding amount of all Advances and any accrue , but unpaid interest and fees shall be
  payable in full thereon and all other amounts due and owlljlg hereunder and under the
  Promissory Note shall be repaid by Borrower on the s heduled aturity Date.
                                                            1
        Section 3.2. Extended Term. At the end of the initial te1m outlined in Section 3.1 hereof,
and at the end of each Extended Term (as defined below,lif any), p~oyided the LOC is not then and
has not been in default beyond any applicable notice '.5d cure pe~·od, and Borrower has been in
full compliance with the terms and conditions of the LO_~ Docume ts, and Lender has not provided
Borrower notice that an event then exists which, over~-  · e, the giv,· g of notice and the expiration
of any cure period would become an Event of Default, nd furthe provided that all conditions to
extension set forth below are fully satisfied, Borrower ay elect to extend the term of the LOC
and this Agreement for an additional twenty-four (24) rtlonth period,, up to a total of one (1) such
additional consecutive periods (separately, "Extendetl Term"; collectively, the "Extended
Terms"). In connection with Lender's granting of elIch Extended Term, (a) Borrower shall
execute all documents which Lender, in its reasonable discretion, deems necessary to implement
such extension, and (b) Borrower will pay all reasonab'e costs 1:17d expenses incmTed by Lender
in connection with such extension, including but not ~ited to Lender's attorney's fees, as a one
(1)-time fee equal to one percent (1 %) of the Project LOC Amount.

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       Section 3.3. Applicable Interest Period. The terest period concerning each Advance
under the LOC shall be the period commencing on the dfe such Ajd ance was made to Borrower
by Lender, which shall commence the date such funds wle withdrawn by Borrower from the LOC
Disbursement Account, and continuing until such Advan e is repa·~ full. F
        Section 3.4. Interest Rate Calculation. Interes shall be ~ aJculated based on a 365-day
year and the actual number of days elapsed in a 365- ay year nd at the rate outlined in the
                                                                    1
Promissory Note (the "Applicable Interest Rate"). The ~terest rate payable on Advances shall be
subject, however, to the limitation that such interest rate shall never exceed the highest rate which
the Borrower may contract to pay under applicable law (tl1e "Maxinlllf Interest Rate"). If Lender
shall receive interest in an amount that exceeds the Ma,'imum Interest Rate, the excess interest
shall be applied to the unpaid principal balance outstan ing undl fhe Promissory Note or, if it
exceeds such unpaid principal, refunded to the Borrower

        Section 3.5. Interest Payments. interest on the o tstandin principal balance of Advances
under the LOC shall be paid from the Interest Reserve A count at e rate and at the times outlined
in the Promissory Note. Such interest payments shall be deducted b~ il,ender (a) first from the ICA
until such funds are depleted, and (b) second, from the lnter .st Reserve. Interest shall be
calculated on Advances made from the date of each Adv nee.

         Section 3.6. Reserves. Following the signing of this Algreement, the Borrower shall
remit One Million Eight Hundred Thousand Dollars ~ nd No Cents ($1,800,000) as the ICA
Payment per the terms and the time outlined in Recital of this ApfCment. Upon the funding of
the first Advance ~der the Tranche ~chedule, the_ ICA shall remr~ part of the interest Reserve
Account and subJect to the prov1s10ns of thJS Agreement, and not refundable to the
Borrower unless otherwise specifically provided for in this Agree ent. All credits to the Interest
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Reserve Account shall be used, absent tl1e occurrence of an Evf  nt of Default, for purposes of
payment on interest payable on the Advances as and hen such • terest payments are due and
payable.

        Section 3.7. Prepayment. The borrower may, wi out penalty, prepay all or any portion
of the outstanding principal balance of the LOC.

       Section 3.8. Interest Credit Account. If at an tin1e, no ~alance remains in the Interest
Reserve Account (having been applied as provided in t~is Agreement), upon notice from Lender
to Borrower, which notice shall be delivered to and received by Borrower no less than thirty (30)
days before the date of the next interest payment date Borrowe~ shall remit into the ICA the
funds necessary to make such interest paid before th date sucf interest payment is due and
payableSection 3.9. Fees.
              (a) LOC Fee. At Closing and out of the initial Advance, the Borrower shall pay
                  Lender a nonrefundable fee for the L C in an aggregate amount equal to Five
                  percent (5%) multiplied by the ProjeJt LOC Afnount, which is equal to Nine
                  Hundred Thousand Dollars and No j Cents ($900,000) (the "LOC Fee"). The
                  LOC Fee bas been fully earned by Lender and is due and payable in full to Lender
                  commensurate with the funding of, a1d from ~e proceeds of, the first Advance
                  under the Tranche Schedule, without co dition. I




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               (b) Promote Fee. At Closing and out of.~e initial ~tltnce, the Borrower shall pay
                   Lender a nonrefundable success fee in an aggregate amount equal to One
                   percent (1 %) multiplied by the Pro ect LOC Amount, which is One
                   Hundred Eighty Thousand Dollars and o Cents ($~80,000) (the "Promote Fee").
                   The Promote Fee has been fully earned b Lender antl is due and payable in full to
                   Lender commensurate with the funding o(, and from tpe proceeds of, the first
                   Advance under the Tranche Schedule, f ithout condition.
                                                                    I
               (c) ICA Advance Fee. To the extent the orrower1used Lender to provide the
                                                                                           .
                   ICA Payment, at Closing and out oft e initial Pldvance, the Borrower shall
                   reimburse Lender in an amount equ 1 to the ICA Payment advanced by
                   Lender plus a nonrefundable fee in a aggregatd amount equal to
                   Zero percent (0%) of the ICA Payme t, which is No Do1lars and No Cents
                   Dollars($-) (the "ICA Advance Fee" . The 1C1 Advance Fee has been fully
                   earned by Lender and is due and paya le in full fo Lender commensurate with
                   the funding of, and from the proceeds of, the fir t Advance under the Tranche
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                   Schedule, without condition. The borrower will fake the Project LOC Amount
                   in full on the closing of the first tranc e.    j   I


        Section 3.10. Line of Credit Extension Fees. oncwTen ly with the commencement of
each Extended Term, if any, Borrower shall pay to th . Lender, ion the first date of each such
Extended Term, a nonrefundable LOC extension fee f~ach extension in an aggregate amount
equal to one percent (I%) multiplied by the Maximum J _nount.       I
        Section 3.11. Le al and Incidental Fees Char es and Costs. Borrower shall pay at
Closing, all reasonable out of pocket and up to Twelv Thousarld, Five Hundred U.S. Dollars
($12,500) for legal fees, recording and filing fees, doc mentary ~tamps, taxes, service charges,
credit reports, UCC search costs, title company fees ailid costs, tlhird party paymaster fees and
administrative expenses, attorneys' fees and expenses, ld all othdr charges or expenses incurred
by Lender including administrative fees and expenses (a) in COl.}-llection with the LOC, (b) in
connection with efforts to collect any amount due under e LOC, or (c) in any action or proceeding
to enforce the provisions of any of the LOC Documents, .ip-cluding those incurred in post-judgment
collection efforts and in any bankruptcy proceeding (including any action for relief from the
automatic stay of any bankruptcy proceeding) or judicial !or non-judicial proceeding; provided that
Lender will provide Borrower ten (10) days' advance '1otice of any legal fees pursuant to this
Section 3.11 that will exceed Twelve Thousand, Five Hundred U.S. Dollars ($12,500). Lender
shall not be required to pay any premium or other cbargb or any brokerage fee or commission or
similar compensation in connection with the LOC o~ with satisfying the conditions of any
commitment for standby or permanent financing. Borro"}Ver hereby agrees to indemnify and hold
Lender harmless against and from all claims for such fees, comfuissions, and compensation in
connection with the LOC; provided that Lender shall nJ t have the right to be indemnified under
this Section 3 .11 for its own gross negligence or willful •sconduct.


       Section 3.12. Line of Credit Disbursement ccount. The proceeds of each Advance
under the LOC shall be advanced into the LOC Disburs~ment Account with Lender to be used by
Bo1rower for payment of the Borrower's Project Costs, solely for he purposes and in the manner

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outlined in this Agreement. The LOC Disbursement Ac •ount will be held jointly in the name of
the Borrower and Lender. Borrower hereby irrevocably assigns t Lender as additional security
for repayment of the LOC, aU of Borrower's rights and terest in and to the LOC Disbursement
Account, which assignment will be effective only upo , the occurrence and continuation of an
Event of Default, subject to an applicable Default Cure eriod (as !ereinafter defined).


       Section 3.13. Taxes.

         (a)     All payments made by the B01Tower und r any LO I Document shall be made free
and clear of, and without deduction or withholding for or on accourit of, any Taxes or Other Taxes.
If any Taxes or Other Taxes are required to be deducted pr withheltl from any amounts payable to
Lender hereunder, the amounts so payable to Lender shall be incr~ased to the extent necessary to
yield to the Lender (after deducting, withholding, and I ayment 0f all Taxes and Other Taxes,
including such deductions, withholdings and payments of Taxes and Other Taxes applicable to
other sums payable under this Section 3.13) interest or a , y such ott _er amounts payable hereunder
                                                                         1
at the rates or in the amounts specified in the LOC Doc ents.

        (b)    Whenever any Taxes or Other Taxes are required o be withheld and paid by the
Borrower, the Borrower shall timely withhold and pay such taxe to the relevant governmental
authorities. As promptly as possible thereafter, the Borrpwer shall send to the Lender a certified
copy of an original official receipt received by the BoEwer shotng payment thereof or other
evidence of payment reasonably acceptable to the Len er. If the r-'orrower shall fail to pay any
Taxes or OtherTaxes when due to the appropriate goveJ ental authority or fails to remit to the
Lender the required receipts or other required doc mentary fvidence, the Borrower sbaU
indemnify Lender on demand for any incremental Tax.dis or Othe Taxes paid or payable by the
Lender as a result of any such failure.
                                                                  1I
     (c)    The agreements in this Section 3.13 sh 11 survivf the termination of the LOC
Documents and the payment of the Advances and all other amounts payable under the LOC
Documents.




                                   ARTICLE4
                   CONDITIONS FOR CLOSING   D DISBISEMENT

       The obligation of Lender to provide the LOC a Id make 'f.Y Advance hereunder will be
subject to the satisfaction, at Borrower's cost and expe, se, of ea h of the following conditions,
unless waived by Lender in writing:


        Section 4.1.   Delivery of the LOC Documents.

              (a)    As of the Closing Date, Borrowlr shall h ve executed and delivered to
Lender in a manner satisfactory to Lender all of the LOC Documents.

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              (b)    The Borrower shall have de1ive ed to the Lender an executed Control
Agreement (as defined in the Security Agreement), for each P yment Account and Security
Account (both as defined under UCC § 9-102 and as futther defi ed in the Security Agreement)
maintained by the Borrower.

                (c)    Contemporaneously with Borrow 's acquis tion of the Property, Borrower
shall have delivered an executed and notarized mortgag or deed f trust in form and substance
required by Lender granting Lender a priority lien and s~curity int rest in and to the Property (the
"Security Instrument"), and such Security Instrument shall be fromptly recorded in the real
property records of the county in which such real propd1ty is loc;ed. If required by Lender, (i)
the closing of such Advance and recording of the SecurifyI
                                                           Instrum n:t shall be completed through
the services of a title company chosen by Lender, an<il (ii) sucl:i title company shall issue, at
Borrower's expense and for the benefit of Lender, a loa l policy o ' title insurance concerning the
Property. For the avoidance of doubt, this Section 4 l(c) shal not operate to preclude any
Advances to the Borrower to fund pre-acquisition costs.

        Section 4.2. Authority. On the Closing Date, t e Borro et shall have delivered to the
Lender an officer's certificate (or comparable documelt) certifying the names of the officers,
members, or managers of the Borrower authorized to si the LOCT Documents, together with the
true signatures of such Persons and certified copies of ( the resolptions of the board of directors
(or comparable document) of the Borrower evidencing pproval 0f1the execution, delivery, and
performance of the LOC Documents and the con.s~ation. of !the transactions contemplated
thereby, (b) the Organizational Documents ofthe Bor.rO\ter (inclumn.g, if applicable, copies of the
partnership and corporate documentation. of each of the en.eral pattners or members of Borrower
                                                         9
and copies of all equity participation agreements), and 1') a eonte.ln]'O,aneous =tifieate of good
standing concerning tb,e Borrower.                                  I
         Section 4.3. Liens. The Project is free from a prior li~ns. All taxes and assessments
affecting the Project or any part thereof due and payabld (includin/s r ithout limitation any taxes)
have been paid. The Project is not impaired by any exis¥.g undisc~osed covenants, conditions, or
restrictions. At the request of the Lender, the Borrower fhall (i) deliver to the Lender the results
of UCC lien searches, satisfactory to the Lender, (ii) the results oif federal and state tax lien and
judicial lien searches and pending litigation and bankruptcy searcl:ies, in each case satisfactory to
the Lender, and (iii) UCC or other lien termination statements reflecting termination of all liens
previously filed by any Person and not expressly pe itted pur uant to the LOC Documents.
Borrower agrees that no lien, other than as required by t is Agreement and the LOC Documents,
shall be placed on the Property, the Project, or any Collatera without the express written
permission of Lender.

       Section 4.4. Litigation. As of the Closing Date and as of the date of each Advance, there
                                                                   j
shall be no material Litigation pending against BorrowJr which Lender's reasonable business
judgment materially affects Borrower's ability to perforhi all of the terms and provisions of this
Agreement.                                              J           I
      Section 4.5. Events of Default. As of the Closing Date and as of the date of each Advance,
no Event of Default shall have occurred and be continuin , and the r orrower shall otherwise be in

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full compliance with the terms and provisions of this Agt ement.

       Section 4.6. Purchase and Agreement Contracts. Len , er shall receive copies of all
material contracts entered in connection with the Propeft' and the ioject, and all other contracts
material to the Borrower's operations and/or properties. ,          I
       Section 4.7. Compliance with Certain Requirements. ender shall receive evidence
reasonably satisfactory to Lender that the business is in!material , ompliance with all applicable
laws, regulations, ordinances, conditions, reservatio s, and e trictions imposed on the
business(es) under local, state, federal, and internationa, laws, pr , eel<lures, statutes, regulations,
and ordinances, conditions applicable to the Project.

        Section 4.8. Evidence of Insurance.
        (a)     For the period beginning with the exec tion of , -~ Agreement and continuing
throughout the term of the LOC, Borrower shall take .ut, pay fi r, and will keep in full force,
property and liability insurance on the Borrower and the Proje t against such risks, in such
amounts, and with such lenders' loss payable and additi ,nal insurJd clauses and endorsements as
shall be satisfactory to Lender and otherwise customaril carried by businesses of similar size and
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                                                                       f
character that of the business of the Borrower, and lBorrower fhall furnish Lender with the
satisfactory evidence of such underlying Borrower inslance and r:omptly notify Lender of any
changes to such insurance. Borrower shall include Le der as a additional insured under all
insurance policies applicable to the Project and the Prop rty.
        (b)     Within five (5) business of receipt of End-B rrower insprance pursuant to Section 4.S(a),
Lender shall acknowledge receipt and communicate to Borra er the app ,oyal and sufficiency of such End-
Borrowers certificate of insurance.

       Section 4.9. Financial Statements. The lender shall hav received all financial reports
required by Section 8.6 hereof.

       Section 4.10. Business Pro Forma. The lender shall rel eive a pro forma income and
expense statement annually in connection with the Projebt.

        Section 4.11. Management Plan. Lender shall receive a detailed management plan,
concunently with delivery of the annual financials requited pursutt to Section 8.6 hereof, which
will consist oftbe business operation, and budget for all iexpenses fBorrower's business.

       Section 4.12. Material Change. Throughout the term of e LOC, Borrower shall advise
Lender of any material change in conditions affecting th Borrowl' s ability to perform under this
Agreement or the Project that would materially alter the document tion and infonnation submitted
by Borrower to satisfy the above conditions precedent bd will s bmit amended documentation
and information reflecting these changed conditions for the reasonhble approval of Lender.

        Section 4.13. Non-Subordination. Under this Agreemen1' the payment and performance
                                                                       j
obligations of the Borrower and/or its subsidiaries s~all never put the Lender in a position
                                                                     1
subordinate to any indebtedness owing to any other c1editor of ~he Borrower and/or any such
Subsidiary (excepting interim obligations for labor and materials incurred in the normal course of
development and construction of the Project, which o ,ligations lwpl be timely satisfied in the

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normal and reasonable management of the Project).
       Section 4.14. Securitization. The lender may in its sole discretion securitize the LOC
funding through an insurer of its choosing. Should Lentler decid to securitize this transaction,
Borrower agrees to cooperate with any preliminary de erminati1 or reasonable due diligence
required by the insurer.

                                       ARTICLES
                            USE OF LINE OF CREDIT PROCE DS



       (a)     Proceeds of Advances under the LOC hall be u 'lized by Bon-ower solely to
finance the Project Costs, as more fully described in the attached Exhibit C, in connection with
Borrower Business Expansion as further detailed in e Busirtess Plan, updated yearly by
Borrower.

        (b)    The proceeds of the LOC shall be used ex:clusively or the purposes outlined in this
Agreement. Borrower warrants and represents that the us of the L"C proceeds as set forth herein
is for business and commercial purposes only and that the LOC 1oceeds will not be used for
personal, family, or household purposes. The borrowe will not, directly or indirectly, use the
proceeds of the Advances under the LOC, or lend, conqibute, or otherwise make available such
proceeds to any joint venrure partner or other Person, Ci} to fund cµiy activities or business of or
with any Person, or in any country or territory, that, a~ the time lo f such funding, is, or whose
government is, the subject of Sanctions, or (ii) in any oth r manner that would result in a violation
of Sanctions by any Person.

                                           ARTICLE6
                                          INSPECTION

        Section 6.1. Project Inspection. Lender, through iits officers, agents, contractors, affiliates,
or employees, shall have the right, at all reasonable time during business hours upon fifteen (15)
days prior written notice to Borrower to enter on-site ofqces of the Project site and to inspect the
operations in connection with the Project; provided that bhe foregoipg inspections shall be limited
to twice per year absent the occurrence of an Event of D fault.       I

       Section 6.2. Books and Records. Lender shall liave the right, at all reasonable times, to
examine the books, records, accounting data, and other dbcuments of Borrower about the Project,
the Property, and the Borrower and to make extracts therbfrorn or copies thereof.

        Section 6.3. Force Majeure Event Inspection b ght. In\the event of a Force Majeure
Event (as hereinafter defined) which interrupts, stops, or ~therwise 1mpedes the Borrower's ability
to continue with the Project, upon notice by Borrower to Lender in writing of such Force Majeure
Event occurrence, Lender shall have the right to periotlically inspect the Project, surrounding
conditions, and interview employees, contractors, vendors involved in the development of the
Project until Lender is satisfied with Borrower's abiliih, to resm;ne operations to develop the
Project. Following a Force Majeure Event, Lender has the right to modify the tenns upon which
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future Advances may be made as a result of a change in circumstances as determined by the
Lender

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in Lender's sole discretion, that the Borrower can per     pnn
                                                           or c ntinue to perform the Project
scope of work. Borrower shall execute any additiopal doc ents, amendments, or other
agreement of terms required by Lender, before Lender's bligation to continue to make Advances
shall resume.

                                   ARTICLE?
                                ADVANCE OF FUNDS

        Section 7.1. Timing and Advances to Payee. dvances ill be made as outlined in the
Tranche Schedule and shall be transferred into the LO<C Disbursyqent Account. So long as all
conditions precedent to an Advance has been met pursuabt to the terms of this Agreement, Lender
agrees that the first Advance will be funded no later than eventy-fif e,(75) calendar days following
the opening of the ICA by the Lender with its wholesale lender. rlender shall deliver the written
notice to Borrower of the commencement of such seVienty-five b s)-day period. Lender shall
deliver the written notice to Borrower via the Z I OMERAl, messaging system of the
commencement of such seventy-five (75)-day period.

      Section 7.2. Conditions Precedent to Advance Fund ·. Lender's obligation to make
Advances hereunder shall be conditioned upon fulfillme ~ of the terms outlined in Article 4 hereof.

        Section 7.3. Unpaid Lien Claims. lf Lender receives i otice of nonpayment from a
potential lien claimant or a lien is filed that is not insur~d over, orli{ contested then offset with a
segregated loss reserve account, or until the potential lien claimant acknowledges payment or
otherwise rescinds its notice in such form and with sue~ other ac~pwledgments as Lender may
require, per applicable law, Lender, at its option may (a refuse to !make any further Advances to
Borrower, or (b) withhold one hundred percent (100%) of the Ee amount claimed from future
Advances.

       Section 7.4. Mandatory Advances. Notwithstapding any other term or provision of this
Agreement, it is understood that interest on Advances mder the LOC shall be paid from the ICA
and that such method of interest payment is mandatotYi and not r! ptional. If Lender agrees that
Borrower may pay the interest directly, Lender shall ha e the righ to advance the LOC proceeds
                                                          1
to pay said interest if not otherwise paid when due. If thy LOC fullids allocated for these purposes
are depleted, Borrower is not relieved from paying directly when due these or any other expenses
or amounts required under the terms of this Agreement or any other LOC Document.

                                    ARTICLES      I        I
                        BORROWER'S AFFlRMATnr COVE 4\NTS

         As a material inducement to Lender to make t~~l~OC to ~oITower, and until payment in
full of the Advances and other amounts outstandmg un~er the LOC and performance of a11 other
obligations of BoITower under the LOC Documents, B rrower aJ rees to do all of the following
unless Lender shall otherwise consent in writing:               j
     Section 8.1. Project. (a) Complete, on an ongoin basis, all due diligence required or necessary in
connection with the Project, and (b) be the entity that is the counterparty to each material primary contract
and agreement related to (i) the Project and (ii) the development, construction, operation, and management
of the Project.

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     Section 8.2. Compliance with Laws. Comply with anp provide o ILender upon Lender's reasonable request
evidence of material compliance with, all applicable state, local fede ,alr and international laws, procedures, acts,
ordinances, and regulations applicable to the Project.                 I
       Section 8.3. Compliance with Documents. Perform and [ mply with all the terms and
conrntions of this Agreement and the other LOC Documents.

       Section 8.4. Books and Records. Keep and maintain co plete and accurate books of
account, per generally accepted accounting principles consistently pplied, reflecting all financial
transactions of the Borrower and the Project.

       Section 8.5. Payment of Obligations. Pay and discharge before the same shall become
delinquent all material obligations, claims, indebtedness,ltaxes, and other obligations (except only
those so long as and to the extent that the same shall be contested up good faith by appropriate and
timely proceedings and for which adequate provisio1s have been established per generally
accepted accounting principles).                                       I
         Section 8.6. Financial Reports. Deliver to Lender, concerning Borrower as soon as
available and in any event (a) within sixty (60) days after the end 6f each calendar quarter during
the term of the LOC, financial statements of Borrower for such quarl:er and (b) within ninety (90)
days after the end of each fiscal year of the Borrower, annul i financial statements of the
Borrower, in each case of the foregoing, certified as time and correct (which reports shall be
prepared per generally accepted accounting principles consistently applied) and operating
statements in a form reasonably satisfactory to Lender! Borrower ;,hall also deliver to Lender,
promptly upon request therefor, such other financial information of the Borrower (and its
subsidiaries, if any) as may reasonably be requested by L,ender. Tbb borrower must also complete
their ZOOMERAL business profile and keep the business profil] up to date throughout the term
of this agreement.
                                                                           1
        Section 8.7. Notification to Lender. Promptly after le ·ng thereof, notify Lender of:
(a) the details of any material action, proceeding, invesnigation, or d1aim against or affecting the
Borrower, the Property, or the Project instituted before any court, arbitrator, or governmental
authority or to the Borrower's knowledge threatened in writing to: be instituted; (b) any material
dispute between Borrower and any governmental authority involving or related to the Property or
the Project; (c) any labor controversy which has resulted in or, Ito the Borrower's knowledge,
threatens to result in a strike or disruption which would easonablYi_bt expected to have a material
adverse effect on the business of the Borrower of the Pioj ect; (d) t}le occurrence of any Event of
Default; and (e) any written agreement to purchase any }Oart of the Borrower or the Project or any
application for any refinancing of the LOC.




         Section 8.8. Partnership/Corporate Existence. Preserve and maintain its existence,
rights, franchises, and privileges in the jurisdiction of its formation.

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                             BORROWER'S          ~~~~::E   COVEj ANTS
        Until payment in full of the Advances under th I LOC and the performance of all other
obligations of Borrower under the LOC, and in addition to all other covenants and agreement of
Borrower contained herein or in any other LOC Docum nts, Borrqwer agrees that unless Lender
shall otherwise consent in writing Borrower shall not:

        Section 9.1. Liquidation, Merger, and Sale of 'Assets. Liquidate, merge, or consolidate
with any other Person or otherwise transfer to an unrelated Person fifteen percent (15%) or more
of the equity securities of Borrower, or sell, lease or transfer or otherwise dispose of any assets to
any Person other than in the ordinary course of business. Notwithstanding, any initial public
offering or acquisition by another company will require he Lender's approval or full payment of
the outstanding loan balance.

        Section 9.2. Liens. Create or incur any mo1gage, security interest, lien, or other
encumbrance of any kind upon the assets of the Borrower or constituting the Project or any portion
thereof other than (a) any lien securing indebtedness owimg to Lerlder, (b) liens for taxes not yet
due or that are being actively contested in good faith by appropri~te proceedings and for which
adequate reserves shall have been established in accord~nce with !generally1
                                                                                    accepted accounting
principles, (c) other statutory liens, including, withoutl limitation, statutory liens of landlords,
carriers, warehousers, utilities, mechanics, repairmen, workers and material-men, incidental to the
ownership and/or development of the Project that (i) were not incurred in connection with the
incurring of indebtedness or the obtaining of advances or credit, and (ii) do not in the aggregate
materially detract from the value of the Borrower's property or assets or the Project, (d) easements
or other minor defects or irregularities in title of the Property not interfering in any material respect
with the use of such property in the development of the Project, and (e) liens existing on the Closing
Date and previously disclosed to and approved by Lender (but only to the extent that the amount
of debt secured thereby, and the amount and description of property subject to such liens,shall not
be increased).

        Section 9.3. Indebtedness. Create, incur, or have outstanding any indebtedness of any kind, other
        than (a) indebtedness owing to the Lender under this Agreement and the other LOC Documents, and
        (b) indebtedness of the Borrower existing as of the Closing Date as disclosed to and approved by
        the Lender (and any extension, renewal, or refinancing thereof but only to the extent that the
        principal amount thereof does not increase after the Closing Date).

        Section 9.4. Investments, Loans, and Guarabtees. (a) Oreate, acquire, or bold any
        subsidiary, (b) make or hold any investment in any stocks, bqnds, or securities of any kind
        (c) be or become a party to any joint venture o~ other partnership, (d) make or keep
        outstanding any advance or loan to any Person, or (e) be or become a guarantor of any kind.


        Section 9.5. Acquisitions. Enter into any transaction or series ofrelated transactions for or
resulting, directly or indirectly, in (a) the acquisition of all or substantially all of the assets of any
Person, or any business or division of any Person, (b) the acquisltion of any of the outstanding
capital stock (or other equity interest) of any Person, or \ c) the acy •sition of another


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Person by a merger, amalgamation, or consolidation or ary other combination with such Person,
unless specifically stated and approved before execution fthis Agreement.

       Section 9.6. Organizational Documents. (a) Amend its Organizational Documents in any
manner adverse to Lender, or (b) amend its OrganizationJl Documents to change its name or state,
province or other jurisdiction of organization, or its form! of organization.



       Section 9.7. Project and Project Documents. !Willfully or voluntarily abandon the Project or its
       activities to develop, construct, operate, or maintain the Project. If the same would (i) be a major
       decision under the Organizational Documents ofBorrower, or (ii) have a material adverse effect on
       the Lender and is not necessary or desirable for continued development of the Project.

               (a) terminate or cancel or consent to or accept any cancellation or termination of;
amend, modify or supplement any provision in any material respect; or grant consent under or
waive any material default under, or material breach of, or material provision of or the performance
of a material obligation by any other Person under, any aontracts o'r agreements (A) related to the
Property, (B) between the Borrower and contractors for the1
                                                             Project, or (C) otherwise related to the
development, construction, operation, and maintenance of the Prbject, in each case that would
have an adverse effect on the Lender; or

               (b)    sell, assign (other than to Lender) or otherwise dispose of any of its rights
or interest under, any contracts or agreements (A) related to the Property, (B) between the
Borrower and contractors for the Project, or (C) otherwise related the development, construction,
operation, and maintenance of the Project without Lender's consent, which consent shall not be
unreasonably withheld.

                                      Article 10
                         REPRESENT ATIONS AND W ~ T I E S

       Borrower hereby represents and warrants to Lender that:

        Section 10.1. Validity of Agreement. The Borrower has e right and power and is duly
authorized and empowered to enter, execute and deliver ihe LOC Documents to which it is a party
and to perform and observe the provisions of the LOC Documents. The LOC and the execution,
delivery, and performance of the LOC Documents haVie been d~ly authorized by all necessary
action, and when executed and delivered by Borrower will constitute the valid and binding
agreements of Borrower, enforceable per their terms. The execution, delivery, and performance
of the LOC Documents do not conflict with, result in a breach in any of the provisions of,
constitute a default under, or result in the creation of 1a lien (other than liens permitted under
Section 9.2 hereof) upon any assets or property of the Borrower under the provisions of, the
Borrower's Organizational Docwnents or any material agreement to which the Borrower is a party.

        Section 10.2. Existing Defaults. As of the date of execution of this Agreement, Borrower
(or any subsidiary of B01Tower) is not in material default in the performance or observance of any
material obligation, agreement, covenant, or condition contained in any bond, debenture, note, or
other evidence of indebtedness or in any contract, indenture, mortgage, agreement, lease, or other

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agreement or instrument to which Borrower (or any subsidiary of B ,rrower) is a party or by which
it or any of its properties, subsidiaries, partners, or other 1elated entities may be bound.

                                                                     I
        Section 10.3. No Default in Other Agreements. The execution and delivery and
performance of this Agreement and all other LOC Documents, th~ i:ncurrence of the obligations
herein set forth, and the consummation of the transactions herein contemplated, will not result in
the creation of a lien on any of its property (except the li~ns created by the LOC Documents), and
will not conflict with, result in a breach of any bond, debentl!lre, note, contract, indenture,
mortgage, lease, or any other evidence of indebtedness, agreement or instrument to which it is a
party or by which it or any of its properties, subsidiaries, partners or other related entities may be
bound, or result in the violation by it of any law, order, rh!e, ordin~nbe, or regulation of any court
or governmental agency or body having jurisdiction over it or an~ of its properties, subsidiaries,
partners or other related entities.                                    I
                                                           I             I
       Section 10.4. No Consents. No consent, approval, authorization, or other acknowledgment
of any court or governmental agency or body, other thah those specifically referenced herein, is
required for the consummation by BoITower of any of the transactions contemplated by this
Agreement, except those pennits and licenses required ib the ordfuary course of construction of
~~~                                                        I         I
       Section 10.5. Litigation. There is no material litigation at law or in equity and no
proceedings before any commission or other administrative authority ("Litigation") pending or to
Borrower's knowledge threatened against or affecting Borrower, its principals, subsidiaries,
partners, or other related entities, or the Project, except a~ disclosed to and approved in writing by
Lender. There is no material Litigation currently contemplated, threatened, or pending by Borrower
against any entity or person which would have a material effect on Lender, this Agreement, the
LOC, or the transactions contemplated hereunder. Borrower's failure to timely disclose to Lender
                                                                     1
any Litigation that is pending, threatened, or contentplated by Borrower as of the date of
Borrower's execution of the LOC Documents shal~ constitute a material breach of this
Agreement and shall justify Lender's excuse from the performance of any terms hereof, including
funding of any Advance, until Lender is satisfied that such Litigation has been resolved in
Lender's sole discretion.

       Section 10.6. Financial Statements. All balance sheets, statements of income or loss,
reconciliation of surplus, and financial data of any other kind furnished to Lender by or on behalf
of Borrower are true and correct in all material respects, havd been prepared per generally
accepted accounting principles consistently applied, and fully 1and accurately present the
financial condition of the subjects thereof as of the dates thereof and no material adverse change
has occurred in the financial condition reflected therein slnce the ddtes of the most recent thereof.

        Section 10.7. Legal Requirements. The Borrower (a) holds permits, certificates, licenses,
orders, registrations, franchises, authorizations, and other approvals from any governmental
authority necessary for the conduct of its business and is in compliance with all applicable laws
relating thereto, and (b) is in compliance with all federal, state, local, or international applicable
statutes, rules, regulations, ordinances, and orders including, with6ut limitation, those relating to


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environmental protection, occupational safety and health, zoning, and equal employment practices.

        Section 10.8. Taxes. The Borrower has filed all tax returns and reports required ofit, has
paid all taxes which are due and payable, and bas provided adequate reserves for payment of any
tax whose payment is being contested; the charges, accruals, and reserves on the books of the
Bonower in respect of taxes for all fiscal periods to date are accurate; and there are no questions
or disputes between the Borrower and any governmental! authority concerning any taxes except as
othe,wise previously disclosed to the Lendcr in writing.   I          j ,

        Section 10.9. Organization and Good Standing. The Borrower is a duly formed or
organized, validly existing, and in good standing under 1he laws of the State of its formation or
organization as outlined in the first paragraph of this Agreement, and is qualified as a foreign entity
and in good standing in eachjurisdiction where the Property and the Project are located.
                                                                     I
        Section 10.10. Insurance. The Borrower maintains with finhncially sound and reputable
insurers insurance with coverage (including, if applicable, floocl insurance on all mortgaged
property that is in a Special Flood Hazard Zone, from such providers, on such terms and in such
amounts as required by the Flood Disaster Protection Act as ambnded from time to time or as
otherwise required by Lender) and limits as required by law and as is customary with Persons
engaged in the same business(es) as the Borrower.
                                                           I
               Section 10.11. Accurate and Complete Statements. Neither the LOC Documents
nor any written statement made by the Borrower in connection with any of the LOC Documents
contains any untrue statement of a material fact or omits to state a material fact necessary to make
the statements contained therein or in the LOC Documents not misleading. Lender represents to
Bonower:                                                             I I




       Section 10.12. Timing of Lender Funding. Provided Borrower has met the conditions to
Advances in this Agreement, including without limitation the tirnin~ for requests outlined in this
Section, Lender shall fund Advances per under the Tranche Schebule, but in no event anymore
frequently than every sixty (60) day, unless otherwise consented to in writing by Lender. The
borrower must deliver Advance requests to Lender thirty (30) buiiness-ban.k:ing days before the
week represented on the Tranche Schedule for whio,h the Borrower wishes to receive the
proceeds of such Advance from the LOC Disbursement Account. Upon notice of an Advance
Request from the Borrower, Lender has a forty (40) international business-banking day window
based on the Tranche Schedule (except for the first Advance according to Section 7.1) to
Payment the requested Advance into the LOC Disbursement Accqunt. Absent a written Advance
request from Borrower, per the conditions and requirements set forth herein, Lender is not
obligated to disburse the next scheduled Advance under the Tranche Schedule.

                                  ARTICLE 11
                  NATURE OF REPRESENTATIONS AND WFTIES

       Section 11.1. Generally. The representations an9 warranti~s made by Borrower herein and
otherwise in connection with the LOC are and shall remain true and correct in all material respects
as oftbe Closing Date and as oftbe date of each Advance, omit no rriaterials facts, and shall survive


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so long as any of Borrower's obligations under the LOC Documents have not been satisfied and/or
the LOC or any part thereof shall remain outstanding. Each request by Borrower for an Advance
shall constitute an affirmation that the representations and warranties remain true and correct in
all material respects (or, as to any representations and wa1Tanties which are subject to a
materiality qualifier, true and correct in all respects) as of the date hereof, except for any
representations and wananties that are made as of a specific date. All representations and
wananties made in any document delivered to Lender by or on behalf of Borrower according to
or in connection with the LOC shall be deemed to have yen relied upon by Lender.


                                       ARTICLE 12
                                   EVENTS OF DEFAULT               I
Any of the following specified events shall constitute an Event of Default (each an "Event of
Default"):

       Section 12.1. Nonpayment. Failure to make any paymet required by the Promissory
Note, this Agreement, or any other LOC Documents illil.d such failure continues for thirty (30)
days after notice of such default is sent by Lender to Bori"ower.

        Section 12.2. Other Covenants and Agreemehts. FailuL by Borrower to perform or
comply with any of the other covenants or agreements contained in this Agreement (other than
those referred to in Section 12.6 hereof), or any of the LOC Documents and such failure shall not
have been fully corrected, by the performance of or compli~nce with such covenants or
agreements, within twenty (20) days after notice of such default is sent by Lender to Borrower.
                                                                    I
        Section 12.3. Representations and Warranties. If any representation, warranty, or
statement made in or according to this Agreement or any other LOC Document or any other material
information furnished by the Borrower to the Lender, shall be false or erroneous in any material
respect when made or when deemed made. Such Event of Default can be corrected by the
presentation of accurate and current material inf01mation furnished by the Borrower to the
Lender to correct the false or erroneous representation; warranty, or statement within ten (10)
days after notice of such default is sent by Lender to Bonower.

        Section 12.4. Security. If any lien granted in this Agreement or any other LOC Document
in favor of the Lender, shall be determined to be (a) void, voidable or invalid, or is subordinated
or not otherwise given the priority contemplated by this Agreement and the Borrower has failed to
promptly execute, but in no event, more than five (5) business days from the date such change in
lien status occurs appropriate documents to correct such matters or (b) unperfected as to any
material amount of Collateral (as determined by the Lender, in itsrreasonable discretion) and the
Borrower has failed to prompt1y execute, but in no event, more tJan five (5) business days from
the date such change in the lien status occurs appropriate. documents to correct such matters.

       Section 12.5. Validity of LOC Documents. If (a) any material provision, in the sole
opinion of the Lender, of any LOC Document, shall at any time cease to be valid, binding, and
enforceable against the Borrower, and the Borrower has failed to promptly execute appropriate
documents to correct such matters; (b) the validity, binding effect or enforceability of any LOC


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Doclllllent against the Borrower shall be contested by the Borrower; (c) the Borrower shall deny
that it has any or further liability or obligation under any LOG Document; or (d) any LOC
Doclllllent shall be terminated, invalidated or set aside, o be declarfd ineffective or inoperative or
                                                            1
in any way cease to give or provide to the Lender the benefits purporfed to be created thereby, and
the Borrower bas failed to promptly execute appropriate documents to correct such matters.
                                                                      I
      Section 12.6. Petition for Bankruptcv, Insol ,encv. The insolvency of; the filing by
Borrower in any jurisdiction of a petition for bankruptcy1 liquidation, or reorganization, seeking,
consenting to or appointment of any trustee, receiver, liquidator, or custodian of it or of all or
substantially all of its property; or any such proceedings shall have been voluntarily or
involuntarily instituted against Bonower; the failure of Borrower tci generally pay its debts as they
come due or any admission in writing in that regard; the malcipg by Borrower of a general
assignment for the benefit of creditors; the entry against Borrower, voluntarily or involuntarily, of
any order for relief in any bankmptcy reorganization, liquidation, or similar proceeding or the
declaration of or action taken by any governmental authority whicp operates as a moratorium on
the payment of debts of Borrower, which such order or declaration or action shall have remained
in place and undischarged or unstayed for ninety (90) days; or the taking of the action by
Borrower to authorize any of the actions outlined in this Section 12.6.

             • 12.7. M atena
         Sect1on                • I L'1tigation.
                                        • •      Any act10n,
                                                          • smt,   • proceeI dmg,
                                                                               '      •      • • o f any
                                                                                   or mvestigation
kind involving or threatened in writing against, Borrower or any subsidiary thereof, or the Project,
before any court or arbitrator or any other authority which (a) would reasonably be expected to
have a material adverse effect, or (b) calls into question the validity or enforceability of, or
otherwise seeks to invalidate, any LOC Documents. Promptly after the commencement thereof of
any Litigation, Borrower shall deliver to Lender notice of all actions, suits, investigations,
litigation, and proceedings before any court or governmental der,artment, commission, board,
bureau, agency or instrumentality, domestic or foreign, affec ing Borrower or any of its
subsidiaries, partners, or other related entities, or the Project and promptly after the occurrence
thereof, a notice of any adverse change in the status or the financial effect on Borrower or any of
its subsidiaries, partners, or other related entities, or the l;'roject of the disclosed Litigation.
                                                                           I

                                            ARTICLE 13
                                            REMEDIES

        Section 13.1. General. Following the occurrence of one q) or more Events of Default, a
default cure period of sixty (60) days begins (''Default Cure Period''.), except as otherwise provided
in Section 13.3 or Section 13.4. If Borrower fails to cure the E✓ent of Default (in the manner
specified for each Event of Default according to Article 12) within the Default Cure Period, then
the Lender at its option, may (a) declare all outstanding indebtedness evidenced by the Promissory
Note, including principal and interest, immediately due and payable; (b) te1minate all obligations
to make further Advances under the LOC; and (c) pursue and enforce, either successively or
concurrently, all rights and remedies outlined in the Promissory Note, in the LOC Documents, or
any other Collateral instmment held by Lender or accruing to Lender by law, and such other
rights and remedies as Lender may have in law or equity, includin~ such rights as are provided in
this Article 13. If a Bankmptcy Event referred to in Section 12.6 hereofoccurs, (i) all obligations


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of the Lender to make further Advances under the LOC shall automatically and immediately
terminate, if not previously terminated, and the Lender thereafter shall not be under any obligation
to make any farther Advance, and (ii) the principal of and interest then outstanding on the LOC,
and all of the other obligations owing under the LOC Documents, shall thereupon become and
thereafter be immediately due and payable in foll (ifnot already due and payable), all without any
presentment, demand or notice of any kind, which are hei:eby waived by the Borrower.


     Upon the occurrence of any Event of Default hereunder under Section 12.1 whereby Bon-ower has
missed more than two (2) scheduled payments if Borrower docs no! have any interest reserve account
established for the benefit of the Lender, Borrower shall have a) sixty (60) days Default Cure Period to cure
the Event of Default and must (b) Payment an additional one year•~ worth of interest payments into the
Interest Reserve Account.

        Section 13.2. Default and Right to Acquire.

        In the event, the Borrower is unable to cure the Event of Default (in the manner specified
        to correct each Event of Default according to Article 12 or r ithin the Default Cure
        Period,

       (a)     Upon the occurrence of an Event of Default, Lender shall have the right, in person
or by agent, in addition to all other rights and remedies available to Lender hereunder or under
the LOC documents, to enter into possession of the Project and perfonn or cause enforce
any liquidity plan.
         (b)     The lender may enter into possession of the Project and perfonn or cause to be performed
all work and labor necessary to complete the Project, to operate and maintain the Project, and/or to
otherwise run the business of the Borrower. All sums expended by the Lender in doing so, together with
interest on such total amount at the Default Rate (as defined in the Promi sory Note), shall be repaid by the
Borrower to the Lender upon demand and shall be secured by the LOC documents, notwithstanding that such
expenditures may, together with anlQunts advanced under this Agreement, exceed the Maximum Amount.

        (c)    Borrower thereby, following such Bankruptcy Event or relevant cure periods
under Section 13.2 constitutes and appoints the Lender as its true ao.d lawful attorney-in-fact, with
the foll power of substitution, in the name of the Borrower to CQmplete the Project, to operate
and maintain the Project, and/or to otherwise run the business of the Borrower, and hereby
empowers such attorney or attorneys as follows:


               (i)    to enter and endorse all agreements, instruments, and documents in
        connection therewith.

               (ii)    to use any unadvanced proceeds of the LOC to complete, operate, or
        maintain the Project.

                (iii)  to make such changes and corrections in the applicable plans and
        specifications of the Project as reasonably shall be necessary or desirable to complete the
        work on the Project.


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              (iv)    to employ such managers, contractors, sub optractors, agents, architects,
       and inspectors as reasonably sball be required for the foregoing purposes.

               (v)     to pay, settle or compromise all bills and claims which may be or become
       liens against the Project or the Collateral or any part thereof, unless a bond or other security
       satisfactory to the Lender has been provided.                   I
              (vi)   to execute applications and certificates in thF name of the Bonower which
       reasonably may be required by the LOC Documents or any1other agreement or instrument
       executed by or on behalf of the Bonower in connection with the Project.

              (vii) to prosecute and defend all actions or procLdings in connection with the
       Project or the Collateral or any part thereof, and to take j such action and require such
       performance as such attorney reasonably deems necessary under any perfmmance and
       payment bond and the LOC Documents; and

               (viii) to do any and every act which the Bonower might do on its behalf
       concerning the Collateral or any part thereof, or the Projeet and to exercise any or all of
       the Borrower's rights and remedies under any or all of the fgreements and documents for
       the Project.                                                   J




        This power of attorney shall be deemed to be a power coupled with an interest and shall be
(A) irrevocable, (B) exercisable by the Lender at any time and !without any request upon the
Bonower by the Lender, and (C) exercisable in the name of the Lender or the Bonower. The
Lender shall not be bound or obligated to take any action to preserve any rights therein against
prior parties thereto.

       Section 13.3. Curing of Defaults by Advances. Upon the occurrence of an Event of
Default under Section 12.2 through 12.4 bereof which may be cured by the payment of money,
Lender, without waiving any right of acceleration or foreclosure und9r the LOC Documents which
Lender may have because of such Event of Default or any other fight Lender may have against
Borrower because of said Event of Default, shall have the right to make such payment from the
LOC, thereby curing the Event of Default. Any cash so remittecl, and interest tbereon will be
disbursed by Lender per the terms hereof before any additio~al proceeds of the LOC are
disbursed.                                                         I

        Section 13.4. Remedies Are Cumulative. No remedy conferred upon or reserved to
Lender in the LOC Documents shall be exclusive of any other !remedy provided in the LOC
Documents or by law or in equity, but each shall be cumulative ai;id shall be in addition to every
other remedy given Lender, under any of the LOC Documents or now or hereafter existing at law
or in equity or by statute. Lender, at its sole option and without lirnlting or affecting any rights and
remedies hereunder, may exercise any of the rights and remedies tJ which it may be entitled under
the LOC Documents concurrently or in such order as it may determine. The exercise of any
rights of Lender shall not in any way constitute a cure or waiver of Event of Default or invalidate
any act done according to any notice of default, or prejudice Lencter in the exercise of any of its
other rights or elsewhere unless, in the exercise of said rights, Lencler realizes all amounts owed to
it hereunder and under the Promissmy Note, and any other LOC Documents.

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        Section 13.5. Offsets. If there shall occur or exist any Event of Default referred to in
Section 12.6 hereof or if the maturity of the obligations owing under the Promissory Note or the
other LOC documents is accelerated according to Section 13 .1 here f, the Lender shall have the
right at any time to set off against, and to appropriate and apply ~oward the payment of, all of
such obligations then owing by the Borrower, whether or not the same shall then have matured,
all Payment (general or special) balances, and all balances in the Interest Reserve Account and all
other indebtedness then held or owing by the Lender to or for the credit or account of the
Borrower, all without notice to or demand upon the Borrower or any other Person or entities, all
such notices and demands being hereby expressly waived by the Borrower.

          Section 13.6. Collateral. The Lender shall at all times have the rights and remedies of a
secured party under the UCC, in addition to the rights and remedies of a secured party provided
elsewhere within this Agreement, in any other LOC Documents executed by the Borrower or
otherwise provided in law or equity. Upon the occurrence of an Event of Default and at all times
thereafter, the Lender may require the Borrower to assemble the Covateral securing the obligations
under the LOC documents, which the Borrower agrees to do, and make it available to the Lender
at a reasonable convenient place to be designated by the Lender. The Lender may, with or without
notice to or demand upon the Borrower and with or without the aid of legal process, make use of
such reasonable force as may be necessary to enter any premises wpere such Collateral, or any
thereof, may be found and to take possession thereof (including aJtything found in or on such
Collateral that is not specifically described in this Agreement or any other LOC document, each of
which findings shal1 be considered to be an accession to and a part of such Collateral) and for
that purpose may pursue such Collateral wherever the same may be found, without liability for
trespass or damage caused thereby to the Borrower. After any delivery or taking of possession of
the Collateral securing the obligations under the LOC documents, or any portion thereof, under
this Agreement, then, with or without resort to the Borrower personally or any other person or
property, all of which the Borrower hereby waives, and upon such terms and in such manner as
the Lender may deem advisable, the Lender, in its discretion, may sell, assign, transfer and deliver
any of such Collateral at any time, or from time to time. No prior notice need be given to the
Borrower or to any other Person in the case of any sale of such Collateral that the Lender
determines to be perishable or to be declining speedily in value or that is customarily sold in any
recognized market, but in any other case, the Lender shall give the Borrower not fewer than ten
(10) calendar days prior notice of either the time and place of any public sale of such Collateral
or of the time after which any private sale or other intended disposition thereof is to be made.
The Borrower waives advertisement of any such sale and (except to the extent specifically
required by the preceding sentence) waives notice of any kind in respect of any such sale. At any
such public sale, Lender may purchase such Collateral, including by credit bid, or any part thereof,
 free from any right of redemption, all of which rights the Borrower hereby waives and releases.
After deducting all costs and expenses, and after paying all claims, if any, secured by liens
having precedence over this Agreement, Lender may apply the net proceeds of each such sale to
or toward the payment of the obligations under the LOC documents, whether or not then due, in
such order and by such division as the Lender, in its sole discretion, may deem advisable. Any
excess, to the extent permitted by law, shall be paid to Borrower, and Borrower shall remain
 liable for any deficiency. In addition, after the occurrence of an Event of Default, the Lender shall
 at all times have the right to obtain new appraisals of the Borrower or any Collateral securing the
 obligations under the LOC documents, the cost of which shall be paid by the Borrower.
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      Section 13.7. Default by Lender and Borrower's Sole Rem~dy.

     (a)      Provided Borrower has fully satisfied and complied ~ th all conditions to Advance
       if Lender fails to provide the first (1st) Advance when due, under the Tranche Schedule
       and Section 7.1, Borrower shall have the option to terminate this Agreement and request a
       full refund of the ICA Payment. Upon the occurrence o~ such defau1t, Borrower shall
       deliver a written notice in the form of a notarized terminaltion
                                                                   I
                                                                        letter, a copy of which is
       attached hereto as Exhibit F ("the Termination Letter"), to Lender by certified mail.
       Upon receipt of such notice, Lender shall have forty (40) international business-banking
       days from the date of receipt ("Refund Period") within wlch to return the ICA Payment
       to the Borrower.                                              I
     (b)      If Lender is unable or unwilling to deliver good fun s to B01Tower, such failure to
       deliver an Advance other than the first Advance shall constitute a ''Lender Default"
       hereunder. Upon the occurrence of a Lender Default, Bprrower shall provide written
       notice in the form of a notarized Termination Letter to lthe Lender by cetiified mail.
       Within forty (40) international business-banking days fram the date of receipt of such
       notice by Lender, Borrower shall be entitled to (a) refund dfthe ICA Payment, minus any
       interest outstanding and unpaid as of the date of the Lender Default, (b) release of all
       security interests granted by Borrower to Lender hereunder an~ under the other LOC Documents,
       and (c) termination of Borrower's obligations to Lender hereudder except Borrower's obligation
       to repay to Lender the outstanding principal balance of the Promissory Note including accrued
       and unpaid interest thereon up to and including the date of the ~ender Default, upon which date
       interest under the Promissory Note shall cease to accrue. Notwithstanding any other provision of
       this Agreement to the contrary, in no event shall Lender or its affiliates be liable to the Borrower
       or any other non-party Person, Borrower's subsidiaries, partnerJ, or other related entities, for any
       indirect, special, incidental, or consequential damages, losses or expenses in connection with
       Borrower's or another Person's activities related to, or other ise because of, the LOC, the
       Advances, the Agreement or the other LOC documents.

     (c)       Notwithstanding anything to the contrary in the subpart (a) above or anywhere else
       in this Agreement or the other LOC documents, Lender sqall not be liable or
       responsible to the Borrower, nor be deemed to have defauited under or breached this
       Agreement, for any failure or delay in funding Adyances according to this
       Agreement, when and to the extent such failure or delay is caused by or results from
       acts beyond Lender's control, including, without limitation, the following force
       majeure events ("Force Majeure Event(s)"): (i) acts of God; (ii) flood, fire,
       earthquake, explosion or prolonged break-down of transport, telecommunications or
       electric current; (iii) war (whether declared or not), armed bonflict or the serious threat of
       the same (including but not limited to hostile attack, blockade, military embargo),
                                                                          1

       hostilities, invasion, an act of a foreign enemy, extensive r±u!itary mobilization, civil war,
       riot, rebellion, revolution, military or usurped power, insurjrection, civil commotion or
       disorder, mob violence, an act of civil disobedience, an act of terrorism, sabotage or
       piracy; (iv) plague, epidemic, pandemic, outbreaks ofinfeefous disease or any other
       public health crisis, including quarantine, or other restrictions; (v) act of authority
       whether lawful or unlawful, compliance with any law or governmental order, rule,
       regulation or direction, curfew
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        restriction, exprop1iation, compulsory acquisition, seizure of works, requisition,
        nationalization; (vi) embargoes or blockades in effect on or after the date of this
        Agreement; (vii) national or regional emergency; (viii) strikes, labor stoppages, or
        slowdowns or other industrial disturbances; (ix) failure of the Lender's wholesale lender
        from performing under the terms of the agreement between the Lender and the
        wholesale lender. Lender shall give notice of the Force Majeure Event to the Borrower
        within a reasonable period from the date Lender realizes such Force Majeure Event bas
        or will have an impact on Lender's ability to fund, stating the period the occurrence is
        expected to continue. The lender shall use reasonably diligent efforts to end the failure
        or delay and ensure the effects of such Force Majeure Event are minimized. The lender
        shall resume the performance of its obligations as soon as reasonably practicable after
        the removal of the cause. The cure periods provided for in S't\bparts (a) and (b) above
        shall be tolled during the pendency of a force Majeure Event.

        Section 13.8 Binding Arbitration. Any dispute, claim, or controversy arising out of or
relating to this Agreement, or the breach, termination, enforce111el)t, interpretation, or validity
thereof, including the determination of the scope or applicability of this agreement to arbitrate,
shall be determined by binding arbitration in 1llinois, before one (~) arbitrator. The arbitration
shall be administered by JAMS under its Comprehensive Arbitration Rules and Procedures or by
ADR Services under its Arbitration Rules, at the election of the party initiating the arbitration.
The Party initiating a demand for arbitration shall serve notice of such demand according to the
notice requirements outlined in Section 14.5 herein. Within three (3) banking-business days of
service of any demand for arbitration, the Parties to the dispute shall work cooperatively to
mutually select an agreeable arbitrator. If the Parties to the d\spute are unable to reach an
agreement on an arbih·ator, then the arbitration shall be selected under the JAMS or ADR
Services arbitration selection protocol. Each side shall be entitled to propound one (1) set of
requests for the production of documents. The requests in each set shall not number more than
twenty-five (25) and shall be limited to documents relevant to the issues to be arbitrated. Each
side shall further be entitled to notice and take no more than three (3) depositions, which shall
last no more than three (3) hours per deponent, including reasonable breaks and objections. No
other discovery shall be permitted, except upon a showing of good cause to the arbitrator. Any
discovery disputes shall be submitted to and decided by the arbitrator. The prevailing party shall
be entitled to an award of its reasonable costs and expenses, including but not limited to,
attorneys' fees, in addition to any other available remedies. Any award rendered therein shall
be final and binding on each and all of the parties thereto and their representatives, and judgment
may be entered thereon in any court of competent jurisdiction. This clause shall not
preclude Parties from seeking provisional remedies in aid of arbitration from a court of
appropriate jurisdiction. Any action or proceeding brought to intetpret or enforce this agreement
to arbitrate shall be governed by the laws of the State of Illinois. 11his agreement to arbitrate is
intended by the Parties to constitute a waiver of any right to trjal by jury, or the right to
proceed in any state or federal court for resolution of any dispute arising concerning the
enforcement or intetpretation of this Agreement, this agreement to arbitrate, or any of the LOC
Documents.

                                       ARTICLE 14
                                   GENERAL PROVISIONS

       Section 14.1. Disclaimer of Liability. Lender has no liability or obligation in connection

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with the Project except to make Advances under the LOC as agreed J.mder the terms of the LOC
Documents and makes no warranties or representations in connection therewith. No claim may be
made by the Borrower or any other Person against the Lender or the Affiliates, directors, officers,
employees, attorneys, or agents of the Lender for any damages other than actual compensatory
damages in respect of any claim for breach of contract or any othe~ theory of liability arising out
of or related to the transactions contemplated by this Agreement, or any act, omission or event
occurring in connection therewith; and the Borrower and Lender hereby, to the fullest extent
permitted under applicable law, waive, release and agree not to sue or counterclaim upon any such
claim for any special, indirect, consequential or punitive damages, whether or not accrued and
whether or not known or suspected to exist in their favor and regardless of whether Lender has
been advised of the likelihood of such loss of damage. Borrower further agrees that, in the event
of a delay in funding by the wholesale lender that causes a delay in funding from Lender to
Borrower, Borrower shall not file for arbitration or otherwise pursue legal claims against Lender
for such delay to the extent Lender takes reasonable steps to pursue claims it may have against the
wholesale lender; provided, further, that this provision is superseded by the limitations of liability
otherwise provided for in this Agreement and is not intended to create any rights in favor of
Borrower.

         Section 14.2. Publicity. Lender and Borrower shall have t~e right to issue periodic news
releases concerning the Project and its financing in such form as mutually approved by each of
them, such approval not to be unreasonably withheld. The lender shall have the right to indicate
that it has provided the financing for the Project.

       Section 14.3. Confidentialitv. Borrower agrees that the specific terms of this Agreement,
the LOC, and the related terms regarding Lender's agreement to fund the Project, including
Lender's related entities, partners, subsidiaries, and vendors are proprietary, and Borrower hereby
agrees to maintain confidential this Agreement, the LOC documents, and any information
disclosed by Lender related to the terms upon which funding of the LOC is to take place.
Borrower's disclosure of confidential terms shall constitute a material breach of this Agreement,
and will subject Borrower to injunctive relief, pecuniary damages, or other remedies available to
Lender in law or at equity. All such remedies are cumulative.

        Section 14.4. Responsibility for Application of Funds. JJder shall have no obligation
to see that funds advanced under the LOC are used for the purpose outlined in this Agreement.
Borrower shall be fully responsible for the proper application according to the terms of this
Agreement of funds advanced under this Agreement. The lender may rely solely upon the
Borrower's requests for Advances, affidavits, statements, and repoiis in making said Advances,
and the Borrower does hereby release and indemnify the Lender and hold the Lender harmless
from any losses, claims, demands, or expenses which may arise or result from misapplication or
misuse of the LOC proceeds by Borrower or its agents. Borrower's indemnification of Lender shall
not extend to losses arising from Lender's material breach of this Agreement or Lender's gross
negligence or willful misconduct (in each case as determined by a court of competent jurisdiction
in a final and non-appealable decision).

        Section 14.5. Non-Disparagement. B01TOwer agrees and covenants that Borrower shall
not at any time make, publish, or communicate to any person or entity or in any public forum any
defamatory, maliciously false, or disparaging remarks, comments1 or statements concerning the

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The lender or its businesses, or any of its employees, officers, or directors, and its existing and
prospective clients, suppliers, investors, and other associated third parties, now or in the future.
For the avoidance of doubt, a breach of this Section l 0.04 shall constitute an Event of Default
under Section 7.02 under which Lender has the right to terminate all obligations under the Loan
Documents under Section 9.01 (b).

        Section 14.6 Opportunitv to Consult with Counsel. Borrower acknowledges that it has
had an opportunity to consult with and be represented by counsel of Borrower's choosing in the
review of the Loan Documents, that it has been advised by Lender to do so, that the Borrower is
fully aware of the contents of the Loan Documents and its legal e:f[fect, and that Borrower enters
into these Loan Documents freely, without duress or coercioh, and based on Borrower's
judgment and wishes and not in reliance upon any representation o promise made by the Lender,
other than those contained herein.                                    7
        Section 14.7 Notices. All notices given under this Agreement, unless otherwise specified
herein, must be in writing and will be effectively served by: (i) submission through the
zoomeral.com portal using the Borrower's ZOOMERAL account and (ii) upon delivery or, if sent
by certified mail, upon the first to occur of receipt by the addressee or the expiration of ninety-six
(96) hours after deposit in first-class certified United States mail, ~ostage prepaid, return receipt
requested, or two (2) business days if sent by pre-paid nationally recognized overnight courier
service, sent to the Party at its address set forth below, or such other address as a Party may
designate from tin1e to time by written notice given according to this paragraph:

  To Borrower:          Wallingford Lodging Partners LLC
                        4 Miles Drive
                        Wallingford, Connecticut 06492

  To Lender:            McMann Commercial Lending LLC
                        205 N Michigan Avenue, Ste 810
                        Chicago, Illinois 6060 I


        Section 14.8. Applicable Law. This Agreement and, unless otherwise specifically
provided for therein, each other LOC document, shal1 be governed by and construed per the laws
of the State of lllinois and the United States.                 J




       Section 14.9. Successors and Assigns. The terms of this Agreement will bind and benefit
the successors and assigns of the Parties, provided that except as permitted under the LOC
Documents, Borrower may not assign this Agreement or any proceeds from the LOC or assign or
delegate any of its rights or obligations hereunder without the prior written consent of Lender,
which may be withheld in Lender's sole discretion.

       Section 14.10. Severability. The invalidity or uncnforceability of any one or more of the
provisions of this Agreement will in no way affect any other provision, except that if a condition
to an Advance is held to be illegal or invalid, Lender will not be ;required to make the Advance
which was the subject of that condition. In the event of any conflict or inconsistency between the
terms and provisions of this Agreement and any of the LOC Documents, the terms and provisions
ohhis Agreement shall control.


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        Section 14.11. Amendments. This Agreement may not be modified or amended except by
a written agreement signed by the Bo1Tower and Lender.

       Section 14.12. Headings; Attachments. The several beadings to articles, sections, and
subsections herein are inserted for convenience only and shall be ignored in interpreting the
provisions of this Agreement. Each schedule or exhibit attached to this Agreement shall be
incorporated herein and shall be deemed to be a part thereof.

        Section 14.13. No Third-Party Rights. This Agreement is made entirely for the benefit
of the Borrower, the Lender, and their successors in interest (including any participants). No
third party shall have any rights hereunder.

        Section 14.14. Indemnification. The Borrower agrees to defend, indemrufy and hold
                                                                       1
harmless the Lender (and its affiliates, officers, directors, attorneys, 1gents and employees) from
and against any and all liabilities, obligations, losses, damages, penalties, actions, judgments,
suits, costs, expenses (including attorneys' fees), or disbursements of any kind or nature
whatsoever that may be imposed on, incurred by or assefed against the Lender in
connection with any investigative, administrative or judicial proceeding (whether or not the
Lender shall be designated a party thereto) or any other claim by a~y Person relating to or arising
out of the Project, the LOC Docwnents or any actual or proposed use of proceeds of the
Advances, or any activities of the Borrower or its affiliates; proviq.ed that the Lender shall not
have the right to be indemnified under this Section 14.12 for i.ts orn gross negligence or willful
misconduct, as determined by a final and non-appealable deci~ion in arbitration as for any
dispute between the Parties, or by judgment of a court of competent jurisdiction when such
dispute involves another third party Person. All obligations provided for in this Section 14.12
shall survive any termination of this Agreement. The Borrower hereby agrees to indemnify,
defend and hold harmless the Lender, the managers of the Lender, and all of their members,
managers, affiliates, and advisors, from any damages, l~sses, liabilities, costs, and
expenses (including reasonable attorneys' fees and costs) th~t they may incur because
Borrower failed to fulfill all of the terms and conditions of thi agreement or because of the
untruth or inaccuracy of any of the representations, warranties or agreements contained
herein or in any other documents the Borrower bas furnished to any of the foregoing
in connection with this transaction. This indemnification includes, but is not limited
to, any damages, losses, liabilities, costs, and expenses (including attorneys' fees and
costs) incurred by Lender, the managing members of Lender, or any of its members,
managers, affiliates, or advisors, defending against any allegep violation of federal or state
securities laws which is based upon or related to any untruth or inaccuracy of any of the
representations, warranties or agreements contained herein or in any other documents the
Borrower bas furnished in connection with this transaction.

        Section 14.15. General Limitation of Liability. No claim may be made by the
Borrower or any other Person against the Lender or the affiliates,jdirectors, officers, employees,
attorneys, or agents of the Lender for any damages other than aerial compensatory damages in
respect of any claim for breach of contract or any other theory of liability arising out of or
related to the



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transactions contemplated by this Agreement or any of the LOC Documents, or any aci,
omission, or event occurring in connection therewith; and the Borrower and Lender hereby, to
the fullest extent permitted under applicable law, waive, release and agree not to sue or
counterclaim upon any such claim for any special, indirect, cons, quential or punitive damages,
whether or not accrued and whether or not known or suspecte~ to exist in their favor and
regardless of whether Lender has been advised of the likelihood of such loss of damage. In
addition to the tolling provided under Section 6.3, Borrower further agrees that, in the event of a
delay in funding by the wholesale lender that causes a delay in funding from Lender to Borrower,
Borrower shall not file for arbitration or otherwise pursue legal claims against Lender for such
delay to the extent Lender takes reasonable steps to pursue cl~ims it may have against the
wholesale lender; provided, further, that this provision is superseded by the limitations of
liability otherwise provided for in this Agreement and is not intended to create any rights in favor
of Borrower.

        Section 14.16. Entire Agreement. This Agreement, the Promissory Note, and any other
LOC Document or other agreement, document, or instrument attached hereto or executed on or
as of the Closing Date integrate all of the terms and conditions mentioned herein or incidental
hereto and supersede all oral representations and negotiations and prior writings concerning the
subject matter hereof.

       Section 14.17. Execution in Counterparts. This Agreement may be executed in any
number of counterparts and by different parties hereto in separate counterparts, and by facsimile
or other electronic signature, each of which when so executed together shall constitute the same
Agreement.

        Section 14.18. Legal Representation of the Parties. The LOC Documents were
negotiated by the Parties with the benefit of legal representation and any rule of construction or
interpretation otherwise requiring this Agreement or any other LOC Document to be construed or
interpreted against any Party shall not apply to any construction or interpretation hereof or thereof.

     Section 14.19. JURY TRIAL WAIYER. THE BORROWER AND THE LENDER, TO
THE EXTENT PERMITTED BY LAW, HEREBY WAIVE ANY RIGHT TO HAVE A illRY
PARTICIPATE lN RESOLVING ANY DISPUTE, WHETHER SOUNDJNG lN CONTRACT,
TORT, OR OTHERWISE, BETWEEN THE BORROWER AND THE LENDER, ARISING
OUT OF, IN CONNECTION WITH, RELATED TO, OR INCIDENTAL TO THE
RELATIONSHIP ESTABLISHED BETWEEN THEM lN CONNECTION WITH THIS
AGREEMENT OR ANY NOTE OR OTHER INSTRUMENT, DOCUMENT OR
AGREEMENT EXECUTED OR DELIVERED IN CONNECTION HEREWITH OR THE
TRANSACTIONS RELATED THERETO.




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                       IN WITNESS WHEREOF, the parties have executed this Agreement as of tbe
        day and year first written above.


        LENDER: MCMANN COMMERCIAL LEl\TDING LLC

        By:       4w           ~
              Name: Walter P Trock ill


        BORROWER: Wallingford Lodging Partners LLC




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               ,zJ:? SUBSCRIBED AND SWORN TO BEFORE ME on this~                         day of




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                                                                                 South Dakota




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                                         EXHIBIT A
                                      PROMISSORY NOTE

   $18,900,000 - Maximum Principal Amount                                  April 10, 2023

   FOR VALUE RECEIVED, Wallingford Lodging Partners LLC., a Connecticut Limited
Liability Company (the "Maker"), hereby promises to pay to McMann Commercial
Lending, or any subsequent holder ofthis Promissory Note (the "Payee"), at such place as Payee
may designate, the principal sum of Eighteen Million Dollars and No Cents ($18,000,000) or
the aggregate unpaid principal amount of all Advances, plus the Fees outlined in Section 3.9 of the
LOC Agreement, as such terms are defined in the LOC Agreement (as hereinafter defined) and the
other LOC Documents, made by Payee to Maker according to the LOC Agreement, whichever
is greater, plus interest on the principal sum and all unpaid balances and all other amounts owed
by Maker to Payee at the interest rate set forth below, payment of principal and interest to be
made in lawful money of the United States in immediately available funds, as set forth below.
Capitalized terms used herein and defined in the LOC Agreement, but 11ot otherwise defined herein,
shall have the meaning given such term in the LOC Agreement; and



         (a)      Maker shall make payments under this Master Promissory Note (as the same may
           from time to time be amended, restated, or otherwise modified, this "Note") as follows:
           (i) simple interest payments on the outstanding principal amount of the Advances, at a
           fixed rate equal to Four point seven five percent (4.75%) per annum, which interest
           payments shall be due and payable to Payee quarterly in arrears, on the first (1 s1
           business day of each January, April, June and September of each year, with the first
           payment due on the first such date immediately following the date of the first Advance
           hereunder; and (ii) the outstanding principal balance of the Note, and all remaining
           accrued and unpaid interest, late charges and all other amounts due to Payee according
           to this Note and the LOC Documents shall be due and payable in full no later than the
           Scheduled Maturity Date.

         (b)     Except for the quarterly payments set forth above, this Note may be prepaid in
           whole or in part, as provided in the LOC Agreement.

         (c)      All payments made will be applied first to any late charges or other accrued fees,
           then to accrued interest, ,and then to the principal amount of the Note. Maker shall make
           each payment hereunder to the Payee without any deduction, offset, abatement,
           recoupment, counterclaim, or withholding whatsoever. The receipt of any payment by
           Payee, at its option, shall not be considered a payment on the account until such payment
           is honored when presented for payment at the drawee bank. Whenever any payment to
           be made hereunder, including, without limitation, any payment to be made on any
           Advance, shall be stated to be due on a day that is not a business day, such payment shall
           be made on the next business day and such extension o;f time shall in each case be
           included in the computation of the interest payable on suoh Advance. The aggregate
           unpaid amount of Advances and similar information concerning the LOC set forth on the
           records of Payee shall be rebuttable presumptive evidence for such information,
           including the amounts of principal, interest, and fees owing to Payee.
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     (d)     Maker shall pay all amounts due under this Note to McMann Commercial
       Lending, Corporate Office at the address provided under Section 14.5 of the LOC
       Agreement or such other offices as may be designated by Payee from time to time.

     (e)      All amounts owed by Maker according to this Note shall be collectively referred
       to herein as the "Obligation" of Maker.

       In addition, the following provisions shall govern this Note:

       1.     LlNE OF CREDIT AGREEMENT AND LlNE OF CREDIT DOCUMENTS.
      This Note is made and delivered to Payee according to 1arid is subject to all terms and
      conditions outlined in the Business Expansion Line of Credit Agreement of even date
      herewith between Maker and Payee (as the same may from time to time be amended,
      restated or otherwise modified, the "LOC Agreement"). This Note is secured by certain
      Collateral, as evidenced by the LOC Documents, covering the personal and/or real property
      described therein.

      2.      LATE CHARGES. If any amount payable under this Note is paid more than ten
      (10) business days after the due date thereof, then late charges (the "Late Charges") shall
      be added to the delinquent payment in an amount equal to five percent (5.00%) of such late
      payment for the extra expense in handling past due payments. Any such Late Charges shall
      be due and payable without demand, and Payee, at its option, may (i) refuse any late
      payment or any subsequent payment unless accompanied }?y the applicable Late Charge,
      (ii) add the Late Charges to the principal balance of this Note, and (iii) treat the failure to
      pay the Late Charges as demanded as an Event of Default under this Note. If Late Charges
      are added to the principal balance of this Note, those Late Charges shall bear interest at the
      same rate as the principal balance under this Note. Any payment to Payee by check, draft,
      or other items shall be received by Payee subject to collection and will constitute payment
      only when collected and not when received.

3.    DEFAULT, CROSS-DEFAULT, AND ACCELERATION. Time is of the essence. If
      Maker fails to make any payment of principal, interest, or any other Obligation on the
      date the same is due and payable under this Note, the LOC Agreement, any of the other
      LOC Documents, or any other agreement between Maker and Payee, or Maker or any
      other party fails to meet or perfonn any other obligation under any term or condition of'
      this note, the LOC Agreement, any of the other LOC Documents, or any other agreement
      between Maker and Payee, or an Event of Default occurs under the LOC Agreement or any
      of the other LOC Documents, and subject to any applicable notice and cure periods
      outlined in the LOC Agreement or any other LOC Documents, such Event of Default is not
      cured, then this Note shall be in default ("Default"). Upon Default, Payee shall provide
      written notice to Maker specifying the nature of the Default and directing that it be
      remedied within the applicable notice and cure period as outlined in the LOC Agreement.
      Upon Default, the interest rate provided for in this Note shall immediately increase to
      eighteen percent (18%) per annum (the "Default Rate"), unless and until cured by Maker,
      and upon Maker's failure to cure any default, the entire unpaid amount of this Note shall
      be immediately due and payable without further notice or


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      demand from Payee. Until cured, interest shall accrue daily after default with daily interest
      being added to the principal on the last day of each calendar month and thereafter
      compounded to calculate interest on the amounts owed according to this Note, and Maker
      shall thereafter be liable for all costs of collection, including reasonable attorneys' fees
      and costs, in addition to the payment of principal, interest and any other ammmt.


Should there be a material misappropriation of more than ten (10%) percent of the proceeds of
the Advances which causes an Event of Default, the Borrower shall immediately surrender
controlling management interest in Wallingford Lodging Partners LLC and the Project to
McMann Commercial Lending LLC.

       4.     COSTS, FEES, AND COMPENSATION. Maker further promises to pay
       all amounts owed under this Note, the LOC Agreement, and the other LOC Documents,
       and all Obligations owed according to this Note, the LOC Agreement, and the LOC
       Docwnents, and shall pay all such amounts as specified therein.

       5.      WAIVER. Maker and all endorsers, guarantors and all Persons liable or to become
       liable on this Note waive presentment, demand, a notice of dishonor, notice of default or
       delinquency, a notice of acceleration, notice of nonpayment, a notice of costs, expenses or
       losses and interest thereon, and all other notices or matters of a like nature, other than
       notices required according to this Note, the LOC Agreement or the other LOC
       Documents.

       6.      SUCCESSOR AND ASSIGNS. The terms of this Note shall apply to, inure to the
       benefit of, and bind all Parties hereto and their respective successors, and assigns.

       7.      CUMULATIVE REMEDIES. Upon the occurrence of any default under this
       Note, the LOC Agreement, or any of the other LOC Documents, or an Event of Default
       occurs, Payee shall have all rights specified therein and as provided under relevant law. No
       remedy or election hereunder shall be deemed exclusive but shall wherever possible, be
       cumulative with all other remedies at law or equity.

       8.     GOVERNING LAW; VENUE AND JURISDICTION; BINDING
       ARBITRATION; WAIYER OF TRIAL BY JURY. This Note shall be governed by and
       construed per the laws of the State of Illinois and the United States.

       BINDING ARBITRATION: Any dispute, claim, or controversy ansmg out of or
       relating to this Note, or the breach, tennination, enforcem~nt, interpretation, or validity
       thereof, including the determination of the scope or applicability of this agreement
       to arbitrate, shall be determined by binding arbitration in Illinois, before one
       arbitrator. The arbitration shall be administered by JAMS according to its
       Comprehensive Arbitration Rules and Procedures or by ADR Services under its
       Arbitration Rules, at the election of the party initiating the arbitration. The Party
       initiating a demand for arbitration shall serve notice of such demand under the notice
       reqmrements outlined in Section 14.5 of the LOC Agreement. Within three (3) banking-
       business days of service of any demand for arbitration, the Parties to the dispute shall
       work cooperatively to mutually select an agreeable arbitrator. If the Parties to the
       dispute are unable to reach an agreement on an
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      arbitrator, then the arbitration shall be selected according to the JAMS or ADR Services
      arbitration selection protocol. Each side shall be entitled to propound one ( 1) set of requests
      for the production of documents. The requests in each set shall not number more than
      twenty-five (25) and shall be limited to documents relevant to the issues to be arbitrated.
      Each side shall further be entitled to notice and take no more than three (3) depositions,
      which shall last no more than three (3) hours per deponent, including reasonable breaks
      and objections. No other discovery shall be permitted, except upon a showing of good
      cause to the arbitrator. Any discovery disputes shall be submitted to and decided by the
      arbitrator. The prevailing party shall be entitled to an award of its reasonable costs and
      expenses, including but not limited to, attorneys' fees, in addition to any other available
      remedies. Any award rendered therein shall be final and binding on each and all of the
      parties thereto and their representatives, and judgment may be entered thereon in any
      court of competent jurisdiction. This clause shall not preclude Parties from seeking
      provisional remedies in aid of arbitration from a court of appropriate jurisdiction. Any
      action or proceeding brought to interpret or enforce this agreement to arbitrate shall be
      governed by the laws of the State of Illinois. This agreement to arbitrate is intended by the
      Parties to constitute a waiver of any right to trial by jury, or the right to proceed in any
      state or federal court for rnsolution of any dispute arising concerning the enforcement or
      interpretation of this Note, this agreement to arbitrate, or any of the LOC Documents.

      JURY TRIAL W AJVER. THE BORROWER AND THE LENDER, TO THE EXTENT
      PERMITTED BY LAW, HEREBY WAIVE ANY RIGHT TO HAVE A JURY
      PARTICIPATE IN RESOLVING ANY DISPUTE, WHETHER SOUNDING IN
      CONTRACT, TORT, OR OTHERWISE, BETWEEN THE BORROWER AND THE
      LENDER, ARISING OUT OF, IN CONNECTION WlTH, RELATED TO, OR
      INCIDENTAL TO THE RELATlONSHIP ESTABLISHED BETWEEN THEM IN
      CONNECTION WITH THIS AGREEMENT OR ANY NOTE OR OTHER
      INSTRUMENT, DOCUMENT OR AGREEMENT EXECUTED OR DELIVERED IN
      CONNECTION HEREWITH OR THE TRANSACTIONS RELATED THERETO.

      9.      AUTHORIZATION. To induce Payee to enter into this Note and extend and
      advance funds to Maker under the terms contained herein and according to the LOC
      Agreement, Maker hereby represents and warrants as follows, acknowledging that Payee
      is relying on the truth and accuracy of the following representations and warranties in
      entering into this Note:

      (a)     That the undersigned is the authorized representative ofMaker and has the authority
      to bind Maker; and

      (b)    that Maker is duly organized and validly existing and in good standing under the
      laws of the State of its formation, and duly qualified to transact business and in good
      standing in any United States state where the nature of its business or properties requires
      such qualification, with full power and authority, corporate or otherwise, to enter into and
      perform this Note; that Maker has taken all actions required to be taken in connection
      herewith; and




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      (c)     that upon execution of this Note by the undersigned, this Note will constitute a
      legal, valid, and binding obligation of Maker and will be enforceable against Maker as set
      forth herein, except as enforceability thereof may be limi:ted by bankruptcy, insolvency,
      moratorium, and similar laws and by equitable principles, whether considered at law or in
      equity.

      10.     ATTORNEY FEES AND COSTS OF COLLECTlON. Maker shall pay Payee
      all reasonable expenses, attorney fees, and costs incurred in any action or proceeding by
      Payee to enforce the terms of this Note, the LOC Agreement, and/or any of the LOC
      Documents, including, without limitation, all reasonab1e expenses, attorney fees, and
      costs on appeal.

      11.    MISCELLANEOUS PROVISIONS.

      (a)     No delay or omission on the part of the Payee in exercising any rights hereunder or
      under the terms of any Security Agreement, pledge agreement, any guarantee made to
      guarantee payment of this Note, or any other Security Document given to secure this
      Note, shall operate as a waiver of such rights or any other right hereunder or under said
      security agreements, pledge agreements, guaranties or other documents.

      (b)    The invalidity or tmenforceability ofany provision hereof, of this Note, the LOC
      Agreement or any of the other LOC Documents, or of any other instrument, agreement,
      or document now or hereafter executed in connection with the loan made pursuant thereto,
      or any Obligation created thereunder shall not impair or vitiate any other provision of any
      of such instruments, agreements, and documents, all of which provisions shall be
      enforceable to the fullest extent now or hereafter permitted by law.

      (c)     This Note, the LOC Agreement, and the other LOC Documents may only be
      amended, terminated, extended, or otherwise modified by a written signed by the Party
      against which enforcement is sought. In no event shall any oral agreements, promises,
      actions, inactions, knowledge, course of conduct, course of dealing, or the like be effective
      to amend, terminate, extend, or otherwise modify any of same.

      (d)     This Note and the rights and remedies provided for herein may be enforced by
      Payee or any subsequent holder hereof. Wherever the contFxt permits, each reference to
      the term "holder" herein shall mean and refer to Payee or the then subsequent holder of this
      Note.

      (e)     Maker agrees that the bolder of this Note may, without notice to Maker and without
      affecting the liability of Maker, accept security for this ote and any additional or
      substitute security, if any, or release any security or any party liable for this Note,
      including any guarantor, or extend or renew this Note.

             [Remainder ofpage intentionally left blank; Signature page follows]




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                                     EXHIBITB
                              TRANCHE SCHEDULE
 Tranche I   Within 75 calendar days of confinnation of the $3,600,000
             clearing of the funds remitted by the Borrower
             being funded to the wholesale lender by the
             Lender
             under Section 7 .1
 Tranche2    75 calendar days after the date of the funding of $14,400,000
             Tranche 1
 Tranche3    NIA

 Tranche 4   NIA




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                                                 EXHIBITC
                                             PROJECT COSTS
(Please explain the use of the funds below per the project. Please see "Project Costs" defined in Article l of this
                                                   agreement.)            I
                                                                          I




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                                         EXHIBITD
                                       THE PROJECT
     (Please attach a copy of your Business Plan, Executive Summary, and/or Slide Deck.)




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           IN WITNESS WHEREOF, the Grantor hereto has executed this Security Agreement
   as of the date first set forth above.




   GRANTOR
   Wallingford Lodging Pa
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                                       Lt- '2..7·'2..";,                                     SEAL
                                                                                          South Dakota




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                                       EXHIBITE
                                  SECURITY AGREEMENT
       This   SECURITY     AGREEMENT,       dated as     of April 10,      2023 (as
amended, supplemented, or otherwise modified from time to time per the provisions
hereof, this "Agreement"), is made by Wallingford Lodging Partners LLC (the
"Grantor"), in favor ofMcMann Commercial Lending LLC (the "Secured Party").
        WHEREAS, the Grantor and the Secured Party are entering into that certain
Business Expansion LOC Agreement, dated of even date herewith (as amended, supplemented,
or otherwise modified from time to time, the "LOC Agreement").
        WHEREAS, this Agreement is given by the Grantor in favor of the Secured Party to
secure the payment and performance of all the Secured Obligations (as hereinafter defined); and
       WHEREAS it is a condition to the obligation of the Lender to make the LOC under the
LOC Agreement that the Grantor execute and deliver this Agreement, and this Agreement is
being executed and delivered in consideration of the Secured Party entering into the LOC
Agreement and each financial accommodation granted to the Securi::d Party by the Lender.
        NOW, THEREFORE, in consideration of the mutual covenants, terms, and conditions set
forth herein, and for other good and valuable consideration, the receipt and sufficiency of which
are hereby acknowledged, the Parties agree as follows:

       1.      Definitions. Capitalized terms used but not otherwise defined herein shall have the
       meanings assigned to such terms in the LOC Agreement. Unless otherwise specified
       herein, all references to Sections and Schedules herein are to Sections and Schedules of
       this Agreement. Unless otherwise defined herein, terms used herein that are defined in the
       UCC shall have the meanings assigned to them in the UCC. However, ifa term is defined
       in Article 9 of the UCC differently than in another Article of the UCC, the term has the
       meaning specified in Article 9. For purposes of this Agreement, the following terms shall
       have the following meanings:

       "Collateral" has the meaning outlined in Section 2 hereof.

        ''Control Agreement" means (a) concerning a Payment account, each Payment Account
Control Agreement ( or similar agreement concerning a Payment Account) among the Grantor, the
Lender, and a depository institution, to be in form and substance satisfactory to the Lender, and
(b) for a Securities Account, each Securities Account Control Agreement (or similar agreement
for a Securities Account) among the Grantor, the Lender, and a securities intermediary, to be in
form and substance satisfactory to the Lender; as any of the foregoing may from time to time be
amended, restated or otherwise modified.

      "Payment Account" means a Payment account, as that term is defined in the

      UCC. "Event of Default" has the meaning outlined in the LOC Agreement.

      "First Priority" means, concerning any lien and security interest purported to be created in
any Collateral according to this Agreement, such lien and security interest is the most senior lien
to which such Collateral is subject (subject only to liens permitted under the LOC Agreement).


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       "Proceeds" means "proceeds" as such term is defined in section 9-102 oftbe UCC and, in
any event, shall include, without limitation, all dividends or other income from the Collateral,
collections thereon, or distributions with respect thereto.

      "Secured Obligation(s)" has the meaning outlined in Section 3 hereof.

      "Securities Account" means a securities account, as that term is defined in the UCC.

       "UCC" means the Uniform Commercial Code as in effect from time to time in the State of
Illinois or, when the laws of any other state govern the method or manner of the perfection or
enforcement of any security interest in any of the Collateral, the Uniform Commercial Code as in
effect from time to time in such state.

       2.      Grant of Security Interest. The Grantor hereby pledges and grants to the Secured
       Party, and hereby creates a continuing First Priority lien and security interest in favor of
       the Secured Party in and to all of the Grantor's right, title, and interest in and to the
       following, wherever located, whether now existing or hereafter from time to time arising
       or acquired (collectively, the "Collateral"):

       (a)     all fixtures and personal property of every kind and nature including all accounts
       (including health-care-insurance receivables), goods (including inventory and equipment),
       documents (including, if applicable, electronic documents), instruments, promissory notes,
       chattel paper (whether tangible or electronic), letters of credit, letter-of-credit rights
       (whether or not the letter of credit is evidenced by writing), securities and a11 other
       investment property, commercial tort claims described on Schedule 1 hereof as
       supplemented by any written notification given by the Grantor to the Secured Party under
       Section 4(e) hereof, general intangibles (including all payment intangibles), money,
       Payment accounts, and any other contractual rights or rights to the payment of money;
       intellectual property, rights or right to receive royalties therefor, and

       (b)     all proceeds and products of each of the foregoing, all books and records relating
       to the foregoing, all supporting obligations related thereto, and all accessions to,
       substitutions and replacements for, and rents, profits and products of, each of the foregoing,
       and all Proceeds of any insurance, indemnity, warranty or guaranty payable to the Grantor
       from time to time concerning any of the foregoing.

       3.     Secured Obligations. The Collateral secures the due and prompt payment and
       performance of:

       (a)     the obEgations of the Grantor from time to time arising under the LOC Agreement,
       this Agreement, any other LOC Document or otherwise for the due and prompt payment of
       (i) the principal of and premium, if any, and interest on the LOC (including interest
       accruing during the pendency of any bankruptcy, insolvency, receivership or other similar
       proceedings, regardless of whether allowed or allowable in such proceeding), when and as
       due, whether at maturity, by acceleration, upon one or more dates set for prepayment or
       otherwise and (ii) all other monetary obligations, including fees, costs, reasonable
       attorneys' fees and disbursements, reimbursement obligations, contract causes of action,
       expenses and indemnities, whether primary, secondary, direct or indirect, absolute or


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     contingent, due or to become due, now existing or hereafter arising, fixed or otherwise
     (including monetary obligations incurred during the pendency of any bankruptcy,
     insolvency, receivership, or other similar proceedings, regardless of whether allowed or
     allowable in such proceeding), of the Grantor under or in respect of the LOC Agreement,
     this Agreement and the other LOC Documents; and

     (b)     all other covenants, duties, debts, obligations, and liabilities of any kind of the
     Grantor under or in respect of the LOC Agreement, this Agreement, the other LOC
     Documents, or any other document made, delivered or given in connection with any of
     the foregoing, in each case whether evidenced by a note or other writing, whether
     allowed in any bankruptcy, insolvency, receivership or other similar proceedings, whether
     arising from an extension of credit, issuance of a letter of credit, acceptance, loan,
     guaranty, indemnification or otherwise, and whether primary, secondary, direct or
     indirect, absolute or contingent, due or to become due, now existing or hereafter arising,
     fixed or otherwise (all such obligations, covenants, duties, debts, liabilities, sums and
     expenses outlined in this Section 3 being herein collectively called the "Secured
      Obligations").

     4.      Perfection of Security Interest and Further Assurances.

     (a)     The Grantor shall, from time to time, as may be required by the Secured Party for
     all Collateral, promptly take all actions as may be requested by the Secured Party to perfect
     the security interest of the Secured Party in the Collateral, including, without limitation,
     concerning all Collateral over which control may be obtained within the meaning of
     sections 8-106, 9-104, 9-105, 9-106 and 9-107 of the UGC, as applicable, the Grantor
     shall promptly take all actions as may be requested from time to time by the Secured
     Party so that the security interest in the Collateral granted hereunder is obtained and at all
     times held by the Secured Party. All the foregoing shall be at the sole cost and expense of
     the Granter.

     (b)      The Grantor hereby irrevocably autho1izes the Secured Party at any time and from
     time ro time to file in any relevant jurisdiction any financing statements and amendments
     thereto that contain. the information required by Article 9 of the UCC of each applicable
     jurisdiction for the filing of any financing statement or amendment relating to the
     Collateral, including any financing or continuation statements or other documents to
     perfect, con.firm, continuing, enforcing or protecting the security interest granted by the
     Grantor hereunder, without the signature of the Grantor where permitted by law, including
      the filing of a financing statement describing the Collateral as all assets now owned or
     hereafter acquired by the Grantor, or words of similar effect. The Grantor agrees to
     provide all information required by the Secured Party under this Section 4 promptly to the
      Secured Party upon request. The Grantor also hereby ratifies any financing statements or
     amendments previously filed by the Secured Party in any jw;isdiction

      (c)    The Grantor hereby further authorizes the Secured Party to file with the United
      States Patent and Trademark Office and the United States Copyright Office (and any
      successor office and any similar office in any state of the United States or any other
      country) this Agreement and other documents to perfect, confirm,


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     continuing, enforcing, or protecting the security interest granted by the Grantor hereunder,
     without the signature of the Grantor where permitted by law.

     (d)     lf the Grantor shall at any time hold or acquire any certificated secunties,
     promissory notes, tangible chattel paper, negotiable docwnents, or warehouse receipts
     relating to the Collateral, then the Granter shall promptly endorse, assign and deliver the
     same to the Secured Party, accompanied by such instruments of transfer or assignment duly
     executed in blank as the Secured Party may from time to time specify.

     (e)     lfthe Granter shall at any time hold or acquire a commercial tort claim, the Grantor
     shall (i) promptly notify the Secured Party in a writing signed by the Granter of the
     particulars thereof and grant to the Secured Party in such writing a security interest therein
     and in the proceeds thereof, all upon the terms of this Agreement, with such writing to be
     in form and substance satisfactory to the Secured Party and (ii) deliver to the Secured Party
     an updated Schedule 1.

     (f)     lf any Collateral is at any time in the possession of a bailee, the Granter shall
     promptly notify the Secured Party thereof and, at the Secured Party's request and option,
     shall promptly obtain an acknowledgment from the bailee, in form and substance
     satisfactory to the Secured Party, that the bailee holds such Collateral for the benefit of the
     Secured Party and the bailee agrees to comply, without further consent of the Grantor, at
     any time with instructions of the Secured Party as to such Collateral.

     (g)     The Grantor agrees that at any time and from time to time, at the expense of the
     Granter, the Grantor will promptly execute and deliver all further instruments and
     documents, obtain such agreements from third parties, and t!ke all further action, that may
     be necessary or desirable, or that the Secured Party may reasonably request, to create
     and/or maintain the validity, perfection or priority of and protect any security interest
     granted or purported to be granted hereby or to enable the Secured Party to exercise and
     enforce its rights and remedies hereunder or under any other agreement concerning any
     Collateral.

     5.      Representations and Warranties. The Grantor represents and warrants as follows:

     (a)    (i) the Grantor's exact legal name is correctly stated in the first paragraph of this
     Agreement and on the signature page hereof: and (ii) the Grantor is an organization of the
     type and is organized in the jurisdiction, outlined in the first paragraph of this Agreement.

     (b)     The Grantor holds no commercial tort claims except as indicated on Schedule l.
     None of the Collateral constitutes or is the proceeds ot: (i) {arm products, (ii) as-extracted
     collateral, (iii) manufactured homes, (iv) health-care-insurance receivables, (v) timber to
     be cut, (vi) aircraft, aircraft engines, satellites, ships or railroad rolling stock. None of the
     account debtors or other persons obligated on any of the Collateral is a governmental
     authority covered by the Federal Assignment of Claims Act or like federal, state or local
     statute or rule in respect of such Collateral. The Grantor has at all times operated its
     business in compliance with all applicable provisions of the federal Fair Labor Standards
     Act, as amended, and with all applicable provisions of federal, state, and local statutes
     and

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     ordinances dealing with the control, shipment, storage, or disposal of hazardous materials
     or substances.

     (c)     At the time the Collateral becomes subject to the lien, and security interest created
     by this Agreement, the Granter will be the sole, direct, legal, and beneficial owner
     thereof, free and clear of any lien, security interest, encumbrance, claim, option or right
     of others except for the security interest created by this Agreement and other liens
     permitted by the LOC Agreement.

     (d)    The pledge of the Collateral according to this Agreement creates a valid and
     perfected First Priority security interest in the Collateral, securing the payment and
     performance when due of the Secured Obligations.

     (e)   Granter has full power, authority, and legal right to borrow the Advances under the
     LOC and pledge the Collateral according to this Agreement.

     (t)     Each of this Agreement, the LOC Agreement, and the LOC Documents has been
     duly authorized, executed, and delivered by the Granter and constitutes a legal, valid, and
     binding obligation of the Granter enforceable by its terms, subject to applicable
     bankruptcy, insolvency, reorganization, moratorium or other similar laws affecting
     creditors' rights generally and subject to equitable principles (regardless of whether
     enforcement is sought in equity or at law).

     (g)     No authorization, approval, or other action by, and no notice to or filing with, any
     governmental authority or regulato1y body is required for the borrowing of the Advances
     under the LOC and the pledge by the Granter of the Collateral according to this
     Agreement or for the execution and delivery of the LOC Agreement, this Agreement and
     the other LOC Documents by the Granter or the performance by the Granter of its
     obligations thereunder.

     (h)    The execution and delivery of the LOC Agreement, this Agreement, and the other
     LOC Documents by the Granter and the performance by the Granter of its obligations
     thereunder, will not violate any provision of any applicable law or regulation or any order,
     judgment, writ, award or decree of any court, arbitrator or governmental autho1ity,
     domestic or foreign, applicable to the Granter or any of its property, or the organizational
     or governing documents of the Granter or any agreement or instrument to which the
     Granter is party or by which it or its property is bound.

     (i)    The Granter has taken all action required on its part for control (as defined in
     sections 8-106, 9-104, 9-105, 9-106, and 9-107 of the UCC, as applicable) to have been
     obtained by the Secured Party over all Collateral concerning which such control may be
     obtained under the UCC. No person other than the Secured Party has conh·ol or
     possession of all or any part of the Collateral.

     U)     Schedule 2 hereto lists all banks, other financial institutions, and secunties
     intermediaries at which the Granter maintains Payment Accounts or Securities Accounts as
     of the Closing Date, and Schedule 2 hereto correctly identifies the name, address, and
     telephone number of each such financial institution or securities intermediary, the name in
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     which the account is held, a description of the purpose of the account, and the complete
     account number therefore.

     (k)     Schedule 3 hereto lists all intellectual property and rights to which Grantor holds
     an interest, ownership, or other rights.

     6.      Receivables. If any Event of Default shall have occurred and be continuing, the
     Secured Party may, or at the request and option of the Secured Party the Grantor shall
     notify account debtors and other persons obligated on any of the Collateral of the security
     interest of the Secured Party in any account, chattel paper, general intangibles, instrument
     or other Collateral and that payment thereof is to be made directly to the Secured Party.

     7.     Covenants. The Grantor covenants as follows:

     (a)     The Grantor will not, without providing at least thirty (30) days prior written notice
     to the Secured Party, change its legal name, identity, type of organization, the jurisdiction
     of organization, corporate structure, location of its chief executive officer, or its principal
     place of business or its organizational identification number. The Grantor will, before any
     change described in the preceding sentence, take all actions reasonably requested by the
     Secured Party to maintain the perfection and priority of the Secured Party's security interest
     in the Collateral.

     (b)      The Collateral, to the extent not delivered to the Secured Party under Section 4
     hereof, will be kept at those locations of the Gran tor previJusly disclosed to the Secured
     Party and the Grantor will not remove the Cotlateral from such locations without providing
     at least thirty (30) days prior w1itten uoli<.:e tu the Secured Party. The Grantor will, before.
     any change described in the preceding sentence, take all actions reasonably required by
     the Secured Party to maintain the perfection and priority of the Secured Party's security
     interest in the Collateral.

     (c)     The Grantor shall, at its own cost and expense, defend the title to the Collateral and
     the First Priority lien and security interest of the Secured Party therein against the claim of
     any person claiming against or through the Grantor and shall maintain and preserve such
     perfected First P1iority security interest for so long as this Agreement shall remain in effect

     (d)      The Grantor will not sell, offer to sell, dispose of, convey, assign or otherwise
     transfer, grant any option to, restrict, or grant, create, permit, or suffer to exist any
     mortgage, pledge, lien, security interest, option, right of first offer, encumbrance or other
     restriction or limitation of any nature whatsoever on, any of the Collateral or any interest
     therein except as expressly provided for in the LOC Agreement or herein or with the prior
     written consent of the Secured Party.

     (e)    The Grantor will keep the Collateral in good order and repair and will not use the
     same in violation of law or any policy of insurance thereon. The Grantor will perm.it the
     Secured Party, or its designee, to inspect the Collateral at any reasonable time, wherever
     located according to the provisions of the LOC Agreement.




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     (t)     The Grantor will pay promptly when due all taxes, assessments, governmental
     charges, and levies upon the Collateral or incurred in connection with the use or operation
     of the Collateral or incurred in connection with this Agreement.

     (g)    The Grantor will continue to operate its business in compliance with all applicable
     provisions of the federal Fair Labor Standards Act, as amended, and with all applicable
     provisions of federal, state, and local statutes and ordinances dealing with the control,
     shipment, storage or disposal of hazardous materials or subst&nces.

     (h)     The Grantor shall promptly notify the Secured Party in writing upon the acquisition
     or creation by the Grantor of a Payment Account or Securities Account not listed on
     Schedule 2 hereto, and, before or simultaneously with the creation of such Payment
     Account or Securities Account, provide for the execution of a Control Agreement with
     respect thereto, if required by the Secured Party.

     (i)     The Grantor shall provide the Secured Party with prompt written notice concerning
     any material real or personal property (other than property acquired in the ordinary course
     of business) acquired by the Grantor after the Closing Date. In addition to any other right
     that the Secured Party may have according to this Agreement or otherwise, upon written
     request of the Secured Party, whenever made, the Grantor shall grant to the Secured
     Party, as additional security for the Secured Obligations, a First Priority lien on any real
     or personal property of the Grantor (other than for leased equipment or equipment subject
     to a purchase money security interest in which the lessor or purchase money lender of such
     equipment holds a priority security interest, in which case, the Secured Party shall have
     the right to obtain a security interest junior only to such lessor or purchase money lender),
     including, without limitation, such property acquired after the Closing Date, in wruch the
     Secured Party does not have a First Priority lien. The Grantor agrees that, within thirty
     (30) days after the date of such written request, to secure all of the Secured Obligations
     by delivering to the Secured Party security agreements, intellectual property security
     agreements, pledge agreements, mortgages (or deeds of trust, if applicable) or other
     documents, instruments or agreements or such thereof as the Secured Party may require.
     The Grantor shall pay all reasonable and documented recordation, legal and other expenses
     in connection therewith.

     (j)     At the request of the Secured Party, the Grantor shall, concerning any real
     property owned by the Grantor or any real property on which the Project is located, provide,
     or cause to be provided, to the Secured Party, (a) a mortgage (or comparable document)
     relating to such real prope1iy, in form and substance satisfactory to Secured Party, (h) title
     and lien searches concerning such real property and such other information, documents or
     agreements as may be deemed necessary or advisable by the Secured Party r in
     connection with such mortgage, and (c) such corporate governance and authorization
     documents and an opinion of counsel for such mortgage as may be deemed necessary or
     advisable by the Secured Party. The Grantor shall pay al\ reasonable and documented
     recordation, legal and other expenses in connection therewith.

     8.     Secured Party Appointed Attorney-in-Fact. The Grantor hereby appoints the
     Secured Party as the Grantor's attorney-in-fact, with full authority in the place and stead
     of

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     the Grantor and in the name of the Grantor or otherwise, from time to time during the
     continuance of an Event of Default in the Secured Party's discretion to take any action and
     to execute any instrument which the Secured Party may deem necessary or advisable to
     accomplish the purposes of this Agreement (but the Secured Party shall not be obligated to
     and shall have no liability to the Grantor or any third party for failure to do so or take
     action). This appointment, being coupled with an interest, shall be irrevocable. The Granter
     hereby ratifies all that said attorneys shall lawfully do or cause to be done by virtue hereof.

     9.      Secured Party May Perform. If the Grantor fails to perform any obligation
     contained in this Agreement, the Secured Party may itself perform, or cause the
     performance of, such obligation, and the expenses of the Secured Party incurred in
     connection therewith shall be payable by the Grantor; provided that the Secured Party
     shall not be required to perf01m or discharge any obligation of the Grantor.

     10.     Reasonable Care. The Secured Party shall have no duty concerning the care and
     preservation of the Collateral beyond the exercise of reasonable care. The Secured Party
     shall be deemed to have exercised reasonable care in the custody and preservation of the
     Collateral in its possession if the Collateral is accorded treatment substantially equal to that
     which the Secured Party accords its property, it is understood that the Secured Pa1ty shall
     not have any responsibility for (a) ascertaining or taking action concerning any claims,
     the nature or sufficiency of any payment or performance by any party under or according
     to any agreement relating to the Collateral or other matters relative to any Collateral,
     whether or not the Secured Party bas or is deemed to know such matters, or (b) taking any
     necessary steps to preserve rights against any parties concerning any Collateral. Nothing
     outlined in this Agreement, nor the exercise by the Secured Party of any of the rights and
     remedies hereunder, shall relieve the Grantor from the performance of any obligation on
     the Grantor's part to be perfom1ed or observed in respect of any of the Collateral.

     11.     Remedies Upon Default.

     (a)     If any Event of Default shall have occurred and be continuing, the Secured Party,
     without any other notice to or demand upon the Granter, may assert all rights and remedies
     of a secured party under the UCC or other applicable law, including, without limitation,
     the right to take possession of, hold, collect, sell, lease, deliver, grant options to purchase
     or otherwise retain, liquidate or dispose of all or any portiop of the Collateral. If notice
     before disposition of the Collateral or any portion thereof is necessary under applicable
     law, written notice mailed to the Grantor at its notice address as provided in Section I5
     hereof ten (10) days before the date of such disposition shall constitute reasonable notice.
     So long as the sale of the Collateral is made in a commercially reasonable manner, the
     Secured Party may sell such Collateral on such terms and to such purchaser(s) as the
     Secured Party in its absolute discretion may choose, without assuming any credit risk and
     without any obligation to advertise or give notice of any kind other than that necessary
     under applicable law. Without precluding any other methods of sale, the sale of the
     Collateral or any portion thereof shall have been made in a commercially reasonable
     manner if conducted in conformity with reasonable commercial practices of creditors
     disposing of a sinlilar property. At any sale of the Collateral, if pemlitted by applicable
     law,


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     the Secured Party may be the purchaser, licensee, assignee, or recipient of the Collateral
     or any part thereof and shall be entitled, to bidding and making the settlement or payment
     of the purchase price for all or any portion of the Collateral sold, assigned, or licensed at
     such sale, to use and apply any of the Secured Obligations as a credit on account of the
     purchase price of the Collateral or any part thereof payable at such sale. To the extent
     permitted by applicable law, the Grantor waives all claims, damages, and demands the
     Granter may acquire against the Secured Party arising out of the exercise by the Secured
     Party of any rights hereunder. The Grantor hereby waives and releases to the fullest extent
     permitted by law any right or equity of redemption concerning the Collateral, whether
     before or after sale hereunder, and all rights, if any, of marshaling the Collatera1 and any
     other security for the Secured Obligations or otherwise. At any such sale, unless prohibited
     by applicable law, the Secured Party or any custodian may bid for and purchase all or any
     part of the Collateral so sold free from any such 1ight or equity of redemption. Neither the
     Secured Party nor any custodian shall be liable for failure to collect or realize upon any or
     all of the Collateral or for any delay in so doing, nor shall it be under any obligation to
     take any action whatsoever with regard thereto. The Secured Party shall not be obligated
     to clean- up or otherwise prepare the Collateral for sale.

     (b)     If any Event of Default shall have occurred and be continuing, any cash held by the
     Secured Party as Collateral and all cash Proceeds received by the Secured Party in respect
     of any sale of, collection from, or other realization upon all or any part of the Collateral
     shall be applied in whole or ill part by the Secured Party to the payment of expenses
     incurred by the Secured Party in connection with the foregoing or incidental to the care or
     safekeeping of any of the Collateral or in any way relating to the Collateral or the rights of
     the Secured Party hereunder, including reasonable attorneys' fees, and the balance of such
     proceeds shall be applied or set off against a11 or any part of the Secured Obligations in
     such order as the Secured Party shall elect. Any surplus of such cash or cash Proceeds held
     by the Secured Party and remaining after payment in full of all the Secured Obligations
     shall be paid over to the Grantor or to whomsoever may be lawfully entitled to receive such
     surplus. The Grantor shall remain liable for any deficienty if such cash and the cash
     Proceeds of any sale or other realization of the Collateral are insufficient to pay the Secured
     Obligations and the reasonable fees and other charges of any attorneys employed by the
     Secured Party to collect such deficiency.

     (c)     If the Secured Party shall determine to exercise its rights to sell all or any of the
     Collateral under this Section 11, the Grantor agrees that, upon request of the Secured
     Party, the Grantor will, at its own expense, do or cause to be done all such acts and things
     as may be necessary to make such sale of the Collateral or any part thereof valid and
     binding and in compliance with applicable law.

     12.    No Waiver and Cumulative Remedies. The Secured Party shall not by any act
     (except by a written instrument under Section 14 hereof), delay, indulgence, omission, or
     otherwise, be deemed to have waived any right or remedy hereunder or to have
     acquiesced in any Default or Event of Default. All rights and remedies herein provided are
     cumulative and are not exclusive of any rights or remedies provided by law.




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     13.     SECURITY INTEREST ABSOLUTE. The Grantor hereby waives demand, notice,
     protest, notice of acceptance of this Agreement, a notice of loans made, credit extended,
     Collateral received or delivered, or other action taken in reliance thereon, and all other
     demands and notices of any description. All rights uf the Secured Party and liens and
     security interests hereunder, and all Secured Obligations of the Grantor hereunder, shall be
     absolute and unconditional irrespective of:

     (a)     any illegality or lack of validity or enforceability of any Secured Obligation or any
     related agreement or instrument.

     (b)    any change in the time, place, or manner of payment of, or any other term of, the
     Secured Obligations, or any rescission, waiver, amendment, or other modification of the
     LOC Agreement, this Agreement, or any other agreement, including any increase in the
     Secured Obligations resulting from any extension of additional credit or otherwise;

     (c)     any taking, exchange, substitution, release, impairment, or non-perfection of any
     Collateral or any other collateral, or any taking, release, impairment, amendment, waiver,
     or other modification of any guaranty, for all or any of the Secured Obligations.

     (d)     any manner of sale, disposition, or application of proceeds of any Collateral or any
     other collateral or other assets to all or part of the Secured Obligations.

     (e)    any default, failure, or delay, willful or otherwise, in the performance of the Secured
     Obligations.

     (f)    any defense, set-off, or counterclaim (other than a defense of payment or
     performance) that may at any time be available to, or be asserted by, the Granter against
     the Secured Party; or

     (g)     any other circumstance (including, without limitation, any statute of limitations) or
     manner of administering the LOC or any existence of or reliance on any representation by
     the Secured Party that might vary the risk of the Granter or otherwise operate as a defense
     available to, or a legal or equitable discharge of, the Granter or any other granter, guarantor
     or surety.

     14.    Amendments. None of the tenns or provisions of this Agreement may be amended,
     modified, supplemented, terminated, or waived, and no consent to any departure by the
     Granter therefrom shall be effective unless the same shall be in writing and signed by the
     Secured Party and the Granter, and then such amendment, modification, supplement,
     waiver or consent shall be effective only in the specific instance and for the specific
     purpose for which made or given.

     15.    Addresses for Notices. All notices and other communications provided for in this
     Agreement shall be in writing and shall be given in the manner and become effective as
     outlined in the LOC Agreement, and addressed to the respective parties at their addresses
     as specified in the LOC Agreement or as to either Party at such other address as shall be
     designated by such Party in a written notice to each other Party.



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      I 6.    Continuing Security Interest; Further Actions. This Agreement shall create a
      continuing First Priority lien and security interest in the Collateral and shall (a) subject to
      Section 17 hereof, remain in full force and effect until payment and performance in full of
      the Secured Obligations, (b) be binding upon the Grantor, its successors and assigns, and
      (c) inure to the benefit of the Seemed Party and its successors, transferees, and assigns;
      provided that the Grantor may not assign or otherwise transfer any of its rights or
      obligations under this Agreement without the prior written consent of the Secured Party.
      Without limiting the generality of the foregoing clause (c), any assignee of the Secured
      Party's interest in any agreement or document which includes all or any of the Seemed
      Obligations shall, upon assignment, become vested with all the benefits granted to the
      Secured Party herein concerning such Secured Obligations.

      17.     Termination: Release. On the date on which all Secured Obligations have been paid
      and performed in full, the Secured Party will, at the request and sole expense of the Granter,
      (a) duly assign, transfer, and deliver to or at the direction of the Grantor (without recomse
      and any representation or warranty) such of the Collateral as may then remain in the
      possession of the Secured Party, together with any monies at the time held by the Secured
      Party hereunder, and (b) execute and deliver to the Grantor a proper instrument or
      instruments acknowledging the satisfaction and termination of this Agreement.

      18.     GOVERNING LAW. This Agreement and any claim, controversy, dispute, or
      cause of action (whether in contract or tort or otherwise) based upon, arising out of, or
      relating to this Agreement and the transactions contemplated hereby and thereby shall be
      governed by, and construed per, the laws of the State of 11linois and the United States.

      19.      Binding Arbitration. Any dispute, claim, or controversy arising out of or relating
      to this Agreement, or the breach, tennination, enforcement, interpretation, or validity
      thereof, including tbe determination of the scope or applicability of this agreement to
      arbitrate, shall be determined by binding arbitration in Illinois, before one arbitrator.
      The arbitration shall be administered by JAMS according to its Comprehensive
      Arbitration Rules and Procedures or by ADR Services aooording to its Arbitration Rules, at
      the election of the party initiating the arbitration. The Party initiating a demand for
      arbitration shall serve notice of such demand under the notice requirements outlined in
      Section 14.5 of the LOC Agreement. Within three (3) banking-business days of service of
      any demand for arbitration, the Parties to the dispute shall yvork cooperatively to mutually
      select an agreeable arbitrator. If the Parties to the dispute are unable to reach an
      agreement on an arbitrator, then the arbitration shall be selected according to the JAMS
      or ADR Services arbitration selection protocol. Each side shall be entitled to propound one
      ( l) set of requests for the production of documents. The requests in each set shall not
      number more than twenty- five (25) and shall be limited to documents relevant to the
      issues to be arbitrated. Each side shall fm1her be entitled to notice and take no more than
      three (3) depositions, which shall last no more than three (3) hours per deponent, including
      reasonable breaks and objections. No other discovery shall be permitted, except upon a
      showing of good cause to the arbitrator. Any discovery disputes shall be submitted to and
      decided by the arbitrator. The prevailing party shall be entitled to an award of its
      reasonable costs and expenses, including but not limited to, attorneys' fees, in addition
      to any other available


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      remedies. Any award rendered therein shall be final and binding on each and all of the
      parties thereto and their representatives, and judgment may be entered thereon in any
      court of competent jurisdiction. This clause shall not preclude Parties from seeking
      provisional remedies in aid of arbitration from a court of appropriate jurisdiction. Any
      action or proceeding brought to interpret or enforce this agreement to arbitrate shall be
      governed by the laws of the State of Illinois. This agreement to arbitrate is intended by
      the Parties to constitute a waiver of any right to trial by jury, or the right to proceed in any
      state or federal court for resolution of any dispute arising concerning the enforcement or
      interpretation of this Agreement, this agreement to arbitrate, or any of the LOC Documents.

      20.  JURY TRIAL WAIVER. EACH PARTY HERETO, TO THE EXTENT
      PERMITTED BY LAW, HEREBY WAIVES ANY RIGHT TO HAVE A JURY
      PARTICIPATE IN RESOLVING ANY DISPUTE, WHETHER SOUNDING IN
      CONTRACT, TORT, OR OTHERWISE, BETWEEN THE GRANTOR AND THE
      SECURED PARTY, ARISING OUT OF, IN CONNECTION WlTH, RELATED TO,
      OR INCIDENT AL TO THE RELATIONSHIP ESTABLISHED AMONG THEM IN
      CONNECTION WITH THIS AGREEMENT, THE LOC AGREEMENT, ANY
      OTHER LOC DOCUMENT OR ANY NOTE OR OTHER INSTRUMENT,
      DOCUMENT OR AGREEMENT EXECUTED OR DELIVERED 1N
      CONNECTION HEREWITH OR THE TRANSACTIONS RELATED THERETO.

      21 .    Counterparts. This Agreement and any amendments, waivers, consents, or
      supplements hereto may be executed in counterparts (and by different parties hereto in
      different counterparts), each of which shall constitute an original, but all taken together
      shall constitute a single contract. Delivery of an executed counterpart of a signature page
      to this Agreement by facsimile or in electronic (i.e., "pdfl') format shall be effective as
      delivery of a manually executed counterpart of this Agreement. This Agreement and the
      other LOC Docmnents constitute the entire contract among the Parties concerning the
      subject matter hereof and supersede all previous agreements and understandings, oral or
      written, with respect thereto.




                                 Signatures Follow on Next Page




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                   IN WITNESS WHEREOF, the Maker has duly executed an_d delivered this Promissory Note
           as of the date first set forth above.


           MAKER




           Title:   M~/I
           Address: 4 Miles Drive. Wallingford, Connecticut 06492




fJ\   ,\             -n._SUBSCRIBED AND SWORN TO BEFORE ME on thisl 4~ay of
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                                                             In and for the State of   Ayw        X::

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                                                              My Commission Expires:
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                                           EXHIBIT F
                                    FORM TERMINATION LETTER


McMann Commercial Lending LLC
205 N Michigan Avenue, Ste 8 l 0
Chicago, Illinois 6060 I

Re: Wallingford Lodging Partners LLC

To Whom it May Concern:

The undersigned Borrower has decided to exercise its rights to tenninate 1he above-referenced
transaction according to the terms of the LOC Agreement dated April I 0, 2023.
        Please consider this letter as notice of Borrower's termination of the LOC Agreement and
request for a refund of Borrower's ICA payment. less any amounts due and owed to Lender
under Section 13.7 of the LOC Agreement

                                                    BORROWER: Wallingford Lodging Partners
                                                    LLC

                                                    By:                       ~~~
                                                    ~ame: Shailesh Patel andihangPatel
                                                    TitIe: {\/\ !W:'\):, "--'\r




              BLEIIINABOBI
              Notary Public                                My Commission Expires:
              Conn4KtiCUt
   My Commission Expires S.,p 30, 2027




Routing#:
Account#:

                                                                             Initials:   _7.. . f,_. ._____ _
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                 EXHIBIT 3
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                                           EXHLBIT F
                                   FORM TERMINATION LETTER


 McMann Commercial Lending LLC
 205 N Michigan Avenue, Ste 810
 Chicago, lllinois 60601

 Re: North Haven Lodging Partners LLC

 To Whom it May Concern:

 The undersigned Borrower bas decided to exercise its rights to terminate the above-referenced
 transaction according to the terms of the LOC Agreement dated April 10, 2023.
         Please consider this letter as notice of Borrower' s termination of the LOC Agreement and
 request for a refund of Borrower's ICA payment, less any amounts due and owed to Lender
 under Section 13.7 of the LOC Agreement.

                                                   BORROWER: North Haven Lodging Partners LLC

                                                   By:                                   ., /
                                                          -------..IC.~~~=--U,<.1../'~...-,-,t-'7_..,
                                                   ~ame: Shailesh Patel and Vihang Patel             /
                                                   Title:   f0\ 9-M\'v? Rx'.:




              BLERJHA B081
              Notary Public
              Connecticut                                   My Commission Expires:
1                                2027
    My Commission ExplrM Sep 3o, _

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    Please confirm your Wiring Instructions:
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    Account#:

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                                           EXHIBIT F
                                    FORM TERMINATION LETTER


McMann Commercial Lending LLC
205 N Michigan Avenue, Ste 8 l 0
Chicago, Illinois 6060 I

Re: Wallingford Lodging Partners LLC

To Whom it May Concern:

The undersigned Borrower has decided to exercise its rights to tenninate 1he above-referenced
transaction according to the terms of the LOC Agreement dated April I 0, 2023.
        Please consider this letter as notice of Borrower's termination of the LOC Agreement and
request for a refund of Borrower's ICA payment. less any amounts due and owed to Lender
under Section 13.7 of the LOC Agreement

                                                    BORROWER: Wallingford Lodging Partners
                                                    LLC

                                                    By:                       ~~~
                                                    ~ame: Shailesh Patel andihangPatel
                                                    TitIe: {\/\ !W:'\):, "--'\r




              BLEIIINABOBI
              Notary Public                                My Commission Expires:
              Conn4KtiCUt
   My Commission Expires S.,p 30, 2027




Routing#:
Account#:

                                                                             Initials:   _7.. . f,_. ._____ _
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                  EXHIBIT 4
                       Part I of II
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                     500 SKOKIE BLVD., SUITE 600
                     NORTHBROOK, ILLINOIS 60062
                     (224) 260-3090
                                                                           DAMF.L S. KLAPMAN
                                                                           (224) 260-3087
ATTORNEYS AT LAW                                                          llklapman@,swkattorneys.~01n



                                        October 24, 2023

 VIA U.S. Mail and Certified Mail                VIA U.S. MaiL Certified Mail. and Facsimile
 Adam Walker                                     Courtney Riordan
 Walker Law Office, LLC                          9 E. Loockerman Street, Suite 202
 4050 Pennsylvania Ave., Suite 115-10            Dover, Delaware 19901
 Kansas City, Missouri 64111                     302-674-2100

 VIA Email. U.S. Mail and Certified Mail         VIA U.S. Mail and Certified Mail
 David Hughes                                    Attn: GENIE INVESTMENTS NV
 John Michael Cohan                              C/0 SPIEGEL & UTRERA.P.A.
 Genie Investments NV                            1840 Coral Way, 4th Floor
 P.O. Box 60443                                  Miami, FL 33145
 Jacksonville, Florida
 david@zoorneral.com
 dhughes@genieinvestments.com

 VIA U.S. Mail, Certified Mail and Facsimile
 Jeff Beck
 Spiegel & Ultrera, P.A.
 2545 Chandler Ave., Suite 4
 Las Vegas, Nevada 89120
 702-458-2100

       Re:     McMann Commercial Lending LLC n/k/a McMann Professional Services LLC
               d/b/a McMann Capital ("McMann") and ICA Payment Refund Demands

Dear Genie Investments:

        Be advised that our firm represents McMann. This letter is primarily intended to demand
that Genie Investments NV ("Genie") immediately provide refunds to both Wallingford Lodging
Partners LLC and North Haven Lodging Partners LLC, two (2) borrowers under Business
Expansion Line of Credit Agreements ("BELOCS"), recognized by Genie as User ID's 2815 and
2816. The two (2) BELOCS are enclosed herewith as Exhibits A and B, respectively. On May
3, 2023, Wallingford and North Haven each wired separate ICA Payments of $1,800,000.00
(together, totaling $3,600,000.00) to Genie per Genie's wiring instructions. Confirmation of both
wires is enclosed herewith as Exhibit C. This letter also addresses additional failures of Genie
regarding its relationship with McMann, including, inter alia, Genie's failure to fund these
BELOCS, and dozens of other loans to which it committed, as well as its failures to issue refunds
per the terms of the said loans.
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        As you are aware, due to Genie's inability to fund these and other BELOCS brought to
Genie by McMann (due to a purported failure of Genie's "capital provider"), both Wallingford
and North Haven have terminated their respective BELOCS pursuant to the terms of Section 13.7
of the BELOCS and both properly demanded the refund of their ICA Payments. To be clear, their
demands complied with each and every term of the BELOCS. Copies of their respective
termination notices and demands for refunds are enclosed herewith as Exhibit D.

       As evidenced by Genie's Zoomcral communications with McMann, Wallingford and
North Haven:

        (i)     Genie acknowledged receipt of the respective wires on May 4, 2023;
        (ii)    Genie acknowledged receipt of both termination requests on August 18, 2023;
        (iii)   Genie responded to requests for an update on refund dates on September 14, 2023;
        (iv)    Genie acknowledged its obligation to refund the ICA Payments; and
        (v)     Genie stated that both refunds were expected to be wired on October 13, 2023.

Copies of these communications are enclosed herewith as Exhibit E.

        On October 13, 2023, rather than make its agreed upon refund of the ICA Payments, Genie
instead issued letters to both borrowers claiming that due to a "force majeure" it could not make
either of such refunds. These letters were sent by attorney Adam Walker, formerly of My RIA
Lawyer, and cmTently of Walker Law Office, LLC (the "Walker Law Office", formed on
September 16, 2023). Copies of these letters are attached hereto as Exhibit F and G, respectively.

        As Genie well knows, any issues Genie may have with its purported "capital provider" are
wholly irrelevant to the refund of ICA Payments. Genie received the funds at issue from each
respective borrower on May 3, 2023. Genie was required to hold said funds in trust to cover
interest due under the respective BELOCS as it accrued, once (and if) funded. These refund.., are
in ,w way dependent on outside capital or the availability of funds from any third-party,
including Genie's purported and yet to he identified wholesale lender. It appears this "force
majeure" explanation - the purported reason Genie was unable to fund these and various other
BELOCS procured by McMann - is an obvious attempt to fabricate an otherwise non-existent basis
for Genie's current and wholly unjustified refusal to issue refunds of ICA Payments received
directly from prospective borrowers. No such basis exists, as the refunds arc wholly unrelated to
Genie 's inability to fund these BELOCS, and in fact, are specifically required upon receipt of the
termination notices, including those issued as a result of Genie's inability to fund the respective
loans.

        Accordingly, McMann demands the immediate refund of the two (2) deposits. McMann
further demands that Genie identity the location of the funds deposited by Wallingford and North
Haven from the time they were wired on May 3, 2023 to the present, as well as a full explanation
as to each and every reason Genie has failed to this point make these and any other properly
requested refunds. It is our understanding that Genie has provided refunds to at least five (5)
borrowers procured by McMann in amounts ranging from $30,000.00 to $1,100,000.00. Why
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exactly are these refunds to Wallingford and North Haven being treated any differently?

         Moreover, in multiple communications, including the October 13, 2023 letters to
 borrowers, Genie stated it is participating in settlement discussions with its "capital provider" and
 relying on efforts of Adam Walker and the Walker Law Office "on multiple fronts to compel the
capital provider to deliver the funds it owes, so that Genie can, in turn, provide refunds to its
 borrowers" including "preparing legal action against the capital provider and its associates, which
[Genie] will file at [its] earliest opportunity unless [it] reaches a satisfactory settlement first." fSee
Exhibits F and G hereto.J As noted in the letters, "Genie will make every reasonable effort to
keep you informed ofthe progress of its efforts doing this process" and that borrowers "can expect
further correspondence from [the Walker Law Officel with updates regarding the settlement
negotiations or the status of any legal action filed against the capital provider." McMann demands
such an update including the identity of this capital provider, as well as the identity of who, in
addition to the Walker Law Office, is participating in these discussions on Genie's behalf. If in
fact Genie has proceeded to litigation, please provide a copy of any filed complaints, including the
identity of the forum in which the litigation is proceeding, all case identifying information, and
counsel of record for all parties. Please also explain why Genie must receive any funds in order
to process the refunds.

         McMann is also aware of several instances in which Genie has approached borrowers
procured by McMann, offering to provide alternative funding under similar terms to loans that
failed to close, again, due to Genie's failure to fund. Genie is to cease and desist any such activity,
as it clearly constitutes tortious interference with McMann 's hw,iness with its customers.
Additionally, McMann has suffered extensive damages resulting from Genie's conduct relating to
many of the borrowers it has procured for Genie, beyond just Wallingford and North Haven as
mentioned above, including, inter alia, borrowers that intended to make their ICA Payments by
way of bridge loan agreements made directly with Genie. Genie is clearly attempting to hide
behind its purported claims directed to its as of yet unidentified "capital provider" but such tactics
do not excuse Genie's conduct. To be clear, McMann reserves and any and all rights, claims
and/or demands McMann has or may have against Genie pursuant to any and all agreements and/or
applicable law.

        As to Wallingford and North Haven, we expect Genie to issue the refunds and provide a
comprehensive response to this letter on or before the close of business on Friday, October 27,
2023. Short of full refunds to both Wallingford and North Haven and satisfactory responses to the
questions presented above, McMann will not only take action on its own behalf, but will cooperate
with and support any legal action taken by either Wallingford and/or North Haven not to mention
others that are likely to arise in the future. Govern yourself accordingly.

       Additionally, since this matter appears to be heading towards litigation, we hereby demand
you preserve all relevant evidence as set forth below.
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                        DEMAND FOR EVIDENCE PRESERVATION

        Given the prospect oflitigation, we demand that Genie immediately take all steps necessary
to preserve all evidence, documents and communications in Genie's possession, custody or control
concerning the above-described matters, including, without limitation, all evidence, documents
and communications in any way related to McMann and any applicant, borrower, or prospective
borrower, as well as Genie's relationship with McMann. Please provide a copy of this letter to the
persons whose job responsibilities cover the matters addressed herein. The above-listed
information should be preserved and handled in the manner set forth in this letter.

         We believe electronically stored information ("ESI'') to be an important and irreplaceable
source of discovery and/or evidence in the event of litigation. The current dispute therefore
requires preservation of all information from your computer systems, removable electronic media,
and other locations. This includes, but is not limited to, email and other electronic communications,
including on the Zoomeral platform owned and controlled by David Hughes, word processing
documents, spreadsheets, databases, calendars, telephone logs, contact information, internet usage
files, and network access information.

        You should also preserve the following platfotms in your possession and control (such as,
and including, the Zoomeral platform): databases, networks, computer systems, including legacy
systems (hardware and software), servers, archives, backup or disaster recovery systems, discs,
drives, USB devices, external hard drives, and other storage media, laptops, personal computers,
Internet data, mobile telephones, paging devices, audio systems (including voicemail), and any
other electronic device capable of containing or storing ESL

    Unless described otherwise below, all of the information described in this letter should be
preserved since the inception of your dealings with McMann (the "Relevant Time Period").

                               PRESERVATION OBLIGATIONS

        The laws and rules prohibiting destruction of evidence apply to electronically stored
information in the same manner that they apply to other evidence. Due to its format, electronic
information is easily deleted, modified, or corrupted. Accordingly, you must take every reasonable
step to preserve this information until the final resolution of this matter. This includes, but is not
limited to, an obligation to:

   •    discontinue all data destruction and backup storage recycling policies;
   •    preserve and not dispose of relevant hardware unless an exact replica (a mirror image) is
        made;
   •    preserve and not destroy passwords, decryption procedures (and accompanying software),
        network access codes, ID names, manuals, tutorials, written instructions, and
        decompression or reconstruction software; and
   •    maintain all other pertinent information and tools needed to access, review, and reconstruct
        all requested or potentially relevant electronic data.
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                              DESCRIPTION OF DATA SOUGHT

        This dispute requires preservation of all information from your computer systems,
removable electronic media, and other locations relating in any way to McMann and its applicants,
borrowers, and prospective borrowers, including but not limited to the vehicles leased under said
VLSA, and Penske's relationship with A&M. This includes, but is not limited to, email and other
electronic communications, word processing documents, spreadsheets, databases, calendars,
telephone logs, contact manager information, Internet usage files, and network access information.

I.      Electronic Files. You have an obligation to preserve all digital or analog electronic files in
electronic format, regardless of whether hard copies of the information exist. This includes
preserving

   a. active data (i.e., that which is immediately and easily accessible on your systems today);
   b. archived data (i.e., that which resides on backup tapes or other storage media);
   c. deleted data (i.e., that which has been deleted from a computer hard drive but is recoverable
      through computer forensic techniques; and
   d. legacy data (i.e., that which was created on old or obsolete hardware or software).

You must preserve active, archived, and legacy data, including but not limited to:

   a. word processed files, including drafts and revisions;
   b. spreadsheets, including drafts and revisions;
   c. databases;
   d. electronic communications and logs of same;
   c. computer-aided design (CAD) files, including drafts and revisions;
   f. presentation data or slide shows produced by presentation software (such as Microsoft
      PowerPoint);
   g. graphs, charts, and other data produced by project management software (such as Microsoft
      Project);
   h. data generated by calendaring, task management, and personal information manager (PIM)
      software (such as Microsoft Outlook);
   1. data created with the use of mobile phones or other portable electronic devices;
   j. data created with the use of document management software;
   k. data created with the use of paper and electronic mail logging and routing software; and
   I. animations, images, audio, video, and audiovisual recordings, MP3 players, and voiccmail
      files.

You must preserve media used by your computers, including but not limited to:

   a. all storage media, including the hard drives, CD's, DVD's, USB devices, and all internal
      or external drives and storage devices used at any time with your computers;
   b. backup media and the software necessary to reconstruct the data contained on the media;
      and
   c. a mirror image copy of any media no longer in service but used during the Relevant Time
      Period.
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II.     Hardware. You have an obligation to preserve all electronic processing systems, even if
they are replaced. This includes computer servers, stand-alone personal computers, hard drives,
laptops, and other electronic devices capable of storing ESL You should retain copies of any
hardware no longer in service but used during the Relevant Time Period.

III.    Emails. You have an obligation to preserve all potentially relevant internal and external
emails and communications that were sent or received, including via the Zoomeral platfonn owned
and controlled by David Hughes. Email and Zoomeral messages must be preserved in native
electronic format, regardless of whether hard copies of the information exist.

IV.     Internet Web Activity. You have an obligation to preserve all records oflnternet and Web
browser generated files in electronic format, regardless of whether hard copies of the information
exist. This includes Internet and Web browser generated history files, caches, and "cookies" files
stored on backup media or generated by you or an individual employed by you.

V.     Activity Logs. You must preserve all hard copy or electronic logs documenting computer
use and electronic communications by you.

VI.     Supporting Information. You must preserve all supporting information relating to the
requested electronic data and/or media including codebooks, keys, data dictionaries, diagrams,
handbooks, or other supporting documents that aid in reading or interpreting database, media,
email, hardware, software, or activity log information.

VIL Information for Employees. For each employee that has worked for you during the
Relevant Time Period in relation to any loans brought to Genie by McMann, and/or Genie' s
relationship with McMann, you should preserve all data that contains the following infonnation:

    a. basic employee information, including name, date of birth, social security number,
       employee identification number, race, date hired (or rehired), and educational background;
    b. employment performance evaluations or reviews;
    c. for each position held by the employee during the Relevant Time Period, the job
       title/position, salary level, function or description, location, division, department,
       subsidiary, time in position, job status (covered or not covered), and whether the employee
       was full-time, part-time, or temporary;
    d. any disciplinary action or employment contract violations; and
    e. if the individual is a former employee, the date of departure and the reason for leaving.

VIII.    Data Storage Devices.

     a. If you use online storage and/or direct access storage devices, you must immediately cease
modifying or deleting any electronic data unless a computer forensics expert makes a mirror image
of the electronic file, follows proper preservation protocols for assuring the accuracy of the file
(i.e., chain of custody), and makes the file available in the event of litigation.

   b. You should immediately suspend all activity that might result in destruction or
modification of all of the data stored on any offline media, which includes, but is not limited to,
backup and archival media, DVDs, CD-ROMs, USB devices, external drives, and other removable
media. This includes overwriting, recycling, or erasing all or part of the media. This request
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includes, but is not limited to, media used to store data from personal computers, laptops, desktop
computers, and servers.

   c. If you replace any electronic data storage devices, you may not dispose of the storage
devices.

    d. You may not modify, delete, or otherwise alter any electronic data, whether by data
compn:ssion, defragmentation, or optimization routines, unless a computer forensics expert makes
a mirror image of the electronic file, follows proper preservation protocols for assuring the
accuracy of the file (i.e., chain of custody). The expert must make a mirror image of active files,
restored versions of deleted files, and restored versions of deleted file fragments, hidden files, and
directory listings. This includes, but is not limited to, preserving electronic data (stored on online
or offline storage devices) that came from the following hardware or software applications:

        1.      fixed and external drives on stand•alone personal computers or laptops;
        2.      network servers and workstations; and
        3.      software application programs and utilities.

IX.      Electronic Data Created After Receipt ofThis Letter. For any electronic data created after
this letter or for any electronic processing systems used after receipt of this letter, you must take
the proper steps to avoid destroying potentially relevant evidence. This includes following the
above preservation protocols.

        Compliance with your preservation obligations includes forwarding a copy of this letter to
all individuals or organizations that are responsible for any of the items referred to in this letter. If
this correspondence is in any respect unclear, please call me immediately.

       If Genie or its counsel wish to discuss the matters raised herein, please contact the
undersigned. Again, this letter is without prejudice to, and is not a waiver of, any and all rights,
claims and/or demands McMann has or may have against Genie pursuant to any agreements and/or
applicable law. We look forward to your timely response.


                                         a ;our ,


                                                Daniel S. Kl<h!(..~..~

cc: Walter Track
    Robert S. Strauss, Esq.
    Joey B. Waldman, Esq.
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                           EXHIBIT A
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             BUSINESS EXPANSION LINE OF CREDIT AGREEMENT



                                     among



                   MCMANN COMMERCIAL LENDING LLC

                                   as Lender



                                       and




                         North Haven Lodging Partners LLC
                                    as Borrower




                                   dated as of

                                  April 10, 2023




                                                                Initials:   <Jt? S~
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                BUSINESS EXPANSION LINE OF CREDlT AGREEMENT

        This Business Expansion Line of Credit Agreement (as the same may from time to time be
 amended, restated, or otherwise modified, this "Agreement") is made and entered as of April 10,
 2023, betweenMcMann Commercial Lending LLC (the "Lender"), and North Haven Lodging
 Partners LLC., a Connecticut Limited Liability Company ("Borrower").

                                          RECITALS

        A.       The Borrower desires to obtain from Lender an asset-backed line of credit loan
 (the "LOC") in an aggregate principal amount not to exceed the Maximum Amount, as
 hereinafter defined.

        B.     The Borrower desires to obtain the LOC from Lender for Business Expansion for
 construction of a 105-room limited-service hotel (as more fully described in Exhibit D
 attached hereto the "Project"). Acquired assets will be legally described on Exhibit E
 attached hereto (the "Property").

         C.      The Borrower bas agreed to pay a minimum. contribution of the Project LOC
 Amount to Lender, by establishing the Interest Reserve (as hereinafter defined) and the lCA (as
 hereinafter defined), colJectively,(tbe "lnterest Reserve Account"), within seven (7) calendar
 days after the fully executed LOC Documents (as hereinafter defined) are received by Lender.

        D.     The Borrower bas agreed to pay, pursuant to Section 3.6 hereof, the aggregate
 amount of One Million Eight Hundred Thousand Dollars and No Cents Dollars ($1,800,000),
 {the "ICA Payment"), by bank wire to Lender. An account on the books and records of the
 Lender shall be created to serve as an Interest Credit Account (the "ICA"). A credit equal to
 the ICA Payment shall be noted in the ICA for purposes of satisfying interest payments under the
 LOC and upon the terms and conditions set forth herein.

         E.     Lender has agreed to make Advances (as hereinafter defined) under the LOC to
 Borrower in an aggregate amount, according to Exhibit B, an amount not to exceed the
 Maximum Amount for the purposes outlined in these recitals and the Promissory Note attached
 hereto as Exhibit A and upon the terms and subject to the conditions hereinafter set forth.

               NOW THEREFORE, for valuable consideration, the receipt and sufficiency of
 which is hereby acknowledged, Borrower and Lender agree as follows:


                                           ARTICLE I
                                          DEFINITlONS

        Section 1.1. Certain Defmed Terms. Except as otherwise provided herein, accounting
 terms not specifically defined shall be construed, and all accounting procedures shall be
 performed per generally accepted accounting principles consistently applied. As used in this



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 agreement, the following terms have the following meanings, which apply to both the singular
 and plural forms:

         "Advance(s)" means any loan advance made by the Lender per the terms and conditions
 of this Agreement.

        "Applicable Interest Rate" means the fixed interest rate specified in the Promissory Note.

        "Borrower" means that term as defined in the first paragraph of this Agreement.

         "Business Expansion" means any transaction or use, including for working capital, that
 relates to the expansion of the business of the Borrower, or series of related transactions for
 the purpose of or resulting, directly or indirectly, in (a) the expansion by the Borrower or any of
 its subsidiaries of all or substantially any and all assets, or of any business or division, (b)
 the expansion by the Borrower or any of its subsidiaries of capital stock, partnership
 interests, membership interests or equity, or otherwise causing any business to become a
 subsidiary of the Borrower or (c) a merger or consolidation or any other combination by the
 Borrower or any of its subsidiaries with another Person or business (other than a Person that is a
 subsidiary) provided that the B01Tower (or a Person that succeeds to the Borrower in
 connection with such transaction or series of related transactions) or a subsidiary of the
 Borrower (or a Person that becomes a subsidiary of the Borrower as a result of such transaction)
 is the survivmg entity; provided that any Person that is a subsidiary at the time of execution
 of the definitive agreement related to any such transaction or series of related transactions (or,
 in the case of a tender offer or similar transaction, at the time of filing of the definitive offer
 document) shall constitute a subsidiary for purposes of this definition even if in connection with
 such transaction or series of related transactions, such Person becomes a direct or indirect
 holding company of the Borrower.

        "Business Plan" means the document(s) outlining the accurate and up-to-date business
 operations of the End-Borrower, as previously provided by End-Borrower, substantially in the
 form outlined in EXHIBIT D, and subject to review by Lender's Capital Partners as described in
 Section 8.1 of this Agreement.

       "Closing Date" means the last date of signed execution of this Agreement by Lender and
 Borrower.

         "Collateral" means all property securing repayment of the obligations of Borrower under
 this Agreement, as such collateral is evidenced by a Security Document, including all additions
 thereto, replacements, and proceeds, thereof.

        "Event(s) of Default" means any event or condition that shall constitute an event of default
 as described in Article 13 of this Agreement.
        "ICA" means the definition given in Recital D of this Agreement.

        "ICA Payment'' means the amount remitted pursuant to Recital D of this Agreement.




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        "Interest Reserve" means credit on the books and records of the Lender as an interest
reserve on Advances under the LOC. This credit is provided on behalf of the Borrower when
there is a contribution from a Borrower JV Partner, received by the Lender. When there is no
such contribution, the Interest Reserve exists with no credit available. This credit is
simultaneously created when the lCA is established.

        "Interest Reserve Account" means the definition given in Recital C of this

        Agreement.

        "Lender" means that term as defined in the first paragraph of this Agreement.

        "Lender's Capital Partners" means one or more lender-clients of the Lender

        providing funding towards the LOC.

        "LOC" means that term as defined in Recital A of this Agreement.

        "LOC DisbursementAccount" means that term as defined in Section 3.12 hereof.

         "LOC Document(s)" means, collectively, this Agreement, the Promissory Note, and
 each Security Document, as any of the foregoing may from time to time be amended, restated,
 or otherwise modified or replaced, and any other document delivered pursuant thereto.

        "Maximum Amount" means Eighteen Million Nine Hundred Thousand Dollars and No
 Cents ($18,900,000). The Maximum Amount is the Project LOC Amount plus all fees, costs, and
 expenses which are the Borrower's responsibility to pay.

         "Organizational Documents" means, concerning any Person (other than an individual),
 such Person's Articles (Certificate) of Incorporation or equivalent formation documents, and
 regulations (Bylaws), operating agreement, JV operating agreement, partnership agreement or
 equivalent governing documents, and any amendments to any of the foregoing.

         "Other Taxes" means all present or future stamp or documentary taxes or any other
 excise, ad valorem or property taxes, goods and services taxes, harmonized sales taxes and other
 sales taxes, use taxes, value added taxes, transfer taxes, charges or similar taxes or levies arising
 from any payment made hereunder or under any other LOC Document, or from the execution,
 delivery or enforcement of, or otherwise concerning, this Agreement or any other LOC
 Document.

          "Person" means any individual, sole proprietorship, partnership, joint venture,
 unincorporated organization, corporation, limited liability company, unlimited liability company,
 institution, trust, estate, governmental authority, or any other entity.

        "Project" means that term as defined in Recital B of this Agreement.



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         "Project Costs" means the amount of the LOC proceeds/all Advances not to exceed the
 Maximum Amount, to be utilized by the Borrower for implementation or execution of the Project
 (including but not limited to the payment of taxes, insurance, and all items reasonably necessary
 for the successful execution of the Project), as more specifically outlined in the Project budget set
 forth on Exhibit C attached hereto.

        "Project LOC        Amount''     means    Eighteen Million Dollars and No Cents
 ($18,000,000).

        ''Property" means that term as defined in Recital B of this Agreement.

       "Promissory Note" means the Promissory Note, in the form attached hereto as
 Exhibit A.

        "Security Agreement" means that certain Security Agreement, dated as oftbe Closing
 Date, executed by the Borrower in favor of Lender, in the form attached hereto as Exhibit E.

         "Security Document" means each security agreement (including, without limitation, the
 Security Agreement) each pledge agreement, each intellectual property security agreement, each
 control agreement, each mortgage, each U.C.C. Financing Statement or similar filing filed in
 connection herewith or perfecting any interest created in any of the foregoing documents, and any
 other document pursuant to which any lien is granted by any Person to Lender, as security for the
 obligations under this Agreement or the Promissory Note, or any part thereof, and each other
 agreement executed or provided to the Lender in connection with any of the foregoing, as any of
 the foregoing may from time to time be amended, restated or otherwise modified or replaced.

          "Scheduled Maturity Date" means the 10th anniversary of the Closing Date, as
   the same be extended pursuant to Section 3.2 hereof.

           "Subsidiary" means any entity (other than the Borrower) in an unbroken chain of
   entities beginning with the Borrower if each of the entities owns stock, units, or other interests
   that represent fifty percent (50%) or more of the total combined voting power of all classes of
   stock in one of the other corporations in such chain

           "Taxes" means all present or future taxes of any kind, including, but not limited to,
   levies, imposts, duties, assessments, surtaxes, charges, fees, deductions or withholdings
   (including backup withholding), or other charges now or hereafter imposed, levied, collected,
   withheld or assessed by any governmental authority (together with any interest, penalties, fines,
   additions to taxes or similar liabilities with respect thereto); provided that "Taxes" sba11 not
   include, concerning those imposed on Lender, income, capital gain, sales, use, franchise,
   excise, taxes or withholding on account of foreign investment in the United States or other taxes
   on Lender or the revenues derived by Lender concerning the LOC.

           "Term Sheet" means that document(s) dated as of 3/14/2023 between Borrower and
   Lender, setting forth a general summary of the terms of agreement memorialized more fully
   herein in final form.

         "Tranche Schedule" means the schedule of Advances to Borrowers from the Lender, based

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 upon the dates of the disbursements attached hereto as Exhibit B; provided that Borrower may
 request in writing to Lender adjustments to the Tranche Schedule (so long as the aggregate amount
 of all Advances thereunder does not exceed the Maximum Amount), with any such adjustments
 subject to the approval of Lender in its sole discretion.


      "UCC" means the Uniform Commercial Code as in effect from time to time in the State ofJllinois or, when the
 laws of any other state govern the method or manner of the perfection or enforcement of any security interest in any
 of the Collateral, the Uniform Commercial Code as in effect from time to time in such state.

                                              ARTICLE2
                                             THE CREDIT

       Section 2.1. Line of Credit Amount. Subject to the terms and conditions of this
 Agreement, Lender agrees to make Advances to the Borrower under the LOC in an aggregate
 amount not to exceed the Maximum Amount. The obligation of Borrower to repay such
 Advances, with interest thereon, shall be evidenced by the Promissory Note.

        Section 2.2. Line of Credit Documents. The obligation of the Borrower to repay the
 Advances under the LOC shall be evidenced by the Promissory Note, this Agreement, and each
 Security Document. The LOC shall be secured by the LOC Documents, all of which shall be in
 form and substance satisfactory to the Lender and its counsel.


                                        ARTICLE3
                              TERM, INTEREST, AND PAYMENTS

          Section 3.1. Initial Term. The initial term of the LOC is Ten (10) years and shall
   commence on the Closing Date and expire on the Scheduled Maturity Date. The aggregate
   outstanding amount of all Advances and any accrued but unpaid interest and fees shall be
   payable in full thereon and all othe:r amounts due and owing hereunder and under the
   Promissory Note shall be repaid by Borrower on the Scheduled Maturity Date.

         Section 3.2. Extended Term. At the end of the initial term outlined in Section 3 .1 hereof,
 and at the end of each Extended Term (as defined below, if any), provided the LOC is not then and
 has not been in default beyond any applicable notice and cure period, and Borrower has been in
 full compliance with the terms and conditions of the LOC Documents, and Lender has not provided
 Borrower notice that an event then exists which, over time, the giving of notice and the expiration
 of any cure period would become an Event of Default, and further provided that all conditions to
 extension set forth below are fully satisfied, Borrower may elect to extend the term of the LOC
 and this Agreement for an additional twenty-four (24) month period, up to a total of one (1) such
 additional consecutive periods (separately, "Extended Term"; collectively, the "Extended
 Terms"). In connection with Lender's granting of each Extended Term, (a) Borrower shall
 execute all documents which Lender, in its reasonable discretion, deems necessary to implement
 such extension, and (b) Borrower will pay all reasonable costs and expenses incurred by Lender
 in connection with such extension, including but not limited to Lender's attorney's fees, as a one
 (1)-tirne fee equal to one percent (1 %) of the Project LOC Amount.
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        Section 3.3. Applicable Interest Period. The interest period concerning each Advance
 under the LOC shall be the period commencing on the date such Advance was made to Borrower
 by Lender, which shall commence the date such funds were withdrawn by Borrower from the LOC
 Disbursement Account, and continuing until such Advance is repaid in full.

         Section 3.4. lnterest Rate Calculation. Interest shall be calculated based on a 365-day
 year and the actual number of days elapsed in a 365-day year and at the rate outlined in the
 Promissory Note (the "Applicable Interest Rate"). The interest rate payable on Advances shall be
 subject, however, to the limitation that such interest rate shall never exceed the highest rate which
 the Borrower may contract to pay under applicable law (the "Maximum Interest Rate"). lfLender
 shall receive interest in an amount that exceeds the Maximum Interest Rate, the excess interest
 shall be applied to the unpaid principal balance outstanding under the Promissory Note or, if it
 exceeds such unpaid principal, refunded to the Borrower.

         Section 3.5. Interest Pavments. Interest on the outstanding principal balance of Advances
 under the LOC shall be paid from the Interest Reserve Account at the rate and at the times outlined
 in the Promissory Note. Such interest payments shall be deducted by Lender (a) first from the ICA
 until such funds are depleted, and (b) second, from the Interest Reserve. Interest shall be
 calculated on Advances made from the date of each Advance.

          Section 3.6. Reserves. Following the signing of this Agreement, the Borrower shall
 remit One Million Eight Hundred Thousand Dollars and No Cents ($1,800,000) as the JCA
 Payment per the terms and the time outlined in Recital D of this Agreement. Upon the funding of
 the first Advance under the Tranche Schedule, the ICA shall remain part of the Interest Reserve
 Account and subject to the provisions of this Agreement, and not refundable to the
 Borrower unless otherwise specifically provided for in this Agreement. All credits to the Interest
 Reserve Account shall be used, absent the occurrence of an Event of Default, for purposes of
 payment on interest payable on the Advances as and when such interest payments are due and
 payable.

         Section 3.7. Prepavment. The borrower may, without penalty, prepay all or any portion
 of the outstanding principal balance of the LOC.

        Section 3.8. Interest Credit Account. If at any time, no balance remains in the Interest
 Reserve Account (having been applied as provided in this Agreement), upon notice from Lender
 to Borrower, which notice shall be delivered to and received by Borrower no less than thirty (30)
 days before the date of the next interest payment date, Borrower shall remit into the ICA the
 funds necessary to make such interest paid before the date such interest payment is due and
 payableSection 3.9. Fees.
               (a) LOC Fee. At Closing and out of the initial Advance, the Borrower shall pay
                   Lender a nonrefundable fee for the LOC in an aggregate amount equal to Five
                   percent (5%) multiplied by the Project LOC Amount, which is equal to Nine
                   Hundred Thousand Dollars and No Cents ($900,000) (the "LOC Fee"). The
                   LOC Fee has been fully earned by Lender and is due and payable in full to Lender
                   commensurate with the funding of, and from the proceeds of, the first Advance
                   under the Tranche Schedule, without condition.
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               (b) Promote Fee. At Closing and out of the initial .Advance, the Borrower shall pay
                   Lender a nonrefundable success fee in an aggregate amount equal to One
                   percent (1 %) multiplied by the Project LOC Amount, which is One
                   Hundred Eighty Thousand Dollars and No Cents ($180,000) (the "Promote Fee").
                   The Promote Fee has been fully earned by Lender and is due and payable in full to
                   Lender commensurate with the funding of, and frotn the proceeds of, the first
                   Advance under the Tranche Schedule, without condition.

                (c) ICA Advance Fee. To the extent tbe Borrower used Lender to provide the
                    !CA Payment, at Closing and out of the initial Advance, the Borrower shall
                    reimburse Lender in an amount equal to the ICA Payment advanced by
                    Lender plus a nonrefundable fee in an aggregate amount equal to
                    Zero percent (0%) of the ICA Payment, which is No Dollars and No Cents
                    Dollars($-) (the "ICA Advance Fee"). The ICA Advance Fee has been fully
                    earned by Lender and is due and payable in full to Lender commensurate with
                    the funding of, and from the proceeds of, the first Advance under the Tranche
                    Schedule, without condition. The borrower will take the Project LOC Amount
                    in full on the closing of the first tranche.


         Section 3.10. Line of Credit Extension Fees. Concurrently with the commencement of
 each Extended Term, if any, Borrower shall pay to the Lender, on the .first date of each such
 Extended Term, a nonrefundable LOC extension fee for each extension in an aggregate amount
 equal to one percent (I%) multiplied by the Maximum Amount.

         Section 3.11. Legal and Incidental Fees, Charges, and Costs. Borrower shall pay at
 Closing, all reasonable out of pocket and up to Twelve Thousand, Five Hundred U.S. Dollars
 ($12,500) for legal fees, recording and filing fees, documentary stamps, taxes, service charges,
 credit reports, UCC search costs, title company fees and costs, third party paymaster fees and
 administrative expenses, attorneys' fees and expenses, and all other charges or expenses incurred
 by Lender including administrative fees and expenses (a) in connection with the LOC, (b) in
 connection with efforts to collect any amount due under the LOC, or (c) in any action or proceeding
 to enforce the provisions ofany of the LOC Documents, including those incurred in post-judgment
 collection efforts and in any bankruptcy proceeding (including any action for relief from the
 automatic stay of any bankruptcy proceeding) or judicial or non-judicial proceeding; provided that
 Lender will provide Borrower ten (10) days' advance notice o{ any legal fees pursuant to this
 Section 3.11 that will exceed Twelve Thousand, Five Hundred U.S. Dollars ($12,500). Lender
 shall not be required to pay any premium or other charge or any brokerage fee or commission or
 similar compensation in connection with the LOC or with satisfying the conditions of any
 commitment for standby or permanent financing. Borrower hereby agrees to indemnify and hold
 Lender harmless against and from all claims for such fees, commissions, and compensation in
 connection with the LOC; provided that Lender shall not have the right to be indemnified under
 this Section 3.11 for its own gross negligence or willful misconduct.


        Section 3.12. Line of Credit Disbursement Account. The proceeds of each Advance
 under the LOC shall be advanced into the LOC Disbursement Account with Lender to be used by
 Borrower for payment of the Borrower's Project Costs, solely foi; the purposes and in the manner

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 outlined in this Agreement. The LOC Disbursement Account will be held jointly in the name of
 the Borrower and Lender. Borrower hereby irrevocably assigns to Lender as additional security
 for repayment of the LOC, all of Borrower's rights and interest in and to the LOC Disbursement
 Account, which assignment will be effective only upon the occurrence and continuation of an
 Event of Default, subject to an applicable Default Cure Period (as hereinafter defined).
                                                                   1

        Section 3.13. Taxes.

         (a)      All payments made by the Borrower under any LOC Document shall be made free
 and clear of, and without deduction or withholding for or on account of, any Taxes or Other Taxes.
 If any Taxes or Other Taxes are required to be deducted or withheld from any amounts payable to
 Lender hereunder, the amounts so payable to Lender shall be increased to the extent necessary to
 yield to the Lender (after deducting, withholding, and payment of all Taxes and Other Taxes,
 including such deductions, withholdings and payments of Taxes and Other Taxes applicable to
 other sums payable under th.is Section 3. 13) interest or any such other amounts payable hereunder
 at the rates or in the amounts specified in the LOC Documents.

         (b)    Whenever any Taxes or Other Taxes are required to be withheld and paid by the
 Borrower, the Borrower shall timely withhold and pay such taxes to the relevant governmental
 authorities. As promptly as possible thereafter, the Borrower shall send to the Lender a certified
 copy of an original official receipt received by the Borrower showing payment thereof or other
 evidence of payment reasonably acceptable to the Lender. If the Borrower shall fail to pay any
 Taxes or OtherTaxes when due to the appropriate governmental authority or fails to remit to the
 Lender the required receipts or other required documentary evidence, the Borrower shall
 indemnify Lender on demand for any incremental Taxes or Other Taxes paid or payable by the
 Lender as a result of any such failure.

      (c)    The agreements in this Section 3.13 shall survive the termination of the LOC
 Documents and the payment of the Advances and all other amounts payable under the LOC
 Documents.




                                    ARTICLE4
                    CONDITIONS FOR CLOSING AND DISBURSEMENT

        The obligation of Lender to provide the LOC and make any Advance hereunder will be
 subject to the satisfaction, at Borrower's cost and expense, of each of the following conditions,
 unless waived by Lender in writing:


        Section 4.1.   Delivery of the LOC Documents.

               (a)     As of the Closing Date, Borrower shall have executed and delivered to
 Lender in a manner satisfactory to Lender all of the LOC Documents.

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               (b)    The Borrower shall have delivered to the Lender an executed Control
 Agreement (as defined in the Security Agreement), for each Payment Account and Security
 Account (both as defined under UCC § 9-102 and as further defined in the Security Agreement)
 maintained by the Borrower.

                 (c)    Contemporaneously with Borrower's acquisition of the Property, Borrower
 shall have delivered an executed and notarized mortgage or deed of trust in form and substance
 required by Lender granting Lender a priority lien and security interest in and to the Property (the
 "Security Instrument"), and such Security Instrument shall be promptly recorded in the real
 property records of the county in which such real property is located. If required by Lender, (i)
 the closing of such Advance and recording of the Security Instrument shall be completed through
 the services of a title company chosen by Lender, and (ii) sudh title company shall issue, at
 Borrower's expense and for the benefit of Lender, a loan policy of title insurance concerning the
 Property. For the avoidance of doubt, this Section 4. l(c) shall not operate to preclude any
 Advances to the Borrower to fund pre-acquisition costs.

         Section 4.2. Authoritv. On the Closing Date, the Borrower shall have delivered to the
 Lender an officer's certificate (or comparable document) certifying the names of the officers,
 members, or managers of the Borrower authorized to sign the LOC Documents, together with the
 true signatures of such Persons and certified copies of (a) the resolutions of the board of directors
 (or comparable document) of the Borrower evidencing approval of the execution, delivery, and
 performance of the LOC Documents and the consummation of the transactions contemplated
 thereby, (b) the Organizational Documents of the Borrower (including, if applicable, copies of the
 partnership and corporate documentation of each of the general partners or members of Borrower
 and copies of all equity participation agreements), and (c) a contemporaneous certificate of good
 standing concerning the Borrower.

          Section 4.3. Liens. The Project is free from any prior liens. All taxes and assessments
 affecting the Project or any part thereof due and payable (including without limitation any taxes)
 have been paid. The Project is not impaired by any existing undisclosed covenants, conditions, or
 restrictions. At the request of the Lender, the Borrower shall (i) deliver to the Lender the results
 of UCC lien searches, satisfactory to the Lender, (ii) the results of federal and state tax lien and
 judicial lien searches and pending litigation and bankruptcy searches, in each case satisfactory to
 the Lender, and (iii) UCC or other lien tennination statements reflecting termination of all liens
 previously filed by any Person and not expressly permitted pursuant to the LOC Documents.
 Borrower agrees that no lien, other than as required by this Agreement and the LOC Documents,
 sha11 be placed on the Property, the Project, or any Collateral without the express written
 permission of Lender.

         Section 4.4. Litigation. As of the Closing Date and as o~ the date of each Advance, there
 shall be no material Litigation pending against Borrower which in Lender's reasonable business
 judgment materially affects Borrower's ability to perform all of the terms and provisions of this
 Agreement.

       Section 4.5. Events of Default. As of the Closing Date and as of the date of each Advance,
 no Event of Default shall have occurred and be continuing, and the Borrower shall otherwise be in

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 full compliance with the terms and provisions oftbis Agreement.

        Section 4.6. Purchase and Agreement Contracts. Le der shall receive copies of all
 material contracts entered in connection with the Property and the Project, and all other contracts
 material to the Borrower's operations and/or properties.

        Section 4.7. Compliance with Certain Requirements. Lender shall receive evidence
 reasonably satisfactory to Lender that the business is in material compliance with all applicable
 laws, regulations, ordinances, conditions, reservations, and restrictions imposed on the
 business(es) under local, state, federal, and international laws, procedures, statutes, regulations,
 and ordinances, conditions applicable to the Project.

         Section 4.8. Evidence of Insurance.
         (a)     For the period beginning with the execution of this Agreement and continuing
 throughout the term of the LOC, Borrower shall take out, pay for, and will keep in full force,
 property and liability insurance on the Borrower and the Project against such risks, in such
 amounts, and with such lenders' loss payable and additional insured clauses and endorsements as
 shall be satisfactory to Lender and otherwise customarily carried by businesses of similar size and
 character that of the business of the Borrower, and Borrower shall furnish Lender with the
 satisfactory evidence of such underlying Borrower insurance and promptly notify Lender of any
 changes to such insurance. Borrower shall include Lender as an additional insured under all
 insurance policies applicable to the Project and the Property.
         (b)     Within five (5) business of receipt of End-Borrower insurance pursuant to Section 4.8(a),
 Lender shall acknowledge receipt and communicate to Borrower the approval and sufficiency of such End-
 Borrowers certificate of insurance.

        Section 4.9. Financial Statements. The lender shall have received all financial reports
 required by Section 8.6 hereof.

       Section 4.10. Business Pro Forma. The lender shall receive a pro forma income and
 expense statement annually in connection with the Project.

        Section 4..11. Management Plan. Lender shall receive a detailed management plan,
 concurrently with delivery of the annual financials required pursuant to Section 8.6 hereof, which
 will consist of the business operation, and budget for all expenses ofBorrower's business.

        Section 4.12,. Material Change. Throughout the term of the LOC, Borrower shall advise
 Lender of any material change in conditions affecting the Borrower's ability to perform under this
 Agreement or the Project that would materially alter the documentation and information submitted
 by Borrower to satisfy the above conditions precedent and will submit amended documentation
 and information reflecting these changed conditions for the reasonable approval of Lender.

         Section 4.13. Non-Subordination. Under this Agreement, the payment and performance
 obligations of the Borrower and/or its subsidiaries shall never put the Lender in a position
 subordinate to any indebtedness owing to any other creditor o~ the Borrower and/or any such
 Subsidiary (excepting interim obligations for labor and materials incurred in the normal course of
 development and construction of the Project, which obligations will be timely satisfied in the

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 normal and reasonable management of the Project).
        Section 4.14. Securitization. The lender may in its sole discretion securitizc the LOC
 funding through an insurer of its choosing. Should Lender decide to securitize this transaction,
 Borrower agrees to cooperate with any preliminary determination or reasonable due diligence
 required by the insurer.

                                        ARTICLES
                             USE OF LINE OF CREDIT PROCEEDS

        Section 5.1.    Project Costs: Business Expansion Costs.

        (a)     Proceeds of Advances under the LOC shall be utilized by Borrower solely to
 finance the Project Costs, as more fully described in the attached Exhibit C, in connection with
 Borrower Business Expansion as further detailed in the Business Plan, updated yearly by
 Borrower.

         (b)    The proceeds of the LOC shall be used exclusively for the purposes outlined in this
 Agreement. Borrower warrants and represents that the use of the LOC proceeds as set forth herein
 is for business and commercial purposes only and that the LOC proceeds will not be used for
 personal, family, or household purposes. The borrower will not, directly or indirectly, use the
 proceeds of the Advances under the LOC, or lend, contribute, or otherwise make available such
 proceeds to any joint venture partner or other Person, (i) to fund any activities or business of or
 with any Person, or in any country or territory, that, at the time of such funding, is, or whose
 government is, the subject of Sanctions, or (ii) in any other manner that would result in a violation
 of Sanctions by any Person.

                                            ARTICLE 6
                                           INSPECTIONS

         Section 6.1. Project Inspection. Lender, through its officers, agents, contractors, affiliates,
 or employees, shall have the right, at all reasonable times during business hours upon fifteen (15)
 days prior written notice to Borrower to enter on-site offices of t?e Project site and to inspect the
 operations in connection with the Project; provided that the foregoing inspections shall be limited
 to twice per year absent the occurrence of an Event of Default.

        Section 6.2. Books and Records. Lender shall have the right, at all reasonable times, to
 examine the books, records, accounting data, and other documents of Borrower about the Project,
 the Property, and the Borrower and to make extracts therefrom or copies thereof.

         Section 6.3. Force Majeure Event Inspection Right. In the event of a Force Majeure
 Event (as hereinafter defined) which intem1pts, stops, or otherwise impedes the Borrower's ability
 to continue with the Project, upon notice by Borrower to Lender in writing of such Force Majeure
 Event occurrence, Lender shall have the right to periodically inspect the Project, surrounding
 conditions, and interview employees, contractors, vendors involved in the development of the
 Project until Lender is satisfied with Borrower' s ability to resume operations to develop the
 Project. Following a Force Majeure Event, Lender has the right to modify the terms upon which
 future Advances may be made as a result of a change in circumstances as determined by the
 Lender

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 in Lender's sole discretion, that the Borrower can perform or continue to perform the Project
 scope of work. Borrower shall execute any additional documents, amendments, or other
 agreement of terms required by Lender, before Lender's obligation to continue to make Advances
 shall resume.

                                    ARTICLE7
                                 ADVANCE OF FUNDS

         Section 7.1. Timing and Advances to Payee. Advances will be made as outlined in the
 Tranche Schedule and shall be transferred into the LOC Disbursement Account. So long as all
 conditions precedent to an Advance has been met pursuant to the terms ofthis Agreement, Lender
 agrees that the first Advance will be funded no later than seventy-five (75) calendar days following
 the opening of the ICA by the Lender with its wholesale lender. ~ender shall deliver the written
 notice to Borrower of the commencement of such seventy-five (75)-day period. Lender shall
 deliver the written notice to Borrower via the ZOOMERAL messaging system of the
 commencement of such seventy-five (75)-day period.

       Section 7.2. Conditions Precedent to Advance Funds. Lender's obligation to make
 Advances hereunder shall be conditioned upon fulfillment of the terns outlined in Article 4 hereof

         Section 7.3. Unpaid Lien Claims. If Lender receives notice of nonpayment from a
 potential lien claimant or a lien is filed that is not insured over, or if contested then offset with a
 segregated loss reserve account, or until the potential lien claimant aclmowledges payment or
 otherwise rescinds its notice in such form and with such other acknowledgments as Lender may
 require, per applicable law, Lender, at its option may (a) refuse to make any further Advances to
 Borrower, or (b) withhold one hundred percent (100%) of the lien amount claimed from future
 Advances.

         Section 7.4. Mandatorv Advances. Notwithstanding any other term or provision of this
 Agreement, it is understood that interest on Advances under the LOC shall be paid from the lCA
 and that such method of interest payment is mandatory and not optional. If Lender agrees that
 Borrower may pay the interest directly, Lender shall have the right to advance the LOC proceeds
 to pay said interest if not otherwise paid when due. If the LOC funds allocated for these purposes
 are depleted, Borrower is not relieved from paying directly when due these or any other expenses
 or amounts required under the terms of this Agreement or any ot~er LOC Document.

                                     ARTICLES
                         BORROWER'S AFFIRMATIVE COVENANTS

          As a material inducement to Lender to make the LOC to Borrower, and until payment in
 full of the Advances and other amounts outstanding under the LOC and performance of all other
 obligations of Borrower under the LOC Documents, Borrower agrees to do all of the following
 unless Lender shall otherwise consent in writing:

      Section 8.1. Project. (a) Complete, on an ongoing basis, all due diligence required or necessary in
 connection with the Project, and (b) be the entity that is the counterparty to each material primary contract
 and agreement related to (i) the Project and (ii) the development, construction, operation, and management
 of the Project.

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      Section 8.2. Compliance with Laws. Comply with and provide to Lender upon Lender's reasonable request
 evidence of material compliance with, all applicable state, local federal, and international laws, procedures, acts,
 ordinances, and regulations applicable to the Project.

        Section 8.3. Compliance with Documents. Perform and comply with all the terms and
 conditions of this Agreement and the other LOC Documents.

         Section 8.4. Books and Records. Keep and maintain complete and accurate books of
 account, per generally accepted accounting principles consistently applied, reflecting all :financial
 transactions of the Borrower and the Project.

        Section 8.5. Pavment of Obligations. Pay and discharge before the same shall become
 delinquent all material obligations, claims, indebtedness, taxes, and other obligations (except only
 those so long as and to the extent that the same shall be contested jn good faith by appropriate and
 timely proceedings and for which adequate provisions have been established per generally
 accepted accounting principles).

         Section 8.6. Financial Reports. Deliver to Lender, concerning Borrower as soon as
 available and in any event (a) within sixty (60) days after the en~ of each calendar quarter during
 the term of the LOC, financial statements of Borrower for such quarter and (b) within ninety (90)
 days after the end of each fiscal year of the Borrower, annual financial statements of the
 Borrower, in each case of the foregoing, certified as true and correct (which reports shall be
 prepared per generally accepted accounting principles consistently applied) and operating
 statements in a form reasonably satisfactory to Lender. Borrower shall also deliver to Lender,
 promptly upon request therefor, such other :financial information of the Borrower (and its
 subsidiaries, if any) as may reasonably be requested by Lender. The borrower must also complete
 their ZOOMERAL business profile and keep the business profile up to date throughout the term
 of this agreement.

         Section 8.7. Notification to Lender. Promptly after learning thereof, notify Lender of:
 (a) the details of any material action, proceeding, investigation, or claim against or affecting the
 Borrower, the Property, or the Project instituted before any court, arbitrator, or governmental
 authority or to the Borrower's knowledge threatened in writing to be instituted; (b) any material
 dispute between Borrower and any governmental authority involving or related to the Property or
 the Project; (c) any labor controversy which has resulted in or, to the Borrower's knowledge,
 threatens to result in a strike or disruption which would reasonably be expected to have a material
 adverse effect on the business of the Borrower of the Project; (d) the occurrence of any Event of
 Default; and (e) any written agreement to purchase any part of the Borrower or the Project or any
 application for any refinancing of the LOC.




          Section 8.8. Partnership/Corporate Existence. Preserve and maintain its existence,
 rights, franchises, and privileges in the jurisdiction of its formation .
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                                          ARTICLE9
                                BORROWER'S NEGATIVE COVENANTS
         Until payment in full of the Advances under the LOC and the performance of all other
 obligations of Borrower 1mder the LOC, and in addition to all other covenants and agreement of
 Borrower contained herein or in any other LOC Documents, Boriower agrees that unless Lender
 shall otherwise consent in writing Borrower shall not:

         Section 9.1. Liquidation, Merger, and Sale of Assets. Liquidate, merge, or consolidate
 with any other Person or otherwise transfer to an unrelated Person fifteen percent (15%) or more
 of the equity securities of Borrower, or sell, lease or transfer or otherwise dispose of any assets to
 any Person other than in the ordinary course of business. Notwithstanding, any initial public
 offering or acquisition by another company will require the Lender's approval or full payment of
 the outstanding loan balance.

         Section 9.2. Liens. Create or incur any mortgage, security interest, lien, or other
 encumbrance of any kind upon the assets of the Borrower or constituting the Project or any portion
 thereof other than (a) any lien securing indebtedness owing to Lender, (b) liens for taxes not yet
 due or that are being actively contested in good faith by appropriate proceedings and for which
 adequate reserves shall have been established in accordance with generally accepted accounting
 principles, (c) other statutory liens, including, without limitation, statutory liens of landlords,
 carriers, warehousers, utilities, mechanics, repairmen, workers and material-men, incidental to the
 ownership and/or development of the Project that (i) were not incurred in connection with the
 incurring of indebtedness or the obtaining of advances or credit, and (ii) do not in the aggregate
 materially detract from the value of the Borrower's property or assets or the Project, (d) easements
 or other minor defects or irregularities in title of the Property not interfering in any material respect
 with the use of such property in the development of the Project, and (e) liens existing on the Closing
 Date and previously disclosed to and approved by Lender (but only to the extent that the amount
 of debt secured thereby, and the amount and description of property subject to such liens,shall not
 be increased).

         Section 9.3. Indebtedness. Create, incur, or have outstanding any indebtedness of any kind, other
         than (a) indebtedness owing to the Lender under this Agreement and the other LOC Documents, and
         (b) indebtedness of the Borrower existing as of the Closing Date as disclosed to and approved by
         the Lender (and any extension, renewal, or refinancing thereof but only to the extent that the
         principal amount thereof does not increase after the Closing Date).

         Section 9.4. Investments, Loans, and Guarantees. (a) Create, acquire, or hold any
         subsidiary, (b) make or hold any investment in any stocks, bonds, or securities of any kind
         (c) be or become a party to any joint venture or other partnership, (d) make or keep
         outstanding any advance or loan to any Person, or (e) be or become a guarantor of any kind.


         Section 9.5. Acquisitions. Enter into any transaction or series ofrelated transactions for or
 resulting, directly or indirectly, in (a) the acquisition of all or substantially all of the assets of any
 Person, or any business or division of any Person, (b) the acquisition of any of the outstanding
 capital stock (or other equity interest) of any Person, or (c) the acquisition of another


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Person by a merger, amalgamation, or consolidation or any other combination with such Person,
unless specifically stated and approved before execution of this Agreement.

        Section 9.6. Organizational Doc11IDents. (a) Amend its Organizational Documents in any
 manner adverse to Lender, or (b) amend its Organizational Doc~ents to change its name or state,
 province or other jurisdiction of organization, or its form of organization.



        Section 9.7. Project and Project Documents. Willfully or voluntarily abandon the Project or its
        activities to develop, construct, operate, or maintain the Prpject. lfthe same would (i) be a major
        decision under the Organizational Documents of Borrower( or (ii) have a material adverse effect on
        the Lender and is not necessary or desirable for continued f evelopment of the Project.

                (a) terminate or cancel or consent to or accept an} cancellation or termination of;
 amend, modify or supplement any provision in any material resbect; or grant consent under or
 waive any material default under, or material breach of, or material!provision of or the performance
 of a material obligation by any other Person under, any contracts br agreements (A) related to the
 Property, (B) between the Borrower and contractors for the Project, or (C) otherwise related to the
 development, construction, operation, and maintenance of the Project, in each case that would
 have an adverse effect on the Lender; or

                (b)    sell, assign (other than to Lender) or otherwise dispose of any of its rights
 or interest under, any contracts or agreements (A) related to the Property, (B) between the
 Borrower and contractors for the Project, or (C) otherwise relatedlthe development, construction,
 operation, and maintenance of the Project without Lender's consent, which consent shall not be
 unreasonably withheld.

                                      Article 10
                          REPRESENTATIONS AND WARRANTIES

        Borrower hereby represents and warrants to Lender that:

         Section 10.1. Validity of Agreement. The Borrower has the right and power and is duly
 authorized and empowered to enter, execute and deljver the LOC Documents to wruch it is a party
 and to perform and observe the provisions of the LOC Documents. The LOC and the execution,
 delivery, and performance of the LOC Documents have been duly authorized by all necessary
 action, and when executed and delivered by Borrower will constitute the valid and binding
 agreements of Borrower, enforceable per their terms. The execution, delivery, and perfonnance
 of the LOC Documents do not conflict with, result in a bread,h in any of the provisions of,
 constitute a default under, or result in the creation of a lien (other than liens permitted under
 Section 9 .2 hereof) upon any assets or property of the Borrower under the provisions of, the
 Borrower's Organizational Documents or any material agreement ~o which the Borrower is a party.

         Section 10.2. Existing Defaults. As of the date of execution of this Agreement, Borrower
 (or any subsidiary of Borrower) is not in material default in the performance or observance of any
 material obligation, agreement, covenant, or condition contained in any bond, debenture, note, or
 other evidence of indebtedness or in any contract, indenture, mortgage, agreement, lease, or other

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 agreement or instrument to which Bon-ower (or any subsidiary of Bon-ower) is a party or by which
 it or any of its properties, subsidiaries, partners, or other related entities may be bound.


         Section 10.3. No Default in Other Agreements. The execution and delivery and
 performance of this Agreement and a11 other LOC Documents, the incun-ence of the obligations
 herein set forth, and the consummation of the transactions herein contemplated, will not result in
 the creation of a lien on any of its property (except the liens created by the LOC Documents), and
 will not conflict with, result in a breach of any bond, debenture, note, contract, indenture,
 mortgage, lease, or any other evidence of indebtedness, agreement or instrument to which it is a
 party or by which it or any of its properties, subsidiaries, partners or other related entities may be
 bound, or result in the violation by it of any law, order, rule, ordinance, or regulation of any court
 or governmental agency or body having jurisdiction over it or any of its properties, subsidiaries,
 partners or other related entities.


         Section 10.4. No Consents. No consent, approval, authorization, or other acknowledgment
 of any court or governmental agency or body, other than those specifically referenced herein, is
 required for the consummation by Bon-ower of any of the transactions contemplated by this
 Agreement, except those permits and licenses required in the ordinary course of construction of
 the Project.

        Section 10.5. Litigation. There is no material litigation at law or in equity and no
 proceedings before any commission or other administrative authority ("Litigation") pending or to
 Bon-ower's knowledge threatened against or affecting Borrower, its principals, subsidiaries,
 partners, or other related entities, or the Project, except as disclosed to and approved in writing by
 Lender. There is no material Litigation currently contemplated, threatened, or pending by Borrower
 against any entity or person which would have a material effect on Lender, this Agreement, the
 LOC, or the transactions contemplated hereunder. Bon-ower's failure to timely disclose to Lender
 any Litigation that is pending, threatened, or contemplated by Borrower as of the date of
 Bon-ower's execution of the LOC Documents shall constitute a material breach of this
 Agreement and shall justify Lender' s excuse from the performance of any terms hereof, including
 funding of any Advance, until Lender is satisfied that such Litigation has been resolved in
 Lender's sole discretion.

        Section 10.6. Financial Statements. All balance sheets, statements of income or loss,
 reconciliation of surplus, and financial data of any other kind furnished to Lender by or on behalf
 of Borrower are true and correct in all material respects, have been prepared per generally
 accepted accounting principles consistently applied, and fully and accurately present the
 financial condition of the subjects thereof as of the dates thereof and no material adverse change
 has occurred in the financial condition reflected therein since the dates of the most recent thereof.

         Section 10. 7. Legal Requirements. The Borrower (a) holds permits, certificates, licenses,
 orders, registrations, franchises, authorizations, and other approvals from any governmental
 authority necessary for the conduct of its business and is in compliance with all applicable laws
 relating thereto, and (b) is in compliance with all federal, state, local, or international applicable
 statutes, rules, regulations, ordinances, and orders including, without limitation, those relating to


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 environmental protection, occupational safety and health, zoning, and equal employment practices.

         Section 10.8. Taxes. The Borrower has filed all tax returns and reports required of it, has
 paid all taxes which are due and payable, and has provided adequate reserves for payment of any
 tax whose payment is being contested; the charges, accruals, and reserves on the books of the
 Borrower in respect of taxes for all fiscal periods to date are accurate; and there are no questions
 or disputes between the Borrower and any governmental authority concerning any taxes except as
 otherwise previously disclosed to the Lender in writing.


         Section 10.91. Organization and Good Standing. The Borrower is a duly formed or
 organized, validly existing, and in good standing under the laws of the State of its formation or
 organization as outlined in the first paragraph of this Agreement, and is qualified as a foreign entity
 and in good standing in each jurisdiction where the Property and the Project are located.

         Section 10.10. Insurance. The Borrower maintains with financially sound and reputable
 insurers insurance with coverage (including, if applicable, flood insurance on all mortgaged
 property that is in a Special Flood Hazard Zone, from such providers, on such terms and in such
 amounts as required by the Flood Disaster Protection Act as amended from time to time or as
 otherwise required by Lender) and limits as required by law and as is customary with Persons
 engaged in the same business(es) as the Borrower.

                Section 10.11. Accurate and Complete Statements. Neither the LOC Documents
 nor any written statement made by the Borrower in connection with any of the LOC Documents
 contains any untrue statement of a material fact or omits to state a material fact necessary to make
 the statements contained therein or in the LOC Documents not misleading. Lender represents to
 Borrower:


         Section 10.12. Timing of Lender Funding. Provided Borrower has met the conditions to
 Advances in this Af,rreement, including without limitation the timing for requests outlined in this
 Section, Lender shall fund Advances per under the Tranche Schedule, but in no event anymore
 frequently than every sixty (60) day, unless otherwise consented to in writing by Lender. The
 borrower must deliver Advance requests to Lender thirty (30) business-banking days before the
 week represented on the Tranche Schedule for which the Borrower wishes to receive the
 proceeds of such Advance from the LOC Disbursement Account. Upon notice of an Advance
 Request from the Borrower, Lender bas a forty (40) international business-banking day window
 based on the Tranche Schedule (except for the first Advance according to Section 7. I) to
 Payment the requested Advance into the LOC Disbursement Account. Absent a written Advance
 request from Borrower, per the conditions and requirements set forth herein, Lender is not
 obligated to disburs,:: the next scheduled Advance under the Tranche Schedule.

                                   ARTICLE 11
                   NATURE OF REPRESENTATIONS AND WARRANTIES

        Section 11.1 . Generally. The representations and warranties made by Borrower herein and
 otherwise in connection with the LOC are and shall remain true and correct in all material respects
 as oftbe Closing Date and as oftbe date of each Advance, omit no materials facts, and shall survive


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 so long as any of Borrower's obligations under the LOC Documents have not been satisfied and/or
 the LOC or any part thereof shall remain outstanding. Each request by Borrower for an Advance
 shall constitute an affirmation that the representations and warranties remain true and correct in
 all material respects (or, as to any representations and warranties which are subject to a
 materiality qualifier, true and correct in all respects) as of the date hereof, except for any
 representations and warranties that are made as of a specific date. All representations and
 warranties made in any document delivered to Lender by or on behalf of Borrower according to
 or in connection with the LOC shall be deemed to have been relied upon by Lender.


                                        ARTICLE 12
                                    EVENTS OF DEFAULT

 Any of the following specified events shall constitute an Event of Default (each an "Event of
 Default''):

        Section 12.1. Nonpayment. Failure to make any payment required by the Promissory
 Note, this Agreement, or any other LOC Documents and such failure continues for thirty (30)
 days after notice of such default is sent by Lender to Borrower.

         Section 12.2. Other Covenants and Agreements. failure by Borrower to perform or
 comply with any of the other covenants or agreements contained in this Agreement (other than
 those referred to in Section 12.6 hereof), or any of the LOC Documents and such failure shall not
 have been fully corrected, by the performance of or compliance with such covenants or
 agreements, within twenty (20) days after notice of such default is sent by Lender to Borrower.

        Section 12.3. Representations and Warranties. lf any representation, warranty, or
 statement made in or according to this Agreement or any other LOC Document or any other material
 information furnished by the Borrower to the Lender, shall be false or erroneous in any material
 respect when made or when deemed made. Such Event of Default can be corrected by the
 presentation of accurate and current material information furnished by the Borrower to the
 Lender to correct the false or erroneous representation, warranty, or statement within ten (10)
 days after notice of such default is sent by Lender to Borrower.

         Section 12.4. Security. If any lien granted in this Agreement or any other LOC Document
 in favor of the Lender, shall be determined to be (a) void, voidable or invalid, or is subordinated
 or not otherwise given the priority contemplated by this Agreement and the Borrower has failed to
 promptly execute, but in no event, more than five (5) business days from the date such change in
 lien status occurs appropriate documents to correct such matters, or (b) unperfected as to any
 material amount of Collateral (as determined by the Lender, in its reasonable discretion) and the
 Borrower has failed to promptly execute, but in no event, more than five (5) business days from
 the date such change in the lien status occurs appropriate documents to correct such matters.

        Section 12.5. Validity of LOC Documents. If (a) any material provision, in the sole
 opinion of the Lender, of any LOC Document, shall at any time cease to be valid, binding, and
 enforceable against the Borrower, and the Borrower has failed to promptly execute appropriate
 documents to correct such matters; (b) the validity, binding effect or enforceability of any LOC


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 Document against the Borrower shall be contested by the Borrower; (c) the Borrower shall deny
 that it has any or further liability or obligation under any LOC Document; or (d) any LOC
 Document shall be terminated, invalidated or set aside, or be declared ineffective or inoperative or
 in any way cease to give or provide to the Lender the benefits purported to be created thereby, and
 the Borrower has failed to promptly execute appropriate documen~s to correct such matters.


        Section 12.6. Petition for Bankruptcy, lnsolvencv. The insolvency of; the filing by
 Borrower in any jurisdiction of a petition for bankruptcy, liquidation, or reorganization, seeking,
 consenting to or appointment of any trustee, receiver, liquidator, or custodian of it or of all or
 substantially all of its property; or any such proceedings shall have been voluntarily or
 involuntarily instituted against Borrower; the failure of Borrower to generally pay its debts as they
 come due or any admission in writing in that regard; the making by Borrower of a general
 assignment for the benefit of creditors; the entry against Borrower, voluntarily or involuntarily, of
 any order for relief in any bankruptcy reorganization, liquidation, or similar proceeding or the
 declaration of or action taken by any governmental authority which operates as a moratorium on
 the payment of debts of Bon-ower, which such order or declaration or action shall have remained
 in place and undischarged or unstayed for ninety (90) days; or the taking of the action by
 Borrower to authorize any of the actions outlined in this Section 12.6.

          Section 12.7. Material Litigation. Any action, suit, proceeding, or investigation of any
 kind involving or threatened in writing against, Borrower or any subsidiary thereof, or the Project,
 before any court or arbitrator or any other authority which (a) would reasonably be expected to
 have a material adverse effect, or (b) calls into question the validity or enforceability of, or
 otherwise seeks to invalidate, any LOC Documents. Promptly after the commencement thereof of
 any Litigation, Borrower shall deliver to Lender notice of all actions, suits, investigations,
 litigation, and proceedings before any court or governmental department, commission, board,
 bureau, agency or instrumentality, domestic or foreign, affecting Borrower or any of its
 subsidiaries, partners, or other related entities, or the Project and promptly after the occurrence
 thereof, a notice of any adverse change in the status or the financial effect on Borrower or any of
 its subsidiaries, partners, or other related entities, or the Project of the disclosed Litigation.


                                            ARTICLE13
                                            REMEDIES

         Section 13.1. General. Following the occurrence of one (1) or more Events of Default, a
 default cure period of sixty (60) days begins ("Default Cure Period"), except as otherwise provided
 in Section 13.3 or Section 13.4. If Borrower fails to cure the Event of Default (in the manner
 specified for each Event of Default according to Article 12) within the Default Cure Period, then
 the Lender at its option, may (a) declare all outstanding indebtedness evidenced by the Promissory
 Note, including principal and interest, immediately due and payable; (b) terminate all obligations
 to make further Advances under the LOC; and (c) pursue and enforce, either successively or
 concurrently, all rights and remedies outlined in the Promissory Note, in the LOC Documents, or
 any other Collateral instrument held by Lender or accruing to Lender by 1aw, and such other
 rights and remedies as Lender may have in law or equity, including such rights as are provided in
 this Article 13. If a Bankruptcy Event referred to in Section 12.6 hereofoccurs, (i) all obligations

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 of the Lender to make further Advances under the LOC shall automatically and immediately
 terminate, if not previously terminated, and the Lender thereafter shall not be under any obligation
 to make any further Advance, and (ii) the principal of and interest then outstanding on the LOC,
 and all of the other obligations owing under the LOC Documents, shall thereupon become and
 thereafter be immediately due and payable in full (if not already dµe and payable), all without any
 presentment, demand or notice of any kind, which are hereby wair ed by the Borrower.


      Upon the occurrence of any Event of Default hereunder undef Section 12.1 whereby Borrower has
 missed more than two (2) scheduled payments if Borrower does ~ot have any interest reserve account
 established for the benefit of the Lender, Borrower shall have a) sixty (60) days Default Cure Period to cure
 the Event of Default and must (b) Payment an additional one year's worth of interest payments into the
 Interest Reserve Account.

         Section 13.2. Default and Right to Acquire.

         In the event, the Borrower is unable to cure the Event of Default (in the manner specified
         to correct each Event of Default according to Article 12 or within the Default Cure
         Period,

        (a)     Upon the occurrence of an Event of Default, Lender shall have the right, in person
 or by agent, in addition to all other rights and remedies available to Lender hereunder or under
 the LOC documents, to enter into possession of the Project and perform or cause enforce
 any liquidity plan .
          (b)     The lender may enter into possession of the Project and perform or cause to be performed
 all work and labor necessary to complete the Project, to operate and maintain the Project, and/or to
 otherwise run the business of the Borrower. All sums expended by the Lender in doing so, together with
 interest on such total amount at the Default Rate (as defined in the Promissory Note), shall be repaid by the
 Borrower to the Lender upon demand and shall be secured by the LOC documents, notwithstanding that such
 expenditures may, together with amounts advanced under this Agreement, exceed the Maximum Amount.

         (c)   Borrower thereby, following such Bankruptcy Event or relevant cure periods
 under Section 13.2 constitutes and appoints the Lender as its true and lawful attorney-in-fact, with
 the full power of substitution, in the name of the Borrower to complete the Project, to operate
 and maintain the Project, and/or to otherwise run the business of the Borrower, and h ereby
 empowers such attorney or attorneys as follows :


                (i)     to enter and endorse all agreements, instruments, and documents m
         connection therewith.

                (ii)    to use any unadvanced proceeds of the loc to complete, operate, or
         maintain the Project.

                 (iii)  to make such changes and corrections in the applicable plans and
         specifications of the Project as reasonably shall be necessary or desirable to complete the
         work on the Project.


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               (iv)    to employ such managers, contractors, subcontractors, agents, architects,
        and inspectors as reasonably sha11 be required for the foregoing purposes.

                (v)     to pay, settle or compromise ail bills and claims which may be or become
        liens against the Project or the Collateral or any part thereof, unless a bond or other security
        satisfactory to the Lender has been provided.

               (vi)   to execute applications and certificates in the name of the Borrower which
        reasonably may be required by the LOC Documents or any other agreement or instrument
        executed by or on behalf of the Borrower in connection with the Project.

               (vii) to prosecute and defend all actions or proceedings in connection with the
        Project or the Collateral or any part thereof, and to take such action and require such
        performance as such attorney reasonably deems necessary under any performance and
        payment bond and the LOC Documents; and

                (viii) to do any and every act which the Borrower might do on its behalf
        concerning the Collateral or any part thereof, or the Project and to exercise any or all of
        the Borrower's rights and remedies under any or a11 of the agreements and documents for
        the Project.

         This power of attorney shal 1be deemed to be a power coupled with an interest and shall be
 (A) irrevocable, (B) exercisable by the Lender at any time and without any request upon the
 Borrower by the Lender, and (C) exercisable in the name of the Lender or the Borrower. The
 Lender shall not be bound or obligated to take any action to preserve any rights therein against
 prior parties thereto.

         Section 13.3. Curing of Defaults bv Advances. Upon the occmTence of an Event of
 Default under Section 12.2 through 12.4 hereof which may be cured by the payment of money,
 Lender, without waiving any right of acceleration or foreclosure under the LOC Documents which
 Lender may have because of such Event of Defau1t or any other right Lender may have against
 Borrower because of said Event of Default, shall have the right to make such payment from the
 LOC, thereby curing the Event of Default. Any cash so remitted, and interest thereon will be
 disbursed by Lender per the terms hereof before any additional proceeds of the LOC are
 disbursed.

         Section 13.4. Remedies Are Cumulative. No remedy conferred upon or reserved to
 Lender in the LOC Documents shall be exclusive of any other remedy provided in the LOC
 Documents or by law or in equity, but each shall be cumulative and shall be in addition to every
 other remedy given Lender, under any of the LOC Documents or now or hereafter existing at law
 or in equity or by statute. Lender, at its sole option and without limiting or affecting any rights and
 remedies h ereunder, may exercise any of the rights and remedies to which it may be entitled under
 the LOC Documents concurrently or in such order as it may determine. The exercise of any
 rights of Lender shall not in any way constitute a cure or waiver of Event of Default or invalidate
 any act done according to any notice of default, or prejudice Lender in the exercise of any of its
 other rights or elsewhere unless, in the exercise of said rights, Lender realizes all amounts owed to
 it hereunder and under the Promissory Note, and any other LOC Documents.

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        Section 13.5. Offsets. If there shall occur or exist any Event of Default referred to in
Section 12.6 hereof or if the maturity of the obligations owing under the Promissory Note or the
other LOC documents is accelerated according to Section 13.1 hereof, the Lender shall have the
right at any time to set off against, and to appropriate and apply toward the payment of, all of
such obligations then owing by the Borrower, whether or not the same shall then have matured,
all Payment (general or special) balances, and all balances in the Interest Reserve Account and all
other indebtedness then held or owing by the Lender to or for the credit or account of the
Borrower, all without notice to or demand upon the Borrower or any other Person or entities, all
such notices and demands being hereby expressly waived by the Borrower.

         Section 13.6. Collateral. The Lender shall at all times have the rights and remedies of a
secured party under the UCC, in addition to the rights and remedies of a secured party provided
elsewhere within this Agreement, in any other LOC Documents executed by the Borrower or
otherwise provided in law or equity. Upon the occurrence of an Event of Default and at all times
thereafter, the Lender may require the Borrower to assemble the Collateral securing the obligations
under the LOC documents, which the Borrower agrees to do, and make it available to the Lender
at a reasonable convenient place to be designated by the Lender. The Lender may, with or without
notice to or demand upon the Borrower and with or without the aid of legal process, make use of
such reasonable force as may be necessary to enter any premises where such Collateral, or any
thereof, may be found and to take possession thereof (including anything found in or on such
Collateral that is not specifically described in this Agreement or any other LOC document, each of
which findings shall be considered to be an accession to and a part of such Collateral) and for
that purpose may pursue such Collateral wherever the same may be found, without liability for
trespass or damage caused thereby to the Borrower. After any delivery or taking of possession of
the Collateral securing the obligations under the LOC documents, or any portion thereof, under
this Agreement, then, with or without resort to the Borrower personally or any other person or
property, all of which the Borrower hereby waives, and upon such terms and in such manner as
the Lender may deem advisable, the Lender, in its discretion, may sell, assign, transfer and deliver
any of such Collateral at any time, or from time to time. No prior notice need be given to the
Borrower or to any other Person in the case of any sale of such Collateral that the Lender
determines to be perishable or to be declining speedily in value or that is customarily sold in any
recognized market, but in any other case, the Lender shall give the Borrower not fewer than ten
(10) calendar days prior notice of either the time and place of any public sale of such Collateral
or of the time after which any private sale or other intended disposition thereof is to be made.
The Borrower waives advertisement of any such sale and (ex.cept to the ex.tent specifically
required by the preceding sentence) waives notice of any kind in respect of any such sale. At any
such public sale, Lender may purchase such Collateral, including by credit bid, or any part thereof,
free from any right of redemption, all of which rights the Borrower hereby waives and releases.
After deducting all costs and expenses, and after paying all claims, if any, secured by liens
having precedence over this Agreement, Lender may apply the net proceeds of each such sale to
or toward the payment of the obligations under the LOC documents, whether or not then due, in
such order and by such division as the Lender, in its sole discretion, may deem advisable. Any
excess, to the extent permitted by law, shall be paid to Borrower, and Borrower shall remain
liable for any deficiency. In addition, after the occurrence of an Event of Default, the Lender shall
at all times have the right to obtain new appraisals of the Borrowc;r or any Collateral securing the
obligations under the LOC documents, the cost of which shall be paid by the Borrower.
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       Section 13.7. Default bv Lender and Borrower's Sole Remedy.

      (a)      Provided Borrower has fully satisfied and complied with all conditions to Advance
        if Lender fails to provide the first (1 s~ Advance when due, under the Tranche Schedule
        and Section 7 .1, Borrower shall have the option to terminate this Agreement and request a
        full refund of the ICA Payment. Upon the occurrence of such default, Borrower shall
        deliver a written notice in the form of a notarized termination letter, a copy of which is
        attached hereto as Exhibit F ("the Termination Letter"), to Lender by certified mail.
        Upon receipt of such notice, Lender shall have forty (40) international business-banking
        days from the date of receipt ("Refund Period") within which to return the lCA Payment
        to the Borrower.

      (b)      lf Lender is unable or unwilling to deliver good funds to Borrower, such failure to
        deliver an Advance other than the first Advance shall constitute a "Lender Default"
        hereunder. Upon the occurrence of a Lender Default, '.Borrower shall provide written
        notice in th.e form of a notarized Termination Letter to the Lender by certified mail.
        Within forty (40) international business-banking days from the date of receipt of such
        notice by Lender, Borrower shall be entitled to (a) refund of the ICA Payment, minus any
        interest outstanding and unpaid as of the date of the Lender Default, (b) release of all
        security interests granted by Borrower to Lender hereunder and under the other LOC Documents,
        and (c) termination of Borrower's obligations to Lender hereunder except Borrower's obligation
        to repay to Lender the outstanding principal balance of the Promissory Note including accrued
        and unpaid interest thereon up to and including the date of the Lender Default, upon which date
        interest under the Promissory Note shall cease to accrue. Notwithstanding any other provision of
        this Agreement to the contrary, in no event shall Lender or its affiliates be liable to the Borrower
        or any other non-party Person, Borrower's subsidiaries, partners, or other related entities, for any
        indirect, special, incidental, or consequential damages, losses or expenses in connection with
        Borrower's or another Person's activities related to, or otherwise because of, the LOC, the
        Advances, the Agreement or the other LOC documents.

      (c)       Non.vithstanding anything to the contrary in the subpart (a) above or anywhere else
        in this Agreement or the other LOC documents, Lender shall not be liable or
        responsible to the Borrower, nor be deemed to have defaulted under or breached this
        Agreement, for any failure or delay in funding Advances according to this
        Agreement, when and to the extent such failure or delay is caused by or results from
        acts beyond Lender's control, including, without limitation, the following force
        majeure events ("Force Majeure Event(s)"): (i) acts of God; (ii) flood, fire,
        earthquake, explosion or prolonged break-down of transport, telecommunications or
        electric cunent; (iii) war (whether declared or not), armed conflict or the serious threat of
        the same (including but not limited to hostile attack, blockade, military embargo),
        hostilities, invasion, an act of a foreign enemy, extensive military mobilization, civil war,
        riot, rebellion, revolution, military or usurped power, insurrection, civil commotion or
        disorder, mob violence, an act of civil disobedience, an act of terrorism, sabotage or
        piracy; (iv) plague, epidemic, pandemic, outbreaks of infectious disease or any other
        public health crisis, including quarantine, or other restrictions; (v) act of authority
        whether lawful or unlawful, compliance with any law or governmental order, rule,
        regulation or direction, curfew                                                           \         .{.J
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         restriction, expropriation, compulsory acquisition, seizure of works, requisition,
         nationalization; (vi) embargoes or blockades in effect on or after the date of this
         Agreement; (vii) national or regional emergency; (viii) strikes, labor stoppages, or
         slowdowns or other industrial disturbances; (ix) failure of the Lender's wholesale lender
         from performing under the terms of the agreement between the Lender and the
         wholesale lender. Lender shall give notice of the Force Majeure Event to the Borrower
         within a reasonable period from the date Lender realizes $UCb Force Majeure Event bas
         or will have an impact on Lender's ability to fund, stating the period the occurrence is
         expected to continue. The lender shall use reasonably diligent efforts to end the failure
         or delay and ensure the effects of such Force Majeure Event are minimized. The lender
         shall resume the performance of its obligations as soon as reasonably practicable after
         the removal of the cause. The cure periods provided for in subparts (a) and (b) above
         sba11 be tolled during the pendency of a Force Majeure Event.

         Section 13.8 Binding Arbitration. Any dispute, claim, or controversy arising out of or
 relating to this Agreement, or the breach, termination, enforcement, interpretation, or validity
 thereof, including the determination of the scope or applicability of this agreement to arbitrate,
 shall be determined by binding arbitration in Illinois, before one (1) arbitrator. The arbitration
 shall be administered by JAMS under its Comprehensive Arbitration Rules and Procedures or by
 ADR Services under its Arbitration Rules, at the election of the party initiating the arbitration.
 The Party initiating a demand for arbitration shall serve notice of such demand according to the
 notice requirements outlined in Section 14.5 herein. Within three (3) banking-business days of
 service of any demand for arbitration, the Parties to the dispute shall work cooperatively to
 mutually select an agreeable arbitrator. If the Parties to the dispute are unable to reach an
 agreement on an arbitrator, then the arbitration shall be selected under the JAMS or ADR
 Services arbitration selection protocol. Each side shall be entitled to propound one (1) set of
 requests for the production of documents. The requests in each set shall not number more than
 twenty-five (25) and shall be limited to documents relevant to the issues to be arbitrated. Each
 side shall further be entitled to notice and take no more than three (3) depositions, which shall
 last no more than three (3) hours per deponent, including reasonable breaks and objections. No
 other discovery shall be permitted, except upon a showing of good cause to the arbitrator. Any
 discovery disputes shall be submitted to and decided by the arbitrator. The prevailing party shall
 be entitled to an award of its reasonable costs and expenses, including but not limited to,
 attorneys' fees, in addition to any other available remedies. Any award rendered therein shall
 be final and binding on each and all of the parties thereto and their representatives, and judgment
 may be entered thereon in any court of competent jurisdiction. This clause shall not
 preclude Parties from seeking provisional remedies in aid of arbitration from a court of
 appropriate jurisdiction. Any action or proceeding brought to interpret or enforce this agreement
 to arbitrate shall be governed by the laws of the State of Illinois. This agreement to arbitrate is
 intended by the Parties to constitute a waiver of any right to trial by jury, or the right to
 proceed in any state or federal court for resolution of any dispute arising concerning the
 enforcement or interpretation of this Agreement, this agreement to arbitrate, or any of the LOC
 Documents.

                                        ARTICLE 14
                                    GENERAL PROVISIONS

        Section 14.1. Disclaimer of Liability. Lender has no liability or obligation in connection

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 with the Project except to make Advances under the LOC as agreed under the tenns of the LOC
 Documents and makes no warranties or representations in connection therewith. No claim may be
 made by the Borrower or any other Person against the Lender or the Affiliates, directors, officers,
 employees, attorneys, or agents of the Lender for any damages other than actual compensatory
 damages in respect of any claim for breach of contract or any other theory of liability arising out
 of or related to the transactions contemplated by this Agreement, or any act, omission or event
 occurring in connection therewith; and the Borrower and Lender hereby, to the fullest extent
 permitted under applicable law, waive, release and agree not to sue or counterclaim upon any such
 claim for any special, indirect, consequential or punitive damages, whether or not accrued and
 whether or not known or suspected to exist in their favor and regardless of whether Lender has
 been advised of the likelihood of such loss of damage. Borrower further agrees that, in the event
 of a delay in funding by the wholesale lender that causes a delay in funding from Lender to
 Borrower, Borrower shall not file for arbitration or otherwise pursue legal claims against Lender
 for such delay to the extent Lender takes reasonable steps to pursue claims it may have against the
 wholesale lender; provided, further, that this provision is superseded by the limitations of liability
 otherwise provided for in this Agreement and is not intended to create any rights in favor of
 Borrower.

          Section 14.2. Publicity. Lender and Borrower shall have the right to issue periodic news
 releases concerning the Project and its financing in such form as mutually approved by each of
 them, such approval not to be unreasonably withheld. The lender shall have the right to indicate
 that it bas provided the financing for the Project.

        Section 14.3. Confidentialitv. Borrower agrees that the specific terms ofthis Agreement,
 the LOC, and the related terms regarding Lender's agreement to fund the Project, including
 Lender's related entities, partners, subsidiaries, and vendors are proprietary, and Borrower hereby
 agrees to maintain confidential this Agreement, the LOC documents, and any information
 disclosed by Lender related to the terms upon which funding of the LOC is to take place.
 Borrower's disclosure of confidential terms shall constitute a material breach of this Agreement,
 and will subject Borrower to injunctive relief, pecuniary damages, or other remedies available to
 Lender in law or at equity. All such remedies are cumulative.

         Section 14.4. Responsibility for Application of Funds. Lender shall have no obligation
 to see that funds advanced under the LOC are used for the purpose outlined in this Agreement.
 Borrower shall be fully responsible for the proper application according to the terms of this
 Agreement of funds advanced under this Agreement. The lender may rely solely upon the
 Borrower's requests for Advances, affidavits, statements, and reports in making said Advances,
 and the Borrower does hereby release and indemnify the Lender and hold the Lender harmless
 from any losses, claims, demands, or expenses which may arise or result from misapplication or
 misuse of the LOC proceeds by Borrower or its agents. Borrower's indemnification of Lender shall
 not extend to losses arising from Lender's material breach of this Agreement or Lender's gross
 negligence or willful misconduct (in each case as determined by a court of competent jurisdiction
 in a final and non-appealable decision).

         Section 14.5. Non-Disparagement. Borrower agrees and covenants that Borrower shall
 not at any time make, publish, or communicate to any person or entity or in any public forum any
 defamatory, maliciously false, or disparaging remarks, comments, or statements concerning the

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The lender or its businesses, or any of its employees, officers, or directors, and its existing and
prospective clients, suppliers, investors, and other associated third parties, now or in the future.
For the avoidance of doubt, a breach of this Section l 0.04 sha11 constitute an Event of Default
under Section 7 .02 under which Lender has the right to terminate all obligations under the Loan
Documents under Section 9.0l (b).

         Section 14.6 Opportunitv to Consult with Counsel. Borrower acknowledges that it has
 had an opportunity to consult with and be represented by counsel of Borrower's choosing in the
 review of the Loan Documents, that it has been advised by Lender to do so, that the Borrower is
 fully aware of the contents of the Loan Documents and its legal effect, and that Borrower enters
 into these Loan Documents freely, without duress or coercion, and based on Borrower's
 judgment and wishes and not in reliance upon any representation or promise made by the Lender,
 other than those contained herein.
         Section 14.7 Notices. All notices given under this Agreement, unless otherwise specified
 herein, must be in writing and will be effectively served by: (i) submission through the
 zoomeral.com portal using the Borrower's ZOOMERAL account and (ii) upon delivery or, if sent
 by certified mail, upon the first to occur of receipt by the addressee or the expiration of ninety-six
 (96) hours after deposit in first-class certified United States mail, postage prepaid, return receipt
 requested, or two (2) business days if sent by pre-paid nationally recognized overnight courier
 service, sent to the Party at its address set forth below, or such other address as a Party may
 designate from time to time by written notice given according to this paragraph:

   To Borrower:          North Haven Lodging Partners LLC
                         2517 W Brentridge Street
                         Sioux Fans, SD 57108

   To Lender:            McMann Commercial Lending LLC
                         205 N Michigan Avenue, Ste 8 J 0
                         Chicago, Illinois 60601


         Section 14.8. Applicable Law. This Agreement and, unless otherwise specifically
 provided for therein, each other LOC document, shall be governed by and construed per the laws
 of the State of Illinois and the United States.

        Section 14.9. Successors and Assigns. The terms of this Agreement will bind and benefit
 the successors and assigns of the Parties, provided that except as permitted under the LOC
 Documents, Borrower may not assign this Agreement or any proceeds from the LOC or assign or
 delegate any of its rights or obligations hereunder without the prior written consent of Lender,
 which may be withheld in Lender's sole discretion.

        Section 14.10. Severability. The invalidity or unenforceability of any one or more of the
 provisions of this Agreement will in no way affect any other provision, except that if a condition
 to an Advance is held to be illegal or invalid, Lender will not be required to make the Advance
 which was the subject of that condition. Jn the event of any conflict or inconsistency between the
 terms and provisions of this Agreement and any of tbe LOC Documents, the terms and provisions
 ofthis Agreement shall control.


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        Section 14.11. Amendments. This Agreement may not be modified or amended except by
a written agreement signed by the Borrower and Lender.

       Section 14.12. Headings; Attachments. The several headings to articles, sections, and
subsections herein are inserted for convenience only and shall be ignored in interpreting the
provisions of this Agreement. Each schedule or exhibit attached to this Agreement shall be
incorporated herein and shall be deemed to be a part thereof.

        Section 14.13. No Third-Party Rights. This Agreement is made entirely for the benefit
of the Borrower, the Lender, and their successors in interest (including any participants). No
third party shall have any rights hereunder.

        Section 14.14. Indemnification. The Borrower agrees to defend, indemnify and hold
harmless the Lender (and its affiliates, officers, directors, attorneys, agents and employees) from
and against any and all liabilities, obligations, losses, damages, penalties, actions, judgments,
suits, costs, expenses (including attorneys' fees), or disbursements of any kind or nature
whatsoever that may be imposed on, incurred by or asserted against the Lender in
connection with any investigative, administrative or judicial proceeding (whether or not the
Lender shall be designated a party thereto) or any other claim by any Person relating to or arising
out of the Project, the LOC Documents or any actual or proposed use of proceeds of the
Advances, or any activities of the Borrower or its affiliates; provided that the Lender shall not
have the right to be indemnified under this Section 14.12 for its own gross negligence or willful
misconduct, as determined by a final and non-appealable decision in arbitration as for any
dispute between the Parties, or by judgment of a court of competent jurisdiction when such
dispute involves another third party Person. All obligations provided for in this Section 14.12
shall survive any termination of this Agreement. The Borrower hereby agrees to indemnify,
defend and hold harmless the Lender, the managers of the Lender, and all of their members,
managers, affiliates, and advisors, from any damages, losses, liabilities, costs, and
expenses (including reasonable attorneys' fees and costs) that they may incur because
Borrower failed to fulfill all of the terms and conditions of this agreement or because of the
untruth or inaccuracy of any of the representations, warranties or agreements contained
herein or in any other documents the Borrower has furnished to any of the foregoing
in connection with this transaction. This indemnification includes, but is not limited
to, any damages, losses, liabilities, costs, and expenses (including attorneys' fees and
costs) incurred by Lender, the managing members of Lender, or any of its members,
managers, affiliates, or advisors, defending against any alleged violation of federal or state
securities laws which is based upon or related to any untruth or inaccuracy of any of the
representations, warranties or agreements contained herein or in any other documents the
Borrower has furnished in connection with this transaction.

         Section 14.15. General Limitation of Liability. No claim may be made by the
 Borrower or any other Person against the Lender or the affiliates, directors, officers, employees,
 attorneys, or agents of the Lender for any damages other than actual compensatory damages in
 respect of any claim for breach of contract or any other theory of liability arising out of or
 related to the



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transactions contemplated by this Agreement or any of the LOC Documents, or any act,
omission, or event occurring in connection therewith; and the Borrower and Lender hereby, to
the fullest extent permitted under applicable law, waive, release and agree not to sue or
counterclaim upon any such claim for any special, indirect, consequential or punitive damages,
whether or not accrued and whether or not known or suspected to exist in their favor and
regardless of whether Lender has been advised of the likelihood of such loss of damage. lo
addition to the tolling provided under Section 6.3, Borrower further agrees that, in the event of a
delay in funding by the wholesale lender that causes a delay in funding from Lender to Borrower,
Borrower shall not file for arbitration or otherwise pursue legal claims against Lender for such
delay to the extent Lender takes reasonable steps to pursue claims it may have against the
wholesale lender; provided, further, that this provision is superseded by the limitations of
liability otherwise provided for in this Agreement and is not intended to create any rights in favor
of Borrower.

         Section 14.16. Entire Agreement. This Agreement, the Promissory Note, and any other
 LOC Document or other agreement, document, or instrument attached hereto or executed on or
 as of the Closing Date integrate all of the terms and conditions mentioned herein or incidental
 hereto and supersede all oral representations and negotiations and prior writings concerning the
 subject matter hereof.

        Section 14.17. Execution in Counterparts. This Agreement may be executed in any
 number of counterparts and by different parties hereto in separate counterparts, and by facsimile
 or other electronic signature, each of which when so executed together shall constitute the same
 Agreement.

         Section 14.18. Legal Representation of the Parties. The LOC Documents were
 negotiated by the Parties with the benefit of legal representation and any rule of construction or
 interpretation otherwise requiring this Agreement or any other LOC Document to be construed or
 interpreted against any Party shall not apply to any construction or interpretation hereof or thereof.

      Section 14.19. JURY TRIAL WAIVER. THE BORROWER AND THE LENDER, TO
 THE EXTENT PERMITTED BY LAW, HEREBY WAIVE ANY RIGHT TO HAVE A JURY
 PARTICIPATE IN RESOLVING ANY DISPUTE, WHETHER SOUNDING IN CONTRACT,
 TORT, OR OTHERWISE, BETWEEN THE BORROWER AND THE LENDER, ARISING
 OUT OF, IN CONNECTION WITH, RELATED TO, OR INCIDENTAL TO THE
 RELATIONSHIP ESTABLISHED BETWEEN THEM IN CONNECTION WITH THIS
 AGREEMENT OR ANY NOTE OR OTHER INSTRUMENT, DOCUMENT OR
 AGREEMENT EXECUTED OR DELIVERED IN CONNECTION HEREWITH OR THE
 TRANSACTIONS RELATED THERETO.




                   [Remainder ofpage intentionally left blank; Signatures follow]



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                     IN WITNESS WHEREOF, the parties have executed this Agreement as of the
      day and year first written above.


      LENDER: MCMANN COMMERCIAL LENDING LLC

      By:       ~            ~
            Name: Walter P Trock III




                                         Vihang Patel
                                              tq esro b>d/(


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                  EXHIBIT 4
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                          EXHIBIT %
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            BUSINESS EXPANSION LINE OF C          DIT AGREEMENT



                                    among




                  MCMANN COMMERCIAL L

                                  as Lender



                                     and




                       Wallingford Lodging Par~ners LLC
                                  as Borrower I




                                  dated as of

                                Apri l 10, 2023




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               BUSINESS EXPANSION LINE OF CrDIT AGREEMENT

       This Business Expansion Line of Cmlit Agreem'/'t (as the sl e may from time 1-0 time be
amended, restated, or otherwise modified, this "Agreement") is i;nlide and entered as of April
10, 2023, between McMann Commercial LendingLLC ~the ''Lende "), and Wallingford Lodging
Partners LLC., a Connecticut Limited Liability Companl ("BorroJe ").

                                         RECITALS                II
       A.       The Borrower desires to obtain from Lender an a'sset-backed line of credit loan
(the "LOC") in an aggregate principal amount not to exceed Ithe Maximum Amount, as
hereinafter defined.

       B.     The Borrower desires to obtain the. LOd from Lender for Business Expansion for
consouction of a 105-room limited-service hotel (as more fully described in Exhibit D
attached hereto the "Project"). Acquired assets wiJ be legady described on Exhibit E
attached hereto (the "Property").

       C.       The Borrower has agreed to pay a m · imum contribution of the Project LOC
Amount to Lender, by establishing the Interest Reserv (as hereinafter defined) and the ICA (as
hereinafter defined), collectively,(the "Interest ReserJe AccoubtP), within seven (7) calendar
days after the fully executed LOC Documents (as herein fter definbd) are received by Lender.

       D.     The Borrower has agreed to pay, purs ant to Section 3.6 hereof, the aggregate
amount of One Million Eight Hundred Thousand Do lars and No Cents Dollars ($1,800,000),
(the "ICA Payment"), by bank wire to Lender. An iccount oJ1 the books and records of the
Lender shall be created to serve as an Interest Credit Account (the "ICA"). A credit equal to
the ICA Payment shall be noted in the ICA for purpose of satisfyil).g interest payments under the
LOC and upon the terms and conditions set forth herein.

       E.     Lender has agreed to make Advances ( s herein er defined) under the LOC to
Borrower in an aggregate amount, according to Ex1 "bit B, an amount not to exceed the
Maximum Amount for the purposes outlined in these ~ecitals anti rthe Promissory Note attached
hereto as Exhibit A and upon the terms and subject to t9e conditi, ns hereinafter set forth.

              NOW THEREFORE, for valuable consireration, the receipt and sufficiency of
which is hereby acknowledged, Borrower and Lender agree as follows:


                                         ARTICLE 1
                                        DEFINITION

       Section 1.1. Certain Defined Terms. Except s otherwfse provided herein, accounting
terms not specifically defined shall be construed, nd all accounting procedures shall be
performed per generally accepted accounting principles , onsistentty applied. As used in this



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agreement, the following terms have the following mean ·ngs, which apply to both the singular
and plural forms:

        "Advance(s)" means any loan advance made by he Lender per the terms and conditions
of this Agreement.

       "Applicable Interest Rate'' means the fixed inter st rate specified in the Promissory Note.

       "Borrower" means that term as defined in the first paragraph of this Agreement.

        "Business Expansion" means any transaction o use, incl ding for working capital, tbat
relates to the expansion of the business of the Borro"T'er, or series of related transactions for
the purpose of or resulting, directly or indirectly, in (a) tlhe expansion by the Borrower or any of
its subsidiaries of all or substantially any and all asse~s, or of any business or division, (b)
the expansion by the Borrower or any of its sub idiaries of capital stock, partnership
interests, membership interests or equity, or otherwi~e causinf any business to become a
subsidiary of the Borrower or (c) a merger or consoli!ation or l ny other combination by the
Borrower or any of its subsidiaries with another Person!r business (other than a Person that is a
subsidiary) provided that the Borrower (or a Pers n that stcceeds to the Borrower in
connection with such transaction or series of relate transacrons) or a subsidiary of the
Borrower (or a Person that becomes a subsidiary of the~orrower ~s a result of such transaction)
is the surviving entity; provided that any Person that is a subsid~ary at the time of execution
of the definitive agreement related to any such transa tion or series of related transactions (or,
in the case of a tender offer or similar transaction, at he time of !filing of the definitive offer
document) shall constitute a subsidiary for purposes of . ·s definition even if in connection with
such transaction or series of related transactions, subh Person becomes a direct or indirect
holding company of the Borrower.                             I
       "Business Plan" means the document(s) outl~g the accurate and up-to-date business
operations of the End-Bonower, as previously providetl by End-Borrower, substantially in the
form outlined in EXHIBIT D, and subject to review by ender's Capital Partners as described in
Section 8 .1 of this Agreement.                               I
      "Closing Date" means the last date of signed ex cution of this Agreement by Lender and
Borrower.

        "Collateral" means all property securing repay ent of the obligations of Borrower under
this Agreement, as such collateral is evidenced by a Seburity Do ument, including all additions
thereto, replacements, and proceeds, thereof.                    I
       "Event(s) of Default" means any event or condi t n that shal~ constitute an event of default
as described in Article 13 of this Agreement.
       "ICA" means the definition given in Recital D orthis Agreement.

       "ICA Payment" means the amount remitted pur ant to Recital D of this Agreement.




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        "Interest Reserve" means credit on the books L d recor s of the Lender as an interest
                                                       1
reserve on Advances under the LOC. This credit is pr vided onjehalf of the Borrower when
there is a contribution from a Borrower JV Partner, re eived by he Lender. When there is no
such contribution, the Interest Reserve exists wi        no ere ·t available. This credit is
simultaneously created when the lCA is established.

       "Interest Reserve Account" means the definitio given in Recital C of this

       Agreement.

       "Lender" means that term as defined in the first aragraph of this Agreement.

       "Lender's Capital Partners" means one or mor lender-clients of the Lender

       providing funding towards the LOC.

       "LOC" means that term as defined in Recital Ao this Agreement.

       "LOC Disbursement Account" means that term as defined in Section 3.12 hereof.

        "LOC Document(s)" means, collectively, this Agreemebt, the Promissory Note, and
each Security Document, as any of the foregoing may , rom time to time be amended, restated,
or otherwise modified or replaced, and any other documrt delivered pursuant thereto.

       "Maximum Amount" means Eighteen Million ~ ine Hundred Thousand Dollars and No
Cents ($18,900,000). The Maximum Amount is the Proj ct LOC Amount plus all fees, costs, and
expenses which are the Borrower's responsibility to pay.

        "Organizational Documents" means, conce • g any Person (other than an individual),
such Person's Articles (Certificate) of Incorporation r equivalent formation documents, and
regulations (Bylaws), operating agreement, JV opera· g agree~ent, partnership agreement or
equivalent governing documents, and any amendments io any of tlie foregoing.

       "Other Taxes" means all present or future s
                                                                    I
                                                             p or documentary taxes or any other
excise, ad valorem or property taxes, goods and service taxes, ha~onized sales taxes and other
sales taxes, use taxes, value added taxes, transfer taxes, charges ot similar taxes or levies arising
from any payment made hereunder or under any other LOC Document, or from the execution,
delivery or enforcement of, or otherwise concernin , this Agreement or any other LOC

Docum~npt.        "                . di 'd l       I      I.     hi          h.
           erson means any m v1 ua , so e proBnetors p, partners tp, JOIDt venture,
                                                                                   . .
unincorporated organization, corporation, limited liability company, unlimited liability company,
                                                           1
institution, trust, estate, governmental authority, or any ther entity.

       "Project" means that term as defined in Recital      of this Agreement.



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        "Project Costs" means the amount of the LOC roceeds/all Advances not to exceed the
Maximum Amount, to be utilized by the Borrower for • plementa~on or execution of the Project
(including but not limited to the payment of taxes, insurf.:ce, and r ]Q items reasonably necessary
for the successful execution of the Project), as more speaifically ol t • ed in the Project budget set
forth on Exhibit C attached hereto.

       "Project LOC Amount"             means Eighteen Million       I
                                                                         ollars and No Cents
($18,000,000).

       "Property" means that term as defined in Recita B of this ~ greement.

      "Promissory Note" means the Promissory Note,           the fom;i attached hereto as
Exhibit A.

       "Security Agreement" means that certain Secu1ty Agreement, dated as of the Closing
Date, executed by the Borrower in favor of Lender, in the form attached hereto as Exhibit E.

        "Security Document" means each security agrel ment (in9luding, without limitation, the
Security Agreement) each pledge agreement, each intellf ctual property security agreement, each
control agreement, each mortgage, each U.C.C. Finanding State:lnent or similar filing filed in
connection herewith or perfecting any interest created in lany of thelforegoing documents, and any
other document pursuant to which any lien is granted by any PersoF to Lender, as security for the
obligations under this Agreement or the Promissory Npte, or anf art thereof, and each other
agreement executed or provided to the Lender in conne tion with any of the foregoing, as any of
the foregoing may from time to time be amended, restated or otherwise modified or replaced.

        "Scheduled Maturity Date" means the 10th nniversary of the Closing Date, as the
  same be extended pursuant to Section 3.2 hereof.

          "Subsidiary" means any entity (other than e Borro er) in an unbroken chain of
                                                                    1
  entities beginning with the Borrower if each of the entifies owns stock, units, or other interests
                                                                    1
  that represent fifty percent (50%) or more of the total ombined vloting power of all classes of
  stock in one of the other corporations in such chain                I

         "Taxes" means all present or future taxes of any kind, eluding, but not limited to,
 levies, imposts, duties, assessments, surtaxes, cbarJes, fees, deductions or withholdings
                                                          1
 (including backup withholding), or other charges now or hereaft r imposed, levied, collected,
                                                                     1
 withheld or assessed by any governmental authority (together with any interest, penalties, fines,
 additions to taxes or similar liabilities with respect ~breto); provided that "Taxes" shall not
 include, concerning those imposed on Lender, incorpe, capital gain, sales, use, franchise,
 excise, taxes or withholding on account of foreign investment in the United States or other taxes
 on Lender or the revenues derived by Lender conce, g the LOC.

          "Term Sheet" means that document(s) dated as of 3/ 14/2023 between Borrower and
  Lender, setting forth a general summary of the terms of agreement memorialized more fully
  herein in final form.

        "Tranche Schedule" means the schedule of Adv nces to Br owers from the Lender, based

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upon the dates of the disbursements attached hereto as xhibit B; provided that Borrower may
request in writing to Lender adjustments to the Tranche S hedule (so long as the aggregate amount
of all Advances thereunder does not exceed the Maxim        Amo t), with any such adjustments
subject to the approval of Lender in its sole discretion.


     "UCC" means the Unifonn Commercial Code as in effe t from J e to time in the State of Illinois or, when the
laws of any other state govern the method or manner of the ~erfection Jr enforcement of any security interest in any
                                                                      tJ
of the Collateral, the Uniform Commercial Code as in effect om time time in such state.

                                             ARTICLE2                  I
                                            THE CREDIT

      Section 2.1. Line of Credit Amount. Subje t to the ~erms and conditions of this
                                                         1
Agreement, Lender agrees to make Advances to the Bf rrower ubder the LOC in an aggregate
amount not to exceed the Maximum Amount. The bligation of Borrower to repay such
Advances, with interest thereon, shall be evidenced by t e Promisso7 Note.

       Section 2.2. Line of Credit Documents. The bligatio of the Borrower to repay the
Advances under the LOC shall be evidenced by the Pr missory Note, this Agreement, and each
Security Document. The LOC shall be secured by the OC Docu buts, all of which shall be in
form and substance satisfactory to the Lender and its co sel.


                                       ARTICLE3
                             TERM, INTEREST, AND AYMEN;TS

         Section 3.1. Initial Term. The initial term of the LOG is Ten (10) years and shall
  commence on the Closing Date and expire on the Sqheduled Maturity Date. The aggregate
  outstanding amount of all Advances and any accrue& but unpaid interest and fees shall be
  payable in full thereon and all other amounts due and ow1; hereunder and under the
  Promissory Note shall be repaid by Borrower on the Sj heduled aturity Date.
                                                                       I
        Section 3.2. Extended Term. At the end of the nitial term outlined in Section 3.1 hereof,
and at the end of each Extended Term (as defined below, if any), proyided the LOC is not then and
has not been in default beyond any applicable notice a~d cure pefiod, and Borrower has been in
full compliance with the terms and conditions of the LO~ Documeqts, and Lender has not provided
Borrower notice that an event then exists which, over fuµe, the giving of notice and the expiration
                                                                   1
of any cure period would become an Event of Default, and furthe1provided that all conditions to
extension set forth below are fully satisfied, Borrower flay elect o extend the term of the LOC
and this Agreement for an additional twenty-four (24) rrionth peri d, up to a total of one (1) such
additional consecutive periods (separately, "Extende~ Term"r collectively, the "Extended
Terms"). In connection with Lender's granting of each    I
                                                             Extenoed Term, (a) Borrower shall
execute all documents which Lender, in its reasonable discretion, deems necessary to implement
such extension, and (b) Borrower will pay all reasonable costs and expenses incurred by Lender
in connection with such extension, including but not r 1 ·ted to Lender's attorney's fees, as a one
(1)-time fee equal to one percent (1 %) of the Project L C Amoun~.


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       Section 3.3. :!\.pplicable Interest Period. The terest plod concerning each Advance
under the LOC shall be the period commencing on the d te such Ajdyance was made to Borrower
by Lender, which shall commence the date such funds web1 e withdrawn  by Borrower from the LOC
                                                                  I I
Disbursement Account, and continuing until such Adva~ e is repar full.F
        Section 3.4. Interest Rate CalcuJation. Interes shall be f a~culated based on a 365-day
year and the actual number of days elapsed in a 365- , ay year i nd at the rate outlined in the
Promissory Note (the "Applicable Interest Rate"). TheJ·1terest rate payable on Advances shall be
subject, however, to the limitation that such interest rate hall nevet exceed the highest rate which
the Borrower may contract to pay under applicable law ( e "Max.inillf Interest Rate"). If Lender
shall receive interest in an amount that exceeds the Ma imum Inferest Rate, the excess interest
shall be applied to the unpaid principal balance outstan • g undJ the Promissory Note or, if it
exceeds such unpaid principal, refunded to the Borrower

        Section 3.5. l1nterest Payments. Interest on the o tstandin ,principal balance of Advances
under the LOC shall be paid from the Interest Reserve Account at the rate and at the times outlined
in the Promissory Nolte. Such interest payments shall be deducted b~ lender (a) first from the ICA
until such funds are depleted, and (b) second, from the Inter st Reserve. Interest shall be
calculated on Advances made from the date of each Adv nee.

         Section 3.6. Reserves. Following the signing of this ::Jgreement, the Borrower shall
remit One Million Eight Hundred Thousand Dollars 1nd No Cents ($1,800,000) as the TCA
Payment per the terms and the time outlined in Recital ~ of this Ar.eement. Upon the funding of
the first Advance under the Tranche Schedule, the ICA shall remain part of the Interest Reserve
Account and subject to the provisions of this A · eement, and not refundable to the
Borrower unless otherwise specifically provided for inl ' is Agree bnt. All credits to the Interest
Reserve Account shall be used, absent the occurrence of an Evf t of Default, for purposes of
payment on interest payable on the Advances as and hen such • terest payments are due and
payable.

        Section 3.7. grepayment. The borrower may, wi out pent ty, prepay all or any portion
of the outstanding principal balance of the LOC.

       Section 3.8. Interest Credit Account. If at an time, no I alance remains in the Interest
Reserve Account (having been applied as provided in t1fsI Agreement), upon notice from Lender
to Borrower, which notice shall be delivered to and rece ved by B~rrower no less than thirty (30)
days before the date of the next interest payment date Borrowe shall remit into the ICA the
funds necessary to make such interest paid before th date sue interest payment is due and
payableSection 3.9. Fees.
              (a,) LOC Fee. At Closing and out of the initial Advance, the Borrower shall pay
                   Lender a nonrefundable fee for the L C in an ~ggregate amount equal to Five
                   percent (5%) multiplied by the ProjeJt LOC Aipount, which is equal to Nine
                   HULndred Thousand Dollars and Nol Cents ($~00,000) (the "LOC Fee"). The
                   LOC Fee has been fully earned by Lendler and is due and payable in full to Lender
                   commensurate with the fonding of, add from tlie proceeds of, the first Advance
                   under the Tranche Schedule, without co 1tiition. J




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              (b) Promote Fee. At Closing and out oft~e initial ~ bvance, the Borrower shall pay
                  Lender a nomefundable success fee j in an aggr~gate amount equal to One
                  percent (1 %) multiplied by the ProJect L0C !Amount, which is One
                  Hundred Eighty Thousand Dollars and, Cents ($~80,000) (the "Promote Fee").
                  The Promote Fee has been fully earned b11Lender antl is due and payable in full to

                                                          t·
                  Lender commensurate with the funding of, and frorri the proceeds of, the first
                                                                    I
                  Advance under the Tranche Schedule, thout co dition.

               (c) ICA Advance Fee. To the extent the orrower J ed Lender to provide the
                   ICA Payment, at Closing and out oft e initial 11dvance, the Borrower shall
                   reimburse Lender in an amount equ l to the IOA Payment advanced by
                   Lender plus a nonrefundable fee in a aggregatd amount equal to
                   Zero percent (0%) of the ICA Payme t, which i!I No Dollars and No Cents
                   Dollars($-) (the "ICA Advance Fee"I. The IC1- Advance Fee has been fully
                   earned by Lender and is due and paya le in full 1101Lender commensurate with
                   the funding of, and from the proceeds of, the first Advance under the Tranche
                   Schedule, without condition. Thebo ower will ake the Project L0C Amount
                   in full on the closing of the first trancr .


        Section 3.10. Line of Credit Extension Fees. i onctmen ly with the commencement of
each Extended Term, if any, Borrower shall pay to the Lender, Ion the first date of each such
Extended Term, a nonrefundable L0C extension fee fo!ach extension in an aggregate amount
equal to one percent (1 %) multiplied by the Maximum    ount. I

        Section 3.11. Legal and Incidental Fees, Ch~rges, and Costs. Borrower shall pay at
Closing, all reasonable out of pocket and up to Twelv~ Thousadd, Five Hundred U.S. Dollars
($12,500) for legal fees, recording and filing fees, documentary hamps, taxes, service charges,
credit reports, UCC search costs, title company fees a4d costs, third party paymaster fees and
adminjstrative expenses, attorneys' fees and expenses, and all oth~r charges or expenses incurred
by Lender including adminjstrative fees and expenses i(a) in connection with the L0C, (b) in
connection with efforts to collect any amount due under 1e L0C, of (c) in any action or proceeding
to enforce the provisions of any of the L0C Documents, mcluding those incurred in post-judgment
collection efforts and in any bankruptcy proceeding (including any action for relief from the
automatic stay of any bankruptcy proceeding) or judicialjor non-judicial proceeding; provided that
Lender will provide Borrower ten (10) days' advance f .otice of 1ny legal fees pursuant to this
Section 3.11 that will exceed Twelve Thousand, Five r undred Ul .S. Dollars ($12,500). Lender
shall not be required to pay any premium or other chargf or any brokerage fee or commission or
similar compensation in connection with the L0C ol with satisfying the conditions of any
commitment for standby or permanent financing. Borre er herebt agrees to indemnify and hold
Lender harmless against and from all claims for such ees, conulnissions, and compensation in
connection with the L0C; provided that Lender shall ndt have th~ right to be indemnified under
this Section 3. 11 for its own gross negligence or willful ·sconduct.

                                                                      II
       Section 3.12. Line of Credit Disbursement A!ccount. he proceeds of each Advance
                                                                    1
under the L0C shall be advanced into the L0C Disbursdment Account with Lender to be used by
Borrower for payment of the Borrower's Project Costs, i olely for fue purposes and in the manner

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outlined in this Agreement. The LOC Disbursement Ac , ouut will,be held jointly in the name of
the Borrower and Lender. Borrower hereby irrevocablyjassigns to Lender as additional security
for repayment of the LOC, all of Borrower's rights and interest in land to the LOC Disbursement
Account, which assignment will be effective only upo4 the occurrence and continuation of an
                                                                   I
Event of Default, subject to an applicable Default Cure eriod (as ereinafter define_d).


       Section 3.13. Taxes.
        (a)      All payments made by the Borrower under any LO I Document shall be made free
,md clear of, and without deduction or withholding for orl n accom:lt of, any Taxes or Other Taxes.
If any Taxes or Other Taxes are required to be deducted r withhel~ from any amounts payable to
Lender hereunder, the amounts so payable to Lender sh 11 be incrdased to the extent necessary to
yield to the Lender (after deducting, withholding, and ayment ~fall Taxes and Other Taxes,
including such deductions, withholdings and payments of Taxes bd   I
                                                                         Other Taxes applicable to
other sums payable under this Section 3.13) interest or y such o er amounts payable hereunder
at the rates or in the amounts specified in the LOC Docu ents.

        (b)    Whenever any Taxes or Other Taxes are required o be withheld and paid by the
Borrower, the Borrower shall timely withhold and pay such taxek to the relevant governmental
authorities. As promptly as possible thereafter, the B01r wer shall send to the Lender a certified
copy of an original official receipt received by the Bo ower shoting payment thereof or other
evidence of payment reasonably acceptable to the Len er. If the r-'orrower shall fail to pay any
Taxes or OtherTaxes when due to the appropriate goveqnmental authority or fails to remit to the
Lender the required receipts or other required docillllentary ~vidence, the Borrower sball
indemnify Lender on demand for any incremental Taxds or Othet Taxes paid or payable by the
Lender as a result of any such failure.

     (c)    The agreements in this Section 3 .13 sh 11 surviv the termination of the LOC
Documents and the payment of the Advances and all other amounts payable under the LOC
Documents.




                                   ARTICLE4
                   CONDITIONS FOR CLOSING                   DISB
                                                                 +    EMENT

       The obligation of Lender to provide the LOC ai d make 'f.Y Advance hereunder will be
:mbject to the satisfaction, at Borrower's cost and expe se, of ea ,h of the following conditions,
unless waived by Lender in writing:


        Section 4.1.   Delivery of the LOC Document .

               (a)    As of the Closing Date, BorrowL shall have executed and delivered to
L ender in a manner satisfactory to Lender all of the LOC Documents.

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              (b)    The Borrower shall have de1ive ed to the Lender an executed Control
Agreement (as defined in the Security Agreement), £ r each P yment Account and Security
Account (both as defined under UCC § 9-102 and as futther deJ1ed in the Security Agreement)
maintained by the Borrower.                               I
                (c)    Contemporaneously with Borrow9r's acquis tion of the Property, Borrower
shall have delivered an executed and notarized mortgage or deed f trust in form and substance
required by Lender granting Lender a priority lien and sdcurity interest in and to the Property (the
"Security Instrument"), and such Security Instrumen~ shall be bromptly recorded in the real
property records of the county in which such real propt is loc~ted. If required by Lender, (i)
the closing of such Advance and recording of the Securi Instrument shall be completed through
the services of a title company chosen by Lender, an , (ii) sue~ title company shall issue, at
Borrower's expense and for the benefit of Lender, a loa policy ol title insurance concerning the
Property. For the avoidance of doubt, this Section 4 l(c) shal riot operate to preclude any
Advances to the Borrower to fund pre-acquisition costs.               I
                                                                    1


        Section 4.2. Authority. On the Closing Date, t 1e Borrmyet shall have delivered to the
Lender an officer's certificate (or comparable docurneyt) certifytnk ilie names of the officers,
members, or managers of the Borrower authorized to si~ the Log Documents, together with the
true signatures of such Persons and certified copies of(~~ the resolf tions of the board of directors
(or comparable document) of the Borrower evidencing approval 0f the execution, delivery, and
                                                         1
performance of the LOC Documents and the consummation of !the transactions contemplated
thereby, (b) the Organizational Documents of the Borro~ er (including, if applicable, copies of the
partnership and corporate documentation of each of the &eneral pahners or members of Borrower
and copies of all equity participation agreements), and ( ) a conte ! poraneous certificate of good
standing concerning the Borrower.

         Section 4.3. Liens. The Project is free from   arr prior liens. All taxes and assessments
affecting the Project many part thereof due and payabl~ (includin~ without linritation any taxes)
have been paid. The Project is not impaired by any existr,g undisclosed covenants, conditions, or
restrictions. At the request of the Lender, the Borrower Fhall (i) dbliver to the Lender the results
of UCC lien searches, satisfactory to the Lender, (ii) fue results J federal and state tax lien and
judicial lien searches and pending litigation and bankruptcy searc6es,
                                                                     I
                                                                         in each case satisfactory to
the Lender, and (iii) UCC or other lien termination statements re~ecting termination of all liens
previously filed by any Person and not expressly per I itted pursuant to the LOC Documents.
Borrower agrees that no lien, other than as required by t •s Agree I ent and the LOC Documents,
shall be placed on the Property, the Project, or any Collatera without fue express written
permission of Lender.

        Section 4.4. Litigation. As of the Closing Date nd as oft e date of each Advance, there
                                                                   0
shall be no material Litigation pending against Borrow 1r which Lender's reasonable business
judgment materially affects Borrower's ability to perfo all of the terms and provisions of this
Agreement.                                                       I
      Section 4.5. Events of Default. As of the Closing Date and as of the date of each Advance,
no Event of Default shall have occurred and be continuin , and the orrower shall otherwise be in

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full compliance with the terms and provisions of this Ag ement.

       Section 4.6. Purchase and Agreement Contracts. Len er shall receive copies of a11
material contracts entered in connection with the Prope~ and the r uoject, and all other contracts
material to the Borrower's operations and/or properties. ,         I
       Section 4.7. Com Hance with Certain Re uirements. ender shall receive evidence
reasonably satisfactory to Lender that the business is in material bompliance with all applicable
                                                                     I
laws, regulations, ordinances, conditions, reservatiops, and estrictions imposed on the
business(es) under local, state, federal, and internationai laws, pr , cedures, statutes, regulations,
and ordinances, conditions applicable to the Project.

        Section 4.8. Evidence of Insurance.
        (a)     For the period beginning with the exec tion of , is Agreement and continuing
throughout the term of the LOC, Borrower shall take dut, pay fi r, and will keep in full force,
property and liability insurance on the Borrower and Ithe Proje6t against such risks, in such
amounts, and with such lenders' loss payable and additi~nal insur~d clauses and endorsements as
shall be satisfactory to Lender and otherwise customaril)j carried br businesses of similar size and
character that of the business of the Borrower, and !Borrower fhall furnish Lender with the
satisfactory evidence of such underlying Borrower insuiance and promptly notify Lender of any
changes to such insurance. Borrower shall include Lep,der as at additional insured under all
insurance policies applicable to the Project and the Propd:rty.
       (b)      Within five (5) business ofreceipt of End-B 1rrower ins ance pursuant to Section 4.8(a),
Lender shall acknowledge receipt and communicate to Borro er the app ,oval and sufficiency of such End-
Borrowers certificate of insurance.                                    I
       Section 4.9. Financial Statements. The lender shall have received all financial reports
required by Section 8.6 hereof.                               I
       Section 4.10. Business Pro Forma. The lender shall re , eive a pro forma income and
expense statement annually in connection with the Project.

       Section 4.11. Management Plan. Lender shall receive a detailed management plan,
concurrently with delivery of the annual financials required pursuant to Section 8.6 hereof, which
will consist of the business operation, and budget for all 1expenses bf Borrower's business.

       Section 4.12. Material Change. Throughout th term oft e LOC, Borrower shall advise
Lender of any material change in conditions affecting th6 Borrower's ability to perfonn under this
Agreement or the Project that would materially alter the documentation and information submitted
by Borrower to satisfy the above conditions precedent bd will shbmit amended documentation
                                                                  1
and information reflecting these changed conditions for the
                                                         I
                                                            reason ble approval of Lender.

        Section 4.13. Non-Subordination. Under this Agreement the payment and performance
obligations of the Borrower and/or its subsidiaries sliall never put the Lender in a position
subordinate to any indebtedness owing to any other c editor of he Borrower and/or any such
Subsidiary (excepting interim obligations for labor and materials incurred in the normal course of
development and construction of the Project, which o higations I ill be timely satisfied in the

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normal and reasonable management of the Project).                     I
       Section 4.14. Securitization. The lender may in its sole discretion securitize the LOC
funding through an insurer of its choosing. Should Lentler decide to securitize this transaction,
                                                                 1
Borrower agrees to cooperate with any preliminary de errninatio or reasonable due diligence
required by the insurer.

                                       ARTICLES
                            USE OF LINE OF CREDIT PROCE

       Section 5.1.    Project Costs: Business Expansi n Costs. ~

       (a)     Proceeds of Advances under the LOC ball be u ilized by Borrower solely to
finance the Project Costs, as more fully described in the attached xhibit C, in connection with
Borrower Business Expansion as further detailed rn e Busirless Plan, updated yearly by
Borrower.

        (b)
                                                                       I
               The proceeds of the LOC shall be used e lusively for the purposes outlined in this
Agreement. Borrower warrants and represents that the us of the LOC proceeds as set forth herein
is for business and commercial purposes only and that lthe LOC 1p~oceeds will not be used for
personal, family, or household purposes. The borrowe will not, directly or indirectly, use the
proceeds of the Advances under the LOC, or lend, contribute, or ?tberwise make available such
proceeds to any joint venture partner or other Person, (i to fund any activities or business of or
with any Person, or in any country or territory, that, a the time of such funding, is, or whose
government is, the subject of Sanctions, or (ii) in any oth . r manner lliat would result in a violation
of Sanctions by any Person.

                                            ARTICLE6
                                           INSPECTION       I
        Section 6.1. Project Inspection. Lender, through ·ts officers, agents, contractors, affiliates,
or employees, shall have the right, at all reasonable times during business hours upon fifteen (15)
days prior written notice to Borrower to enter on-site offices of the Project site and to inspect the
operations in connection with the Project; provided that the foregoing inspections shall be limited
to twice per year absent the occurrence of an Event of D fault.

       Section 6.2. Books and Records. Lender shall ave the right, at all reasonable times, to
examine the books, records, accounting data, and other documents of Borrower about the Project,
the Property, and the Borrower and to make extracts thertom or copies thereof.

        Sectio~ 6.3. Force Maje~re_Event Inspection ·gbt._ 1njthe event of a Force Maj:~e
                                                          1
Event (as herernafter defined) which mterrupts, stops, or ©therw1se impedes the Borrower's ability
to continue with the Project, upon notice by Borrower to ender in riting of such Force Majeure
Event occurrence, Lender shall have the right to periotlically inspect the Project, surrounding
conditions, and interview employees, contractors, vendors involved in the development of the
Project until Lender is satisfied with Borrower's ability to resume operations to develop the
Project. Following a Force Majeure Event, Lender bas the right to modify the terms upon which
future Advances may be made as a result of a change!in circucistances as determined by the
Lender

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in Lender's sole discretion, that the Borrower can per prm or continue to perform the Project
scope of work. Borrower shall execute any additiohal doc ents, amendments, or other
agreement of terms required by Lender, before Lender's bbligation to continue to make Advances
shall resume.

                                   ARTICLE?
                                ADVANCE OF FUNDS

        Section 7.1. Timing and Advances to Payee. AdvancesI
                                                                       ill be made as outlined in the
Tranche Schedule and shall be transferred into the LO~ Disburs~ent Account. So long as all
conditions precedent to an Advance has been met pursuaht to the te s of this Agreement, Lender
agrees that the first Advance will be funded no later than I eventy-fi e (7 5) calendar days following
the opening of the ICA by the Lender with its wholesale lender. Dender shall deliver the written
notice to Borrower of the commencement of such seVienty-five 1('75)-day period. Lender shall
deliver the written notice to Borrower via the Z I OMEJ messaging system of the
commencement of such seventy-five (75)-day period.

      Section 7.2. Conditions Precedent to Advance Fund . Lender's obligation to make
Advances hereunder shall be conditioned upon fulfillme t of the tet s outlined in Article 4 hereof.

         Section 7.3. Unpaid Lien Claims. lf Lender receives notice of nonpayment from a
I?otential lien claimant or a lien is filed that is not insur~d over, or if contested then offset with a
segregated loss reserve account, or until the potential lien claim nt acknowledges payment or
otherwise rescinds its notice in such form and with sucj other ac+owledgments as Lender may
require, per applicable law, Lender, at its option may (a] refuse to Jmake any further Advances to
Borrower, or (b) withhold one hundred percent (100%) of the liep amount claimed from future
Advances.                                                               I

        Section 7.4. Mandatory Advances. Notwithsta ding any other term or provision of this
Agreement, it is understood that interest on Advances under the L C shall be paid from the ICA
                                                                      ?
and that such method of interest payment is mandato111 and not ptional. If Lender agrees that
Borrower may pay the interest directly, Lender shall ha~e the right to advance the LOC proceeds
to pay said interest if not otherwise paid when due. If th LOC ft.rn;ds allocated for these purposes
                                                           1
are depleted, Borrower is not relieved from paying direcey when due these or any other expenses
or amounts required under the terms of this Agreement or any othe~ LOC Document.

                                    ARTICLES       I
                        BORROWER'S AFFIRMATl E COVENANTS
                                                                      I
         As a material inducement to Lender to make the LOC to Borrower, and until payment in
full of the Advances and other amounts outstanding under the LOC and performance of all other
obligations of Borrower under the LOC Documents, Bdrrower a 1rees to do all of the following
unless Lender shall otherwise consent in writing:           I
     Section 8.1. Project. (a) Complete, on an ongoing basis, a,l due diligence required or necessary in
connection with the Project, and (b) be the entity that is the counterparty to each material primary contract
and agreement related to (i) the Project and (ii) the development, construction, operation, and management
of the Project.

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     Section 8.2. Compliance with Laws. Comply with and provide o Lender upon Lender's reasonable request
evidence of material compliance with, all applicable state, local fede al and international laws, procedures, acts,
ordinances, and regulations applicable to the Project.

       Section 8.3. Compliance with Documents. Perform and cimply with all the terms and
conditions of this Agreement and the other LOC Documents.

        Section 8.4. Books and Records. Keep and maintain co lete and accurate books of
account, per generally accepted accounting principles consistently applied, reflecting all financial
transactions of the Borrower and the Project.                        j

        Section 8.5. Payment of Obligations. Pay and discharge before the same shall become
delinquent all material obligations, claims, indebtedness, taxes, an other obligations (except only
those so long as and to the extent that the same shall be contested i! !ood faith by appropriate and
timely proceedings and for which adequate provisions have been established per generally
accepted accounting principles).                           I          11

        Section 8.6. Financial Reports. Deliver to Lender, concerning Borrower as soon as
available and in any event (a) within sixty (60) days after the end 6f each calendar quarter during
the term of the LOC, financial statements of Borrower for such qukrter and (b) within ninety (90)
days after the end of each fiscal year of the Borrower, annuli Ifinancial statements of the
Borrower, in each case of the foregoing, certified as t;rue and correct (which reports shall be
prepared per generally accepted accounting principles consis~ently applied) and operating
statements in a form reasonably satisfactory to Lender, Borrowe~ shall also deliver to Lender,
promptly upon request therefor, such other financial information of the Borrower (and its
subsidiaries, if any) as may reasonably be requested by ender. T~e borrower must also complete
                                                          1
their ZOOMERAL business profile and keep the business profi]e          p
                                                                    ' ] to date throughout the term
of this agreement.                                                     I
        Section 8.7. Notification to Lender. Promptly after le • /g thereof, notify Lender of:
(a) the details of any material action, proceeding, investigation, of dlaim against or affecting the
Borrower, the Property, or the Project instituted before any couh, arbitrator, or governmental
authority or to the Borrower's knowledge threatened in writing tolbe instituted; (b) any material
dispute between Borrower and any governmental authority involv· g or related to the Property or
the Project; (c) any labor controversy which has resulted in or, to the Borrower's knowledge,
threatens to result in a strike or disruption which would reasonably: be expected to have a material
adverse effect on the business of the Borrower of the P~oj ect; (d) the occurrence of any Event of
Default; and (e) any written agreement to purchase any part ofthe JBorrower or the Project or any
application for any refinancing of the LOC.




         Section 8.8. Partnership/Corporate Existence. Preserve and maintain its existence,
rights, franchises, and privileges in the jurisdiction of its formation.

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                                             ARTICLE9
                             BORROWER'S NEGATlf E COVENANTS
        Until payment in full of the Advances under th LOC and the performance of all other
obligations of Borrower under the LOC, and in addition to all oth{r covenants and agreement of
Borrower contained herein or in any other LOC Docum nts, Borrower agrees that unless Lender
shall otherwise consent in writing Borrower shall not:

        Section 9.1. Liquidation, Merger, and Sale of ~ssets. Liquidate, merge, or consolidate
                                                                       1
with any other Person or otherwise transfer to an unrelated Person fifteen percent (15%) or more
of the equity securities of Borrower, or sell, lease or transfer or otherwise dispose of any assets to
any Person other than in the ordinary course of business. Notwithstanding, any initial public
offering or acquisition by another company will require the Lender's approval or full payment of
the outstanding loan balance.

        Section 9.2. Liens. Create or incur any mo~gage, security interest, lien, or other
encumbrance of any kind upon the assets of the Borroweq or constituting the Project or any portion
thereof other than (a) any lien securing indebtedness o"1ing to Leqder, (b) liens for taxes not yet
due or that are being actively contested in good faith by approprif t~ proceedings and for which
adequate reserves shall have been established in accord1nce with [gJnerally accepted accounting
principles, (c) other statutory liens, including, withoutj limitatioq, statutory liens of landlords,
carriers, warehousers, utilities, mechanics, repairmen, workers and material-men, incidental to the
ownership and/or development of the Project that (i) , ere not incurred in connection with the
incurring of indebtedness or the obtaining of advances or credit, and (ii) do not in the aggregate
materially detract from the value of the Borrower's property or assets or the Project, (d) easements
or other minor defects or irregularities in title of the Prop rty not interfering in any material respect
with the use of such property in the development of the Project, and (e) liens existing on the Closing
Date and previously disclosed to and approved by Lendbr (but only to the extent that the amount
of debt secured thereby, and the amount and description of property subject to such liens,shall not
be increased).

        Section 9.3. Indebtedness. Create, incur, or have outstanding any indebtedness of any kind, other
        than (a) indebtedness owing to the Lender under this Agreement and the other LOC Documents, and
        (b) indebtedness of the Borrower existing as of tlie Closing Date as disclosed to and approved by
        the Lender (and any extension, renewal, or refinancing thereof but only to the extent that the
        principal amount thereof does not increase after the Closing Date).

        Section 9.4. Investments, Loans, and Guarantees. (a) Oreate, acquire, or hold any
        subsidiary, (b) make or hold any investment in atly stocks, bonds, or securities of any kind
        (c) be or become a party to any joint venture o~ other pannership, (d) make or keep
        outstanding any advance or loan to any Person, or (e) be or become a guarantor of any kind.


        Section 9.5. Acquisitions. Enter into any transaction or series of related transactions for or
resulting, directly or indirectly, in (a) the acquisition of all or substantially all of the assets of any
Person, or any business or division of any Person, (b) the acquisition of any of the outstanding
capital stock (or other equity interest) of any Person, or (c) the acci.uisition of another


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Person by a merger, amalgamation, or consolidation or any other combination with such Person,
unless specifically stated and approved before execution bf this Agreement.

       Section 9.6. Organizational Documents. (a) Amend its Organizational Documents in any
manner adverse to Lender, or (b) amend its Organizational Documents to change its name or state,
province or other jurisdiction of organization, or its fo of organi±ation.
                                                                    I
       Section 9.7. Project and Project Documents. Willfully or voluntarily abandon the Project or its
       activities to develop, construct, operate, or maintain the Project. If the same would (i) be a major
       decision under the Organizational Documents of Borrower, or (ii) have a material adverse effect on
       the Lender and is not necessary or desirable for continued development of the Project.

               (a) terminate or cancel or consent to or accept any cancellation or termination of;
amend, modify or supplement any provision in any material respect; or grant consent under or
                                                          ot
waive any material default under, or material breach of, material provision of or the performance
of a material obligation by any other Person under, any contracts o;r agreements (A) related to the
Property, (B) between the Borrower and contractors for tpe Project, or (C) otherwise related to the
development, construction, operation, and maintenance of the ProJ~ect, in each case that would
have an adverse effect on the Lender; or

               (b)    sell, assign (other than to Lender) or otherWiise dispose of any of its rights
or interest under, any contracts or agreements (A) related to the Property, (B) between the
Borrower and contractors for the Project, or (C) otherwise related the development, construction,
operation, and maintenance of the Project without Lender's consent, which consent shall not be
unreasonably withheld.

                                             Article 10
                         REPRESENTATIONS AND W ARRA1JTIES

       Borrower hereby represents and warrants to Lender that:      I
        Section 10.1. Validity of Agreement. The Borrower has the right and power and is duly
authorized and empowered to enter, execute and deliver lhe LOC Documents to which it is a party
and to perform and observe the provisions of the LOC Documents. The LOC and the execution,
delivery, and perfonnance of the LOC Documents have been duly authorized by all necessary
action, and when executed and delivered by Borrower will constitute the valid and binding
agreements of Borrower, enforceable per their terms. The execution, delivery, and performance
of the LOC Documents do not conflict with, result in a breach in any of the provisions of,
constitute a default under, or result in the creation of a lien (other than liens permitted under
Section 9.2 hereof) upon any assets or property of the Borrower under the provisions of, the
Borrower's Organizational Documents or any material agreement to which the Borrower is a party.

        Section 10.2. Existing Defaults. As of the date of execution of this Agreement, Borrower
(or any subsidiary of Borrower) is not in material default in the performance or observance of any
material obligation, agreement, covenant, or condition contained in any bond, debenture, note, or
other evidence of indebtedness or in any contract, indenture, mortgage, agreement, lease, or other

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agreement or instrument to which Borrower (or any subsidiary of Borrower) is a party or by which
                                                                         1
it or any of its properties, subsidiaries, partners, or other related en •t s may be bound.


        Section 10.3. No Default in Other Agreements. The execution and delivery and
performance of this Agreement and all other LOC Documents, the incurrence of the obligations
herein set forth, and the consummation of the transactions herein dontemplated, will not result in
                                                                     )

the creation of a lien on any of its property (except the liens created by the LOC Documents), and
will not conflict with, result in a breach of any bond, debenture, note, contract, indenture,
mortgage, lease, or any other evidence of indebtedness, agreement or instrument to which it is a
pa1ty or by which it or any of its properties, subsidiaries, partners or other related entities may be
bound, or result in the violation by it of any law, order, rule, ordin nce, or regulation of any court
                                                                    1
or governmental agency or body having jurisdiction over it or any of its properties, subsidiaries,
partners or other related entities.                                    I

        Section 10.4. No Consents. No consent, approval, authorization, or other acknowledgment
of any court or governmental agency or body, other than those specifically referenced herein, is
required for the consummation by Borrower of any of the transactions contemplated by this
Agreement, except those permits and licenses required in the ordinary course of construction of
the Project.

       Section 10.5. Litigation. There is no mate1ia\ litigation at law or in equity and no
proceedings before any commission or other administrative authority ("Litigation") pending or to
Borrower's knowledge threatened against or affecting Borrowi r, its principals, subsidiaries,
partners, or other related entities, or the Project, except as disclosed to and approved in writing by
Lender. There is no material Litigation currently contemplated, threatened, or pending by Borrower
against any entity or person which would have a material effect on Lender, this Agreement, the
LOC, or the transactions contemplated hereunder. Borrower's faih.lre to timely disclose to Lender
any Litigation that is pending, threatened, or conte.IT\Plated by Borrower as of the date of
Borrower's execution of the LOC Documents shalll constitute a material breach of this
Agreement and shall justify Lender's excuse from the performance of any terms hereof, including
funding of any Advance, until Lender is satisfied that such Litigation has been resolved in
Lender's sole discretion.

        Section 10.6. Financial Statements. All balance sheets, statements of income or loss,
reconciliation of surplus, and financial data of any other kind furnished to Lender by or on behalf
of Borrower are true and correct in a11 material respects, have been prepared per generally
accepted accounting principles consistently applied, and full11 and accurately present the
financial condition of the subjects thereof as of the dates thereof ~nd no material adverse change
has occurred in the financial condition reflected therein since the dates of the most recent thereof.

        Section 10.7. Legal Requirements. The Borrower (a) holds permits, certificates, licenses,
orders, registrations, franchises, authorizations, and other approvals from any governmental
authority necessary for the conduct of its business and is in comp1iance with all applicable laws
relating thereto, and (b) is in compliance with all federal, state, local, or international applicable
statutes, rules, regulations, ordinances, and orders including, without limitation, those relating to

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e:nvironmental protection, occupational safety and health, zoning, and equal employment practices.

        Section 10.8. Taxes. The Borrower has filed all tax returns and reports required of it, has
paid all taxes which are due and payable, and has provided adequate reserves for payment of any
tax whose payment is being contested; the charges, acaruals, and reserves on the books of the
Borrower in respect of taxes for all fiscal periods to date are accurate; and there are no questions
or disputes between the Borrower and any governmental authority concerning any taxes except as
otherwise previously disclosed to the Lender in writing.

                                                                      I
        Section 10.9. Organization and Good Standing. The Borrower is a duly formed or
organized, validly existing, and in good standing under the laws of the State of its formation or
organization as outlined in the first paragraph of this Agreement, and is qualified as a foreign entity
and in good standing in each jurisdiction where the Property and the Project are located.
                                                                      I


        Section 10.10. Insurance. The Borrower maintains with financially sound and reputable
insurers insurance with coverage (including, if applicable, flood rnsurance on all mortgaged
property that is in a Special Flood Hazard Zone, from such providers, on such terms and in such
amounts as required by the Flood Disaster Protection Act as ambnded from time to time or as
otherwise required by Lender) and limits as required by law and as is customary with Persons
engaged in the same business(es) as the Borrower.

               Section 10.11. Accurate and Complete Statements. Neither the LOC Documents
nor any written statement made by the Borrower in connection with any of the LOC Documents
contains any untrue statement of a material fact or omits 'to state a r!naterial fact necessary to make
the statements contained therein or in the LOC Documents not misleading. Lender represents to
Borrower:

       Section 10.12. Timing of Lender Funding. Provided Borrower has met the conditions to
Advances in this Agreement, including without limitation the timing for requests outlined in this
Section, Lender shall fund Advances per under the Tranche Schedule, but in no event anymore
frequently than every sixty (60) day, unless otherwise consented to in writing by Lender. The
borrower must deliver Advance requests to Lender thirty (30) bui iness-banking days before the
week represented on the Tranche Schedule for which the Borrower wishes to receive the
proceeds of such Advance from the LOC Disbursement Account. Upon notice of an Advance
Request from the Borrower, Lender has a forty (40) international1business-banking day window
based on the Tranche Schedule (except for the first Advance Iaccording to Section 7.1) to
Payment the requested Advance into the LOC Disbursement Account. Absent a written Advance
request from Borrower, per the conditions and requii;ements set forth herein, Lender is not
obligated to disburse the next scheduled Advance under the Trancfue Schedule.

                                  ARTICLEll
                  NATURE OF REPRESENTATIONS AND WARRANTIES

        Section 11.1. Generally. The representations and warranties made by Borrower herein and
otherwise in connection with the LOC are and shall remain true and correct in all material respects
as of the Closing Date and as of the date of each Advance, omit no materials facts, and shall survive


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so long as any of Borrower's obligations under the LOC Document have not been satisfied and/or
the LOC or any part thereof shall remain outstanding. Each request by Borrower for an Advance
shall constitute an affirmation that the representations and warranties remain true and correct in
all material respects (or, as to any representations a:nd warranties which are subject to a
materiality qualifier, true and correct in all respects) as of thd date hereof, except for any
representations and warranties that are made as of a specific date. All representations and
warranties made in any document delivered to Lender by or on behalf of Borrower according to
or in connection with the LOC shall be deemed to have been relied upon by Lender.


                                       ARTICLE 12
                                   EVENTS OF DEFAULT

Any of the following specified events shall constitute an Event of Default (each an "Event of
Default''):

       Section 12.1. Nonpavment. Failure to make a11-y payment required by the Promissory
Note, this Agreement, or any other LOC Documents and such failure continues for thirty (30)
days after notice of such default is sent by Lender to Borrower.

        Section 12.2. Other Covenants and Agreements. Failure by Borrower to perform or
comply with any of the other covenants or agreements contained in this Agreement (other than
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those referred to in Section 12.6 hereof), or any of the LOC Documents and such failure shall not
have been fully corrected, by the performance of or compliance with such covenants or
agreements, within twenty (20) days after notice of such 'default is ent by Lender to Borrower.

       Section 12.3. Representations and Warranties. If an} representation, warranty, or
statement made in or according to this Agreement or any other LOC Document or any other material
information furnished by the Borrower to the Lender, shall be fal~e or erroneous in any material
                                                                  I
respect when made or when deemed made. Such Event of Default can be corrected by the
presentation of accurate and current material information furnikhed by the Borrower to the
Lender to correct the false or erroneous representation, warranty, or statement within ten (10)
days after notice of such default is sent by Lender to Borrower. I

        Section 12.4. Security. If any lien granted in this Agreement or any other LOC Document
in favor of the Lender, shall be determined to be (a) void, voidable or invalid, or is subordinated
or not otherwise given the priority contemplated by this Agreemen~and the Borrower bas failed to
promptly execute, but in no event, more than five (5) business days from the date such change in
lien status occurs appropriate documents to correct such matters! or (b) unperfected as to any
material amount of Collateral (as determined by the Lender, in its reasonable discretion) and the
Borrower has failed to promptly execute, but in no event, more t~an five (5) business days from
the date such change in the lien status occurs appropriate documents to correct such matters.

       Section 12.5. Validity of LOC Documents. If (a) any L aterial provision, in the sole
opinion of the Lender, of any LOC Document, shall at any time cease to be valid, binding, and
enforceable against the Borrower, and the Borrower has failed to promptly execute appropriate
documents to correct such matters; (b) the validity, binding effect or enforceability of any LOC


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Document against the Borrower shall be contested by the Borrower; (c) the Borrower shall deny
that it has any or further liability or obligation under any LOG Document; or (d) any LOC
Document shall be terminated, invalidated or set aside, or be declaffd ineffective or inoperative or
in any way cease to give or provide to the Lender the benefits purported to be created thereby, and
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the Borrower has failed to promptly execute appropriate document to correct such matters.


      Section 12.6. Petition for Bankruptcv, lnsolvencv. The insolvency of; the filing by
Borrower in any jurisdiction of a petition for bankruptcy, liquidaticin, or reorganization, seeking,
consenting to or appointment of any trustee, receiver, liquidator, Jor custodian of it or of all or
substantially all of its property; or any such proceedings shall have been voluntarily or
involuntarily instituted against Borrower; the failure of Borrower to generally pay its debts as they
come due or any admission in writing in that regard; the making by Borrower of a general
assignment for the benefit of creditors; the entry against Borrower, !voluntarily or involuntarily, of
any order for relief in any ban1auptcy reorganization, liquidation, or similar proceeding or the
declaration of or action taken by any governmental authority whicp operates as a moratorium on
the payment of debts of Borrower, which such order or declaration or action shall have remained
in place and undischarged or unstayed for ninety (90) days; o} the taking of the action by
Borrower to authorize any of the actions outlined in this Section 12.6.
                                                                     I
         Section 12. 7. Material Litigation. Any action, suit, proceeding, or investigation of any
kind involving or threatened in writing against, Borrower or any subsidiary thereof, or the Project,
before any court or arbitrator or any other authority which (a) wduld reasonably be expected to
have a material adverse effect, or (b) calls into question the validity or enforceability of, or
otherwise seeks to invalidate, any LOC Documents. Promptly aftei the commencement thereof of
any Litigation, Borrower shall deliver to Lender notice of all Iactions, suits, investigations,
litigation, and proceedings before any court or governmental de1partrnent, commission, board,
bureau, agency or instrumentality, domestic or foreign, affecting Borrower or any of its
subsidiaries, partners, or other related entities, or the Project and promptly after the occurrence
thereof, a notice of any adverse change in the status or the financial effect on Borrower or any of
its subsidiaries, partners, or other related entities, or the }?roject of r e disclosed Litigation.


                                           ARTICLE13
                                           REMEDIES                  I
        Section 13.1. General. Following the occurrence of one q) or more Events of Default, a
default cure period of sixty (60) days begins ("Default Cure Period"), except as otherwise provided
in Section 13.3 or Section 13.4. If Borrower fails to cure the Event of Default (in the manner
specified for each Event of Default according to Article 12) within the Default Cure Period, then
the Lender at its option, may (a) declare alJ outstanding indebtedness evidenced by the Promissory
Note, including principal and interest, immediately due and payable; (b) terminate all obligations
to make further Advances under the LOC; and (c) pursue and enforce, either successively or
concurrently, all rights and remedies outlined in the Promissory Note, in the LOC Documents, or
any other Collateral instrument held by Lender or accruing to Lender by law, and such other
rights and remedies as Lender may have in law or equity, including such rights as are provided in
this Article 13. If a Banlauptcy Event referred to in Section 12.6 hereofoccurs, (i) all obligations


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of the Lender to make further Advances under the LOC shall aJtomatically and immediately
terminate, if not previously terminated, and the Lender thereafter shall not be under any obligation
to make any further Advance, and (ii) the principal of and interest then outstanding on the LOC,
and all of the other obligations owing under the LOC Documents, shall thereupon become and
thereafter be immediately due and payable in full (if not already due and payable), all without any
presentment, demand or notice of any kind, which are hereby waived by the Borrower.


    Upon the occurrence of any Event of Default hereunder under Section 12.1 whereby Borrower has
missed more than two (2) scheduled payments if Borrower does not have any interest reserve account
established for the benefit of the Lender, Borrower shall have a) sixty (60) days Default Cure Period to cw-e
the Event of Default and must (b) Payment an additional one year's worth of interest payments into the
Interest Reserve Account.

        Section 13.2. Default and Right to Acquire.

        1n the event, the Borrower is unable to cure the Event of Default (in the manner specified
        to correct each Event of Default according to Article 12 or within the Default Cure
        Period,

       (a)     Upon the occurrence of an Event of Default, Lender shall have the right, in person
or by agent, in addition to all other rights and remedies available to Lender hereunder or under
the LOC documents, to enter into possession of the Project and perform or cause enforce
any liquidity plan.
         (b)     The lender may enter into possession of the Project and perfonn or cause to be perfonned
all work and labor necessary to complete tbe Project, to operate and maintain the Project, and/or to
otherwise run the business of the Borrower. All sums expended by the Lender in doing so, together with
interest on such total amount at the Default Rate (as defined in the Promissory Note), shall be repaid by the
Borrower to the Lender upon demand and shall be secured by the LOC doourpents, notwithstanding that such
expenditures may, together with amounts advanced under this Agreeme~t, exceed the Maximum Amount.

        (c)    Borrower thereby, following such Bankruptcy Event or relevant cure periods
under Section 13.2 constitutes and appoints the Lender as its true a?d lawful attorney-in-fact, with
the full power of substitution, in the name of the Borrower to complete the Project, to operate
and maintain the Project, and/or to otherwise run the business of the Borrower, and hereby
empowers such attorney or attorneys as follows:


               (i)    to enter and endorse all agreements, instruments, and documents m
        connection therewith.

               (ii)    to use any unadvanced proceeds of the LOC to complete, operate, or
        maintain the Project.

                (iii)  to make such changes and corrections in the applicable plans and
        specifications of the Project as reasonably shall be necessary or desirable to complete the
        work on the Project.


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              (iv)    to employ such managers, contractors, subcontractors, agents, architects,
       and inspectors as reasonably shall be required for the foreg6ing purposes.

               (v)     to pay, settle or compromise all bills and c1Ls which may be or become
       liens against the Project or the Collateral or any p~rt thereof) unless a bond or other security
       satisfactory to the Lender has been provided.                   I
              (vi)   to execute applications and certificates in the name of the Borrower which
       reasonably may be required by the LOC Documents or anylother agreement or instrument
       executed by or on behalf of the Borrower in connection with the Project.
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              (vii) to prosecute and defend all actions or proceedings in connection with the
       Project or the Collateral or any part thereof, and to take such action and require such
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       performance as such attorney reasonably deems necessary under any performance and
       payment bond and the LOC Documents; and                   I
               (viii) to do any and every act which the Borrower might do on its behalf
       concerning the Collateral or any part thereof, or the Proje6t and to exercise any or all of
       the Borrower's rights and remedies under any or all of the hgreements and documents for
       the Project.

        This power of attorney shall be deemed to be a power coupled with an interest and shall be
(A) irrevocable, (B) exercisable by the Lender at any time and !without any request upon the
Borrower by the Lender, and (C) exercisable in the name of the Lender or the Borrower. The
Lender shall not be bound or obligated to take any action to preserve any rights th.erein against
prior parties thereto.

       Section 13.3. Curing of Defaults by Advances. Upon the occurrence of an Event of
Default under Section 12.2 through 12.4 hereof which may be cuted by the payment of money,
Lender, without waiving any right of acceleration or foreclosure under the LOC Documents which
Lender may have because of such Event of Default or any other right Lender may have against
Borrower because of said Event of Default, shall have the right to make such payment from the
LOC, thereby curing the Event of Default. Any cash so remitted, and interest thereon will be
disbursed by Lender per the terms hereof before any additional proceeds of the LOC are
disbursed.

        Section 13.4. Remedies Are Cumulative. No remedy conferred upon or reserved to
Lender in the LOC Documents shall be exclusive of any other Iremedy provided in the LOC
Documents or by law or in equity, but each shall be cumulative ai;id shall be in addition to every
other remedy given Lender, under any of the LOC Documents or riow or hereafter existing at law
or in equity or by statute. Lender, at its sole option and without limiting or affecting any rights and
remedies hereunder, may exercise any of the rights and remedies to which it may be entitled under
the LOC Documents concurrently or in such order as it may determine. The exercise of any
rights of Lender shall not in any way constitute a cure or waiver of Event of Default or invalidate
any act done according to any notice of default, or prejudice Lender in the exercise of any of its
other rights or elsewhere unless, in the exercise of said rights, Lender realizes all amounts owed to
it hereunder and under the Promissory Note, and any other LOC Documents.


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        Section 13.5. Offsets. If there shall occur or exist any Event of Default referred to in
Section 12.6 hereof or if the maturity of the obligations owing under the Promissory Note or the
other LOC documents is accelerated according to Section 13 .1 hereof, the Lender shall have the
right at any time to set off against, and to appropriate and apply ~oward the payment of, all of
such obligations then owing by the Borrower, whether or not the ~ame shall then have matured,
all Payment (general or special) balances, and all balances in the Interest Reserve Account and all
other indebtedness then held or owing by the Lender to or for the credit or account of the
Borrower, all without notice to or demand upon the Borrower or any other Person or entities, all
such notices and demands being hereby expressly waived by the Borrower.

         Section 13.6. Collateral. The Lender shall at all times have the rights and remedies of a
secured party under the UCC, in addition to the rights and remedies of a secured party provided
elsewhere within this Agreement, in any other LOC Documents executed by the Borrower or
otherwise provided in law or equity. Upon the occurrence of an Event of Default and at all times
thereafter, the Lender may require the Borrower to assemble the Collateral securing the obligations
under the LOC documents, which the Borrower agrees to do, and make it available to the Lender
at a reasonable convenient place to be designated by the Lender. The !Lender may, with or without
notice to or demand upon the Borrower and with or without the aid of legal process, make use of
such reasonable force as may be necessary to enter any premises lwhere such Collateral, or any
thereof, may be found and to take possession thereof (including anything found in or on such
Collateral that is not specifically described in this Agreement or any other LOC document, each of
which findings shall be considered to be an accession to and a part of such Collateral) and for
that purpose may pursue such Collateral wherever the same may lt>e found, without liability for
trespass or damage caused thereby to the Borrower. After any delivery or taking of possession of
the Collateral securing the obligations under the LOC documents, or any p01tion thereof, under
this Agreement, then, with or without resort to the Borrower personally or any other person or
property, all of which the Borrower hereby waives, and upon such terms and in such manner as
the Lender may deem advisable, the Lender, in its discretion, may sell, assign, transfer and deliver
any of such Collateral at any time, or from time to time. No prior notice need be given to the
Borrower or to any other Person in the case of any sale of such Collateral that the Lender
determines to be perishable or to be declining speedily in value or that is customarily sold in any
recognized market, but in any other case, the Lender shall give the Borrower not fewer than ten
(10) calendar days prior notice of either the time and place of any public sale of such Collateral
or of the time after which any private sale or other intended disposition thereof is to be made.
The Borrower waives advertisement of any such sale and (except to the extent specifically
required by the preceding sentence) waives notice of any kind in respect of any such sale. At any
such public sale, Lender may purchase such Collateral, including by credit bid, or any part thereof,
free from any right of redemption, all of which rights the Borrower hereby waives and releases.
After deducting all costs and expenses, and after paying all claims, if any, secured by liens
having precedence over this Agreement, Lender may apply the net proceeds of each such sale to
or toward the payment of the obligations under the LOC documents, whether or not then due, in
such order and by such division as the Lender, in its sole discretion, may deem advisable. Any
excess, to the extent permitted by law, shall be paid to Borrower, and Borrower shall remain
 liable for any deficiency. In addition, after the occurrence of an Event of Default, the Lender shall
at all times have the right to obtain new appraisals of the Borrower or any Collateral securing the
obligations under the LOC documents, the cost of which shall be phid by the Bonower.
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      Section 13.7. Default bv Lender and Borrower's Sole Re edv.

     (a)      Provided Borrower has fully satisfied and complied Fith all conditions to Advance
       if Lender fails to provide the first (1st) Advance when due, under the Tranche Schedule
       and Section 7.1, Borrower shall have the option to terminate this Agreement and request a
       full refund of the ICA Payment. Upon the occurrence ofi such default, Borrower shall
       deliver a written notice in the form of a notarized termination letter, a copy of which is
       attached hereto as Exhibit F ("the Termination Letter"t 'to Lender by certified mail.
       Upon receipt of such notice, Lender shall have forty (40) international business-banking
       days from the date of receipt ("Refund Period") within wltch to return the ICA Payment
       to the Borrower.

     (b)      If Lender is unable or unwilling to deliver good funhs to Borrower, such failure to
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       deliver an Advance other than the first Advance shall onstitute a "Lender Default"
       hereunder. Upon the occurrence of a Lender Default, Borrower shall provide written
       notice in the form of a notarized Termination Letter to !the Lender by certified mail.
       Within forty (40) international business-banking days fr9m the date of receipt of such
       notice by Lender, Borrower shall be entitled to (a) refund of the ICA Payment, minus any
       interest outstanding and unpaid as of the date of the Le~der Default, (b) release of all
       security interests granted by Borrower to Lender hereunder and1under the other LOC Documents,
       and (c) termination of Borrower's obligations to Lender hereunder except Borrower's obligation
       to repay to Lender the outstanding principal balance of the Pr6rnissory Note including accrued
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       and unpaid interest thereon up to and including the date of the ~ender Default, upon which date
       interest under the Promissory Note shall cease to accrue. Notwithstanding any other provision of
       this Agreement to the contrary, in no event shall Lender or its affiliates be liable to the Borrower
       or any other non-party Person, Borrower's subsidiaries, partnerJ, or other related entities, for any
       indirect, special, incidental, or consequential damages, losses: or expenses in connection with
       Borrower's or another Person's activities related to, or otherwise because of, the LOC, the
       Advances, the Agreement or the other LOC documents.              \

     (c)       Notwithstanding anything to the contrary in the subpart (a) above or anywhere else
       in this Agreement or the other LOC documents, Lender !shall not be liable or
       responsible to the Borrower, nor be deemed to have defaulted under or breached this
       Agreement, for any failure or delay in funding Advances according to this
       Agreement, when and to the extent such failure or delay is caused by or results from
       acts beyond Lender's control, including, without limicltion, the foUowing force
       majeure events ("Force Majeure Event(s)"): (i) acts lof God; (ii) flood, fire,
       earthquake, explosion or prolonged break-down of transport, telecommunications or
       electric current; (iii) war (whether declared or not), armed ponflict or the serious threat of
       the same (including but not limited to hostile attack, blockade,   military embargo),
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       hostilities, invasion, an act of a foreign enemy, extensive military mobilization, civil war,
       riot, rebellion, revolution, military or usurped power, insutrection, civil commotion or
       disorder, mob violence, an act of civil disobedience, an act of terrorism, sabotage or
       piracy; (iv) plague, epidemic, pandemic, outbreaks of infect~ous
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                                                                            disease or any other
       public health crisis, including quarantine, or other restrictions; (v) act of authority
       whether lawful or unlawful, compliance with any law or governmental order, rule,
       regulation or direction, curfew
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        restriction, expropriation, compulsory acquisition, seizure of works, requisition,
        nationalization; (vi) embargoes or blockades in effect on or after the date ofthis
        Agreement; (vii) national or regional emergency; (viii) strikes, labor stoppages, or
        slowdowns or other industrial disturbances; (ix) failure of the Lender's wholesale lender
        from performing under the terms of the agreement between the Lender and the
        wholesale lender. Lender shall give notice of the Force Majeure Event to the Bon-ower
        within a reasonable period from the date Lender realizes such Force Majeure Event has
        or will have an impact on Lender's ability to fund, stating the period the occurrence is
        expected to continue. The lender shall use reasonably diligent efforts to end the failure
        or delay and ensure the effects of such Force Majeure Event are minimized. The lender
        shall resume the performance of its obligations as soon as reasonably practicable after
        the removal of the cause. The cure periods provided for in subparts (a) and (b) above
        shall be tolled during the pendency of a Force Majeure Event.

        Section 13.8 Binding Arbitration. Any dispute, claim, or controversy arising out of or
relating to this Agreement, or the breach, termination, enforcement, interpretation, or validity
thereof, including the determination of the scope or applicability of this agreement to arbitrate,
shall be determined by binding arbitration in lllinois, before one (~) arbitrator. The arbitration
shall be administered by JAMS under its Comprehensive Arbitration Rules and Procedures or by
ADR Services under its Arbitration Rules, at the election of the party initiating the arbitration.
The Party initiating a demand for arbitration shall serve notice of sJch demand according to the
notice requirements outlined in Section l 4.5 herein. Within three (3) banking-business days of
service of any demand for arbitration, the Parties to the dispute shall work cooperatively to
mutually select an agreeable arbitrator. If the Parties to the dispute are unable to reach an
agreement on an arbitrator, then the arbitration shall be selected under the JAMS or ADR
Services arbitration selection protocol. Each side shall be entitled to propound one (1) set of
requests for the production of documents. The requests in each set shall not number more than
twenty-five (25) and shall be limited to documents relevant to the jssues to be arbitrated. Each
side shall further be entitled to notice and take no more than three (3) depositions, which shall
last no more than three (3) hours per deponent, including reasonable breaks and objections. No
other discovery shall be permitted, except upon a showing of good cause to the arbitrator. Any
discovery disputes shall be submitted to and decided by the arbitrator. The prevailing party shall
be entitled to an award of its reasonable costs and expenses, including but not limited to,
attorneys' fees, in addition to any other available remedies. Any award rendered therein shall
be final and binding on each and all of the parties thereto and their representatives, and judgment
may be entered thereon in any court of competent jurisdiction. This clause shall not
preclude Parties from seeking provisional remedies in aid of arbitration from a court of
appropriate jurisdiction. Any action or proceeding brought to interpret or enforce this agreement
to arbitrate shall be governed by the laws of the State of Illinois. This agreement to arbitrate is
intended by the Parties to constitute a waiver of any right to trial by jury, or the right to
proceed in any state or federal court for resolution of any dispute arising concerning the
enforcement or interpretation of this Agreement, this agreement to arbitrate, or any of the LOC
Documents.

                                       ARTICLE 14
                                   GENERAL PROVISIONS

       Section 14.1. Disclaimer of Liability. Lender has no liability or obligation in connection

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with the Project except to make Advances under the LOC as agreed under the terms of the LOC
Documents and makes no warranties or representations in connection therewith. No claim may be
made by the Borrower or any other Person against the Lender or the t ffiliates, directors, officers,
employees, attorneys, or agents of the Lender for any damages oilier than actual compensatory
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damages in respect of any claim for breach of contract or any othe theory of liability arising out
of or related to the transactions contemplated by this Agreement, oJ any act, omission or event
occurring in connection therewith; and the Borrower and Lende~ hereby, to the fullest extent
penmtted under applicable law, waive, release and agree not to sue or counterclaim upon any such
claim for any special, indirect, consequential or punitive damages, whether or not accrued and
whether or not known or suspected to exist in their favor and regardless of whether Lender has
been advised of the 1ikelihood of such loss of damage. Borrower further agrees that, in the event
of a delay in funding by the wholesale lender that causes a delay in funding from Lender to
Borrower, Borrower shall not file for arbitration or otherwise pursue legal claims against Lender
for such delay to the extent Lender takes reasonable steps to pursue claims it may have against the
wholesale lender; provided, further, that this provision is superseded by the limitations of liability
otherwise provided for in this Agreement and is not intended to create any rights in favor of
Borrower.

         Section 14.2. ,Publicity. Lender and Borrower shall have the right to issue periodic news
releases concerning the Project and its financing in such form as mutually approved by each of
them, such approval not to be unreasonably withheld. The lender Shall have the right to indicate
that it has provided the financing for the Project.

       Section 14.3. Confidentiality. Borrower agrees that the specific terms of this Agreement,
the LOC, and the related terms regarding Lender's agreement to fund the Project, including
Lender's related entities, partners, subsidiaries, and vendors are proprietary, and Borrower hereby
agrees to maintain confidential this Agreement, the LOC documents, and any information
disclosed by Lender related to the terms upon which funding of the LOC is to take place.
Borrower's disclosure of confidential terms shall constitute a material breach of this Agreement,
and will subject Borrower to injunctive relief, pecuniary damages, or other remedies available to
Lender in law or at equity. All such remedies are cumulative.

        Section 14.4. Responsibilitv for Application of Funds. Lender shall have no obligation
to see that funds advanced under the LOC are used for the purpose outlined in this Agreement.
Borrower shall be fully responsible for the proper application according to the terms of this
Agreement of funds advanced under this Agreement. The lender: may rely solely upon the
Borrower's requests for Advances, affidavits, statements, and reports in making said Advances,
and the Borrower does hereby release and indemnify the Lender and hold the Lender harmless
from any losses, claims, demands, or expenses which may arise or result from misapplication or
misuse of the LOC proceeds by Borrower or its agents. Borrower's indemnification of Lender shall
not extend to losses arising from Lender's material breach of this Agreement or Lender's gross
negligence or willful misconduct (in each case as detenmned by a court of competent jurisdiction
in a final and non-appealable decision).

        Section 14.5. Non-Disparagement. Borrower agrees and covenants that Borrower shall
not at any time make, publish, or communicate to any person or entity or in any public forum any
defamatory, maliciously false, or disparaging remarks, comments or statements concerning the
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The lender or its businesses, or any of its employees, officers, or directors, and its existing and
prospective clients, suppliers, investors, and other associated third parties, now or in the future.
For the avoidance of doubt, a breach of this Section 10.04 shall constitute an Event of Default
under Section 7.02 under which Lender has the right to terminate all obligations under the Loan
Documents under Section 9.0l(b).

        Section 14.6 Opportunity to Consult with Counsel. Borrower acknowledges that it has
had an opportunity to consult with and be represented by counsel of Borrower's choosing in the
review of the Loan Documents, that it has been advised by Lender to do so, that the Borrower is
fully aware of the contents of the Loan Documents and its legal effect, and that Borrower enters
into these Loan Documents freely, without duress or coercion, and based on Borrower's
judgment and wishes and not in reliance upon any representation o, promise made by the Lender,
other than those contained herein.                                     I
        Section 14.7 Notices. All notices given under this Agreement, unless otherwise specified
herein, must be in writing and will be effectively served by: (i) submission through the
zoomeral.com portal using the Borrower' s ZOOMERAL account and (ii) upon delivery or, if sent
by certified mai 1, upon the first to occur of receipt by the addressee or the expiration of ninety-six
(96) hours after deposit in first-class certified United States mail, postage prepaid, return receipt
requested, or two (2) business days if sent by pre-paid nationally recognized overnight courier
service, sent to the Party at its address set forth below, or such lother address as a Party may
designate from time to time by written notice given according to this paragraph:

  To Borrower:          Wallingford Lodging Partners LLC
                        4 Miles Drive
                        Wallingford, Connecticut 06492

  To Lender:            McMann Commercial Lending LLC
                        205 N Michigan Avenue, Ste 810
                        Chicago, Illinois 6060 l


        Section 14.8. Applicable Law. This Agreement and, unless otherwise specifically
provided for therein, each other LOC document, sha11 be governed by and construed per the laws
of the State of lllinois and the United States.

       Section 14.9. Successors and Assigns. The terms oftbis Agreement will bind and benefit
the successors and assigns of the Parties, provided that except as permitted under the LOC
Documents, Borrower may not assign this Agreement or any proceeds from the LOC or assign or
delegate any of its rights or obligations hereunder without the prior written consent of Lender,
which may be withheld in Lender's sole discretion.

        Section 14.10. Severability. The invalidity or unenforceability of any one or more of the
provisions of this Agreement wilJ in no way affect any other provision, except that if a condition
to an Advance is held to be illegal or invalid, Lender will not be ;required to make the Advance
which was the subject of that condition. In the event of any conflict or inconsistency between the
terms and provisions of this Agreement and any of the LOC Documents, the terms and provisions
of this Agreement shall control.


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        Section 14.11. Amendments. This Agreement may not be modified or amended except by
a written agreement signed by the Borrower and Lender.

       Section 14.12. Headings; Attachments. The severa1 head,ings to articles, sections, and
subsections herein are inserted for convenience only and shall be ignored in interpreting the
provisions of this Agreement. Each schedule or exhibit attached to this Agreement shall be
incorporated herein and shall be deemed to be a part thereof.

        Section 14.13. No Third-Party Rights. This Agreement is made entirely for the benefit
of the Borrower, the Lender, and their successors in interest (including any participants). No
third party shall have any rights hereunder.

        Section 14.14. Indemnification. The Borrower agrees to defend, indemnify and hold
harmless the Lender (and its affiliates, officers, directors, attorneys, agents and employees) from
and against any and all liabilities, obligations, losses, damages, penalties, actions, judgments,
suits, costs, expenses (including attorneys' fees), or disbursements of any kind or nature
whatsoever that may be imposed on, incurred by or asseljled against the Lender in
connection with any investigative, administrative or judicial proceeding (whether or not the
                                                                       1
Lender shall be designated a party thereto) or any other claim by any Person relating to or arising
out of the Project, the LOC Documents or any actual or proposed use of proceeds of the
Advances, or any activities of the Borrower or its affiliates; provided that the Lender shall not
have the right to be indemnified under this Section 14.12 for its own gross negligence or willful
misconduct, as determined by a final and non-appealable decision in arbitration as for any
dispute between the Parties, or by judgment of a court of competent jurisdiction when such
dispute involves another third pa1ty Person. All obligations provided for in this Section 14.12
shall survive any termination of this Agreement. The Borrower hereby agrees to indemnify,
defend and hold harmless the Lender, the managers of the Lender, and all of their members,
managers, affiliates, and advisors, from any damages, losses, liabilities, costs, and
expenses (including reasonable attorneys' fees and costs) that they may incur because
Borrower failed to fulfill all of the terms and conditions of this agreement or because of the
untruth or inaccuracy of any of the representations, warranties or agreements contained
herein or in any other documents the Borrower has furnish!!d to any of the foregoing
in connection with this transaction. This indemnification includes, but is not limited
to, any damages, losses, liabilities, costs, and expenses (lljlcluding attorneys' fees and
costs) incurred by Lender, the managing members of Lender, or any of its members,
managers, affiliates, or advisors, defending against any alleged violation of federal or state
securities laws which is based upon or related to any untruth or inaccuracy of any of the
representations, warranties or agreements contained herein or in any other documents the
Borrower has furnished in connection with this transaction.

        Section 14.15. General Limitation of Liability. No claim may be made by the
Borrower or any other Person against the Lender or the affiliates, directors, officers, employees,
attorneys, or agents of the Lender for any damages other than actual compensatory damages in
respect of any claim for breach of contract or any other theory of liability arising out of or
related to the



                                                                             Initials:   'yf    sr
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transactions contemplated by this Agreement or any of the LOC Documents, or any act,
omission, or event occurring in connection therewith; and the Borower and Lender hereby, to
the fullest extent permitted under applicable law, waive, release and agree not to sue or
counterclaim upon any such claim for any special, indirect, cons~quential or punitive damages,
whether or not accrued and whether or not known or suspecteb to exist in their favor and
regardless of whether Lender has been advised of the likelihood of such loss of damage. In
addition to the tolling provided under Section 6.3, Borrower further agrees that, in the event of a
delay in funding by the wholesale lender that causes a delay in funding from Lender to Borrower,
Borrower shall not file for arbitration or otherwise pursue legal claims against Lender for such
delay to the extent Lender takes reasonable steps to pursue cJJims it may have against the
wholesale lender; provided, further, that this provision is superseded by the limitations of
liability otherwise provided for in this Agreement and is not intended to create any rights in favor
of Borrower.

        Section 14.16. Entire Agreement. This Agreement, the P omissory Note, and any other
                                                                  1
LOC Document or other agreement, document, or instrument attached hereto or executed on or
as of the Closing Date integrate all of the terms and conditions mentioned herein or incidental
hereto and supersede all oral representations and negotiations and prior writings concerning the
subject matter hereof.

       Section 14.17. Execution in Counterparts. This Agreement may be executed in any
number of counterparts and by different parties hereto in separate counterparts, and by facsimile
or other electronic signature, each of which when so executed together shall constitute the same
Agreement.

        Section 14.18. Legal Representation of the Parties. The LOC Documents were
negotiated by the Parties with the benefit of legal representation and any rule of construction or
interpretation otherwise requiring this Agreement or any other LOC Document to be construed or
interpreted against any Party shall not apply to any construction or interpretation hereof or thereof.

      Section 14.19. JURY TRIAL WANER. THE BORROWE~ AND THE LENDER, TO
THE EXTENT PERMITTED BY LAW, HEREBY WAIVE ANY RlGHT TO HAVE A JURY
P'ARTICIPATE IN RESOLVING ANY DISPUTE, WHETHER SOUNDING IN CONTRACT,
TORT, OR OTHERWISE, BETWEEN THE BORROWER AND THE LENDER, ARISING
OUT OF, IN CONNECTION WITH, RELATED TO, OR INCIDENTAL TO THE
RELATIONSHIP ESTABLISHED BETWEEN THEM IN CONNECTION WITH THIS
AGREEMENT OR ANY NOTE OR OTHER INSTRUMENT, DOCUMENT OR
AGREEMENT EXECUTED OR DELIVERED IN CONNECTION HEREWITH OR THE
TRANSACTIONS RELATED THERETO.




                  [Remainder of page intentionally left blank; Signatures follow]



                                                                                Initials:   JI ~ f
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                            IN WITNESS WHEREOF, the parties have executed this Agreement as of the
             day and year first written above.


             LENDER: MCMANN COMMERCIAL LENDING LLC

             By:            ~       ~
                   Name: Walter P Trock III


             BORROWER: Wallingford Lodging Partners LLC




                                      el      Yihang Patel
                                     &\~,W        M t MJo>GAf'

                                                                                      . l:b.
                    ,   0, SUBSCRIBED AND SWORN TO BEFORE ME on this~day of
                        2
                                                                              I




:::      -
        ..                                                   My Commissi"-.i;;....,.;..,....,..- - - - - - - - 1
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-....-- --                                                                           NOTA'1V PUBl IC, STAlE Of GONNECTICUT
                                                                                     My Commission Exp11es Jaoual'( 31. 2026




                                                                                       ADAM PRICE
                                    My Commb::ion Exi:,ir1,rn1                         Notary Public
                                     '4-z.7. '2.~                                           SEAL
                                                                                       South Dakota




                                                                                          Initials:    J/!(        .S\
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                                                    Mail - Rene Jamulitrat Page
                                                                           - Outlook34 of 51 PageID #:233



      Fwd: Wire confirmation (2)            Genie Investments NV

      Shailesh Patel <shailesh.patel@sbmhospitality.com>
      Wed 5/3/2023 4:38 PM
      To: Ritesh Katwala ritesh@citycapitaloffice.com ;Brijesh patel smgroupconsultingg@gmail.com ;Rene
      Jamulitrat < rJamulitrat@mcmanncommercial lending.com> ;Michael Lanza
      <mlanza@mcmanncommerciallending.com>;Vinay Patel <vinaypatel@sbmhospitality.com>

      ® 2 attachments (17 KB)
      Kari Borns.vcf; image001.jpg;




      FYI.

      Sent from my iPhone

      Begin forwarded message:


             From: Kari Borns kborns@loftadvisors.com
             Date: May 3, 2023 at 3:18:15 PM CDT
             To: Shailesh Patel shailesh.patel@sbmhospitality.com
             Cc: Rocky Rehfeldt rrehfeldt@loftadvisors.com
             Subject: Wire confirmation (2) Genie Investments NV




             Hi Shailesh,
             The wire confirmation information is below for your records:

             NOTICE OF OUTGOING WIRE TRANSFER
             First Dakota National Bank Wire Date: 5/03/23
             IMAD:
             OMAD :
             Funds in the amount of$ 1,800,075.00 have been wired to
             Genie Investments NV
             from account Acct Ending 0722
             North Haven Lodging Partners LLC

             NOTICE OF OUTGOING WIRE TRANSFER
             First Dakota National Bank Wire Date: 5/03/23
             IMAD:
             OMAD :
             Funds in the amount of$ 1,800,075.00 have been wired to
             Genie Investments NV
             from account Acct Ending 0803
             Wallingford Lodging Partners LLC




https://outlook.office.com/mail/inbox/id/AAQkADc1OGNiZWY5LTgyMzAtNDFmNC05NmE4LWI0MjQ0ZDNhNmU1OQAQAPPy%2BnaLdUMShilXbn9O. ..   1/2
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            This email and any files transmitted with it are confidential and are intended solely for the
            use of the individual or entity to whom they are addressed. If you are not the original
            recipient or the person responsible for delivering the email to the intended recipient, be
            advised that you have received this email in error, and that any use, dissemination,
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            If any personal views or opinions are contained in this email, those views or opinions are
            solely those of the author and do not necessarily represent those of First Dakota National
            Bank.




https://outlook.office.com/mail/inbox/id/AAQkADc1OGNiZWY5LTgyMzAtNDFmNC05NmE4LWI0MjQ0ZDNhNmU1OQAQAPPy%2BnaLdUMShilXbn9O…   2/2
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                                            EXHIBITF
                                    FORM TERMJNATION LETTER


  McMann Commercial Lending LLC
  205 N Michigan A venue, Ste 810
  Chicago, Illinois 6060 I

  Re: North Haven Lodging Partners LLC

  To Whom it May Concern:

  The undersigned Borrower has decided to exercise its rights to terminate the above-referenced
  transaction according to the terms of the LOC Agreement dated April 10, 2023.
          Please consider this letter as notice of Borrower's termination of the LOC Agreement and
  request for a refund of Borrower's lCA payment, less any amounts due and owed to Lender
  under Section 13.7 of the LOC Agreement.

                                                      BORROWER: North Haven Lodging Partners LLC

                                                      By:                                  ., //             .-.?
                                                             _ _ __ _ __ ___./ebc._,.....=-«-µ.,J✓ ~ ~-v+-7..-,
                                                     1\ame: Shailesh Patel and Vihang Patel            /
                                                     Title:    f0, ll,&/'\\Q /2../




            BLERIHA BOBI              I
            Notary Public
             Connecticut                                         My Commission Expires:
 l My Commission Explr~s Sep 30, 2027 ~


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                                                                    L,   /   -




  Please confinn your Wiring Instructions:
  Account Title: "-l_ C) 'r\-l,.._ \--__M '41 ~,J~r'n       1f  l 'c__ 'ls"'\-7"' U::S L.J-C.,..,                 ~         ~/
  Address on Account: ,;i_ J        7-     bJ J3 't'<->1 --f TZJd.~        -"=1 T ~ LI--X
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  Bank Name: .)-- / v 5 -+- '.D ~o+-G,                                                                             ~ Jt> ~
  Bank Address:                         ct   '   ,LT ~ fl IL c } 'J'         5 \       0 ,p~ 'f-o. \, \.A- 5I) _::, f
  Routing#:
  Account#:

                                                                                   Initials: - --   -+
                                                                                                     l'-<f'_,__
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                                           EXHIBIT F
                                    FORM TERMINATION LETTER


 McMann Commercial Lending LLC
 205 N Michigan A venue, Ste 810
 Chicago, Illinois 60601

 Re: Wallingford Lodging Partners LLC

 To Whom it May Concern:

 The undersigned Borrower has decided to exercise its rights to terminate the above-referenced
 transaction according to the terms of the LOC Agreement dated April 10. 2023.
         Please consider this letter as notice ofBonower's termination of the LOC Agreement and
 request for a refund of Borrower's ICA payment. less any amounts due and owed to Lender
 under Section 13.7 of the LOC Agreement.

                                                         BORROWER: Wallingford Lodging Partners
                                                         LLC

                                                         By:                        "/~ff        ~
                                                         ;s;ame: Shailesh Patel and ◊ihang Patel
                                                         Title: M V'));-, ½c

   ~             \SUBSCRIBED AND SWOR~ TO BEFORE ME on thisftday of
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1" , ·b · ~~ / ;/\q 11 ~,~ r                       ,,j-,· ( C,,(.   ~          ,


                                                         ~                  PUBLIC      ,,..T.
                                                              In and for the State of_~L~- ~- -
              BLERIMA 8081
              No tary Publlc                                   My Commission Expires:
              Connecticut
    My Commission Expires Sep 30, 2027

                                                             C f -3 0
 Please confirm your Wiring Instructions:
 Account Title: \,Al Cl.__l..t- )   n
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 Bank Name: F-~ {'-S~ DC\.V...o ~                             ,     ,
 BankAddress: t} I l)O 1:::-s 1•\ ~         M c.\.fL~ C..l'({Sl 0 U..i!.. ~Ll-~,SP -571-oy
 Routing #:
 Account#:                     O    t,3  i"
                                                                               Initials: _ 9 ~ £ ~ - - - -
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                       GENIE MESSAGES ON WALLINGFORD (2815) & NORTH HAVEN (2816) LODGINGS


Genie issues loan documents for Wallingford Lodging:

 Walt,                                                                3/13/2023   Genie Investments - Wiring Instructions - Term
                                                                                  Sheet - Business Expansion LOC Agreement - G
 Please see attached Loan Agreements in Word form for                             Walt Inc.docx
 White Labeling. Their User ID is on the bottom of each page.

 1. Present the client with a Term Sheet and collect the
 activation fee. If the client has already paid the activation fee,
 see step two.

 2. After they have paid for activation, deliver the remaining
 documents.

 3. Make sure to offer the Deposit Assistance Program (Due
 Diligence) to each client.

 4. (a) Execute a copy of this document and upload it into the
 system. (b) Upload a copy of your white labeled documents
 from your client as well.

 5. Do NOT change the Wiring Instructions. You may only
 change the Logo.

 Thank you!

 - Genie Investments



Genie issues loan documents for North Haven Lodging:

 Walt,                                                                3/13/2023   Genie Investments - Wiring Instructions - Term
                                                                                  Sheet - Business Expansion LOC Agreement - G
 Please see attached Loan Agreements in Word form for                             Wall Inc.docx
 White Labeling. Their User ID is on the bottom of each page.

 1. Present the client with a Term Sheet and collect the
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 activation fee. If the client has already paid the activation fee,
 see step two.

 2. After they have paid for activation, deliver the remaining
 documents.

 3. Make sure to offer the Deposit Assistance Program (Due
 Diligence) to each client.

 4. (a) Execute a copy of this document and upload it into the
 system. (b) Upload a copy of your white labeled documents
 from your client as well.

 5. Do NOT change the Wiring Instructions. You may only
 change the Logo.

 Thank you!

 - Genie Investments



Term sheets and requested documents submitted to Genie:

 USER

        -     (Wallingford Lodging)

 Attached is the signed term sheet for this
 deal.
                                                        3/20/2023     Signed-
                                                                      -     Wallingford
                                                                                  -Lodging
                                                                      Commitment.pdf
                                                                                           (user
                                                                                        - --               ) Terms
                                                                                                           -    -  &




 USER ID

        -        (Wallingford Lodging Partners)                         3/20/2023      USER ID
                                                                                       - - - - - -- -
                                                                                       references.zip
                                                                                                      IDs and bank




        -
 Attached are the IDs and bank letters for this deal.

 USER ID         (North Haven)                                          3/20/2023
                                                                                       --------11111-
                                                                                       USER ID
                                                                                       documents.
                                                                                                        --
                                                                                                    Term sheet and

 Attached are the executed term sheet and requested
 documents for this deal.

 Regards,
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Genie’s message:




                     -
 Walt,                                                                                                        3/22/2023

 Regarding USER ID        , Genie received documents for a different business, please resend. Thank you.



McMann’s responses to previous message:

 USER ID

           -    (North Haven)

 File with documents for North Haven (USER ID

                                                -   )
                                                               3/22/2023   USER
                                                                           - - -ID    Term-
                                                                                 - - --
                                                                           documents.zip
                                                                                          sheet-
                                                                                               and




           -
 attached

 USER ID        (Wallingford)                                  3/22/2023   USER ID
                                                                           - - - - - -- -
                                                                                          IDs and bank
                                                                           references_1.zip
 Documents in file attached



Messages from Genie re receipt of ICA deposits:




                                                               -
 Walt,                                                                                                                         5/4/2023

 Genie received two payments of $1,800,000 from User IDs                  . This does match the numbers Genie has on
 file. Please upload their agreements and advise at your earliest convenience. Thank you.

 Walt,                                                                                                                         5/5/2023

 Genie received two payments of $1,800,000 from User IDs                  . This does match the numbers Genie has on
 file. Please upload their agreements and advise at your earliest convenience. Thank you.



Submission of signed loan agreements and requested documentation to Genie:

 USER ID

 USER ID
           --   (North Haven Lodging) submission for funding

                (Wallingford Lodging) submission for funding
                                                                                    5/7/2023

                                                                                    5/7/2023
                                                                                                 USER
                                                                                                 - - -ID

                                                                                                 USER
                                                                                                 - - -ID
                                                                                                            Funding
                                                                                                       - - --    -

                                                                                                            Funding
                                                                                                       - - --    -
                                                                                                                    submission.zip
                                                                                                                       - -

                                                                                                                    submission.zip
                                                                                                                       --
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Loan cancellation message to Genie:

 USER ID

            -    (Wallingford Lodging LLC) and USER ID
 their ICA be returned.
                                                         -     (North Haven Lodging) are cancelling their loans and are requesting


 The termination link has been emailed to both for them to submit their requests.

 Regards.
                                                                                                                                              8/18/2023




Message to Genie requesting an update on the ICA refund:

 USER IDs

 Regards    -              submitted their termination letter August 19, 2023. Kindly provide an update on their refund dates.                9/14/2023




Genie’s response:

 Walt,                                                                                                                                  9/14/2023

 Regarding                  , the expected refund date is 10/13/2023.




Messages sent to Genie for confirmation of the ICA refunds:




 USER ID

            --
 About loan #'s                 return of the ICA deposits have been confirmed by Genie to be wired tomrrow please confirm
 that this commitment is still on target for funds to be wired tomorrow.. Walt

                          have requested updates on their refunds
                                                                                                                                 10/12/2023


                                                                                                                                 10/12/2023
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Genie’s response:

 Walt,                                                                                                                       10/13/2023

 Regarding User ID                    , please make sure that they have access to their account, so that Genie can
 communicate with them directly. A message has been sent to them already. Thanks.



The following are direct messages between Genie and the client:



 Wallingford Lodging Partners LLC,                                              10/13/2023   Borrower letter re ICA   Mark
                                                                                             refund - Oct. 2023       as
 Please see attached letter from Genie's attorney. Genie is working                          Walker Law -             read
 diligently to get your refund to you as quickly as possible and will be in                  Wallingford
 touch with you by the end of next week. If you have any questions, all                      Lodging.pdf
 communications must be here in writing, so please do not hesitate to
 ask if you do. In the meantime, Genie would like to set up a conference
 call with you to make sure you fully understand this letter provided to
 you. Please provide 3 times for Tuesday and Wednesday of next week
 to discuss this matter. Genie appreciates your understanding.

 Hey David,                                                                                             10/16/2023

 We are available for a call:
 Tuesday 10/17:
 9am CST
 10am CST
 11am CST
 1pm (preferred) CST
 or 2pm CST
 for both North Haven and Wallingford projects to be discussed. Please confirm what time
 works for you at your earliest convenience.
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North Haven Lodging Partners LLC,                                      10/13/2023   Borrower letter re ICA
                                                                                    refund - Oct. 2023
Please see attached letter from Genie's attorney. Genie is                          Walker Law - North
working diligently to get your refund to you as quickly as possible                 Haven Lodging.pdf
and will be in touch with you by the end of next week. If you have
any questions, all communications must be here in writing, so
please do not hesitate to ask if you do. In the meantime, Genie
would like to set up a conference call with you to make sure you
fully understand this letter provided to you. Please provide 3 times
for Tuesday and Wednesday of next week to discuss this matter.
Genie appreciates your understanding in this matter.

Hey David,                                                                                           10/16/2023

We are available for a call:
Tuesday 10/17:
9am CST
10am CST
11am CST
1pm (preferred) CST
or 2pm CST
for both North Haven and Wallingford projects to be discussed. Please confirm what time
works for you at your earliest convenience.
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                                         WALKER LAW OFFICE, LLC
                                                     4050 PENNSYLVANIA AVE., SUITE 115-10
                                                             KANSAS CITY, MISSOURI 64111
                                                                            (816) 226-6476



October 13, 2023

       Re:     Genie Investments – Update on Funding Delays

Dear Wallingford Lodging Partners LLC,

     This letter concerns the 8/19/2023 termination of your Letter of Credit Agreement
(LOCA) with Genie Investments and your request for a refund of the $1,800,000 ICA payment.

        As you know from previous communications, Genie Investments has been working to
address the ongoing failure of its capital provider to comply with its contractual obligations to
provide funds to Genie. It is important to recognize that, under section 13.7 of the LOCA, the
present situation constitutes a so-called “force majeure” event – i.e., a situation in which events
beyond Genie’s control prevent it from providing advances to borrowers. The LOCA’s force
majeure provision, section 13.7, specifically includes a failure by Genie’s capital provider –
referred to in the LOCA as its “wholesale lender” – to perform its obligations to Genie. As such,
the delays you have experienced do not constitute a breach of contract by Genie and the “Refund
Period” set forth in the LOCA (forty international business-banking days) does not apply while
the force majeure event is ongoing.

        Instead, the LOCA requires Genie to use “reasonably diligent efforts to end the failure or
delay and ensure the effects of such Force Majeure Event are minimized,” and Genie is currently
doing so. This law firm, which Genie recently engaged to help resolve the situation, is working
on multiple fronts to compel the capital provider to deliver the funds it owes, so that Genie can,
in turn, provide refunds to its borrowers. We are preparing a legal action against the capital
provider and its associates, which we will file at our earliest opportunity unless we reach a
satisfactory settlement first. In hopes of refunding money to you as soon as possible, we will
simultaneously pursue legal action and engage in settlement negotiations.

        Genie will make every reasonable effort to keep you informed of the progress of its
efforts during this process. In addition, you can expect further correspondence from this law firm
with updates regarding settlement negotiations or the status of any legal action filed against the
capital provider. While Genie’s efforts are underway, you must direct any inquiries to Genie
through the Zoomeral messaging system.

        Genie understands that you want this situation resolved as quickly as possible, which is
why it is taking the steps laid out above. Please understand, however, that legal actions of this
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magnitude require significant time and resources, and we ask your continued patience throughout
the process.

        Further, we ask you to be mindful of other provisions of the LOCA. For example, Section
14.3 requires you to keep the terms of the LOCA confidential and section 14.5 prohibits
disparagement of Genie or of persons or entities affiliated with it. Both provisions are deeply
important to Genie. Please understand that violating either section would constitute a breach of
the agreement and could impair or prevent your participation in the remedies Genie is pursuing.
Moreover, failing to comply with these provisions could adversely affect Genie’s efforts to
obtain the recovery that would then flow to borrowers to whom refunds are due.

        In short, we are working diligently to enable Genie to fulfill its obligations to its
borrowers. Although we never expected to have to confront this situation, we intend to emerge
better for it. In the meantime, we appreciate your patience as we continue our efforts.


                                            Sincerely,


                                            Adam Walker
                                            Walker Law Office, LLC
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                           EXHIBIT *
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                                       WALKER LAW OFFICE, LLC
                                                     4050 PENNSYLVANIA AVE., SUITE 115-10
                                                             KANSAS CITY, MISSOURI 64111
                                                                            (816) 226-6476



October 13, 2023

       Re:     Genie Investments – Update on Funding Delays

Dear North Haven Lodging Partners LLC,

     This letter concerns the 8/19/2023 termination of your Letter of Credit Agreement
(LOCA) with Genie Investments and your request for a refund of the $1,800,000 ICA payment.

        As you know from previous communications, Genie Investments has been working to
address the ongoing failure of its capital provider to comply with its contractual obligations to
provide funds to Genie. It is important to recognize that, under section 13.7 of the LOCA, the
present situation constitutes a so-called “force majeure” event – i.e., a situation in which events
beyond Genie’s control prevent it from providing advances to borrowers. The LOCA’s force
majeure provision, section 13.7, specifically includes a failure by Genie’s capital provider –
referred to in the LOCA as its “wholesale lender” – to perform its obligations to Genie. As such,
the delays you have experienced do not constitute a breach of contract by Genie and the “Refund
Period” set forth in the LOCA (forty international business-banking days) does not apply while
the force majeure event is ongoing.

        Instead, the LOCA requires Genie to use “reasonably diligent efforts to end the failure or
delay and ensure the effects of such Force Majeure Event are minimized,” and Genie is currently
doing so. This law firm, which Genie recently engaged to help resolve the situation, is working
on multiple fronts to compel the capital provider to deliver the funds it owes, so that Genie can,
in turn, provide refunds to its borrowers. We are preparing a legal action against the capital
provider and its associates, which we will file at our earliest opportunity unless we reach a
satisfactory settlement first. In hopes of refunding money to you as soon as possible, we will
simultaneously pursue legal action and engage in settlement negotiations.

        Genie will make every reasonable effort to keep you informed of the progress of its
efforts during this process. In addition, you can expect further correspondence from this law firm
with updates regarding settlement negotiations or the status of any legal action filed against the
capital provider. While Genie’s efforts are underway, you must direct any inquiries to Genie
through the Zoomeral messaging system.

        Genie understands that you want this situation resolved as quickly as possible, which is
why it is taking the steps laid out above. Please understand, however, that legal actions of this
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magnitude require significant time and resources, and we ask your continued patience throughout
the process.

        Further, we ask you to be mindful of other provisions of the LOCA. For example, Section
14.3 requires you to keep the terms of the LOCA confidential and section 14.5 prohibits
disparagement of Genie or of persons or entities affiliated with it. Both provisions are deeply
important to Genie. Please understand that violating either section would constitute a breach of
the agreement and could impair or prevent your participation in the remedies Genie is pursuing.
Moreover, failing to comply with these provisions could adversely affect Genie’s efforts to
obtain the recovery that would then flow to borrowers to whom refunds are due.

        In short, we are working diligently to enable Genie to fulfill its obligations to its
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better for it. In the meantime, we appreciate your patience as we continue our efforts.


                                            Sincerely,


                                            Adam Walker
                                            Walker Law Office, LLC
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                 EXHIBIT 5
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                                       WALKER LAW OFFICE, LLC
                                                     4050 PENNSYLVANIA AVE., SUITE 115-10
                                                             KANSAS CITY, MISSOURI 64111
                                                                            (816) 226-6476



October 13, 2023

       Re:     Genie Investments – Update on Funding Delays

Dear North Haven Lodging Partners LLC,

     This letter concerns the 8/19/2023 termination of your Letter of Credit Agreement
(LOCA) with Genie Investments and your request for a refund of the $1,800,000 ICA payment.

        As you know from previous communications, Genie Investments has been working to
address the ongoing failure of its capital provider to comply with its contractual obligations to
provide funds to Genie. It is important to recognize that, under section 13.7 of the LOCA, the
present situation constitutes a so-called “force majeure” event – i.e., a situation in which events
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on multiple fronts to compel the capital provider to deliver the funds it owes, so that Genie can,
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satisfactory settlement first. In hopes of refunding money to you as soon as possible, we will
simultaneously pursue legal action and engage in settlement negotiations.

        Genie will make every reasonable effort to keep you informed of the progress of its
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capital provider. While Genie’s efforts are underway, you must direct any inquiries to Genie
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        Genie understands that you want this situation resolved as quickly as possible, which is
why it is taking the steps laid out above. Please understand, however, that legal actions of this
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magnitude require significant time and resources, and we ask your continued patience throughout
the process.

        Further, we ask you to be mindful of other provisions of the LOCA. For example, Section
14.3 requires you to keep the terms of the LOCA confidential and section 14.5 prohibits
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                                            Sincerely,


                                            Adam Walker
                                            Walker Law Office, LLC
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                                         WALKER LAW OFFICE, LLC
                                                     4050 PENNSYLVANIA AVE., SUITE 115-10
                                                             KANSAS CITY, MISSOURI 64111
                                                                            (816) 226-6476



October 13, 2023

       Re:     Genie Investments – Update on Funding Delays

Dear Wallingford Lodging Partners LLC,

     This letter concerns the 8/19/2023 termination of your Letter of Credit Agreement
(LOCA) with Genie Investments and your request for a refund of the $1,800,000 ICA payment.

        As you know from previous communications, Genie Investments has been working to
address the ongoing failure of its capital provider to comply with its contractual obligations to
provide funds to Genie. It is important to recognize that, under section 13.7 of the LOCA, the
present situation constitutes a so-called “force majeure” event – i.e., a situation in which events
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capital provider. While Genie’s efforts are underway, you must direct any inquiries to Genie
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magnitude require significant time and resources, and we ask your continued patience throughout
the process.

        Further, we ask you to be mindful of other provisions of the LOCA. For example, Section
14.3 requires you to keep the terms of the LOCA confidential and section 14.5 prohibits
disparagement of Genie or of persons or entities affiliated with it. Both provisions are deeply
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borrowers. Although we never expected to have to confront this situation, we intend to emerge
better for it. In the meantime, we appreciate your patience as we continue our efforts.


                                            Sincerely,


                                            Adam Walker
                                            Walker Law Office, LLC
